22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 1
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                                EXHIBIT B (contd.)

                         Copy of All Filings with State Court
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 2
                                     of 285                     10/2/2018 12:34 PM
                                                                                         Velva L. Price
                                                                                        District Clerk
                                                                                        Travis County
                                       NO. D-1-GN-18-001835                          D-1-GN-18-001835
                                                                                       Selina Hamilton
 NEIL HESLIN,                                   §             IN THE DISTRICT COURT OF
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §             TRAVIS COUNTY, TEXAS
                                                §
 ALEX E. JONES, INFOWARS, LLC,                  §
 FREE SPEECH SYSTEMS, LLC, and                  §
 OWEN SHROYER,                                  §
                                                §
        Defendants                              §             261st JUDICIAL DISTRICT


        ALEX E. JONES, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC,
        AND OWEN SHROYER’S NOTICE OF INTERLOCUTORY APPEAL

        No Order having been entered by this Court in the thirty day time period following

 the August 30, 2018 hearing on Alex E. Jones, Infowars, LLC, Free Speech Systems,

 LLC, and Owen Shroyer’s Motion to Dismiss Under the Texas Citizens Participation Act,

 Tex. Civ. Prac. & Rem. Code §§27.001-27.011, that Motion has been denied by operation

 of law and all Defendants intend to appeal that denial. Alex E. Jones, Infowars, LLC,

 Free Speech Systems, LLC and Owen Shroyer hereby give notice of their interlocutory

 appeal to the Third District Court of Appeals pursuant to Tex. Civ. Prac. & Rem. Code

 §51.014(a)(12). The appeal shall be expedited as provided by Tex. Civ. Prac. & Rem.

 Code §27.008(b). All other proceedings in the trial court are stayed pending resolution of

 the appeal. Tex. Civ. Prac. & Rem. Code §51.014(b).




 Notice of Interlocutory Appeal – Page 1
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 3
                                     of 285




        Dated: October 2, 2018.



                                           RESPECTFULLY SUBMITTED,

                                           GLAST, PHILLIPS & MURRAY, P.C.


                                                   /s/ Mark C. Enoch
                                           Mark C. Enoch
                                           State Bar No. 06630360
                                           14801 Quorum Drive, Suite 500
                                           Dallas, Texas 75254-1449
                                           Telephone:      972-419-8366
                                           Facsimile:      972-419-8329
                                           fly63rc@verizon.net


                                           ATTORNEY FOR DEFENDANTS




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 2nd day of October, 2018, the foregoing was sent via
 efiletxcourts.gov’s e-service system to the following:


 Mark Bankston
 Kaster Lynch Farrar & Ball
 1010 Lamar, Suite 1600
 Houston, TX 77002
 713-221-8300
 mark@fbtrial.com



                                                       /s/ Mark C. Enoch
                                                 Mark C. Enoch




 Notice of Interlocutory Appeal – Page 2
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 4
                                     of 285                      10/2/2018 4:47 PM
                                                                                                               Velva L. Price
                                                                                                              District Clerk
                                                                                                              Travis County
                                          GLIST, PrITTTIPS           €¡ MUNRAY                             D-1-GN-18-001835
                                               A   PROFì]SSIONAT. CORPO RAT]ON
                                                                                                                   Irene Silva

   MARK C. ENOCH, J.D., M,B.A.
          (e72) 419-8366                                                                  (972) 419-8300
       fly63rc@verizon.net                                                            FAcsrMrLE (469) 206-5022
                                              14801 Quonuu Dn¡ve, Surr 500
                                                DRllRs, Texns 75240-6657
  BoARD CERTIFIED   -   CIVIL TRIAL LAW
         TEXAS BOARD OF LEGAL
            SPEctALtzATtoN

                                                      October 2,2018

 Via email and via e-/ìling
 Tffiney Gould [Tffiney. Gould@traviscountytx. govJ

 Honorable Scott Jenkins
 Heman Marion Sweatt Travis
  Countv Courthouse
 1000 Guadalupe, 5'n Floor
 Austin, Texas 78701

 Attn:     Ms. Tiffaney Gould,
           Court Operations Offrcer for
           District Judge Scott Jenkins

           Re           Neil Heslin v. Alex E. Jones, Infowars, LLC, Free Speech Systems,
                        LLC and Owen Shroyer; Cause No. D-1-GN-18-001835, 26lst
                        District Court, Travis County, Texas

 Dear Judge Jenkins:

        As you know, our clients' Motion to Dismiss Under the Texas Citizens Participation Act
 was timely filed on July 13, 2018. As required, we obtained a hearing on that motion within
 sixty days of its filing. This Honorable Court set it for hearing on August 30, 2018. Proper
 notice was given to Plaintiff s counsel and a week prior to that hearing, Plaintiffls counsel
 announced ready. As noticed, the hearing occurred on August 30.

          Notwithstanding the order that you signed on August 31, 2018, and as we discussed off
  the record at the conclusion of this August 30 hearing, we believe that since the hearing occurred
  on August 30, this Court had only until the thirtieth day after that hearing to grant this motion.
  Since Your Honor did not grant the motion prior to that time, we believe it was denied by
  operation of law and have accordingly filed our clients' notice of appeal, staying fuither
  proceedings in the trial court,

                                                                                 Y,




                                                                     Mark C. Enoch
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 5
                                     of 285
 Honorable Scott Jenkins
 October 2,2078
 Page2



 MCE:mji

 cc:    Mr. Mark Bankston (via e-service)
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 6
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 7
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 8
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 9
                                     of 285                     10/10/2018 2:22 PM
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                                                                                                             District Clerk
                                                                                                             Travis County
                                                    NO. D-1-GN-18-001835                                  D-1-GN-18-001835
                                                                                                            Selina Hamilton

 NEIL HESLIN                                                        §           IN THE DISTRICT COURT
                                                                    §
                                           Plaintiff                §
                                                                    §
 VS.                                                                §
                                                                    §           261ST DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,                                      §
 FREE SPEECH SYSEMS, LLC and                                        §
 OWEN SHROYER,                                                      §
                                                                    §
                                           Defendants               §           TRAVIS COUNTY, TEXAS

                                  DESIGNATION OF COURT REPORTER’S RECORD

 TO THE CLERK OF THE COURT:

           Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and Owen Shroyer, Defendants,

 filed a notice of appeal in this case on October 2, 2018. Defendants Alex E. Jones, Infowars, LLC,

 Free Speech Systems, LLC and Owen Shroyer request the court reporter to prepare a transcript of

 the August 30, 2018, hearing conducted before Judge Jenkins on the 2:00 p.m. short docket for

 inclusion in the appellate record.

                                                                Respectfully submitted,

                                                                GLAST, PHILLIPS & MURRAY, P.C.

                                                                By:       /s/ Mark C. Enoch
                                                                          Mark C. Enoch
                                                                          State Bar No. 06630360

                                                                          14801 Quorum Drive, Suite 500
                                                                          Dallas, Texas 75254-1449
                                                                          Telephone: 972-419-8366
                                                                          Facsimile:     972-419-8329
                                                                          fly63rc@verizon.net

                                                                ATTORNEY FOR DEFENDANTS


 DESIGNATION OF COURT REPORTER’S RECORD – PAGE 1 OF 2
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 10
                                      of 285




                                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of October, 2018, the foregoing was served by Texas
 Online electronic service to the following:

                                                       Mark Bankston
                                                  Kaster Lynch Farrar & Ball
                                                   1010 Lamar, Suite 1600
                                                     Houston, TX 77002
                                                        713-221-8300
                                                      mark@fbtrial.com


                                                                          /s/ Mark C. Enoch
                                                                                 Mark C. Enoch




 DESIGNATION OF COURT REPORTER’S RECORD – PAGE 2 OF 2
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 11
                                      of 285                     10/10/2018 2:42 PM
                                                                                                     Velva L. Price
                                                                                                    District Clerk
                                                                                                    Travis County
                                       NO. D-1-GN-18-001835                                      D-1-GN-18-001835
                                                                                                   Selina Hamilton

 NEIL HESLIN                                       §            IN THE DISTRICT COURT
                                                   §
                                 Plaintiff         §
                                                   §
 VS.                                               §
                                                   §            261ST DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,                     §
 FREE SPEECH SYSEMS, LLC and                       §
 OWEN SHROYER,                                     §
                                                   §
                                 Defendants        §            TRAVIS COUNTY, TEXAS

                            DESIGNATION OF FILINGS FOR CLERK'S RECORD

 TO THE CLERK OF THE COURT:

        Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC AND Owen Shroyer, Defendants,

 filed a notice of appeal in this case on October 2, 2018. In accordance with APPELLATE RULE

 34.5(a) and (b), Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and Owen Shroyer,

 Defendants, request the clerk to prepare a clerk's record of the proceedings in this case for inclusion

 in the appellate record.

        Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and Owen Shroyer, Defendants,

 request the following items be included in the clerk's record. This list includes those items required

 by Appellate Rule 34.5(a).

        1.      Plaintiff’s Original Petition and Request for Disclosure (filed April 16, 2018)

        2.      Letter from Plaintiff’s attorney requesting issuance of Citations (filed April 23, 2018)

        3.      Citation to Alex Jones (dated May 2, 2018)

        4.      Citation to Infowars, LLC (dated May 2, 2018)

        5.      Citation to Free Speech Systems, LLC (dated May 2, 2018)

 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 1 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 12
                                      of 285




        6.      Citation to Owen Shroyer (dated May 2, 2018)

        7.      Defendants’ Original Answer (filed June 18, 2018)

        8.      Defendants’ attorney’s vacation letter (filed June 27, 2018)

        9.      Plaintiff’s attorney’s vacation letter (filed June 28, 2018)

        10.     Defendants’ attorney’s amended vacation letter (filed June 29, 2018)

        11.     Letter from Defendants’ attorney regarding removal of former associate as counsel
                for Defendants (filed June 29, 2018)

        12.     Defendants’ First Amended Answer (filed July 13, 2018)

        13.     Defendants’ Motion to Dismiss Under the Texas Citizens Participation Act (filed
                July 13, 2018)

        14.     Defendants’ Notice of Hearing on Motion to Dismiss (filed July 19, 2018)

        15.     Letter from Defendants’ attorney transmitting thumb drive containing video exhibits
                to (1) Defendants’ First Amended Answer, and (2) Defendants’ Motion to Dismiss
                Under the Texas Citizens Participation Act (filed July 23, 2018) Note: Thumb
                drives to be included in Clerk’s Record.

        16.     Assignment by Presiding Judge (filed August 10, 2018)

        17.     Letter from Judge Scott Jenkins regarding assignment of case (filed August 16, 2018)

        18.     Plaintiff’s Motion for Sanctions for Intentional Destruction of Evidence (filed
                August 17, 2018)

        19.     Plaintiff’s Motion for Expedited Discovery in Aid of Plaintiff’s Response to
                Defendants’ TCPA Motion (filed August 17, 2018)

        20.     Letter from Defendants’ attorney requesting no hearing be held subject to previously
                filed vacation letter and opposition to Plaintiffs’ Motion for Sanctions and Plaintiff’s
                Motion for Expedited Discovery (filed August 21, 2018)

        21.     Defendants’ Response to Plaintiff’s Motion for Sanctions and Motion for Expedited
                Discovery (filed August 23, 2018)



 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 2 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 13
                                      of 285



        22.     Plaintiff’s Response to Defendants’ Motion to Dismiss Under the Texas Citizens
                Participation Act (filed August 27, 2018)

        23.     Supplemental Affidavit in Support of Defendants’ Motion to Dismiss Under the
                Texas Citizens Participation Act (filed August 27, 2018)

        24.     Defendants’ First Amended Response to Plaintiff’s Motion for Sanctions and Motion
                for Expedited Discovery and Defendants’ Motion for Sanctions (filed August 27,
                2018)

        25.     Supplemental Affidavits in Support of Defendants’ Motion to Dismiss Under the
                Texas Citizens Participation Act (filed August 28, 2018)

        26.     Supplemental Affidavit in Support of Defendants’ First Amended Response to
                Plaintiff’s Motion for Sanctions and Motion for Expedited Discovery and
                Defendants’ Motion for Sanctions (filed August 28, 2018)

        27.     Defendants’ Objections to Plaintiff’s Evidence Submitted in Response to
                Defendants’ Motion to Dismiss Under the Texas Citizens Participation Act (filed
                August 29, 2018)

        28.     Defendants’ First Supplement to Motion to Dismiss Under the Texas Citizens
                Participation Act (filed August 29, 2018)

        29.     Supplemental Affidavit in Support of Defendants’ First Amended Response to
                Plaintiff’s Motion for Sanctions and Motion for Expedited Discovery and
                Defendants’ Motion for Sanctions (filed August 29, 2018)

        30.     Defendants’ Second Amended Answer (filed August 29, 2018)

        31.     Defendants’ Second Supplement to Motion to Dismiss Under the Texas Citizens
                Participation Act (filed August 30, 2018)

        32.     Supplemental Affidavit in Support of Defendants’ First Amended Response to
                Plaintiff’s Motion for Sanctions and Motion for Expedited Discovery and
                Defendants’ Motion for Sanctions (filed August 30, 2018)

        33.     Letter from Defendants’ attorney transmitting thumb drive containing video exhibits
                to Defendants’ Second Supplement to Motion to Dismiss (filed August 30, 2018).
                Note: Thumb drives to be included in Clerk’s Record.

        34.     Letter from Plaintiff’s attorney transmitting flash drive containing exhibits to
                Plaintiff’s Response to Defendants’ Motion to Dismiss (filed August 30, 2018)

 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 3 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 14
                                      of 285




        35.     Order of Plaintiff’s Motion for Expedited Discovery in Aid of Plaintiff’s Response
                to Defendants’ TCPA Motion (filed August 31, 2018)

        36.     Defendants’ Request for Rulings on Timely Filed Objections to Plaintiff’s Evidence
                (filed September 11, 2018)

        37.     Letter from Defendants’ attorney requesting assistant be copied on email
                correspondence and filings entered by the Court (filed September 14, 2018)

        38.     Defendants’ Second Renewed Request for Rulings on Timely Filed Objections to
                Plaintiff’s Evidence (filed September 25, 2018)

        39.     Defendants’ Motion for Protective/Confidentiality Order (filed September 28, 2018)

        40.     Plaintiff’s Motion for Contempt Under Rule 215 (filed October 1, 2018)

        41.     Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and Owen Shroyer’s
                Notice of Interlocutory Appeal (filed October 2, 2018)

        42.     Letter from Defendants’ attorney advising Court of the filing of Defendants’ Notice
                of Appeal and staying proceedings (filed October 2, 2018)

        43.     Letter from Third Court of Appeals confirming notice of appeal and outlining
                procedures (filed October 3, 2018)

        44.     Designation of Court Reporter’s Record (filed October 10, 2018)

                                              Respectfully submitted,

                                              GLAST, PHILLIPS & MURRAY, P.C.

                                              By:     /s/ Mark C. Enoch
                                                      Mark C. Enoch
                                                      State Bar No. 06630360

                                                      14801 Quorum Drive, Suite 500
                                                      Dallas, Texas 75254-1449
                                                      Telephone: 972-419-8366
                                                      Facsimile:     972-419-8329
                                                      fly63rc@verizon.net

                                              ATTORNEY FOR DEFENDANTS


 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 4 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 15
                                      of 285




                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of October, 2018, the foregoing was served by Texas
 Online electronic service to the following:

                                         Mark Bankston
                                    Kaster Lynch Farrar & Ball
                                     1010 Lamar, Suite 1600
                                       Houston, TX 77002
                                          713-221-8300
                                        mark@fbtrial.com


                                                            /s/ Mark C. Enoch
                                                                   Mark C. Enoch




 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 5 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 16
                                      of 285                     10/10/2018 2:42 PM
                                                                                                     Velva L. Price
                                                                                                    District Clerk
                                                                                                    Travis County
                                       NO. D-1-GN-18-001835                                      D-1-GN-18-001835
                                                                                                   Selina Hamilton

 NEIL HESLIN                                       §            IN THE DISTRICT COURT
                                                   §
                                 Plaintiff         §
                                                   §
 VS.                                               §
                                                   §            261ST DISTRICT COURT
 ALEX E. JONES, INFOWARS, LLC,                     §
 FREE SPEECH SYSEMS, LLC and                       §
 OWEN SHROYER,                                     §
                                                   §
                                 Defendants        §            TRAVIS COUNTY, TEXAS

                            DESIGNATION OF FILINGS FOR CLERK'S RECORD

 TO THE CLERK OF THE COURT:

        Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC AND Owen Shroyer, Defendants,

 filed a notice of appeal in this case on October 2, 2018. In accordance with APPELLATE RULE

 34.5(a) and (b), Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and Owen Shroyer,

 Defendants, request the clerk to prepare a clerk's record of the proceedings in this case for inclusion

 in the appellate record.

        Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and Owen Shroyer, Defendants,

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 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 1 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 17
                                      of 285




        6.      Citation to Owen Shroyer (dated May 2, 2018)

        7.      Defendants’ Original Answer (filed June 18, 2018)

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        9.      Plaintiff’s attorney’s vacation letter (filed June 28, 2018)

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 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 2 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 18
                                      of 285



        22.     Plaintiff’s Response to Defendants’ Motion to Dismiss Under the Texas Citizens
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 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 3 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 19
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        35.     Order of Plaintiff’s Motion for Expedited Discovery in Aid of Plaintiff’s Response
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                of Appeal and staying proceedings (filed October 2, 2018)

        43.     Letter from Third Court of Appeals confirming notice of appeal and outlining
                procedures (filed October 3, 2018)

        44.     Designation of Court Reporter’s Record (filed October 10, 2018)

                                              Respectfully submitted,

                                              GLAST, PHILLIPS & MURRAY, P.C.

                                              By:     /s/ Mark C. Enoch
                                                      Mark C. Enoch
                                                      State Bar No. 06630360

                                                      14801 Quorum Drive, Suite 500
                                                      Dallas, Texas 75254-1449
                                                      Telephone: 972-419-8366
                                                      Facsimile:     972-419-8329
                                                      fly63rc@verizon.net

                                              ATTORNEY FOR DEFENDANTS


 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 4 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 20
                                      of 285




                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 10th day of October, 2018, the foregoing was served by Texas
 Online electronic service to the following:

                                         Mark Bankston
                                    Kaster Lynch Farrar & Ball
                                     1010 Lamar, Suite 1600
                                       Houston, TX 77002
                                          713-221-8300
                                        mark@fbtrial.com


                                                            /s/ Mark C. Enoch
                                                                   Mark C. Enoch




 DESIGNATION OF FILINGS FOR CLERK'S RECORD - PAGE 5 OF 5
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 21
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 22
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 23
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg 24
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                                                                                                          Velva L. Price
                                                                                                         District Clerk
                                                                                                         Travis County
                                       GLAST, PHILLIPS & MURRAY
                                                                                                      D-1-GN-18-001835
                                                                                                              Irene Silva
                                            A PROFESSIONAL CORPORATION

    MARK C. ENOCH, J.D., M.B.A.
           (972) 419-8366                                                             (972) 419-8300
        fly63rc@verizon.net                                                      FACSIMILE (469) 206-5022
                                           14801 QUORUM DRIVE, SUITE 500
                                                                                        __________
   BOARD CERTIFIED – CIVIL TRIAL LAW         DALLAS, TEXAS 75240-6657
        TEXAS BOARD OF LEGAL
           SPECIALIZATION

                                                October 15, 2018


 Via email and via e-filing
 Tiffaney Gould [Tiffaney.Gould@traviscountytx.gov]

 Ms. Tiffaney Gould,
 Court Operations Officer for
  District Judge Scott Jenkins
 Heman Marion Sweatt Travis
  County Courthouse
 1000 Guadalupe, 5th Floor
 Austin, Texas 78701

           Re:       Neil Heslin v. Alex E. Jones, Infowars, LLC, Free Speech Systems,
                     LLC and Owen Shroyer; Cause No. D-1-GN-18-001835, 261st
                     District Court, Travis County, Texas

 Dear Ms. Gould:

        We received an email from Elissa Hogan inquiring about the hearing time on
 November 1, 2018 on Defendants’ Motion to Dismiss. Since the case is stayed by the appeal this
 hearing will not take place on November 1.

                                                             Respectfully,


                                                             /s/ Mark C. Enoch

                                                             Mark C. Enoch
 MCE:mji

 cc:       Mr. Mark Bankston (via e-service)
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                                                                                                          Velva L. Price
                                                                                                         District Clerk
                                                                                                         Travis County
                                       GLAST, PHILLIPS & MURRAY
                                                                                                      D-1-GN-18-001835
                                                                                                        Selina Hamilton
                                            A PROFESSIONAL CORPORATION

    MARK C. ENOCH, J.D., M.B.A.
           (972) 419-8366                                                             (972) 419-8300
        fly63rc@verizon.net                                                      FACSIMILE (469) 206-5022
                                           14801 QUORUM DRIVE, SUITE 500
                                                                                        __________
   BOARD CERTIFIED – CIVIL TRIAL LAW         DALLAS, TEXAS 75240-6657
        TEXAS BOARD OF LEGAL
           SPECIALIZATION



                                                     November 6, 2018


 Via e-filing

 Travis County 261st
  Judicial District Clerk
 P.O. Box 679003
 Austin, TX 78767-9003


           Re:       Neil Heslin v. Alex E. Jones, Infowars, LLC, Free Speech Systems,
                     LLC and Owen Shroyer; Cause No. D-1-GN-18-001835, 261st
                     District Court, Travis County, Texas; Third Court of Appeals Case
                     No. 03-18-00650-CV

 Dear Clerk:

        Please accept this letter as our request that you supplement the clerk’s record in the
 appeal pending in the Third Court of Appeals to include the October 15, 2018 e-filed
 correspondence from the undersigned to Ms. Tiffaney Gould.

        If there are any questions or if there is any additional charge to supplement the record as
 requested, please do not hesitate to contact my assistant, Melanie Illig, at 972-419-8347. Thank
 you for your assistance.

                                                             Very truly yours,

                                                             /s/ Mark C. Enoch

                                                             Mark C. Enoch

 :mji

 cc:       Mr. Mark Bankston
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                                                                                                          Velva L. Price
                                                                                                         District Clerk
                                                                                                         Travis County
                                       GLAST, PHILLIPS & MURRAY
                                                                                                      D-1-GN-18-001835
                                                                                                              Irene Silva
                                            A PROFESSIONAL CORPORATION

    MARK C. ENOCH, J.D., M.B.A.
           (972) 419-8366                                                             (972) 419-8300
        fly63rc@verizon.net                                                      FACSIMILE (469) 206-5022
                                           14801 QUORUM DRIVE, SUITE 500
                                                                                        __________
   BOARD CERTIFIED – CIVIL TRIAL LAW         DALLAS, TEXAS 75240-6657
        TEXAS BOARD OF LEGAL
           SPECIALIZATION

                                               December 7, 2018


 via e-filing

 Ms. Tiffaney Gould,
 Court Operations Officer for
  District Judge Scott Jenkins
 Heman Marion Sweatt Travis
  County Courthouse
 1000 Guadalupe, 5th Floor
 Austin, Texas 78701

           Re:       Neil Heslin v. Alex E. Jones, Infowars, LLC, Free Speech Systems,
                     LLC and Owen Shroyer; Cause No. D-1-GN-18-001835, 261st
                     District Court, Travis County, Texas

 Dear Ms. Gould:

       I will be on vacation/unavailable from February 3 through February 18, 2019 and
 March 24, 2019 through April 9, 2019.

        Please do not schedule any hearings or court trial dates during this time-frame. By
 copy of this letter I am requesting that opposing counsel not schedule any hearings or
 depositions during this time period as well. Thank you for your attention to this matter.

                                                             Respectfully,

                                                             /s/ Mark C. Enoch

                                                             Mark C. Enoch
 MCE:mji

 cc:       Mr. Mark Bankston (via e-service)
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                                                                                       District Clerk
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                                                                                    D-1-GN-18-001835
                            CAUSE NO. D-1-GN-18-001835                                   Daniel Smith

  NEIL HESLIN,                               §                 IN DISTRICT COURT OF
    Plaintiff                                §
                                             §
  VS.                                        §                TRAVIS COUNTY, TEXAS
                                             §
  ALEX E. JONES, INFOWARS, LLC,              §
  FREE SPEECH SYSTEMS, LLC, and              §                   53rd DISTRICT COURT
  OWEN SHROYER,                              §
    Defendants                               §


                       PLAINTIFF’S FIRST AMENDED PETITION


        Plaintiff NEIL HESLIN files this First Amended Petition against Defendants,

 ALEX JONES, INFOWARS, LLC, and FREE SPEECH SYSTEMS, LLC, and alleges as

 follows:

                             DISCOVERY CONTROL PLAN

        1.    Plaintiff intends to seek a customized discovery control plan under Level

 3 of Texas Rule of Civil Procedure 190.4.

                                        PARTIES

        2.    Plaintiff Neil Heslin in an individual residing in the State of Connecticut.

        3.    Defendant Alex E. Jones is a resident of Austin, Texas. He is the host of

 radio and web-based news programing, including “The Alex Jones Show,” and he

 owns and operates the website InfoWars.com. Mr. Jones has answered through his

 respective counsel.




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        4.    Defendant InfoWars, LLC is a Texas limited liability company with

 principal offices located in Austin, Texas and has answered through its respective

 counsel of record.

        5.    Defendant Free Speech Systems, LLC is a Texas limited liability company

 with principal offices located in Austin, Texas and has answered through its

 respective counsel of record.

        6.    Defendant Owen Shroyer is an individual residing in Travis County. At

 all times relevant to this suit, Mr. Shroyer has been a reporter for InfoWars. Mr.

 Shroyer has answered through his respective counsel.

        7.    At all times relevant to this Petition, Defendants Alex Jones, InfoWars,

 LLC, and Free Speech Systems, LLC operated as a joint-venture, joint-enterprise,

 single business enterprise, or alter ego.

                                 JURISDICTION & VENUE

        8.    The damages sought in this case exceed the minimum jurisdictional

 limits of Travis County District Courts.

        9.    Venue is proper in Travis County under Tex. Civ. Prac. & Rem. Code

 §15.002 because it is the county of Defendants’ residence at the time the cause of

 action accrued.

                                 FACTUAL BACKGROUND


        10.   Plaintiff Neil Heslin is the parent of deceased minor J.L., a victim of the

 December 14, 2012 Sandy Hook Elementary School shooting.

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          11.   This case arises out of the intentional infliction of emotional distress

 committed against Plaintiff for the past five years through InfoWars’ recklessly false

 statements concerning the circumstances of the death of his child, as well as

 InfoWars’ coordination and encouragement of a fringe community of dangerous

 fanatics who have stalked and endangered the Sandy Hook parents.

          12.   In addition, InfoWars has repeatedly promoted a dreadful and

 despicable false narrative about Sandy Hook in which it mocks the families as liars

 and accuses them of a sinister conspiracy. Plaintiff’s family has been specifically

 targeted in this campaign of harassment.

          13.   In addition to the mockery of the families, InfoWars has spent years

 advancing a vast collection of grotesque and outrageous falsehoods about the

 circumstances of the shooting and the subsequent law enforcement investigation and

 media coverage.

          14.   All of these baseless and vile accusations, which have been pushed by

 InfoWars and Mr. Jones on a continuous basis since the shooting, advance the idea

 that the Sandy Hook massacre did not happen, or that it was staged by the

 government and concealed using carefully placed actors, or that the families of the

 victims are also participants in a horrifying cover-up. InfoWars knew its assertions

 were false or made these statements with reckless and outrageous disregard for their

 truth.




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        15.   In addition, Plaintiff brings a cause of action for defamation arising out

 of accusations by InfoWars in the summer of 2017 that Plaintiff was lying about

 whether he actually held his son’s body and observed a bullet hole in his head. This

 heartless and vile act of defamation re-ignited the Sandy Hook “false flag” conspiracy

 and tore open the emotional wounds that Plaintiff has tried so desperately to heal.

       INFOWARS’ FIVE YEARS OF HARASSING COVERAGE OF SANDY HOOK

        16.   Beginning in the month of the shooting, in December 2012, InfoWars

 published multiple videos with false information while claiming the incident was a

 “false flag” or otherwise staged.

        17.   InfoWars continued with a video on January 27, 2013 entitled “Why

 People Think Sandy Hook is a Hoax,” Mr. Jones introduced a variety of completely

 baseless claims which he would continually repeat with malicious obsession for the

 next five years.

        18.   On March 28, 2013, InfoWars published an article advancing its hoax

 claim, entitled “Cover-Up of Adam Lanza Link to Psychotropic Drugs.”

        19.   In an April 9, 2013 video entitled “Obama Gun Grabbing Psyop Speech

 of Evil,” Mr. Jones warned his viewers that recent mass shootings were actually “a

 government operation,” and that Sandy Hook was an “inside job.”

        20.   In an April 16, 2013 video entitled “Shadow Govt Strikes Again,” Mr.

 Jones discussed his allegation that the government was staging various national




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 tragedies. He told his audience: “They staged Sandy Hook. The evidence is just

 overwhelming, and that’s why I’m so desperate and freaked out.”

        21.   On January 27, 2014, InfoWars published an article advancing its hoax

 claim, entitled “Exposed: Sandy Hook Shooter’s Biggest Threat Still Lives.”

        22.   On February 18, 2014, InfoWars published an article advancing its hoax

 claim, entitled “School Shooting Expert Threatened Over Sandy Hook Investigation.”

        23.   In a March 14, 2014 video entitled “Sandy Hook, False Narratives Vs. The

 Reality,” Mr. Jones said, “Folks, we’ve got video of Anderson Cooper with clear blue-

 screen out there. [Shaking head]. He’s not there in the town square. We got people

 clearly coming up and laughing and then doing the fake crying. We’ve clearly got

 people where it’s actors playing different parts for different people, the building

 bulldozed, covering up everything. Adam Lanza trying to get guns five times we’re

 told. The witnesses not saying it was him…I’ve looked at it and undoubtedly, there’s

 a cover-up, there’s actors, they’re manipulating, they’ve been caught lying, and they

 were pre-planning before it and rolled out with it.”

        24.   On May 9, 2014, InfoWars published an article advancing its hoax claim,

 entitled “Revealed: Sandy Hook Truth Exposed.”

        25.   On May 13, 2014, InfoWars published an article advancing its hoax

 claim, entitled “Connecticut Tries to Hide Sandy Hook Truth.”

        26.   On May 13, 2014, InfoWars published a video entitled “Bombshell Sandy

 Hook Massacre Was A DHS Illusion Says School Safety Expert.” Mr. Jones hosted a


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 notorious crank, Wolfgang Halbig, who solicits donations to support his

 “investigation” into Sandy Hook. Mr. Halbig maintains that the event was staged and

 that the parents are actors. Mr. Jones agreed with Mr. Halbig during the video, and he

 asked his viewers to financially support Halbig. Over the coming years, Mr. Halbig was

 a frequent guest, and InfoWars continued to provide support and encouragement to

 Mr. Halbig to carry out his campaign of harassment against the Sandy Hook parents.

        27.   On September 24, 2014, InfoWars published an article advancing its

 hoax claim, titled: “FBI Says No One Killed At Sandy Hook.”

        28.   InfoWars also published a video on September 25, 2014 entitled

 “Connecticut PD Has FBI Falsify Crime Statistics.” Mr. Jones again hosted Mr. Halbig

 for a lengthy discussion in which they accused Plaintiff and other parents of lying

 about the tragedy for a nefarious purpose. Mr. Jones stated:

              This is not a game…If you've got a school of 100 kids and
              then nobody can find them, and you've got parents
              laughing going “Ha, Ha, Ha,” and then they walk over to the
              camera and go (crying), and I mean, not just one, but a
              bunch of parents doing this and then photos of kids that are
              still alive they said die. I mean, they think we’re so dumb
              that it's really hidden in plain view, and so the
              preponderance -- I mean, I thought they had some scripting
              early on to exacerbate and milk the crisis as Rahm
              Emmanuel said, but when you really look at it, where are
              the lawsuits? There would be incredible lawsuits and
              payouts, but there haven't been any filed, nothing. I've
              never seen this. This is incredible.




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        29.       On September 26, 2014, InfoWars published an article advancing its

 hoax claim, entitled: “Sandy Hook Investigator: Connecticut PD Had FBI Falsify Crime

 Statistics.”

        30.       On December 2, 2014, InfoWars published an article promoting the hoax

 video entitled “We Need to Talk About Sandy Hook.”

        31.       On December 9, 2014 published an article advancing its hoax claim,

 entitled: “Internet Censors Viral Sandy Hook Truth Documentary.”

        32.       In a December 27, 2014 broadcast entitled “Lawsuit Could Reveal Truth

 About Sandy Hook Massacre,” Mr. Jones made numerous false claims about Sandy

 Hook, including his false allegations about “rotations in and out of the building,” “blue-

 screen,” “police in anti-terror outfits in the woods,” and many others. Mr. Jones

 described the alleged “acting” by the parents as “just over the top, over the top sick.”

 The video also featured claims that the event was undertaken as a Satanic ritual by

 global elites.

        33.       In a December 29, 2014 broadcast entitled “America the False

 Democracy,” Jones again discussed Sandy Hook, telling his audience, “The whole thing

 is a giant hoax. And the problem is how do you deal with a total hoax? How do you

 even convince the public something is a total hoax?” Mr. Jones stated, “It took me

 about a year, with Sandy Hook, to come to grips with the fact that the whole thing was

 fake. I did deep research.”




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        34.   In the same December 2014 broadcast, Jones continued with more false

 assertions: “The general public doesn’t know the school was actually closed the year

 before. They don’t know they’ve sealed it all, demolished the building. They don’t

 know that they had the kids going in circles in and out of the building as a photo-op.

 Blue screen, green screens, they got caught using.”

        35.   On January 2, 2015, InfoWars published an article advancing its hoax

 claim, entitled “Mystery: Sandy Hook Victim Dies (Again) in Pakistan.”

        36.   In a January 13, 2015 broadcast entitled “Why We Accept Gov't Lies,” Mr.

 Jones continued his allegations about Sandy Hook. During his discussion, he stated:

              You learn the school had been closed and re-opened. And
              you’ve got video of the kids going in circles, in and out of
              the building, and they don’t call the rescue choppers for
              two hours, and then they tear the building down, and seal
              it. And they get caught using blue-screens, and an email by
              Bloomberg comes out in a lawsuit, where he’s telling his
              people get ready in the next 24 hours to capitalize on a
              shooting. Yeah, so Sandy Hook is a synthetic, completely
              fake with actors, in my view, manufactured. I couldn’t
              believe it at first. I knew they had actors there, clearly, but
              I thought they killed some real kids. And it just shows how
              bold they are that they clearly used actors. I mean they
              even ended up using photos of kids killed in mass shootings
              here in a fake mass shooting in Turkey, or Pakistan. The sky
              is now the limit.”

        37.   Mr. Jones’ statement about Pakistan refers to a conspiracy theory Jones

 helped spread involving a Sandy Hook victim whose photograph appeared at vigil for

 children slain a school attack in Peshawar. InfoWars’ story was meant to reinforce Mr.




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 Jones’ persistent lie that the victims of the shooting, such as Plaintiff’s deceased son

 J.L., are not real, or that some sinister conspiracy murdered his child.

        38.   In a February 12, 2015 video with an unknown title, Mr. Jones continued

 to repeat his false claims. During his discussion, Mr. Jones stated, “I know they’re

 using blue screens…There are literally hundreds of smoking guns here that this thing

 doesn’t add up.”

        39.   In a March 4, 2015 video entitled “New Bombshell Sandy Hook

 Information In-Bound,” Mr. Jones continued to promote Mr. Halbig, hosting him for a

 wide-ranging discussion accusing the parents of evil acts. Mr. Jones told Mr. Halbig,

 “We know it stinks. I mean, it's phony. The question is what is going on. We don't

 know. We just know it's fake.”

        40.   In June of 2015, InfoWars sent its reporter Dan Bidondi to Newtown,

 Connecticut to accompany Mr. Halbig. While in Newtown, Bidondi and Halbig

 confronted Newtown residents and civil servants. Mr. Bidondi, a former cage-fighter,

 aggressively berated several individuals with profanity, false claims, and outrageous

 threats to publicize their crimes. Their activities created a climate of fear in the

 community.

        41.   In a July 7, 2015 broadcast entitled “Government Is Manufacturing

 Crises,” Mr. Jones again asserted that Sandy Hook was staged:

              If they did kill kids, they knew it was coming, stocked the
              school with kids, killed them, and then had the media there,
              and that probably didn't even happen. I mean, no wonder
              we get so many death threats and so much heat and so

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              much other stuff I'm not going to get into, behinds the
              scenes, when we touch Sandy Hook because, folks, it's as
              phony as a three-dollar bill.

        42.   In a July 7, 2015 video entitled “Retired FBI Agent Investigates Sandy

 Hook Mega Massive Cover Up,” Mr. Jones repeated a large selection of his false claims

 about Sandy Hook. During his discussion, Mr. Jones stated:

              No emergency helicopters were sent. The ambulances
              came an hour and a half later and parked down the road.
              DHS an hour and a half later with the time stamp put up
              signs saying sign in here. They had porta-potties being
              delivered within an hour and a half. It looked like a carnival.
              It looked like a big PR stunt.

              Came out that Bloomberg a day before sent an email out to
              his gun control groups in all 50 states saying, "Prepare to
              roll, maybe operation coming up." That came out in the
              news.

              We have the emails from city council back and forth and the
              school talking about it being down a year before. We have
              the school then being demolished, and the records being
              sealed. We have videos that look just incredibly suspicious
              where people are laughing and everything, and then they
              start huffing and puffing and start crying on TV, which is
              pure acting method…

              You’ve got green-screen with Anderson Cooper, where I
              was watching the video, and the flower and plants were
              blowing in some of them, and then they blow again the
              same way. It’s looped. And then his nose disappears. I
              mean, it’s fake. The whole thing is…I don’t know what
              happened. It’s kind of like if you see a hologram at Disney
              World in the Haunted House. You know? I don’t know how
              they do it, but it’s not real. When you take your kids to see
              the Haunted House and ghosts are flying around, it’s not
              real, folks. It’s staged. I mean, a magician grabs a rabbit out
              of his hat. I know he’s got a box under the table that he
              reaches in and gets the rabbit. I don’t know what the trick

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                is here. I’ve got a good suspicion. But when you’ve got
                Wolfgang Halbig…He believed it was real. People called
                him. He went and investigated. No paperwork, no nothing.
                It’s bull. And now an FBI retired agent, who retired, you
                know, with decorations. I mean, [InfoWars reporter Rob]
                Dew, this unprecedented.

        43.     On July 10, 2015, InfoWars published an article advancing its hoax claim,

 entitled “Sandy Hook FOIA Killed by Commission.”

        44.     On January 5, 2016, InfoWars published an article advancing its hoax

 claim, entitled “Obama’s Crying Fuels Speculation It Was Faked.”

        45.     In January of 2016, InfoWars follower Lucy Richards began stalking and

 making death threats to Leonard Pozner, a fellow Sandy Hook parent and personal

 friend of Plaintiff Scarlett Lewis. The threats included messages stating: “Death is

 coming to you real soon” and “LOOK BEHIND YOU IT IS DEATH.” 1 When Richards was

 later sentenced, Senior U.S. District Judge James Cohn stated: “I'm sure [Leonard

 Pozner] wishes this was false, and he could embrace [N.P.], hear [N.P.’s] heartbeat and

 hear [N.P.] say ‘I love you, Dad’…Your words were cruel and insensitive. This is reality

 and there is no fiction. There are no alternative facts.”2 As part of her sentence, Ms.

 Richards will not be permitted to access a list of conspiracy-based websites upon her

 release, including InfoWars.3 Ms. Richard’s arrest and sentencing are an ominous




 1 https://www.nbcnews.com/news/us-news/conspiracy-theorist-arrested-death-threats-against-sandy-
 hook-parent-n693396
 2 http://www.nydailynews.com/news/crime/judge-hands-sandy-hook-truther-prison-sentence-article-

 1.3229754
 3 https://www.buzzfeed.com/claudiakoerner/a-conspiracy-theorist-will-serve-time-for-threatening-a


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 reminder to the Plaintiff of the danger posed by InfoWars’ continuing lies about Sandy

 Hook.

         46.   Mr. Jones and InfoWars were well-aware of the unhinged community of

 “Sandy Hook Investigators” they had fostered. Mr. Jones knew that a large collection

 of Sandy Hook deniers were coordinating their harassment. Plaintiff and his family

 have suffered harassment and threats from this community. Mr. Jones and InfoWars

 have frequently communicated with the hoax community and have interviewed or

 promoted members of this dangerous community on their programming. During a

 February 2015 video, one prominent member of the Sandy Hook denier community

 issued a threat to a Sandy Hook parent on the air. During the same video, Mr. Jones

 showed maps and addresses used by the parent. This parent was the leader of a Sandy

 Hook non-profit who had complained to YouTube about the emotional distress

 caused by Jones. Since that time, Mr. Jones’ open animosity towards the Sandy Hook

 parents has been on full display.

         47.   By November 2016, a growing tide of public outrage caused Mr. Jones to

 appear on InfoWars and rant about his false Sandy Hook claims for twenty minutes

 in what he called his “Final Statement on Sandy Hook,” published on November 18,

 2016.

         48.   During the outrageous video, Mr. Jones directly addressed the public

 outcry over his statements by doubling down on his accusations. For example, Mr.

 Jones stated: “That shows some kind of cover-up happening. And then I saw Anderson


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 Cooper -- I’ve been in TV for twenty-something years, I know a blue-screen or a green-

 screen -- turn and his nose disappeared. Then I saw clearly that they were using

 footage on the green-screen looped, because it would show flowers and other things

 during other broadcasts that were moving, and then basically cutting to the same

 piece of footage…Then we see footage of one of the reported fathers of the victims,

 Robbie Parker, doing classic acting training.”

        49.   The gist of these statements was that some Sandy Hook parents are

 actually participating in a sinister manipulation plan to fool the public, or that a

 shadowy cabal of elites pre-planned the murder of their children and controlled the

 coverage of the event through the media manipulation.

        50.   During the November 2016 broadcast, Mr. Jones played video footage of

 Anderson Cooper interviewing Sandy Hook parent Veronique De La Rosa, at which

 point Jones stated: “We point out clear chromakey, also known as blue-screen or

 greenscreen being used, and we’re demonized. We point out that they’re clearly doing

 fake interviews…and their answer is to say that we said nobody died.” In other words,

 Mr. Jones admitted that Plaintiff’s son actually died and that Plaintiff may not be lying,

 but Jones still maintained the event was a pre-planned government operation. Mr.

 Jones’ statements in support of this assertion were recklessly false.

        51.   Towards the end of the November 2016 broadcast, Mr. Jones stated:

 “Why should anybody fear an investigation? If they have nothing to hide? In fact, isn’t




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 that in Shakespeare’s Hamlet? Methinks you protest too much…This particular case,

 they are so scared of investigation.”

        52.   Mr. Jones concluded the video by accusing certain parents seen on

 television of being actors. Mr. Jones stated, “So, if children were lost at Sandy Hook,

 my heart goes out to each and every one of those parents. And the people who say

 they’re parents that I see on the news. The only problem is, I’ve watched a lot of soap

 operas. And I’ve seen actors before. And I know when I’m watching a movie and when

 I’m watching something real.”

        53.   The November 2016 video broadcast was entitled, “Alex Jones Final

 Statement on Sandy Hook.” It was Plaintiff’s hope that the title was accurate, and that

 Mr. Jones would finally end his reckless attacks on the Sandy Hook parents and his

 assertions that they were liars and actors engaged in a fraud on the American people.

        54.   As horrifying as the November 2016 broadcast was, its promise of being

 the “Final Statement” gave some hope to Plaintiff that Mr. Jones’ harassment might be

 coming to an end after four long years.

        55.   Those hopes were soon dashed. Instead, InfoWars continued its cruel

 campaign in 2017.

        56.   In a March 8, 2017 video, Mr. Jones praised the credibility of Steve

 Pieczenik, who had previously claimed on InfoWars programming that Sandy Hook

 was “a Homeland Security drill that they passed off as a real event.” Mr. Jones

 admitted that despite his years of prior statements, “I can't prove it one way or the


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 other.” Nonetheless, Mr. Jones repeated his accusation that Veronique De La Rosa’s

 interview with Anderson Cooper was faked in front of a blue screen. He also told his

 audience that Anderson Cooper was in the CIA, hoping to convince them that the

 agency was part of the plot.

        57.   On April 22, 2017, InfoWars published a video entitled “Sandy Hook

 Vampires Exposed.” This video again repeated the large collection of false accusations

 which Mr. Jones had been using for years to support his ceaseless attacks on the Sandy

 Hook families, including the false claims that Sandy Hook parent Veronique De La

 Rosa participated in a fake blue-screen interview with Anderson Cooper, that the

 school was closed until that year and was rotting and falling apart in videos, that the

 children were “going in circles, in and out of the building with their hands up,” that

 port-a-potties had been delivered “an hour after it happened, for the big media event,”

 and that police were “pulling guns out of cars” and “finding people in the back woods

 who are dressed up in SWAT gear.” Not only did this video continue to advance these

 hideous and reckless lies about the tragedy, but Mr. Jones and his employee Rob Dew

 mocked the families as actors and discussed their desire to see photographs of the

 children’s dead bodies.

        58.   On June 13, 2017, in a video entitled “Media Refuses to Report Alex

 Jones’ Real Statements on Sandy Hook,” Mr. Jones addressed what he knew would be

 a highly embarrassing interview with Megyn Kelly that was scheduled to air several

 days later. During this video, Mr. Jones pointed his viewers to a list of questions


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 published by Zero Hedge, a notorious anonymous website that spreads

 misinformation. These questions were all based on Mr. Jones’ baseless lies, including

 his allegation that school’s website received no internet traffic in the years before the

 attack, that there had been reports of other shooters in the woods who fled, that port-

 a-potties had been delivered within an hour, that FBI crime statistics show no

 murders in Newtown in 2012, that EMTs were not allowed in the building, and that

 Mrs. De La Rosa’s interview was faked using a blue-screen.

        59.   On June 18, 2017, NBC aired Ms. Kelly’s profile of Jones. During his

 interview, Mr. Jones stated that there had been a “cover-up” and “manipulation.” He

 also falsely claimed that children were filmed going in circles in and out of the school.

        60.   The following exchange took place:

                     MEGYN KELLY: But Alex, the parents, one after the
                     other, devastated. The dead bodies that the coroner
                     autopsied…

                     ALEX JONES: And they blocked all that. And they
                     won't release any of it. That's unprecedented.

        61.   Mr. Jones and Ms. Kelly also had the following exchange:

                     JONES: But then what do you do, when they've got
                     the kids going in circles, in and out of the building
                     with their hands up? I've watched the footage. And it
                     looks like a drill.

                     MEGYN KELLY: When you say, "parents faked their
                     children's death," people get very angry.

                     ALEX JONES: Yeah, well, that's - oh, I know. But they
                     don't get angry about the half million dead Iraqis


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                      from the sanctions. Or they don't get angry about all
                      the illegals pouring in.

                   INFOWARS’ 2017 VIDEOS DEFAMING PLAINTIFF

          62.   During her profile of Mr. Jones, Ms. Kelly interviewed Plaintiff Neil Heslin

 about the claims made by Mr. Jones. Addressing Mr. Jones’ hateful lies, Mr. Heslin told

 Ms. Kelly, “I lost my son. I buried my son. I held my son with a bullet hole through his

 head.”

          63.   On June 26, 2017, InfoWars published a video segment hosted by

 reporter Owen Shroyer in which Mr. Shroyer claimed to have reviewed evidence --

 again, from notorious website Zero Hedge -- showing it was impossible for Mr. Heslin

 to have held his son and see his injury.

          64.   During the broadcast, Shroyer said, “The statement [Mr. Heslin] made,

 fact-checkers on this have said cannot be accurate. He’s claiming that he held his son

 and saw the bullet hole in his head. That is his claim. Now, according to a timeline of

 events and a coroner’s testimony, that is not possible.”

          65.   As support for these malicious statements, Mr. Shroyer played

 deceptively edited video footage in which the local medical examiner informed

 reporters that the slain students were initially identified using photographs rather

 than in person. Mr. Shroyer also used a video clip of Sandy Hook parent Lynn

 McDonnel which had been deceptively edited to suggest that she was never allowed

 access to her child’s body. In truth, Mrs. McDonnel stated in her interview that she

 was in possession of her child’s body.

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           66.   Mr. Shroyer also stated, “You would remember if you held your dead kid

 in your hands with a bullet hole. That’s not something you would just misspeak on.”

           67.   Mr. Shroyer continued by stating that Mr. Heslin was “making a pretty

 extreme claim that would be a very thing vivid in your memory, holding his dead

 child.”

           68.   Mr. Shroyer also stated, “The conspiracy theorists on the internet out

 there have a lot of questions are that are yet to be answered. You say whatever you

 want about the event, that’s just a fact.”

           69.   At the conclusion of his report, Mr. Shroyer stated, “Will there be a

 clarification from Heslin or Megyn Kelly? I wouldn’t hold your breath. [Laugh]. So now

 they’re fueling the conspiracy theory claims. Unbelievable.”

           70.   Mr. Shroyer’s report was recklessly false and outrageous. A minimal

 amount of research would have caused any competent journalist not to publish the

 defamatory accusation. According to contemporary news accounts, the bodies of the

 victims were released from the medical examiner into the custody of the families.4

 Funerals where the children’s bodies were in the custody of their parents were widely

 reported on by the press.5 More importantly, the full versions of the deceptively

 edited interviews used by Mr. Shroyer explicitly contradict his allegations.




 4https://patch.com/connecticut/newtown/police-no-motive-emerging-in-newtown-school-shooting
 5http://abcnews.go.com/US/photos/sandy-hook-moment-silence-18026580/image-18045101;
 https://www.washingtonpost.com/politics/funerals-for-newtown-massacre-victims-
 begin/2012/12/17/ffd0a130-486d-11e2-820e-17eefac2f939_story.html?utm_term=.0ccbbb4af100

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        71.   On July 20, 2017, InfoWars programming featured a segment hosted by

 Mr. Jones in which Mr. Shroyer’s report was re-broadcast in full. When introducing

 the segment, Mr. Jones demanded that Mr. Heslin “clarify” what actually happened.

        72.   Mr. Jones said he told Mr. Shroyer, “I could never find out. The stuff I

 found was they never let them see their bodies. That’s kind of what’s weird about

 this.” Dripping with sarcasm, Mr. Jones stated, “But maybe they did. So I’m sure it’s all

 real. But for some reason they don’t want you to see [Shroyer’s segment].”

        73.   After five years of torment by Mr. Jones, the harassment had become

 directly and aggressively focused on Plaintiff’s family. Mr. Jones had cast the attention

 of his dangerous followers specifically towards J.L.’s’ death and Plaintiff’s family.

                       INFOWARS CONTINUED HARASSMENT

        74.   Over the next year, Mr. Jones continued to gaslight Mr. Heslin and other

 victims by insisting that he admitted for years that Sandy Hook was real. He even

 claims to have apologized in a video released on the day of Megyn Kelly profile, on

 June 18, 2017. Yet his video did not actually contain any apology, and soon thereafter,

 Mr. Jones continued to tell his viewers that the shooting was the result of a conspiracy.

 Ultimately Jones waffles and back forth on whether Mr. Heslin’s son and the other

 children actually died, but he consistently maintains the event is “phony,” and repeats

 his dozens of recklessly false assertions to support his conclusion.

        75.   For example, in an October 26, 2017 video entitled “JFK Assassination

 Documents To DROP Tonight,” Mr. Jones claimed that the CIA visited Sandy Hook


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 shooter Adam Lanza and recruited him. He claimed that the truth about Lanza is not

 known because “they bulldozed the house to get rid of it.” Mr. Jones told his audience

 that Sandy Hook was “as phony as a three-dollar bill, with CNN doing fake newscasts,

 with blue screens.”

        76.   Despite his well-documented conduct, Mr. Jones decided to cast the

 families as dishonest not only about Sandy Hook, but about their own torment at his

 hands. In a video on April 20, 2018 entitled, “MSM Continues to Demonize Alex Jones,”

 Mr. Jones once again proved himself to be an emotionally manipulative liar while

 mocking the parents with a cruel and juvenile imitation:

              I think they almost do this to mess with us or something.
              I'm serious, man…They go, "Oh, my gosh, why are you
              doing that? You hurt me." And we’re like, "No, no. We're
              sorry." "You’ve hurt me." And like five years later, "You hurt
              me. Stop hurting me." And we're like, "But we're not
              bringing you up.”

        77.   In truth, Mr. Jones has continuously leveled his accusations against the

 parents, repeated a collection of false claims about the shooting, and even claimed the

 incident was phony a few months before the first lawsuits were filed against him.

        78.   In the same video on April 20, 2018, Mr. Jones continued to accuse the

 parents of lying about his conduct, and he falsely claimed that he had not discussed

 Sandy Hook in many years. In a mocking imitation, he stated, “‘Oh, my gosh. Alex has

 no heart. He is -- nothing is sacred. He brought it up again.’ No. You did and lied about

 it.”



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         79.   In the April 20, 2018 video, Mr. Jones also falsely claimed he had never

 attacked the victims, stating, “I have never gone after the Sandy Hook parents…Who

 in the hell would try to go after people's parents who have dead children?”

         80.   In the April 20, 2018 video, Mr. Jones also continued to make recklessly

 false claims about Sandy Hook. For example, Mr. Jones stated, “You can look it up.

 They stood down in Sandy Hook. They stood down in Parkland. That's a fact.” Later

 in the video, he repeated his claim that there was a police “stand down” at Sandy

 Hook.

         81.   In the April 20, 2018 video, Mr. Jones also continued his bizarre

 allegations about Veronique De La Rosa’s interview with Anderson Cooper, stating,

 “It's just a background with the flowers of the town hall and her and Anderson Cooper.

 And then he turns and his head is shimmery, and his nose disappears, which

 everybody knows is a chroma key.” Mr. Jones also repeated his claim that Anderson

 Cooper was working for the CIA, and he continued to assert that the interview was

 shot in front of a blue-screen rather than the result of digital compression.

         82.   Finally, it must be noted that the above descriptions of InfoWars’

 conduct are not exhaustive. InfoWars has published an enormous amount of video

 and written content regarding its Sandy Hook hoax claim. Much of that material has

 been removed from the public domain over the last few months and cannot be

 identified by date and title. It is impossible for the Plaintiff to present the full scope of




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 InfoWars’ actions over the past five years without testimony and documents from the

 participants.

           83.   Nonetheless, it is clear that InfoWars did not merely “cover” the Sandy

 Hook conspiracy. Instead, its malicious allegations about Sandy Hook quickly become

 a core element of its programming and soon turned into an outrageous five-year

 obsession.

                                     CAUSES OF ACTION

 I.        Defamation and Defamation Per Se

           84.   All previous allegations are incorporated by reference.

           85.   Plaintiff is a private individual and is neither a public official nor a public

 figure.

           86.   The June 26, 2017 and July 20, 2017 broadcasts by Defendants were

 false, both in their particular facts and in the main point, essence, or gist in the context

 in which they were made.

           87.   The June 26, 2017 and July 20, 2017 broadcasts by Defendants, while

 defamatory in their own right, were also continuations and elaborations of an

 underlying defamatory assertion which Defendants have advanced since 2013,

 namely that Plaintiff has lied to the American people about the death of his son and

 has participated in a horrifying criminal cover-up.




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        88.       In viewing the June 26, 2017 and July 20, 2017 broadcasts, a reasonable

 member of the public would be justified in inferring that the publications implicated

 the Plaintiff.

        89.       The June 26, 2017 and July 20, 2017 broadcasts were also defamatory

 because they are reasonably susceptible to a defamatory meaning by innuendo. A

 reasonable person, reviewing the statements in question, could conclude the Plaintiff

 was being accused of engaging in fraudulent or illegal activity. In context, the gist of

 the statements could be construed as defamatory to the Plaintiff by an average

 member of general public.

        90.       Defendants’ defamatory publications were designed to harm Plaintiff’s

 reputation and subject the Plaintiff to public contempt, disgrace, ridicule, or attack.

        91.       Defendants acted with actual malice. Defendants’ defamatory

 statements were knowingly false or made with reckless disregard for the truth or

 falsity of the statements at the time the statements were made.

        92.       Defendants’ defamatory publications were not privileged.

        93.       Defendants’ defamatory statements constitute defamation per se. The

 harmful nature of the defamatory statements is self-evident. The defamatory

 statements implicate the Plaintiff in heinous criminal conduct. False implications of

 criminal conduct are the classic example of defamation per se.

        94.       Defendants publicly disseminated the defamatory publications to an

 enormous audience causing significant damages to the Plaintiff.


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        95.      Defendants’ defamatory publications have injured Plaintiff’s reputation

 and image, and they have exposed Plaintiff to public and private hatred, contempt,

 and ridicule.

        96.      In light of their prior experience with these kinds of reckless statements,

 Defendants knew that their publication could cause Plaintiff to suffer harassment and

 potential violence.

        97.      Defendants’ defamatory publications have and will continue to cause

 harm to Plaintiff. Due to Defendants’ conduct, the Plaintiff has suffered and continues

 to suffer substantial damages in an amount to be proven at trial.

 II.    Intentional Infliction of Emotional Distress.

        98.      All previous allegations are incorporated by reference.

        99.      Defendants knew or should have known that their videos on November

 18, 2016, March 8, 2017, April 22, 2017, June 13, 2017, June 19, 2017, June 26, 2017,

 July 20, 2017, October 26, 2017, and April 20, 2018 would cause Plaintiff severe

 emotional distress and cause his family to be the subject of harassment, ridicule, and

 threats to their safety.

        100. Defendants made the statements in these videos in bad faith and with

 malicious motives, knowing the statements were false or in reckless disregard for the

 truth, and knowing they would cause severe emotional distress.

        101. Defendants        consistently   published    false   assertions   about   the

 circumstances of the death of Plaintiff’s child in scores of videos and articles for years,


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 long after it should have known its allegations were false and causing emotional

 distress and danger.

        102. In addition, Defendants have been acting in a continuing course of

 conduct against Plaintiff since at least January 27, 2013, when Mr. Jones first made

 his outrageous and false Sandy Hook hoax allegation. Since that time, Defendants have

 been engaged in a continuous campaign of cruel and dishonest harassment as

 detailed above.

        103. Defendants’ malicious statements were part of a continuous pattern of

 five years of intentional and reckless harassment accomplished through dozens of

 disturbing videos, a relentless stream of recklessly false articles published on

 InfoWars.com, harassing social media content, as well as the encouragement, aid, and

 financial support to third parties in furthering this harassment. The cumulative

 quality and quantity of the harassment has been extreme and has shocked the nation.

        104. Defendants recognized the existence and distress of the Sandy Hook

 parents and often addressed the parents directly in their outrageous videos.

        105. In light of their prior experience with these kinds of reckless statements,

 Defendants knew or should have known that their conduct could cause Plaintiff and

 her family to suffer harassment and violence. Defendants knew or should have known

 their reckless conduct was likely to prompt its audience to contact or communicate

 with Sandy Hook victims in a hostile or harassing manner.




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           106. Severe emotional distress was the primary risk created by Defendants’

 reckless conduct.

           107. Defendants’ conduct, as a whole, was outrageous and intolerable, going

 beyond all possible bounds of decency.

           108. Defendants’ five-year campaign of willful lies and malicious harassment

 was utterly intolerable in a civilized community.

           109. No reasonable person could be expected to endure the emotional

 distress inflicted upon Plaintiff.

           110. Plaintiff is a private individual and is neither a public official nor a public

 figure.

           111. Defendants’ actions were not conducted in a public space. Rather,

 Defendants’ actions were conducted on its own private property for the purpose of

 profit.

 III.      Conspiracy

           112. All previous allegations are incorporated by reference.

           113. Defendants acted together, as a cabal, to accomplish their campaign of

 defamation. Defendants had a meeting of the minds on the object or course of action

 underlying their pattern of conduct.

           114. As a result of this meeting of the minds, Defendants collectively

 committed the unlawful overt acts detailed above.




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        115. Defendants are jointly and severally liable for the injuries Mr. Heslin

 suffered due to Defendants’ wrongful actions.

 IV.    Respondeat Superior

        116. All previous allegations are incorporated by reference.

        117. When InfoWars employees acted in the manner described in this

 Petition, they did so as agents of InfoWars and within the scope of their authority

 from Mr. Jones.

        118. InfoWars and Alex Jones are liable for the damages proximately caused

 by the conduct of employees and agents, including Owen Shroyer, pursuant to the

 doctrine of respondeat superior.

                                       DAMAGES

        119. Defendants’ actions have and will continue to cause harm to Plaintiff.

 Due to Defendants’ conduct, Plaintiff has suffered and continue to suffer substantial

 damages in an amount to be proven at trial.

        120. Plaintiff has suffered general and special damages, including a severe

 degree of mental stress and anguish which disrupted her daily routine and caused a

 high degree of psychological pain.

        121. Plaintiff is also entitled to exemplary damages because the Defendants

 acted with gross negligence, ill-will, and malice.

        122. Plaintiff is entitled to pre-judgment and post-judgment interest, costs of

 court, and attorney’s fees.


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        123. Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff is

 seeking an amount in relief which exceeds $1,000,000.

                                    JURY DEMAND

        124. Plaintiff demands a jury trial and tendered the appropriate fee with his

 Original Petition.

                                        PRAYER

        WHEREFORE PREMISES CONSIDERED, Plaintiff Neil Heslin asks that the Court

 issue citation for each Defendant to appear and answer, and that Plaintiff be awarded

 all the damages set forth above, and to grant whatever further relief to which Plaintiff

 is justly entitled.

                                         Respectfully submitted,

                                         KASTER LYNCH FARRAR & BALL, LLP


                                         ____________________________________
                                         MARK D. BANKSTON
                                         State Bar No. 24071066
                                         KYLE W. FARRAR
                                         State Bar No. 24034828
                                         WILLIAM R. OGDEN
                                         State Bar No. 24073531
                                         1010 Lamar, Suite 1600
                                         Houston, Texas 77002
                                         713.221.8300 Telephone
                                         713.221.8301 Fax




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                                  CERTIFICATE OF SERVICE


       I hereby certify that on June 26, 2019, the forgoing pleading was served upon all
 counsel of record via electronic service, as follows.


 Via E-Sevice: fly63rc@verizon.net

 Mark C. Enoch
 Glast, Phillips & Murray, P.C.
 14801 Quorum Drive, Ste. 500
 Dallas, Texas 75254




                                          ____________________________________
                                          MARK D. BANKSTON




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                                                                                       Travis County
                                                                                    D-1-GN-18-001835
                            CAUSE NO. D-1-GN-18-001835                              Adrian Rodriguez

  NEIL HESLIN,                               §                 IN DISTRICT COURT OF
    Plaintiff                                §
                                             §
  VS.                                        §                TRAVIS COUNTY, TEXAS
                                             §
  ALEX E. JONES, INFOWARS, LLC,              §
  FREE SPEECH SYSTEMS, LLC, and              §                   53rd DISTRICT COURT
  OWEN SHROYER,                              §
    Defendants                               §


                     PLAINTIFF’S THIRD AMENDED PETITION


        Plaintiff NEIL HESLIN files this Third Amended Petition against Defendants,

 ALEX JONES, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC, and OWEN SHROYER,

 and alleges as follows:

                             DISCOVERY CONTROL PLAN

        1.    Plaintiff intends to seek a customized discovery control plan under Level

 3 of Texas Rule of Civil Procedure 190.4.

                                        PARTIES

        2.    Plaintiff Neil Heslin in an individual residing in the State of Connecticut.

        3.    Defendant Alex E. Jones is a resident of Austin, Texas. He is the host of

 radio and web-based news programing, including “The Alex Jones Show,” and he

 owns and operates the website InfoWars.com. Mr. Jones can be served at his place of

 business, InfoWars, 3019 Alvin Devane Blvd., Suite 300-350, Austin, TX 78741.




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        4.    Defendant InfoWars, LLC is a Texas limited liability company with

 principal offices located in Austin, Texas. It may be served at the address of its

 attorney, Eric Taube, at 100 Congress Avenue, 18th Floor, Austin, TX 78701.

        5.    Defendant Free Speech Systems, LLC is a Texas limited liability company

 with principal offices located in Austin, Texas. It may be served at the address of its

 registered agent, Eric Taube, at 100 Congress Avenue, 18th Floor, Austin, TX 78701.

        6.    Defendant Owen Shroyer is an individual residing in Travis County. At

 all times relevant to this suit, Mr. Shroyer has been a reporter for InfoWars. Mr.

 Shroyer can be served at the address of his employer, InfoWars, 3019 Alvin Devane

 Blvd., Suite 300-350, Austin, TX 78741.

        7.    At all times relevant to this Petition, Defendants Alex Jones, InfoWars,

 LLC, and Free Speech Systems, LLC operated as a joint-venture, joint-enterprise,

 single business enterprise, or alter ego.

                                JURISDICTION & VENUE

        8.    The damages sought in this case exceed the minimum jurisdictional

 limits of Travis County District Courts.

        9.    Venue is proper in Travis County under Tex. Civ. Prac. & Rem. Code

 §15.002 because it is the county of Defendants’ residence at the time the cause of

 action accrued.




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                                       FACTUAL BACKGROUND

           10.     Plaintiff Neil Heslin is the parent of deceased minor J.L., a victim of the

 December 14, 2012 Sandy Hook Elementary School shooting.

           11.     This case arises out of accusations by InfoWars in the summer of 2017

 that Plaintiff was lying about whether he actually held his son’s body and observed a

 bullet hole in his head. This heartless and vile act of defamation re-ignited the Sandy

 Hook “false flag” conspiracy and tore open the emotional wounds that Plaintiff has

 tried so desperately to heal.

           12.     This conspiracy theory, which has been pushed by InfoWars and Mr.

 Jones since the day of the shooting, alleges that the Sandy Hook massacre did not

 happen, or that it was staged by the government and concealed using actors, and that

 the parents of the victims are participants in a horrifying cover-up.

           13.     During the June 18, 2017 profile of Jones for her NBC show Sunday Night

 with Megyn Kelly, Ms. Kelly interviewed Plaintiff about the claims made by Jones in

 the past, including that “the whole thing was fake” and “a giant hoax.” 1 Addressing

 this hateful lie, Plaintiff told Kelly, “I lost my son. I buried my son. I held my son with

 a bullet hole through his head.”2

           14.     On June 26, 2017, InfoWars’ broadcast featured a segment hosted by

 reporter Owen Shroyer in which Shroyer claimed to have reviewed evidence showing

 it was impossible for Plaintiff to have held his son and see his injury.


 1   https://www.realclearpolitics.com/video/2017/06/18/full_video_megyn_kelly_interviews_alex_jones.html
 2   Id.

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        15.     During the broadcast, Shroyer said, “The statement [Plaintiff] made,

 fact-checkers on this have said cannot be accurate. He’s claiming that he held his son

 and saw the bullet hole in his head. That is his claim. Now, according to a timeline of

 events and a coroner’s testimony, that is not possible.” 3

        16.     As support for these defamatory statements, Shroyer played video

 footage where the local medical examiner informed reporters that the slain students

 were initially identified using photographs rather than in person.

        17.     Shroyer also stated, “You would remember if you held your dead kid in

 your hands with a bullet hole. That’s not something you would just misspeak on.”4

        18.     Stroyer continued by stating that Plaintiff was “making a pretty extreme

 claim that would be a very thing vivid in your memory, holding his dead child.” 5

        19.      “The conspiracy theorists on the internet out there have a lot of

 questions are that are yet to be answered. You say whatever you want about the

 event, that’s just a fact.”6

        20.     At the conclusion of his report, Shroyer stated, “Will there be a

 clarification from Heslin or Megyn Kelly? I wouldn’t hold your breath. [Laugh]. So now

 they’re fueling the conspiracy theory claims. Unbelievable.”7




 3 https://www.infowars.com/zero-hedge-discovers-anomaly-in-alex-jones-hit-piece/
 4 Id.
 5 Id.
 6 Id.
 7 Id.


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        21.     The underlying point or gist of Shroyer’s report is that Plaintiff’s version

 “is not possible” and “cannot be accurate,” and that Plaintiff was lying about the

 circumstances of his son’s tragic death for a nefarious and criminal purpose.

        22.     Shroyer’s report was manifestly false. In addition, a minimal amount of

 research would have caused any competent journalist not to publish the defamatory

 accusation. According to contemporary news accounts, the bodies of the victims were

 released from the medical examiner into the custody of the families.8 Funerals where

 the children’s bodies were in the custody of their parents were widely reported on by

 the press.9

        23.     On July 20, InfoWars programming featured a segment hosted by Alex

 Jones in which Shroyer’s report was re-broadcast in full. When introducing the

 segment, Jones demanded that Plaintiff “clarify” what actually happened.

        24.     After showing the segment, Jones said he told Shroyer, “I could never

 find out. The stuff I found was they never let them see their bodies. That’s kind of

 what’s weird about this. But maybe they did. So I’m sure it’s all real. But for some

 reason they don’t want you to see [Shroyer’s segment].”10




 8 https://patch.com/connecticut/newtown/police-no-motive-emerging-in-newtown-school-shooting
 9 http://abcnews.go.com/US/photos/sandy-hook-moment-silence-18026580/image-18045101;
 https://www.washingtonpost.com/politics/funerals-for-newtown-massacre-victims-
 begin/2012/12/17/ffd0a130-486d-11e2-820e-17eefac2f939_story.html?utm_term=.0ccbbb4af100
 10 https://www.mediamatters.org/blog/2017/07/21/alex-jones-sandy-hook-dad-needs-clarify-whether-he-

 actually-held-his-son-s-body-and-saw-bullet-hole/217333

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        25.    Regarding the Sandy Hook shooting, Jones said, “Can I prove that New

 Haven [sic] didn’t happen? No. So I’ve said, for years, we’ve had debates about it, that

 I don’t know. But you can’t blame people for asking.” 11

        26.    Mr. Jones was lying. In the five years following the tragedy, he has

 repeatedly and unequivocally called the Sandy Hook shooting a hoax.

         BACKGROUND TO INFOWARS’ 2017 DEFAMATORY STATEMENTS

        27.    In order to appreciate the full defamatory impact and the extent of the

 mental anguish caused by InfoWars’ 2017 statements, it is necessary to understand

 InfoWars’ long history of harassing the Sandy Hook parents. InfoWars’ 2017

 statements are but the latest in a series of false, hurtful, and dangerous assertions

 about the tragedy.

        28.    In 2013, Jones called the shooting “staged” and said, “It’s got inside job

 written all over it.”12

        29.    In March 2014, Jones said, “Folks, we’ve got video of Anderson Cooper

 with clear blue-screen out there. [Shaking head]. He’s not there in the town square.

 We got people clearly coming up and laughing and then doing the fake crying. We’ve

 clearly got people where it’s actors playing different parts for different people, the

 building bulldozed, covering up everything. Adam Lanza trying to get guns five times

 we’re told. The witnesses not saying it was him…I’ve looked at it and undoubtedly,


 11Id.
 12https://www.mediamatters.org/blog/2013/04/15/alex-jones-on-boston-blasts-us-govt-is-prime-
 su/193635; https://www.mediamatters.org/embed/clips/2016/11/29/51289/gcn-alexjones-20130409-
 sandyhook

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 there’s a cover-up, there’s actors, they’re manipulating, they’ve been caught lying, and

 they were pre-planning before it and rolled out with it.”13

        30.     In May 2014, InfoWars published an article titled: “CONNECTICUT

 TRIES TO HIDE SANDY HOOK TRUTH.”14

        31.     In September 2014, InfoWars published an article titled: “FBI SAYS NO

 ONE KILLED AT SANDY HOOK.”15

        32.     In December 2014, Jones said on his radio program, “The whole thing is

 a giant hoax. How do you deal with a total hoax? It took me about a year, with Sandy

 Hook, to come to grips with the fact that the whole thing was fake. I did deep

 research.”16

        33.     In the same December 2014 broadcast, Jones continued: “The general

 public doesn’t know the school was actually closed the year before. They don’t know

 they’ve sealed it all, demolished the building. They don’t know that they had the kids

 going in circles in and out of the building as a photo-op. Blue screen, green screens,

 they got caught using.”17

        34.     Jones made similar comments in January 2015, stating on InfoWars:

 “You learn the school had been closed and re-opened. And you’ve got video of the kids

 going in circles, in and out of the building, and they don’t call the rescue choppers for




 13 https://www.mediamatters.org/embed/clips/2016/11/29/51283/gcn-alexjones-20140314-shooting
 14 https://www.infowars.com/connecticut-tries-to-hide-sandy-hook-truth/
 15 https://www.infowars.com/fbi-says-no-one-killed-at-sandy-hook/
 16 https://www.realclearpolitics.com/video/2017/06/18/full_video_megyn_kelly_interviews_alex_jones.html
 17 https://www.mediamatters.org/embed/clips/2016/11/29/51292/gcn-alexjones-20141228-sandyhook


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 two hours, and then they tear the building down, and seal it. And they get caught using

 blue-screens, and an email by Bloomberg comes out in a lawsuit, where he’s telling

 his people get ready in the next 24 hours to capitalize on a shooting. Yeah, so Sandy

 Hook is a synthetic, completely fake with actors, in my view, manufactured. I couldn’t

 believe it at first. I knew they had actors there, clearly, but I thought they killed some

 real kids. And it just shows how bold they are that they clearly used actors. I mean

 they even ended up using photos of kids killed in mass shootings here in a fake mass

 shooting in Turkey, or Pakistan. The sky is now the limit.”18

        35.    Mr. Jones’ statement about Pakistan refers to a conspiracy theory Jones

 helped spread involving deceased minor child N.P., a Sandy Hook victim whose

 photograph appeared at vigil for children slain a school attack in Peshawar. On the

 day of the Peshawar incident, a Pakistani woman created a collage of photographs

 of young people killed in school attacks and posted it to Facebook with the caption

 “They Went to School and Never Came Back.” 19 Because the Peshawar shooting

 occurred very close to the anniversary of the Sandy Hook massacre, she included a

 picture of a child from the latter event, along with pictures of Peshawar victims. 20

 That collage was then printed out and cut up into the individual photographs

 displayed by mourners at a vigil for the Peshawar victims. 21




 18 https://www.mediamatters.org/embed/clips/2016/11/29/51290/gcn-alexjones-20150113-shooting
 19 https://www.snopes.com/fact-check/info-boors/
 20 Id.
 21 Id.


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           36.     In the same month, January of 2015, InfoWars published an article titled:

 “MYSTERY: SANDY HOOK VICTIM DIES (AGAIN) IN PAKISTAN.” 22 The article states:

 “A large-scale attack on a school in Peshawar, Pakistan, last month left 132 school

 children and 10 teachers dead. Among the alleged victims emerged the familiar face

 of [deceased minor N.P.], one of the children supposedly killed in the December 2012

 Sandy Hook school shooting in Newtown, Connecticut.” InfoWars’ story was meant to

 reinforce Mr. Jones’ persistent lie that N.P. and the other victims of the shooting, such

 as Plaintiff’s son J.L., are not real.

           37.     In July 2015, Mr. Jones stated on InfoWars: “But you’ve got green-screen

 with Anderson Cooper, where I was watching the video, and the flower and plants

 were blowing in some of them, and then they blow again the same way. It’s looped.

 And then his nose disappears. I mean, it’s fake. The whole thing is…I don’t know what

 happened. It’s kind of like if you see a hologram at Disney World in the Haunted

 House. You know? I don’t know how they do it, but it’s not real. When you take your

 kids to see the Haunted House and ghosts are flying around, it’s not real, folks. It’s

 staged. I mean, a magician grabs a rabbit out of his hat. I know he’s got a box under

 the table that he reaches in and gets the rabbit. I don’t know what the trick is here.

 I’ve got a good suspicion. But when you’ve got Wolfgang Halbig…He believed it was

 real. People called him. He went and investigated. No paperwork, no nothing. It’s bull.




 22   https://www.infowars.com/mystery-sandy-hook-victim-dies-again-in-pakistan/

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 And now an FBI retired agent, who retired, you know, with decorations. I mean,

 [InfoWars reporter Rob] Dew, this unprecedented.”23

        38.     In the same month, InfoWars published an article titled: “MEGA

 MASSIVE COVER UP: RETIRED FBI AGENT INVESTIGATES SANDY HOOK.” 24

        39.     In January of 2016, Florida resident Lucy Richards left threatening

 voicemail messages and sent violent emails to Leonard Pozner, a fellow Sandy Hook

 parent and personal friend of Plaintiff Neil Heslin. The threats included messages

 stating: “you gonna die, death is coming to you real soon” and “LOOK BEHIND YOU IT

 IS DEATH.”25 When Richards was later sentenced, Senior U.S. District Judge James

 Cohn stated: “I'm sure [Leonard Pozner] wishes this was false, and he could embrace

 [N.P.], hear [N.P.’s] heartbeat and hear [N.P.] say ‘I love you, Dad’…Your words were

 cruel and insensitive. This is reality and there is no fiction. There are no alternative

 facts.”26 As part of her sentence, Ms. Richards will not be permitted to access a list of

 conspiracy-based websites upon her release, including InfoWars.27 Ms. Richard’s

 arrest and sentencing are an ominous reminder to the Plaintiff of the danger posed

 by InfoWars’ continuing lies about Sandy Hook.




 23 https://www.mediamatters.org/embed/clips/2016/11/29/51284/gcn-alexjones-20150707-shooting
 24 https://www.infowars.com/mega-massive-cover-up-retired-fbi-agent-investigates-sandy-hook/
 25 https://www.nbcnews.com/news/us-news/conspiracy-theorist-arrested-death-threats-against-sandy-

 hook-parent-n693396
 26 http://www.nydailynews.com/news/crime/judge-hands-sandy-hook-truther-prison-sentence-article-

 1.3229754
 27 https://www.buzzfeed.com/claudiakoerner/a-conspiracy-theorist-will-serve-time-for-threatening-a


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        40.     In November 2016, Mr. Jones appeared on InfoWars and ranted about

 false Sandy Hook claims for twenty minutes.28

        41.     During the November 2016 video broadcast, Mr. Jones stated: “That

 shows some kind of cover-up happening. And then I saw Anderson Cooper -- I’ve been

 in TV for twenty-something years, I know a blue-screen or a green-screen -- turn and

 his nose disappeared. Then I saw clearly that they were using footage on the green-

 screen looped, because it would show flowers and other things during other

 broadcasts that were moving, and then basically cutting to the same piece of

 footage…Then we see footage of one of the reported fathers of the victims, Robbie

 Parker, doing classic acting training.”29

        42.     During the November 2016 broadcast, Jones played video footage of

 Anderson Cooper interviewing Sandy Hook parent Veronique De La Rosa, at which

 point Jones stated: “We point out clear chromakey, also known as blue-screen or

 greenscreen being used, and we’re demonized. We point out that they’re clearly doing

 fake interviews.”30 This false statement was likewise used to support Mr. Jones’

 vicious lie.

        43.     Towards the end of the November 2016 broadcast, Mr. Jones stated:

 “Why should anybody fear an investigation? If they have nothing to hide? In fact, isn’t

 that in Shakespeare’s Hamlet? Methinks you protest too much…This particular case,



 28 https://www.youtube.com/watch?v=MwudDfz1yAk
 29 Id.
 30 Id.


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 they are so scared of investigation. Everything they do ends up blowing up in their

 face, so guys are going to get what you want now. I’m going to start re-investigating

 Sandy Hook and everything else that happened with it.”31

            44.   Mr. Jones concluded the video by stating: “So, if children were lost at

 Sandy Hook, my heart goes out to each and every one of those parents. And the people

 who say they’re parents that I see on the news. The only problem is, I’ve watched a

 lot of soap operas. And I’ve seen actors before. And I know when I’m watching a movie

 and when I’m watching something real.”32

            45.   The November 2016 video broadcast was entitled, “Alex Jones Final

 Statement on Sandy Hook.” It was Plaintiff’s hope that the title was accurate, and that

 Mr. Jones would finally end his reckless attacks on the Sandy Hook parents and his

 assertions that they were liars and actors engaged in a fraud on the American people.

            46.   As horrifying as the November 2016 broadcast was, its promise of being

 the “Final Statement” gave hope to Plaintiff that his harassment and defamation by

 Mr. Jones might be coming to an end after four long years.

            47.   Those hopes were soon dashed. Instead, InfoWars made continuing

 defamatory comments in 2017 as outlined above.

            48.   Mr. Jones also made additional comments in April of 2017 which

 repeated the claims which form the rickety structure of Mr. Jones’ colossal lie about

 Sandy Hook, including the allegation that fellow Sandy Hook parent Veronique De La


 31   Id.
 32   Id.

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 Rosa conducted a fake interview with Anderson Cooper to hide the truth, while telling

 his viewers not to “believe any of it.”33

        49.     On June 18, 2017, Mr. Jones made additional comments when

 interviewed by Megyn Kelly, during which he stated: “I do think there's some cover-

 up and some manipulation.”34 The following exchange took place:

                MEGYN KELLY: But Alex, the parents, one after the other,
                devastated. The dead bodies that the coroner autopsied …

                ALEX JONES: And they blocked all that. And they won't
                release any of it. That's unprecedented.35

        Jones and Kelly also had the following exchange:

                JONES: But then what do you do, when they've got the kids
                going in circles, in and out of the building with their hands
                up? I've watched the footage. And it looks like a drill.

                MEGYN KELLY: When you say, "parents faked their
                children's death," people get very angry.

                ALEX JONES: Yeah, well, that's - oh, I know. But they don't
                get angry about the half million dead Iraqis from the
                sanctions. Or they don't get angry about all the illegals
                pouring in.36

        50.     Shortly following the Megyn Kelly interview, on June 26, 2017, InfoWars

 reporter Owen Shroyer made the defamatory statements referenced above.

        51.     As such, the broadcasts made by InfoWars on June 26, 2017 and July 20,

 2017 defaming Mr. Heslin did not occur in isolation. Rather, the statements were a


 33 https://www.youtube.com/watch?v=rUn1jKhWTXI
 34 https://www.realclearpolitics.com/video/2017/06/18/full_video_megyn_kelly_interviews_alex_jones.html
 35 Id.
 36 Id.


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 continuation and elaboration of a years-long campaign to falsely attack the Sandy

 Hook parents, casting them as participants in a ghastly conspiracy and cover-up.

           52.   By making defamatory accusations about Plaintiff in 2017, InfoWars

 breathed new life into this conspiracy and caused intense emotional anguish and

 despair. For that reason, Plaintiff brings this suit against Defendants.

                                     CAUSES OF ACTION

 I.        Defamation and Defamation Per Se

           53.   All previous allegations are incorporated by reference.

           54.   Plaintiff is a private individual and is neither a public official nor a public

 figure.

           55.   The June 26, 2017 and July 20, 2017 broadcasts by Defendants were

 false, both in their particular facts and in the main point, essence, or gist in the context

 in which they were made.

           56.   In viewing the June 26, 2017 and July 20, 2017 broadcasts, a reasonable

 member of the public would be justified in inferring that the publications implicated

 the Plaintiff. Individuals who know the Plaintiff understood the publications to

 concern Plaintiff.

           57.   The June 26, 2017 and July 20, 2017 broadcasts were also defamatory

 because they are reasonably susceptible to a defamatory meaning by innuendo. A

 reasonable person, reviewing the statements in question, could conclude the Plaintiff

 was being accused of engaging in fraudulent or illegal activity. In context, the gist of


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 the statements could be construed as defamatory to the Plaintiff by an average

 member of general public. Individuals who know the Plaintiff understood the

 publications to implicate criminal conduct by Plaintiff.

        58.      Defendants’ defamatory publications were designed to harm Plaintiff’s

 reputation and subject the Plaintiff to public contempt, disgrace, ridicule, or attack.

        59.      Defendants acted with actual malice. Defendants’ defamatory

 statements were knowingly false or made with reckless disregard for the truth or

 falsity of the statements at the time the statements were made.

        60.      Defendants’ defamatory publications were not privileged.

        61.      Defendants’ defamatory statements constitute defamation per se. The

 harmful nature of the defamatory statements is self-evident. The defamatory

 statements implicate the Plaintiff in heinous criminal conduct. False implications of

 criminal conduct are the classic example of defamation per se.

        62.      Defendants publicly disseminated the defamatory publications to an

 enormous audience causing significant damages to the Plaintiff.

        63.      Defendants’ defamatory publications have injured Plaintiff’s reputation

 and image, and they have exposed Plaintiff to public and private hatred, contempt,

 and ridicule.

        64.      In light of their prior experience with these kinds of reckless statements,

 Defendants knew that their publication could cause Plaintiff to suffer harassment and

 potential violence.


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        65.   Defendants’ defamatory publications have and will continue to cause

 harm to Plaintiff. Due to Defendants’ conduct, the Plaintiff has suffered and continues

 to suffer substantial damages in an amount to be proven at trial.

                                       DAMAGES

        66.   Defendants’ actions have and will continue to cause harm to Plaintiff.

 Due to Defendants’ conduct, Plaintiff has suffered and continue to suffer substantial

 damages in an amount to be proven at trial.

        67.   Plaintiff has suffered general and special damages, including a severe

 degree of mental stress and anguish which disrupted his daily routine and caused a

 high degree of psychological pain.

        68.   Plaintiff is also entitled to exemplary damages because the Defendants

 acted with gross negligence, ill-will, and malice.

        69.   Plaintiff is entitled to pre-judgment and post-judgment interest, costs of

 court, and attorney’s fees.

        70.   Pursuant to Rule 47 of the Texas Rules of Civil Procedure, Plaintiff is

 seeking an amount in relief which exceeds $1,000,000.

                                      JURY DEMAND

        71.   Plaintiff demands a jury trial and tendered the appropriate fee with his

 Original Petition.




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                                        PRAYER

        WHEREFORE PREMISES CONSIDERED, Plaintiff Neil Heslin asks that the Court

 issue citation for each Defendant to appear and answer, and that Plaintiff be awarded

 all the damages set forth above, and to grant whatever further relief to which Plaintiff

 is justly entitled.

                                         Respectfully submitted,

                                         KASTER LYNCH FARRAR & BALL, LLP


                                         ____________________________________
                                         MARK D. BANKSTON
                                         State Bar No. 24071066
                                         KYLE W. FARRAR
                                         State Bar No. 24034828
                                         WILLIAM R. OGDEN
                                         State Bar No. 24073531
                                         1010 Lamar, Suite 1600
                                         Houston, Texas 77002
                                         713.221.8300 Telephone
                                         713.221.8301 Fax




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                               CERTIFICATE OF SERVICE


       I hereby certify that on August 8, 2019, the forgoing pleading was served upon all
 counsel of record via electronic service, as follows.


 Via E-Sevice: mburnett@BurnettTurner.com

 Michael Burnett
 Burnett Turner
 6034 W. Courtyard Drive, Suite 140
 Austin, Texas 78730




                                         ____________________________________
                                         MARK D. BANKSTON




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                                    CAUSE NO. D-1-GN-18-001835                        Kyla Crumley

     NEIL HESLIN                                       §         IN DISTRICT COURT OF
       Plaintiff                                       §
                                                       §
     VS.                                               §         TRAVIS COUNTY, TEXAS
                                                       §
     ALEX E. JONES, INFOWARS, LLC,                     §
     FREE SPEECH SYSTEMS, LLC, and                     §          53rd DISTRICT COURT
     OWEN SHROYER,                                     §
       Defendants                                      §


           PLAINTIFF’S SUPPLEMENTAL RESPONSE TO DEFENDANTS’ MOTION TO
                DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT


            Comes now, Plaintiff Neil Heslin, and files this Supplemental Response to

 InfoWars’ TCPA Motion to provide further evidence of actual malice revealed in a

 similar IIED lawsuit, Lewis v. Jones. This response includes evidence relating to

 InfoWars Chief Reporter Paul Watson, testimony from Alex Jones, and testimony from

 InfoWars producer Robert Jacobson. Finally, this response includes a declaration

 from Plaintiff’s counsel regarding fees incurred in the TCPA process.

 I.         Paul Watson’s Warnings Demonstrate Actual Malice.

            Paul Watson has served as InfoWars’ Chief Reporter since 2014.1 From the

 beginning, Mr. Watson had expressed strong reservations about InfoWars’ reckless

 treatment of Sandy Hook information. Mr. Jones testified Mr. Watson frequently

 warned him about InfoWars’ coverage of Sandy Hook:




 1   Exhibit 1, Deposition of Alex Jones in Lewis, at 72:17.

                                                       1
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                 Q.       And he frequently warned you about what you were
                          saying about Sandy Hook?

                 A.       Well, I mean, we had discussions about it, yes. We're
                          not running a cult. We have different views.2

         Mr. Jones testified Paul Watson “was saying that some of the people that were

 out there putting stuff out, like Fetzer and others in that, were not good.”3 This is quite

 an understatement. On December 17, 2015, Paul Watson wrote to two of his co-

 workers to let them know he had sent Alex Jones the following message:

                 This Sandy Hook stuff is killing us. It's promoted by the
                 most batshit crazy people like Rense and Fetzer who all
                 hate us anyway. Plus it makes us look really bad to align
                 with people who harass the parents of dead kids. It's gonna
                 hurt us with Drudge and bringing bigger names into the
                 show. Plus the event happened 3 years ago, why even risk
                 our reputation for it?4

         Despite Mr. Watson’s warning in 2015 that the conspiracy theorists InfoWars

 was relying on were “batshit crazy,” Mr. Jones continued to spread their absurd claims

 until he was sued in 2018. It is a rare and outrageous case where a media outlet’s

 Chief Reporter acknowledges their source is mentally disturbed.5

 II.     Alex Jones’ Lewis Deposition Demonstrates Actual Malice.

         Mr. Jones’ deposition testimony in the Lewis case was a three-hour admission

 of actual malice. During his deposition, Mr. Jones candidly admitted he performed no


 2 Id. at 71:2 to 71:6.
 3 Id. at 77:19-21.
 4 Exhibit 2, December 17, 2015 email - FSSTX-027752
 5 Plaintiff also asks the Court to take judicial notice of its file in the Pozner v. Jones matter, in which

 Mr. Fetzer filed a disturbingly unhinged “Motion to Appear as Friend of the Court” and “Argument
 of Amicus Curiae” on August 23, 2018.

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 corroboration of the conspiracy claims being given to InfoWars by self-styled

 investigators Jim Fetzer and Wolfgang Halbig. Mr. Jones claimed he relied on “other

 people that were investigating.”6 Mr. Jones admitted, “We did not ourselves

 investigate Sandy Hook.”7 These actions show actual malice because InfoWars “failed

 to meaningfully seek corroboration … from any other sources.” Warner Bros. Entm't,

 Inc., 538 S.W.3d at 808. In one exchange concerning Mr. Halbig, Mr. Jones testified

 about his reliance on this dubious source:

                   Q.      You didn't know one way or the other, right, whether
                           the school was open? You had some doubts. You
                           didn't know one way or another; you couldn't
                           confirm it one way or another?

                   A.      I know that some investigators who were
                           accreditated school safety folks who thought were
                           credible experts were the ones -- professors and
                           others that were in good standing -- were the ones
                           that were really doing these investigations; and that
                           I was in some cases taking what they said
                           incorrectly. And I've admitted to that.

                   Q.      And with no corroboration? You just take what they
                           said, and you trusted these guys, right?

                   A.      I mean, I'd seen one of the guys, like, on national
                           television before on the Columbine stuff as a
                           national safety expert; and he sounded pretty
                           credible.

                   Q.      Mr. Halbig, right?

                   A.      Yes.



 6   Exhibit 1, Deposition of Alex Jones in Lewis, at 58:25.
 7   Id. at 58:25-59:1.

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                   Q.         And he had sent you something in the neighborhood
                              of 4,000 e-mails?

                   A.         It's a lot, yeah.

                   Q.         And looking at those e-mails, taking a look at them,
                              you wouldn't agree with me that that man is a raving
                              lunatic?

                   A.         He seemed very credible and put together earlier on,
                              but -- I can't remember the exact number -- he
                              seemed to get agitated about four years ago, three
                              years ago.8

           Though Mr. Jones became aware Mr. Halbig was “agitated” in 2015 or 2016,

 InfoWars was still repeating his claims when Mr. Heslin was defamed in 2017. When

 discussing one of those false claims -- the “Port-a-Potty” allegation -- Mr. Jones

 claimed “I was going off what Halbig was saying.”9 Mr. Jones then admitted InfoWars

 did not perform any confirmation, even though the dashcam video necessary to fact-

 check the claim was publicly available and had been discussed on the show:

                   Q.         You did no confirmation whatsoever of Mr. Halbig's
                              statements about the Port-A-Potties, did you?

                   A.         I don't believe these videos were released for a long
                              time.

                   Q.         If they were, if those videos were released in 2013, it
                              certainly would have been reckless to say the Port-
                              A-Potties arrived in an hour in 2017, wouldn't it, Mr.
                              Jones?

                   A.         I just don't know how to respond to the fact that --
                              that how do we know more weren't arriving later

 8   Id. at 42:17 to 43:19.
 9   Id. at 62:2.

                                                     4
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                              and that there's other Port-A-Potties or whatever?
                              I'm not saying that's what happened. You just
                              showed me one still off something and tell me to
                              answer questions.

                    Q.        Yeah. So one thing you could do is go back into the
                              dashcam video and scroll through and find out if
                              something did arrive earlier? That's something you
                              could do, right? It's not hidden information, right?
                              Correct?

                    A.        I guess correct.10

           Similarly, when discussing his claim that paramedics were not allowed inside

 of Sandy Hook, Mr. Jones confirmed that he merely repeated dubious information

 with no fact checking:

                    Q.        You've said repeatedly on your web show
                              paramedics weren't allowed inside of Sandy Hook?
                              You've said that; you're not going to deny that?

                    A.        I've read other people’s reports saying.

                    Q.        Okay. And you did nothing to confirm those reports,
                              literally nothing?

                    A.        I went out and I covered news that was being
                              covered.11

           Mr. Jones also admitted InfoWars had been provided information from various

 people who had been debunking the claims made on Mr. Jones’ show. In particular,

 InfoWars News Director Rob Dew had been receiving information with the correct

 facts regarding Mr. Jones’ claims:



 10   Id. at 62:3-63:3.
 11   Id. at 54:2 to 54:16.

                                                    5
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                 Q.      Mr. Dew, in addition to those debates, has been
                         provided written information from a lot of these
                         debunking people seeking to stop the allegation that
                         it's a hoax. You would agree with that?

                 A.      Yes. There was a big Internet fight going on, and we
                         were showing both sides.12

         In truth, Mr. Jones had not been “showing both sides.” Instead, InfoWars videos

 uncritically repeated the absurd claims of Jim Fetzer and Wolfgang Halbig, just as they

 did in the 2017 video defaming Mr. Heslin. Mr. Jones admitted that he accepted Fetzer

 and Halbig’s conspiracy claims at face value because he had a form of psychosis:

                 And I, myself, have almost had like a form of psychosis back
                 in the past where I basically thought everything was
                 staged, even though I'm now learning a lot of times things
                 aren't staged.13

         Mr. Jones said, “I would kind of get into that mass group-think of the

 communities that were out there saying that.”14 This mass group-think caused

 InfoWars to act recklessly when covering Sandy Hook, publishing the most absurd

 and easily debunked allegations. During his deposition, Mr. Jones was repeatedly

 confronted with video clips of the bizarre claims made on his show, and he was

 completely unable to provide a coherent explanation as to how those allegations ever

 made it to air. In sum, Mr. Jones admitted InfoWars published inherently improbable

 and dubious claims about Sandy Hook with no corroboration.




 12 Id. at 146:14 to 146:19.
 13 Id. at 184:9-12.
 14 Id. at 185:10 to 185:12.


                                               6
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 III.   The Deposition of Robert Jacobson Demonstrates Actual Malice.

        Robert Jacobson worked at InfoWars producing content for thirteen years,

 from 2004 to 2017.15 Mr. Jacobson contacted Plaintiff’s counsel because he “was

 concerned” and “felt terrible about what happened,” and he “[felt he had] to right a

 wrong that [he] was involved in.”16 Mr. Jacobson was deposed in the Lewis case, and

 he testified about his interactions with InfoWars writers on the subject of Sandy

 Hook. Mr. Jacobson testified he was bothered by the flagrant violations of ethics:

                Q.      What did you hear that bothered you?

                A.      I heard them making accusations based on
                        extremely narrow cross-sections of information,
                        that I did my best to make the writers and the staff
                        aware that what they were doing was speculation
                        based on not enough information. It bothered me.
                        That bothered me that I felt they had no concept of
                        journalist ethics.

                Q.      Did you tell anyone at InfoWars your feelings about
                        the Sandy Hook coverage?

                A.      I attempted to make it as clear as possible to the
                        writers that there is something called journalist
                        ethics and how what they were doing was in a direct
                        violation of that anytime I caught wind of the Sandy
                        Hook story on InfoWars.17

        Mr. Jacobson testified about his repeated visits to the writers room in which he

 explained the ethical problem and the consequences of those actions:

                I would make it my business to go in to the writers and
                explain to them as clearly as possible that there is
 15 Exhibit 3, Deposition of Robert Jacobson, at 22:4-16.
 16 Id. at 32:16-22.
 17 Id. at 33:13-34:1.


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                 journalist ethics; and I tried to demonstrate what those
                 ethics are and why they are violating them and what the
                 damage could possibly be. In fact, I remember -- I must
                 have been in that room four to five times, at least, and only
                 to be received with laughter and jokes.18

         Mr. Jacobson testified that InfoWars News Director Rob Dew was acting

 recklessly, stating that “Mr. Dew was overzealous to receive any type of hint that

 perhaps this might have been a phony act, a staged act. Any type of whisper that came

 through to him, he would celebrate.”19 Whenever he raised the issue, Mr. Jacobson

 testified that the writers “mocked [his] concerns about Sandy Hook coverage.”20

         Mr. Jacobson also testified about InfoWars writer Adan Salazar. Mr. Jacobson

 attempted to explain to Mr. Salazar the problems with relying on Wolfgang Halbig,

 but Mr. Jacobson was met with derision:

                 What I’ve pointed out to Adan specifically is that you’re
                 taking the word of one witness primarily and a couple of
                 speculative other facts and calling it the truth without
                 actually going down and investigating it ourselves or
                 actually going with our own reporters and corroborating
                 what these people are saying. I made it aware to Adan that
                 Wolfgang Halbig could have a lot of issues that we’re not
                 considering, that by taking the word of this one man so
                 heavily with such a great accusation that he’s accusing
                 people of is so irresponsible, so damaging. I asked him to
                 consider the size of the audience. And Adan Salazar
                 responded with – and I’m going to quote him because he
                 said it to me many times – “I want to print up a T-shirt that
                 says, ‘Halbig was right.’ I want bumper stickers that say,
                 ‘Halbig was right,’” to a laughing room.21


 18 Id. at 34:6-12.
 19 Id. at 36:13-16.
 20 Id. at 38:5.
 21 Id. at 37:9-25.


                                              8
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        Adan Salazar showed a willingness to publish any Sandy Hook allegation, no

 matter how absurd. For example, Mr. Salazar wrote to the author of the horror movie

 blog “A Slash Above” because in the months before the Newtown shooting, the blog

 author had written a review of the 2000 horror movie “Sandy Hook Lingerie Party

 Massacre.” Mr. Salazar sought comment on a rumor that “your review of ‘Sandy Hook

 Lingerie Party Massacre’ on your site aslashabove.com shows foreknowledge or prior

 planning of the events that have taken place as of late.”22 Mr. Salazar stated, “we

 thought this was surely ridiculous, however, we’re (Infowars.com) going to point it

 out in an article anyway.”23 The author of the blog replied, “You are seriously ill to

 send me something like that – Don’t contact me anymore or I will report you for

 harassment you bunch of weirdos.”24

        Mr. Jacobson also testified about InfoWars’ allegation that there exist

 photographs of Sandy Hook children who are actually still alive:

               Q.      Have you ever heard the allegation that there are
                       photographs of children who are supposedly dead
                       who are actually alive?

               A.      Yes, I’ve heard that allegation.

               Q.      From what you have seen inside of InfoWars, have
                       you seen anything that has caused you to form an
                       opinion about that allegation?

               A.      I mean, you know, my opinion is it’s so distasteful --
                       and it happened a while ago, that – you know, it
                       happened a while ago. So it was just all these things
 22 Exhibit 4, December 21 email by Adan Salazar, FSSTX-077825.
 23 Id.
 24 Id.


                                                9
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                          seem to -- all of the little allegations that Halbig and
                          all these other people set forward, I sort of see it as
                          individual cross-sections of information that each
                          one was improperly handled.25

           Mr. Jacobson testified that he was shocked at the lack of fact-checking

 considering the serious nature of the allegations being made:

                    The weight of the accusation in this particular case, it was
                    shocking that they didn’t do more research. They didn’t go
                    further into it. They didn’t -- I mean, what I constantly tried
                    to clarify is a story of this level should not be brought
                    forward unless they are -- I tried to make it clear that they
                    need as much evidence in this story as if they were going to
                    court to prove their case; and if they didn’t have that, they
                    didn’t have a story.26

           When Mr. Jacobson was asked to assess the level of outrageousness he saw, he

 described the InfoWars staff laughing about the pain they were causing to the Sandy

 Hook parents:

                    Q.    Can you describe to me on a scale of one, being not
                          outrageous at all, and ten, being extremely
                          outrageous, on that one-to-ten scale, what is the
                          level of outrageousness of this conduct that you
                          were trying to impart?

                    A.    It was a ten.

                    Q.    Tell me why you thought that.

                    A.    I mean, it’s one thing to make a mistake. It’s another
                          thing to have somebody come in – and I don’t even –
                          I’m not aware if I was the only person or not, but I
                          know I was doing it – to come in and say, “Hey, this
                          is wrong. You’re making a mistake.” It’s one thing,

 25   Id. at 42:8-22.
 26   Id. at 52:9-17.

                                                  10
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                          you know, to actually have a mistake and something
                          else to have it pointed out to you, not just once but
                          over and over and over again, and to not only hear
                          the damage that you’re doing to people outside of
                          your zone but to actually laugh about it, I thought
                          that’s a ten.27

           The InfoWars writers ignored the warnings of Robert Jacobson, just as Mr.

 Jones had ignored the warnings of Paul Watson. This testimony provides clear and

 specific prima facie evidence that InfoWars acted with actual malice in its Sandy Hook

 allegations.

                                             CONCLUSION

           Based on Plaintiff’s August 27, 2018 response and based on this supplemental

 response, Plaintiff asks the Court to deny InfoWars’ TCPA motion and to award all

 costs in connection with the TCPA process. Alternatively, Plaintiff asks the Court to

 grant his Motion for Contempt, strike the TCPA motion, and likewise award costs.

 Plaintiff has attached as “Exhibit 5” a declaration of fees incurred as a result of the

 TCPA motion.28

                                                 Respectfully submitted,

                                                 KASTER LYNCH FARRAR & BALL, LLP


                                                 ____________________________________
                                                 MARK D. BANKSTON
                                                 State Bar No. 24071066
                                                 KYLE W. FARRAR
                                                 State Bar No. 24034828

 27   Id. at 65:24-66:19.
 28   Exhibit 5, Declaration of Mark Bankston.

                                                   11
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                                       WILLIAM R. OGDEN
                                       State Bar No. 24073531
                                       1117 Herkimer
                                       Houston, Texas 77008
                                       713.221.8300 Telephone
                                       713.221.8301 Fax


                             CERTIFICATE OF SERVICE

       I hereby certify that on September 30, 2019 the forgoing pleading was served
 upon all counsel of record via electronic service, as follows:

        Michael Burnett
        6034 W. Courtyard Drive, Suite 140
        Austin, Texas 78730
        mburnett@BurnettTurner.com




                                       ____________________________________
                                       MARK D. BANKSTON




                                         12
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                           CAUSE NO. D-1-GN-18-006623

          SCARLETT LEWIS                    *   IN THE DISTRICT COURT OF
             Plaintiff                      *
                                            *
                                            *
          VS.                               *   TRAVIS COUNTY, TEXAS
                                            *
          ALEX E. JONES, INFOWARS,          *
          LLC, AND FREE SPEECH              *
          SYSTEMS, LLC,                     *
             Defendants                     *   53RD JUDICIAL DISTRICT


                          ORAL/VIDEOTAPED DEPOSITION

                                           OF

                                   ALEX E. JONES

                            Thursday, March 14, 2019



                     ORAL/VIDEOTAPED DEPOSITION OF ALEX E. JONES,

        produced as a witness at the instance of the Plaintiff,

        and duly sworn, was taken in the above-styled and

        numbered cause on Thursday, March 14, 2019, from

        12:02 p.m. to 4:33 p.m., before Debbie D. Cunningham,

        CSR, reported via Machine Shorthand at the offices of

        Waller Lansden Dortch & Davis, LLP, 100 Congress Avenue,

        Suite 1800, Austin, Texas, pursuant to the Texas Rules

        of Civil Procedure and/or any provisions stated on the

        record or attached hereto.
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 2                                                                         2 Exhibit Number Description                 Page
 3 COUNSEL FOR PLAINTIFF:                                                  3 Exhibit 1 7/27/18 First Supplemental         8
 4       KASTER LYNCH FARRAR & BALL, LLP                                              Affidavit of Alex E. Jones
         1010 Lamar, Suite 1600                                            4
 5       Houston, Texas                                                      Exhibit 2 Trooper Jeremy Combes State of 47
         (T) 713.221.8300                                                  5          Connecticut Department of Public
 6         By: Mark D. Bankston, Esq.                                                 Safety Investigation Report
              mark@fbtrial.com                                             6
 7                  AND                                                      Exhibit 3 Sgt. William F. Cario State of 51
              William Ogden, Esq.                                          7          Connecticut Department of Public
 8                                                                                    Safety Investigation Report
 9 COUNSEL FOR DEFENDANTS:                                                 8
                                                                             Exhibit 4 Photograph date and time stamped 60
10      GLAST, PHILLIPS & MURRAY, P.C.
                                                                           9          12-14-12 13:28:11
        14801 Quorom Drive, Suite 500
                                                                          10 Exhibit 5 Photograph of man wearing            83
11      Dallas, Texas
                                                                                      INFOWARS.COM T-shirt, with
        (T) 972.419.8300
                                                                          11          background caption of:
12         By: Mark Enoch, Esq.
                                                                                      TRUTHRADIOSHOW.COM Declaring War
              mkenoch@gpm-law.com
                                                                          12          on the -New World Order-
13
                                                                          13 Exhibit 6 Affidavit of Fred Zipp          110
                AND
                                                                          14 Exhibit 7 Affidavit of Alex E. Jones       118
14
                                                                          15 Exhibit 8 Photograph of two men with the 125
        BARNES LAW, LLP               (PRO HAC VICE)
                                                                                      caption of Carl Rochelle, Saudi
15      601 South Figueroa St., Suite 4050
                                                                          16          Arabia, CNN Live, with a
        Los Angeles, California
                                                                                      background caption of InfoWars
16      (T) 213.294.3006                                                  17          Nightly News with Alex Jones and
           By: Robert E. Barnes, Esq.                                                 a caption under the photo of
17            barneslaw@barneslawllp                                      18          INFOWARS.com
18                                                                        19 Exhibit 9 Photograph of two men dressed in 127
19                                                                                    military type desert camouflage
   VIDEOGRAPHER:                                                          20          clothing standing in front of a
20      Joe Bazan                                                                     white building with palm trees
21                                                                        21
   ALSO PRESENT:                                                             Exhibit 10 Photograph of a man in a green 127
22      Fred Zipp                                                         22          fatigue jacket standing front of
        Rob Dew                                                                       palm trees, with the caption of
23                                                                        23          Forrest Sawyer ABC News
24                                                                        24
25                                                                        25

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 1                          INDEX                                          1 Exhibit 11 Photograph of satellite       128
 2    APPEARANCES                                      2                              communication dishes and other
                                                                           2          equipment next to a blue and
 3
                                                                                      white building
 4 EXAMINATION OF ALEX E. JONES:
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 5    BY MR. BANKSTON                                      7
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 1         (Thursday, March 14, 2019, 12:02 p.m.)                  1           (Exhibit 1 marked.)
 2                PROCEEDINGS                                      2     Q. (BY MR. BANKSTON) I’m going to be showing you
 3            THE VIDEOGRAPHER: We’re on the record for            3 what I’m now marking as Exhibit 1. It’s a double-sided
 4 the videotaped deposition of Alex Jones, taken on               4 document. Mr. Jones, that is a July 27th, 2018
 5 Thursday, March 14, 2019. The time is approximately             5 Affidavit which you executed, correct?
 6 12:02 p.m.                                                      6     A. Yes, sir.
 7            Will the court reporter please swear in              7     Q. I want to go through this affidavit with you
 8 the witness.                                                    8 and the highlighted part sentence by sentence. Do you
 9                ALEX E. JONES,                                   9 see the pale orange part which I’m now going to read to
10 having taken an oath to tell the truth, the whole truth,       10 you? "Plaintiffs claim that I started the controversy
11 and nothing but the truth, was examined and testified as       11 and/or conspiracy about Sandy Hook being a hoax. This
12 follows:                                                       12 is not true." I read that correctly?
13                 EXAMINATION                                    13     A. I need to read the full page.
14 BY MR. BANKSTON:                                               14     Q. Please take a moment to read it.
15     Q. Mr. Jones --                                            15     A. (Witness silently reading document.)
16            MR. BARNES: When do you want me to go on            16           It’s just the orange part you want me to
17 the record?                                                    17 read?
18            MR. BANKSTON: Oh, yeah, let’s do that               18     Q. I actually just read it to you and wanted to
19 now, actually, Mr. Barnes. Why don’t you do that for           19 know if I had read it correctly. Allow me to read it
20 me?                                                            20 for you again, Mr. Jones. "Plaintiffs claim that I
21            MR. BARNES: Thank you.                              21 started the controversy and/or conspiracy theory about
22            This is Robert Barnes. I’m General                  22 Sandy Hook being a hoax. This is not true." I read
23 Counsel for InfoWars and Mr. Jones and in this context         23 that correctly?
24 Free Speech Systems, LLC, here representing him. I have        24     A. Yes, uh-huh.
25 a motion for pro hac pending; and the agreement is I can       25     Q. Okay. The next sentence says, "Before I ever
                                                              7                                                                 9
 1 represent the Defendant, Mr. Jones, here with the               1 publicly commented on any issues relating to Sandy Hook,
 2 acknowledgment that I am bound by the Texas Rules of            2 I learned that others with whom I have no affiliation or
 3 Civil Procedure, the Texas Ethical and Professional             3 relationship had already posted articles" -- excuse me,
 4 Rules, and the Texas Sanctions Rules and will be bound          4 Mr. Jones, if you would like to flip the page --
 5 by them accordingly.                                            5 "relationship had already posted articles online making
 6            MR. BANKSTON: Thank you, Mr. Barnes.                 6 this claim and questioning the events as reported." I
 7            MR. BARNES: Oh, you do want the mic on?              7 read that sentence correctly?
 8 No problem.                                                     8     A. Yes, sir.
 9                 EXAMINATION                                     9     Q. So there were a variety of articles and
10 BY MR. BANKSTON:                                               10 YouTube videos questioning the events that started
11     Q. Mr. Jones?                                              11 getting popular in the time period after the shooting.
12     A. (No audible response.)                                  12 I assume you saw some of those?
13     Q. Mr. Jones?                                              13     A. Yes, sir.
14     A. Uh-huh.                                                 14     Q. How long is this are we talking? Are we
15     Q. I want to go back to when this all started.             15 talking days, weeks, months?
16 And in fairness to you, one of the things that you’ve          16     A. I don’t know. I don’t want to answer
17 tried to make clear is that you’re not the one who             17 incorrectly. I don’t remember the exact times. So I
18 started the theory that Sandy Hook was a false flag,           18 really can’t state that time, but I think a month or
19 correct?                                                       19 longer.
20     A. Yes, sir.                                               20     Q. Sure. Okay. I remember there was -- about a
21     Q. And that’s something that was borne out by              21 month after the shooting, there was a relatively popular
22 InfoWars archives and that you’ve been able to rely on         22 YouTube video that went viral. Do you recall this
23 in court, correct?                                             23 video?
24     A. I don’t exactly understand what you’re saying.          24     A. There were a lot of -- 2 million, 10 million.
25     Q. Okay. Let me help you with that.                        25 It was a bunch of videos. It was a firestorm of -- on

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 1   the Internet about it.                                         1   President Trump questioned right after he got elected
 2       Q. Okay. And it was then, when you saw that,               2   and was first in office whether the attacks on the
 3   that you started covering it and started commenting on         3   Jewish cemeteries were being staged, and it turned out
 4   Sandy Hook?                                                    4   they were.
 5             MR. BARNES: Objection as to define Sandy             5              So, I mean, again, going from memory, I
 6   Hook. Object as to form.                                       6   remember looking at it as your standard horrible tragedy
 7       Q. (BY MR. BANKSTON) You can go ahead and                  7   of psychotropic drugs, a kid in a cult, you know, type
 8   answer, Mr. Jones.                                             8   stuff, like Columbine, shoot-’em-up video games. I
 9       A. No, I started commenting on Sandy Hook that             9   remember that’s where I was going because that’s where
10   they would use it to go after our guns and that the           10   all the other shootings basically came from.
11   media always hyped up school shootings and was causing        11       Q. Sure.
12   copycat events, that the mainstream media were basically      12       A. And so I can’t specifically -- I mean, I’m
13   psychic vampires promoting mass shootings so they could       13   going from the best of my memory.
14   blame gun owners and try to take the Second Amendment         14       Q. Okay. Well, Mr. Jones, I want to show you
15   away, which they pushed to repeal the Second Amendment.       15   some video clips of some things you were saying as the
16             So for the first month or so -- and,                16   news broke of Sandy Hook and in a video that day that
17   again, this was almost seven years ago -- but we’ve gone      17   you titled Connecticut School Massacre Looks Like False
                                                                   18   Flag, Says Witnesses.
18   back and looked at some of it in trying to find -- at
                                                                   19              MR. BANKSTON: Can you play the clip Day
19   least three weeks, four weeks or so. And then it was
                                                                   20   of Sandy Hook?
20   such a firestorm on the Internet, it’s like, no, this
                                                                   21                (Video playing.)
21   isn’t Prozac; this isn’t video games, like I was saying,
                                                                   22       Q (BY MR. BANKSTON) Mr. Jones, this is a video
22   I thought, like other shootings that happened. This
                                                                   23   where you made comments on issues relating to Sandy Hook
23   was, you know, some type of staged event or multiple
                                                                   24   and you put forward a theory that it could be staged by
24   shooters or people in the woods, things like that. It
                                                                   25   the Government to take away our guns, correct?
25   was a whole range of theories in a big Internet debate
                                                              11                                                                13
 1 going on that I then reported on and gave analysis to my         1           MR. BARNES: Objection. It seems like
 2 opinions.                                                        2 this is a video, from watching it, that’s different
 3     Q. Correct. Okay.                                            3 pieces put together.
 4     A. And I think that’s what was weeks after. I                4           MR. BANKSTON: Correct.
 5 can’t remember the exact number. I immediately when it           5           MR. BARNES: Okay. So it’s not from --
 6 happened, you know, said, "Oh, look another person in a          6 so different things are out of context. Is there any
 7 black trench coat, you know, a loner on psychotropics            7 way to get, like, the whole --
 8 that came out, shoot-’em-up video games." And I                  8           MR. BANKSTON: You own the whole video,
 9 remember being criticized by the video game industry             9 and it’s been produced with Mr. Zipp’s affidavit.
10 saying, "Don’t you blame video games."                          10           MR. BARNES: But for his purposes --
11     Q. What I’m curious about, Mr. Jones, can you               11           MR. BANKSTON: If he wants to go watch an
12 flip the page back over again and look at the beginning         12 entire four-hour video, I’m not going to have time --
13 of the yellow sentence? So when you say, "Before I ever         13           MR. ENOCH: Mark, it has not been
14 publicly commented on any issues relating to Sandy              14 produced with Zipp’s --
15 Hook," you saw other stuff going on, right, you mean            15           MR. BANKSTON: Actually, Connecticut
16 whether it was staged or not? In other words, you made          16 False Claim full video has been produced; and it’s been
17 some comments about Sandy Hook when it first happened;          17 in a court. If you want to argue about that and object,
18 but in terms about it being a false flag or staged or           18 you can object at that time when it’s offered. That
19 some sort of hoaxed event, right, that came later?              19 objection’s preserved. You don’t have to object to form
20 You’re not the one who started that?                            20 on that one.
21           MR. BARNES: Objection as to form.                     21      Q. (BY MR. BANKSTON) Mr. Jones, that was a video
22     A. I know that I didn’t start it. And I think               22 in which you made statements about Sandy Hook in which
23 it’s a boilerplate. Anytime there’s a big public event,         23 you said -- put forth the theory it could be staged to
24 like Jussie Smollett or babies in incubators in Iraq, a         24 take away our guns?
25 lot of people question, you know, whether it’s real.            25      A. That’s a Media Matters edited -- that’s Media

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 1 Matters edited derivative.                                      1     A. I saw a Media Matters video of that before.
 2     Q. Is that you on that tape?                                2 You’re saying you edited that?
 3     A. It’s edited.                                             3     Q. It’s not an important deal.
 4     Q. And that’s you talking about: Don’t think                4     A. But you did edit it?
 5 this couldn’t be staged. Our Government kills little            5     Q. I did, yes. I’m not here to answer questions.
 6 kids all the time. That’s you saying those words?               6     A. Three-second clips together.
 7     A. With SMART moms and things, yeah. It’s edited            7     Q. Those clips were edited together by me two
 8 out of context.                                                 8 weeks ago.
 9     Q. The truth is, Mr. Jones, you were the first              9     A. Why didn’t you just play them unedited?
10 person in the world to make the false flag theory about        10     Q. That’s -- Mr. Jones, I’m not here to answer
11 Sandy Hook and you did it before the bodies were even          11 your questions. You understand you’re here because
12 cold; that’s the truth?                                        12 people have sued you and you have four hours in which
13           MR. BARNES: Objection as to form and to              13 they’re to ask you questions. Are you going to do that
14 the defin- -- are we going to have, like, set                  14 for me today?
15 definitions of the words, like --                              15     A. Yes, I’m answering your questions.
16           MR. BANKSTON: No, you can object to                  16     Q. So in that video, "yes" or "no," you were
17 form. Yeah, that’s Rule 199. Just object to form.              17 commenting about Sandy Hook?
18           MR. BARNES: That’s fine.                             18     A. In the edited video I was commenting on Sandy
19     Q. (BY MR. BANKSTON) Mr. Jones, you said in your           19 Hook.
20 affidavit that before you commented on any issues              20     Q. You’ll agree over the years you’ve seen
21 relating to Sandy Hook, you saw other things that other        21 various anomalies relating to Sandy Hook?
22 people were doing. That affidavit has false statements,        22     A. I’ve seen reported anomalies.
23 doesn’t it?                                                    23     Q. A lot of those anomalies are in videos, things
24     A. No.                                                     24 like the helicopter video of people being detained in
25     Q. So we didn’t just see you commenting on issues          25 the woods. Do you know what I’m talking about?
                                                             15                                                               17
 1 relating to Sandy Hook?                                         1     A. Yes.
 2     A. That was callers calling up.                             2     Q. Okay. There’s the Anderson Cooper interview
 3     Q. You’re going to tell me you watched that video           3 with Ms. De La Rosa. Do you know what I’m talking about
 4 and you weren’t commenting on Sandy Hook?                       4 there?
 5     A. I told you five minutes ago before you played            5     A. I know who Anderson Cooper is.
 6 it that as a boilerplate of any big public event,               6     Q. You know what the blue screen video is --
 7 whether it’s Jussie Smollett or whether it’s babies             7     A. Yes.
 8 having their brains bashed out in incubators or WMDs,           8     Q. -- where his nose disappears?
 9 that I upfront questioned it because of things from             9     A. Yes.
10 Operation Northwoods and hundreds of declassified real         10     Q. Okay. You know that there’s some videos of
11 staged events where our Government admits that it staged       11 some interviews that were just kind of strange, right?
12 events. Now, I always boilerplate say that we need to          12 Those are something you’ve seen?
13 investigate the news reportage of this and see what’s          13     A. Yes.
14 true. There’s such a long history of governments and           14     Q. There’s been discussion on InfoWars about the
15 corporations and legal groups engaging in fraud. And I         15 interior videos taken of the school itself, right?
16 said that before you played the clip.                          16     A. Yes.
17           MR. BANKSTON: Objection, nonresponsive.              17     Q. There’s been discussion on InfoWars about dash
18     Q. (BY MR. BANKSTON) Mr. Jones, I have a very              18 cam video footage at Sandy Hook? Remember Mr. Dew
19 simple question for you: That video you just saw of you        19 talking about videos of the officers eating their
20 talking, were you talking about Sandy Hook?                    20 lunches on top of their cars?
21     A. The edited pieces were.                                 21     A. I don’t remember that.
22     Q. The pieces that I edited and put together of            22     Q. Okay. But if there was -- if Mr. Dew talks
23 you speaking, I edited them. When I edited those pieces        23 about dash cam footage, you have no reason to believe
24 together and put them in front of you, was that you on         24 he’s lying, do you?
25 the camera?                                                    25     A. I’m still not familiar with what you’re

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 1 talking about.                                                  1 to waste. Sometimes things are completely made up, like
 2      Q. Okay. And InfoWars has also discussed                   2 the babies in the incubators, which is admitted. You
 3 questioning the official story from time to time,               3 know, they’ve got the PR firm that said the babies
 4 correct?                                                        4 brains were all bashed out and we lost all those wars.
 5      A. Uh-huh.                                                 5     Q. I’ve heard you say that.
 6      Q. Including the official report about Sandy Hook          6     A. And so it’s just been -- and the WMDs. The
 7 that was released? There’s some weird things in there           7 WMDs were a lie, too, and then watched -- that have
 8 that have been questioned on InfoWars?                          8 killed millions of people.
 9      A. The one that came out, like, five or six years          9           MR. BANKSTON: Objection, nonresponsive.
10 later.                                                         10     A. Well, I’m trying to answer the question.
11      Q. I think in December of 2013, so about a year           11     Q. (BY MR. BANKSTON) Oh, do you know what
12 later.                                                         12 question you’re answering?
13      A. The state police report?                               13     A. Well, you were asking a question of, like --
14      Q. The state police report. Are you familiar              14 I’m not sure. You said you’ve always questioned; and
15 with what I’m talking?                                         15 I’m saying, no, I questioned it up front. The public
16      A. That’s so long ago, six years ago, I just...           16 questioned it. And then, as I had time to go over it, a
17      Q. Well, I mean, there’s anomalies all over the           17 lot of the anomalies turned out to not be accurate; and
18 place is what I’m saying. You’ve seen --                       18 I believe school shootings happen.
19      A. There have been a lot of people asking a lot           19     Q. All right. So I think a shorter way is you
20 of questions that isn’t legal yet in this country.             20 had doubts; you had questions until you didn’t. At some
21      Q. Right. Recently your lawyer said in a legal            21 point -- I mean, things change; I understand that. But
22 document, "There is no dispute that the Sandy Hook             22 there have been points in which you’ve questioned the
23 tragedy was real with tragic loss of life." Do you             23 official narrative. You’ve had serious doubts about
24 stand by that?                                                 24 some of these things?
25      A. I’m sorry. You’re talking so fast.                     25     A. Yes.
                                                             19                                                                 21
 1      Q. Sure, sure. Let me slow down a little bit for           1     Q. And these anomalies that have come up, these
 2 you, Mr. Jones. Recently your lawyer said in a legal            2 things have raised serious doubts. You’ve had serious
 3 document, "There is no dispute that the Sandy Hook              3 doubts about the anomalies, too?
 4 tragedy was real with tragic loss of life." You stand           4     A. Yes.
 5 by that; that’s what you admit is true now?                     5     Q. Okay. By the spring of 2013 or so, let’s say
 6      A. Yes.                                                    6 just a few months after the shooting, by that point, you
 7      Q. Okay. But in the past -- before you had all             7 had gone from theory to just straight up telling your
 8 the information, in the past, you didn’t know exactly           8 audience, "Sandy Hook was staged, and the evidence is
 9 what happened at Sandy Hook? You’ve questioned it?              9 overwhelming"?
10      A. Oh, certainly in the past. You mean in the             10           MR. BARNES: Objection as to form.
11 last seven years?                                              11     Q. (BY MR. BANKSTON) Correct?
12      Q. Sure.                                                  12     A. Well, what does "staged" mean?
13      A. Yes.                                                   13     Q. I’m just asking what you were telling your
14      Q. And, in fact, over the course of covering              14 audience.
15 Sandy Hook over the past six or so years, you’ve always        15     A. No, no --
16 entertained serious doubts about what really happened          16     Q. I’m not answering your questions, Mr. Jones.
17 that day?                                                      17 You’re going to tell me what "staged" means when you
18      A. I’m sorry. I don’t understand.                         18 said it. So what I’m asking you is: A few months after
19      Q. Sure. Over the course of Sandy Hook, you’ve            19 the shooting, you had gone from theory to straight up
20 questioned the official story. You’ve had serious              20 telling your audience, "Sandy Hook was staged, and the
21 doubts that the official story was true?                       21 evidence was overwhelming." True or false?
22      A. I’ve always, from the beginning, had questions         22     A. But I’m asking you to define what you mean by
23 about any big public event that’s hyped up because so          23 "staged."
24 many times parts of it are being covered up or things          24     Q. I’m not asking -- I’m not asking for a
25 are being staged or they’re not letting a new crisis go        25 definition of "staged." I don’t care what "staged"

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 1 means. I’m asking: Did you say it?                               1            MR. BARNES: The same objection as to
 2      A. I don’t have it in front of me; but, I mean, I           2 form and that these are highly edited excerpts from --
 3 did say that I saw a lot of anomalies that I thought             3            (Simultaneous speakers.)
 4 that certainly large parts of the way it was being               4            MR. BANKSTON: Can you stop with speaking
 5 handled, you know, the Supreme Court came out saying             5 objections.
 6 they covered up some of the reports on what happened             6            MR. BARNES: Obviously --
 7 with the incident. I think a lot of that’s been borne            7            MR. BANKSTON: Yeah, I know exactly what
 8 out that when you see a cover-up going on, you’re not            8 you’re doing; and you need to say: Objection, form;
 9 sure what’s happening inside of it.                              9 objection, leading; assert a privilege or stay quiet.
10            And later we just learned it was a                   10 You do not need to be making suggestive objections about
11 cover-up of, I think, some of the negligence there in           11 the content of the evidence and what its form is. You
12 the town and with the school. I don’t know the teacher          12 don’t need to be doing that, Mr. Barnes.
13 that tried to save the kids was negligent -- that               13            MR. BARNES: I’m not trying to do that.
14 person’s a hero -- and sadly got sued. But I do, you            14 I’m just saying that these are videos that are highly --
15 know, clearly think there was some cover-up, but it             15            MR. BANKSTON: That’s a great opinion. I
16 wasn’t in that it was all, the whole thing, staged, but         16 don’t understand why your opinion is relevant to these
17 that the way the media handled it was synthetic. They           17 questions right now. You wouldn’t be doing this in a
18 way it was used against gun owners was synthetic.               18 courtroom. Don’t do it in my deposition right now.
19            MR. BANKSTON: All right, Mr. Jones.                  19            MR. BARNES: Oh, yeah, in a courtroom it
20 Objection, nonresponsive.                                       20 wouldn’t come in because it wouldn’t be admissible
21            Can you play the clip Overwhelming for               21 because of the rule of completeness.
22 me, please?                                                     22            MR. BANKSTON: Mr. Barnes, that’s why
23      Q. (BY MR. BANKSTON) Mr. Jones, I want to show             23 your objection’s preserved as to the form of that
24 you clip from April 16th, 2013.                                 24 evidence. You don’t have to raise an objection. The
25               (Video playing.)                                  25 only reason you would be doing it is to possibly
                                                              23                                                                 25
 1      Q. (BY MR. BANKSTON) That’s you on the video,               1 influence the witness.
 2 right?                                                           2            MR. BARNES: So can we have a standing
 3      A. Yes, that’s me on the short video.                       3 stipulation that when I object to form, that includes an
 4      Q. Yeah, it’s a short video. I understand.                  4 objection to the rule of completeness?
 5            By the end of 2014 you had personally                 5            MR. BANKSTON: Absolutely.
 6 done intensive research, and you concluded Sandy Hook            6            MR. BARNES: Thank you. Then we’re good.
 7 was all fake?                                                    7            MR. BANKSTON: And for the record every
 8            MR. BARNES: Objection as to form. And                 8 objection to every piece of evidence is preserved under
 9 are you asking him to repeat a quote?                            9 the Texas Rules, which --
10            MR. BANKSTON: No. I’m asking him --                  10            MR. BARNES: I was objecting in a way
11      Q. (BY MR. BANKSTON) By the end of 2014 you had            11 that --
12 personally done intensive research; and you concluded it        12            MR. BANKSTON: Mr. Barnes --
13 was all fake, correct?                                          13            (Simultaneous speakers.)
14            MR. BARNES: Still objection as to form.              14            THE REPORTER: Excuse me, Counsel. You
15      A. The specific areas I was talking about being            15 are speaking over one another. You’re making the record
16 fact, not in a totality.                                        16 very muddled.
17            MR. BANKSTON: Okay. Can you play the                 17            MR. BARNES: I’m sorry.
18 clip for me?                                                    18            So we have a standing stipulation that
19      Q. (BY MR. BANKSTON) Mr. Jones, I’m going to               19 when I object to form, that includes an objection on
20 play you a clip from December 29th, 2014.                       20 rule of completeness grounds to any evidence that -- or
21            MR. BANKSTON: Go ahead and play that for             21 a document or exhibit would otherwise include other
22 me, please.                                                     22 excerpts.
23               (Video playing.)                                  23            MR. BANKSTON: Thank you, Mr. Barnes.
24      Q    (BY MR. BANKSTON) That’s you saying you did           24            MR. BARNES: Perfect.
25 deep research, correct?                                         25     Q     (BY MR. BANKSTON) Over the next few years,

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 1 Mr. Jones, you did dozens and dozens of videos with that         1 Mr. Enoch; and one was already chosen. And, no,
 2 same message about Sandy Hook being staged, correct?             2 Mr. Enoch, there will be one lawyer speaking on the
 3           MR. BARNES: Objection as to form.                      3 record. There is one lawyer defending the deposition.
 4     A. No.                                                       4 I am not being tag-teamed by the two of you. And so I
 5     Q. (BY MR. BANKSTON) Okay. Well, I want to talk              5 would appreciate it if you kept your mouth shut for this
 6 about some of the claims you’ve made over the years.             6 deposition and let Mr. Barnes defend the deposition.
 7 The first thing I want to talk to you about is circles           7            For the record in the bottom corner of
 8 and I want to show you a video clip of something you             8 this screen is a large InfoWars logo. This was
 9 said on November 18, 2016; April 22nd, 2017; and                 9 broadcast on InfoWars.
10 June 13, 2017.                                                  10     Q. (BY MR. BANKSTON) So, Mr. Jones, my question
11           MR. BANKSTON: Can you play me the video               11 to you is: When you broadcast this to your audience and
12 clip Going in Circles?                                          12 told them this, you knew that wasn’t the school,
13                (Video playing.)                                 13 correct?
14           MR. BANKSTON: Can you give me the last                14            MR. ENOCH: Mark, would you please answer
15 frame, please?                                                  15 my question? And it’s a simple question: If you
16     Q    (BY MR. BANKSTON) Mr. Jones, when you said             16 represent that the video of the school that you’re
17 you’d be running them away from the building, what did          17 showing, the firehouse, was part of the same broadcast
18 you mean by that?                                               18 in which he made his statements --
19     A. The police should be getting the children away           19            MR. BANKSTON: Yes. Mr. Enoch, we just
20 from the building.                                              20 watched it. Do you really think I edited his words over
21     Q. Right. Okay. So the police should be --                  21 a different video?
22 scratch that.                                                   22            MR. ENOCH: Well, what I think doesn’t
23           No doubt there’s a dangerous situation, a             23 matter. Thank you for answering the question.
24 shooter on campus? Is it dangerous when there’s                 24            MR. BANKSTON: Mr. Enoch, I would
25 somebody shooting up a school?                                  25 appreciate it if you kept quiet the remainder of this
                                                              27                                                                 29
 1     A. Yes.                                                      1 deposition and let Mr. Barnes defend the deposition.
 2     Q. Okay. And so you would think if proper                    2     Q. (BY MR. BANKSTON) Mr. Jones, you knew that
 3 procedures were being followed in keeping them safe,             3 wasn’t the school?
 4 this looks pretty weird, doesn’t it, if they’re not              4            MR. BARNES: Object to the form.
 5 being run away from the building, right?                         5     Q. (BY MR. BANKSTON) Correct?
 6     A. Yes.                                                      6     A. I did not know that. This is so edited it
 7     Q. But, Mr. Jones, when you said this to your                7 looks like two different shows together. Can you play
 8 audience, you knew that wasn’t the school. You knew              8 it again? It’s so edited. I’ve never...
 9 that, right?                                                     9            MR. BANKSTON: Can you play at least the
10           MR. ENOCH: Are you saying that’s part of              10 last part there where he’s doing the video?
11 his broadcast?                                                  11            THE WITNESS: Just play the whole thing.
12           MR. BANKSTON: Yes. It says InfoWars                   12            MR. BANKSTON: Play the whole video again
13 right there on the bottom.                                      13 for him.
14           MR. ENOCH: Is that part of the same                   14     Q. (BY MR. BANKSTON) These are three different
15 broadcast?                                                      15 clips. And I’ll remind you, Mr. Jones, these are from
16           MR. BANKSTON: Yes. Do you see where it                16 November 18, 2016; April 22nd, 2017; and June 13, 2017.
17 says InfoWars?                                                  17     A. You just told him it was the same broadcast.
18           MR. ENOCH: As long as you’re                          18     Q. And this one right here is the same broadcast,
19 representing that the video that you’re showing him now         19 Mr. Jones.
20 with the people walking across was part of the same             20            MR. ENOCH: Is this the --
21 broadcast --                                                    21            MR. BANKSTON: This is November 18th,
22           MR. BANKSTON: Okay. First of all --                   22 2016.
23           MR. ENOCH: -- statements.                             23              (Video playing.)
24           MR. BANKSTON: First of all, there’s                   24     Q    (BY MR. BANKSTON) Let’s see if we can help
25 only going to be one lawyer defending this deposition,          25 you understand this. Hold on, Mr. Jones. Let’s see if

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 1 we can help you understand this. You understand this            1 about this one. This is the Sandy Hook Vampires
 2 first video where it says Sandy Hook Vampires Exposed,          2 Exposed. And we’ve talked about the second clip being
 3 you see that?                                                   3 from the Megyn Kelly interview, right? Correct?
 4     A. Yes. That’s about the media.                             4        A. Yes.
 5     Q. Correct. That’s April 22nd, 2017. That’s an              5        Q. Okay. Now then, the third clip that starts at
 6 InfoWars video.                                                 6 the end where it shows the video that we were talking
 7     A. It’s blurred. I can’t see that.                          7 about and you remember there was something you did
 8     Q. In other words, you know that there was an               8 called Final Statement on Sandy Hook in November of
 9 InfoWars video with that title, correct?                        9 2016?
10     A. I believe so.                                           10             MR. ENOCH: Mark --
11     Q. Okay. And then we saw a second clip from your           11             MR. BANKSTON: Mr. Enoch --
12 Megyn Kelly interview, right?                                  12             MR. ENOCH: -- you are -- maybe you don’t
13     A. Which was highly edited.                                13 intend to do it, Mark; but you’re stating something
14     Q. Sure. And I edited a piece of it in here,               14 that’s not correct. You just said one is from the Megyn
15 correct? That was from the Megyn Kelly --                      15 Kelly interview and you gave us three dates and none of
16           MR. ENOCH: Wait. Time out. Time out.                 16 them are the Megyn Kelly date.
17 We need to take a break. You just told me that                 17             MR. BANKSTON: I’m sorry if I’ve given
18 everything you showed him was from one video.                  18 you a wrong date. It was June 13th, 2017.
19           MR. BANKSTON: No, Mr. Enoch. I told you              19             MR. ENOCH: That is not the Megyn Kelly
20 what was on the screen and the audio were from the same        20 broadcast.
21 video.                                                         21             MR. BANKSTON: Okay. If I’ve misstated
22           MR. ENOCH: If you want to take a fair                22 the date, that’s my -- and you can object to that or you
23 deposition, you’re entitled to do that. You are not            23 can do whatever you want.
24 entitled to misrepresent to the witness three different        24        Q. (BY MR. BANKSTON) Do you agree that’s the
25 dates in deposition and say -- three different dates of        25 Megyn Kelly broadcast we were watching? That interview
                                                             31                                                                 33
 1 video and say this was the same video. Were these, all          1 in the middle was from the Megyn Kelly interview?
 2 the clips that you showed him the same video, "yes" or          2        A. I saw part of that. I mean, it was so fast,
 3 "no"?                                                           3 I...
 4           MR. BANKSTON: No. And we’ve said that                 4        Q. We’ll keep it slow. We’ll keep going --
 5 repeatedly from the moment I asked him. They were three         5        A. I watch Court TV and stuff. Nobody plays
 6 different dates. I read the three different dates to            6 edited tapes.
 7 you, Mr. Enoch. So your indignation can calm down, and          7        Q. Okay. This video here that we’re looking at
 8 I’d like you to be quiet in this deposition.                    8 is something from Final Statement on Sandy Hook. Do you
 9           MR. ENOCH: In what video --                           9 remember doing a video from Final Statement on Sandy
10           MR. BANKSTON: Mr. Barnes, can you please             10 Hook?
11 instruct your counsel to be quiet? You are defending           11        A. I do remember that.
12 this deposition.                                               12        Q. Okay. And this video here is where you showed
13           MR. ENOCH: Let’s take a break.                       13 this footage, and you made some comments about kids
14           MR. BANKSTON: Actually, I’ve got a                   14 going in circles, right?
15 question on the floor. We’re not taking a break.               15             MR. BARNES: Objection as to form.
16           MR. BARNES: You’re entitled to do                    16        A. If that’s from it, I remember making comments.
17 depositions the way you want, but I’m just saying it’s         17        Q. (BY MR. BANKSTON) Okay. Mr. Jones, do you
18 creating a lot of unnecessary confusion.                       18 see that ambulance right there?
19           MR. BANKSTON: And, hey, I’m walking                  19        A. Yes.
20 through it with him right now.                                 20        Q. Okay. I want to play you a couple of clips.
21           MR. BARNES: Okay.                                    21             MR. BANKSTON: Can you play me --
22           MR. BANKSTON: We’re going to clear up                22        Q. (BY MR. BANKSTON) I want to play you
23 all that confusion. All right? That’s what we’re going         23 something from July 5th, 2015.
24 to do. Okay?                                                   24             MR. BANKSTON: Can you play me the clip
25     Q. (BY MR. BANKSTON) Mr. Jones, we’ve talked               25 called Ambulance?

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 1     Q. (BY MR. BANKSTON) These are two things that              1               (Video playing.)
 2 you and Mr. Dew --                                              2     Q. (BY MR. BANKSTON) Mr. Jones, there are no
 3              (Video playing.)                                   3 elementary aged children in this line of people walking,
 4     Q. (BY MR. BANKSTON) Mr. Jones, if you saw                  4 is there?
 5 ambulances parked next to that building, you knew it            5     A. No. It’s another clip we’re talking about.
 6 wasn’t the school, didn’t you?                                  6     Q. Yeah. Do you see here is where they’re
 7           MR. BARNES: Objection as to form.                     7 walking in the circles? None of those people have their
 8     A. No, I didn’t. And later I corrected, before I            8 hands up, do they?
 9 was ever sued that that was one of the things that had          9     A. But there is footage I’ve seen that shows
10 been said that wasn’t true was that they were at the           10 that. So you’re conflating two different things.
11 firehouse. There was other footage, too, from the              11     Q. Really? Because you were talking about the
12 school. So it’s all edited. So it’s hard to respond to         12 footage on your show. You’re saying there’s actually a
13 this. I want to respond to your questions. It’s so             13 different piece of video footage with children with
14 edited, like, two- or three-second clips sandwiched in         14 their hands up being led in circles in and out of --
15 with others. It looks like more than three broadcasts.         15     A. From my memory it’s a live show, so the people
16     Q. (BY MR. BANKSTON) Well, let’s look right                16 in there was throwing stuff up. Many times it’s not
17 there. That was just two things, something you said,           17 accurate, sure.
18 something Mr. Dew said.                                        18     Q. So the video clip you were showing wasn’t even
19     A. Yeah, I --                                              19 of the school?
20     Q. Hold on. Ambulances are parked down the road;           20             MR. BARNES: Objection as to form.
21 they didn’t even go to the school. Then a year later,          21     Q. (BY MR. BANKSTON) Correct?
22 you showed your audience a video of a building with an         22     A. I’m not sure about what video this is it’s so
23 ambulance to it; and you told them it was the school?          23 edited, but I wrongly have said in the past, off of news
24     A. I talk four hours a day, and I can’t remember           24 reports that I was relying on, that the children were
25 what I talked about sometimes a week ago. Sandy Hook           25 going around with their hands up at the school when it
                                                             35                                                                 37
 1 has been, in the aggregate, less than one-tenth of              1 was the firehouse. And that’s one of the main anomalies
 2 1 percent of what I cover. And I understand that you’ve         2 that ended up to not be true and the reason I changed my
 3 been living this and pouring over it constantly. I have         3 mind about a lot of things.
 4 done almost no preparation for this. It’s very -- it            4     Q. Sure. After 2017, right?
 5 gives me a headache, and I just -- you’re just showing          5     A. Well, I’ve gone back when I’ve been asked
 6 me a bunch of edited tapes.                                     6 about anomalies and I’ve repeated those anomalies and
 7     Q. What question are you answering?                         7 those tapes have been edited and that’s why I do not do
 8     A. You’re asking me about a bunch of edited --              8 interviews now and talk about the anomalies, because
 9 how does someone answer...                                      9 those are edited.
10     Q. Mr. Jones, what question were you answering?            10     Q. Right. Let’s talk about the school itself. I
11     A. If you put a bunch of pages in a blender with           11 want to show you two comments that you made on July 7th,
12 writing on it and blended it all up and you asked me           12 2015 and April 22nd, 2017.
13 what’s in the blender, I can’t answer you a question           13             MR. BANKSTON: Can you play The School
14 with a bunch of blended words.                                 14 was Closed?
15     Q. Mr. Jones, I’m asking you: If there’s                   15               (Video playing.)
16 ambulances next to the building, you know it’s not the         16     Q    (BY MR. BANKSTON) The first thing, you admit
17 school?                                                        17 now there are no e-mails between City Council and the
18           MR. BARNES: Objection as to form.                    18 School in which Sandy Hook was being shut down; that’s
19     Q. (BY MR. BANKSTON) Correct?                              19 not a real thing?
20     A. No, that’s not what I meant.                            20             MR. BARNES: Objection as to form.
21     Q. Okay. I want to play you a piece of video               21     A. This is almost seven years old, but I do
22 footage from the helicopter footage. Let’s take a look         22 believe that we wouldn’t -- I mean, sometimes we’re
23 at that really quick.                                          23 wrong about things; but there’s always some news we’re
24           MR. BANKSTON: Can you play the                       24 covering or a witness or something. So I can’t answer
25 December 14th, 2012 Helicopter Firehouse Footage?              25 that because of just memory.

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 1      Q. (BY MR. BANKSTON) Mr. Jones, you said it was             1 video of Sandy Hook that was taken that day. I want to
 2 seven years ago?                                                 2 show you a clip from that, and I want you to note that
 3      A. Six years ago, whatever it was.                          3 every time they’re going to go -- there’s a couple of
 4      Q. You just -- that stuff we just played you was            4 times they’re going to go in the hallway; and there’s
 5 April 22nd, 2017. That was a year before you were sued,          5 part of the hallway they go in that has to be redacted
 6 right?                                                           6 because that’s where Ms. Hochsprung and Ms. Sherlach’s
 7      A. It was 3 seconds long.                                   7 blood is all over that hallway. But I want you to take
 8      Q. Right. But it’s not seven years ago, is it,              8 a look at the hallways and the classrooms for me as you
 9 Mr. Jones? You were saying that a year before you were           9 watch this video.
10 sued.                                                           10            MR. BANKSTON: Can you play Interior of
11            MR. BARNES: Objection as to form.                    11 Sandy Hook?
12      A. I can’t answer. It’s out of context. I don’t            12                (Video playing.)
13 know what you’re showing me.                                    13       Q   (BY MR. BANKSTON) Mr. Jones, that school is
14            MR. BANKSTON: Of course. Objection,                  14 not rotting, falling apart, or abandoned, is it?
15 nonresponsive.                                                  15            MR. BARNES: Objection as to form. I
16      Q. (BY MR. BANKSTON) When you said in the video            16 assume that includes any authentication disputes that I
17 it’s all rotting and falling apart, we’d talked earlier,        17 have about whether something is --
18 you’d seen the interior video of Sandy Hook; that’s             18            MR. BANKSTON: Under the Texas Rules
19 something you’d seen before?                                    19 every bit of evidence that is offered in deposition is
20      A. The photos of the mold and the rotting doors.           20 not -- there’s no waiver of any objections.
21      Q. And you said on the video it was falling                21       Q. (BY MR. BANKSTON) That video’s not rotting --
22 apart. You just said that on the video?                         22 that school’s not rotting and falling apart and it’s not
23            MR. BARNES: Objection as to form.                    23 abandoned, is it, Mr. Jones?
24      Q. (BY MR. BANKSTON) Right?                                24       A. I’ve never seen that video.
25      A. I saw the edited video. I don’t know where              25       Q. I’m perfectly confident you haven’t.
                                                              39                                                                 41
 1 it’s from. I don’t know the context.                             1 Absolutely, I know that. But what I’m asking you --
 2      Q. Sure. But you said in this video, in the                 2       A. I don’t even know --
 3 video, the school’s rotting and all falling apart and            3       Q. -- is seeing it right now, what I just showed
 4 nobody’s even in it.                                             4 you, regardless of what school it was or if I just went
 5            MR. BARNES: Objection --                              5 and took it over at Eastside Elementary, that school
 6      Q. (BY MR. BANKSTON) Right? That’s what you                 6 that you just saw on the screen is not rotting, is not
 7 said?                                                            7 falling apart, and does not look to be abandoned, does
 8            MR. BARNES: Objection as to form.                     8 it?
 9      A. I have no idea what the context of this is.              9       A. It looks dilapidated.
10      Q   (BY MR. BANKSTON) So wait. There’s a context           10       Q. Okay, Mr. Jones. You’ve seen Mr. Zipp’s
11 in which saying in the video that the school was all            11 affidavit, correct?
12 rotting and falling apart and nobody’s even in it --            12       A. Mr. Zipp?
13      A. Why are these videos all 3 seconds long?                13       Q. Mr. Zipp, Fred Zipp, Plaintiff’s expert who’s
14      Q. Because I’m focusing in on specific issues,             14 sitting with us in the room today, you’ve seen his
15 Mr. Jones. And I want to know: This claim you made              15 affidavit in this case?
16 that there is a video of the school where’s it’s                16       A. No.
17 rotting and falling apart -- that’s all I care about            17       Q. Okay. So you didn’t know that there were 180
18 right now -- you saw such a video?                              18 news articles from 2009 to 2011 about the Sandy Hook
19            MR. BARNES: Objection as to form.                    19 school with photos of the children doing things from
20      A. I have seen, from memory, news reports showing          20 multiple sources; that’s not something you’ve ever
21 photos and images. And my memory fails, but I do                21 known?
22 remember seeing photos put to video of the school being         22       A. I didn’t know that number. I mean, I’ve seen
23 in disrepair in the reports.                                    23 photos and things showing mold and the place dirty and
24      Q. (BY MR. BANKSTON) Let’s play for you really             24 messed up if that’s what you’re talking about.
25 quick -- I want to show you this video, the interior            25       Q. No. I asking you that the school was open

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 1 during those years, right? During 2009 to 2011 there’s          1 interview’s coming up; and let’s just be upfront about
 2 plenty of evidence the school was open, right?                  2 it. It was edited, and you didn’t think that was fair,
 3     A. There’s been controversy, like, on Google,               3 right? I mean, it was pretty heavily edited?
 4 showing their deliveries and things like that. I mean,          4     A. I think they call it deceptively jump titles.
 5 that was controversy we covered.                                5 I mean, your videos are worse; but sure. Sure.
 6     Q. Okay. So based on what you knew at the time,             6     Q. Yeah, I get that. I get that.
 7 you entertained serious doubts about whether the school         7             Let’s take a look at something you said
 8 was open?                                                       8 right before the Megyn Kelly interview. Okay? And this
 9           MR. BARNES: Objection as to form.                     9 is on June 13th, 2017.
10     Q. (BY MR. BANKSTON) In other words -- let me              10             MR. BANKSTON: Will you play the clip
11 pull that back, Mr. Jones.                                     11 called EMTs?
12     A. I had said stuff about Jussie Smollett.                 12               (Video playing.)
13     Q. Sure. Okay.                                             13     Q. (BY MR. BANKSTON) How did you determine that?
14     A. I was the first person to question it.                  14             MR. BARNES: Objection as to form.
15     Q. Sure. And I’m not going to try to pin you               15     A. I was reading someone else’s report.
16 down on here. Let’s just be straight up and upfront            16             MR. BANKSTON: Okay. Hold on.
17 about it. You didn’t know one way or the other, right,         17             Bring up the last frame again.
18 whether the school was open? You had some doubts. You          18     Q. (BY MR. BANKSTON) Mr. Jones, I’m going to
19 didn’t know one way or another; you couldn’t confirm it        19 lean up here so I can kind of point a little bit. Do
20 one way or another?                                            20 you see here where it says, "What Alex Jones really
21     A. I know that some investigators who were                 21 believes about Sandy Hook?"
22 accreditated school safety folks who thought were              22     A. Yes, I do.
23 credible experts were the ones -- professors and others        23     Q. Do you see where it says, "Among his
24 that were in good standing -- were the ones that were          24 questions?" Do you see that?
25 really doing these investigations; and that I was in           25     A. Yes.
                                                             43                                                                45
 1 some cases taking what they said incorrectly. And I’ve          1     Q. Do you see it says, "In closing Jones
 2 admitted to that.                                               2 says..."?
 3     Q. And with no corroboration? You just take what            3     A. I believe that’s where I’m saying I think
 4 they said and you trusted these guys, right?                    4 Sandy Hook happened.
 5     A. I mean, I’d seen one of the guys, like, on               5     Q. Right. What I’m asking you is: When it’s
 6 national television before on the Columbine stuff as a          6 talking "his questions," that’s Zero Hedge reporting on
 7 national safety expert; and he sounded pretty credible.         7 your questions. And when it says, "In closing Jones
 8     Q. Mr. Halbig, right?                                       8 says," that’s Zero Hedge reporting on what you said.
 9     A. Yes.                                                     9             And now, in some sort of inception, this
10     Q. And he had sent you something in the                    10 is you reporting on Zero Hedge reporting on what you
11 neighborhood of -- ten fours -- 4,000 e-mails?                 11 said?
12     A. It’s a lot, yeah.                                       12     A. Can you make it bigger? I can’t read that.
13     Q. And looking at those e-mails, taking a look at          13     Q. I cannot make that bigger, Mr. Jones; but I’m
14 them, you wouldn’t agree with me that that man is a            14 asking --
15 raving lunatic?                                                15             THE WITNESS: May I approach it, your
16     A. He seemed very credible and put together                16 Honor?
17 earlier on, but -- I can’t remember the exact number --        17             MR. BANKSTON: You may approach it.
18 he seemed to get agitated about four years ago, three          18 Yeah, go ahead.
19 years ago.                                                     19             THE WITNESS: I can’t even see it. My
20     Q. Let’s talk a little bit about EMTs, emergency           20 god. There’s no way to blow it up maybe?
21 medical technicians; and I want to show you a clip of          21             MR. BANKSTON: I don’t think I can blow
22 something that you said. And this, to address                  22 that up.
23 Mr. Enoch, is I think where this got messed up. There’s        23     A. "My heart goes out to the" -- I can’t read it.
24 a clip, again, on June 13, ’27 [sic.] right before the         24 "My heart goes out to the parents of lost children."
25 Megyn Kelly interview. In other words, the Megyn Kelly         25     Q. (BY MR. BANKSTON) Okay. That’s great. What

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 1 I’m asking you, Mr. Jones, is: Do you see the word               1           MR. BANKSTON: You can sit there and read
 2 "his"?                                                           2 that. Does that sound good?
 3      A. Yes.                                                     3           THE WITNESS: Well, I may need to -- if
 4      Q. Who does "his" refer to?                                 4 we’re taking a break, I’m going to go to the bathroom
 5      A. I believe it refers to me.                               5 and stuff.
 6      Q. Okay.                                                    6           MR. BANKSTON: Sure, you can go to the
 7            MR. BANKSTON: You can take a seat,                    7 bathroom. I’m not going to stop you from that,
 8 Mr. Jones.                                                       8 Mr. Jones. I’m not -- your bodily functions are your
 9      Q. (BY MR. BANKSTON) So how did you come to the             9 own.
10 conclusion that they never let paramedics or EMTs in the        10           Let’s go ahead and go off the record.
11 building?                                                       11           THE VIDEOGRAPHER: We’re off the record
12            MR. BARNES: Objection as to form.                    12 at 12:44 p.m.
13      A. I went off of the professors and all the                13           (Off the record from 12:44 to 12:58 p.m.)
14 so-called experts.                                              14           THE VIDEOGRAPHER: We are back on the
15      Q. (BY MR. BANKSTON) Okay.                                 15 record at 12:58 p.m.
16      A. And they wouldn’t release a bunch of the                16     Q    (BY MR. BANKSTON) Mr. Jones, before we went
17 reports. There were a bunch of lawsuits about the               17 on a break we were talking about the issue of whether
18 secrecy, which added to all of the -- and as more of the        18 there were EMTs allowed into the building, and I
19 stuff got released, then it proved the official story.          19 provided you with a couple of findings of some police
20      Q. When do you think that the police reports on            20 reports. I have put in front of you Exhibit 2, the
21 Sandy Hook were released? When do you think that                21 statement of Lieutenant Vanghele, correct? You’ve had a
22 happened?                                                       22 chance to read that?
23      A. I know there was one report -- you know, I              23     A. Vanghele. I did read most of it, but I didn’t
24 don’t know the date, so I don’t want to be inaccurate.          24 get to the second one.
25      Q. Okay.                                                   25     Q. Oh, okay. Well, let’s look at Exhibit 2. You
                                                              47                                                                 49
 1      A. I believe one took over five years.                      1 have Exhibit 2 in your hand?
 2      Q. Okay. Well, let me show you one that didn’t              2     A. I’m on 2.
 3 take five years. Okay? We’re going to talk about one             3     Q. Let’s go to page 5. Do you see the
 4 of those, and I’m going to mark it for you right now as          4 highlighted portion?
 5 Exhibit 2.                                                       5     A. Yes.
 6            MR. BANKSTON: We’re actually going to                 6     Q. I’m going to read that, and you’re going to
 7 the videos after the sequence. I think that’s going to           7 follow along with me. Okay? "I then walked into a room
 8 be lot easier.                                                   8 with Sergeant Carrio. At first glance it did not appear
 9            (Exhibit 2 marked.)                                   9 there were any casualties. To the left of the room as
10      Q. (BY MR. BANKSTON) Mr. Jones, I have handed              10 you walk in, there was a bathroom in the corner. There
11 you a State of Connecticut Department of Public Safety          11 was a massive pileup of bodies in this room. At this
12 Investigation Report. Do you see that at the top?               12 time I did not know it was a bathroom and I wondered how
13      A. Uh-huh.                                                 13 the suspect had the time to kill that many people and
14      Q. Okay. And you see kind of in the middle                 14 stack them in the corner of the room. Sergeant Carrio
15 there, "Place of Interview: Newtown Police Department,"         15 stated he was an EMT or maybe a paramedic and that he
16 right in the middle of the interview report?                    16 had to check to see if anyone in the pile might have
17      A. I need to read this.                                    17 survived -- may have survived. I agreed as the bodies
18      Q. In fact, you know what, just to be fair to you          18 were stacked two and three high and that some of the
19 about this, it’s a long report, right? I mean, it’s             19 children at the bottom, who were able to cram in first,
20 five, six pages? Let’s let you read the whole thing.            20 may have escaped bullets.
21 Don’t you think that’d be fair?                                 21           "He began to check for life signs,
22      A. Sure.                                                   22 wounds, and attempts to find a pulse. The victims on
23            MR. BANKSTON: In fact, let’s go off the              23 the top of the pile" -- redacted -- "and many of the
24 record. We’ll take a little break.                              24 bodies had injuries that were obviously fatal. It
25            THE WITNESS: Well, I mean --                         25 appeared as if the teachers in the room immediately upon

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 1 hearing gunshots began to pack children into the                 1   that all the injured were out, and that numerous dead
 2 bathroom. The children that were sitting on the floor            2   persons remained in the school. Cassavechia said, ’You
 3 of the bathroom were packed in like sardines. One                3   know I’ve got to get into that building.’ I realized at
 4 little girl was sitting, crouched in between the toilet          4   some point those victims presumed dead would have to be
 5 seat and the back corner of the room. I thought that             5   officially pronounced dead. We also needed to impact
 6 she might have the best chance for survival. As                  6   the fewest number of EMS personnel that we needed
 7 Sergeant Carrio got to the last bodies, it was clear             7   preserve the integrity of the scene. Looking around I
 8 that no one had survived."                                       8   recognized two other senior paramedics that I believed
 9            You’ve never heard of Sergeant Carrio,                9   had the experience and training to handle the situation
10 have you?                                                       10   tactically. I told Cassavechia I would bring myself
11      A. I haven’t.                                              11   [sic], Paramedic Bernie Meehan, and Paramedic John Reed
12      Q. And you didn’t know what he did in the                  12   into the front of the school, which was secured by that
13 building that day?                                              13   point. They were told to bring minimal equipment. As
14            MR. BARNES: Objection as to form for the             14   we walked to the school, I tried to prepare them for
15 time.                                                           15   what they were about to see. I told them the number of
16      Q. (BY MR. BANKSTON) You can answer. You didn’t            16   the victims and the nature of the wounds. I told
17 know what he did in the building?                               17   Cassavechia, ’This will be the worst day of your life?’"
18      A. (No audible response.)                                  18              You have never heard of Matt Cassavechia,
19      Q. Correct, Mr. Jones?                                     19   Bernie Meehan, or John Reed, have you, Mr. Jones?
20      A. It’s, again, over seven years. I don’t                  20       A. I mean, I just read their names.
21 remember a lot of this stuff.                                   21       Q. Prior to me putting that sheet of paper in
22      Q. Okay. So either you didn’t know what he did             22   front of you, you’ve never heard of those gentlemen,
23 in the building, or you did know what he did in the             23   have you?
24 building. One of those two things has to be true,               24       A. I can’t say that. It’s too much -- too much
25 right?                                                          25   information.
                                                              51                                                                 53
 1      A. I think I do know now.                                   1     Q. In fact, it’s possible when you said that
 2      Q. Sure.                                                    2 paramedics weren’t let into the building, you knew those
 3      A. It’s just there’s so much. It all becomes a              3 three gentlemen and you knew they had been in the
 4 big paste.                                                       4 building; that’s possible, true?
 5      Q. So we can agree that in 2017, when you raised            5     A. I wouldn’t consciously do that.
 6 the question, "Why were no paramedics let in the                 6     Q. If -- those reports sitting right there, if
 7 building," you either did know what Sergeant Carrio did          7 those reports were available and online and had been
 8 or you didn’t know what Sergeant Carrio did. One of              8 discussed by InfoWars as early as 2013, if that’s
 9 those two things has to be true, obviously, right?               9 something that was public, you would agree with me that
10            MR. BARNES: Objection as to form.                    10 saying no paramedics went into the building is reckless,
11      A. The tape was so edited, I don’t remember.               11 correct?
12            (Exhibit 3 marked.)                                  12            MR. BARNES: Objection as to form.
13      Q   (BY MR. BANKSTON) Okay. Let’s look at                  13     A. I just don’t know what you’re talking about
14 Exhibit 3. Do you want to pull Exhibit 3 for me? Can            14 off a 3-second video and this.
15 you go to the final page, just flip it on its back, onto        15     Q. (BY MR. BANKSTON) You’re not going to dispute
16 the back. Do you see at the very bottom of the page,            16 with me that you’ve repeatedly said on your television
17 the very bottom of the left corner it says                      17 show -- or your web broadcast that paramedics weren’t
18 Sergeant William F. Carrio?                                     18 allowed in the building; you’ve said that over and over
19      A. Yes.                                                    19 and over, right, Mr. Jones?
20      Q. Okay. I’m going to read the highlighted part            20            MR. BARNES: Objection as to the form.
21 to you. "Paramedic Matt Cassavechia approached me. I            21     Q. (BY MR. BANKSTON) Right?
22 had known Cassavechia for many years and recognized him         22     A. It’s edited the way you -- what you’ve shown
23 as the head of EMS for Danbury Hospital. Cassavechia            23 me, so I can’t comment.
24 asked how long it would be until he could get into the          24     Q. I’m not talking about what I -- what was on
25 building. I told him the building was not yet secured,          25 the video. I’m not talking about that. Ignore what you

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 1 just saw on the video. I’m asking you -- me and you              1     A. Those -- I mean, this is over -- that was
 2 right now -- you’ve said repeatedly on your web show             2 seven years ago.
 3 paramedics weren’t allowed inside of Sandy Hook? You’ve          3     Q. You know this is the one day you were to come
 4 said that; you’re not going to deny that?                        4 down here and testify about Sandy Hook, and are you
 5      A. I’ve read other people’s reports saying.                 5 going to tell me you haven’t done anything to try to
 6      Q. Okay. And you did nothing to confirm those               6 figure out what happened in those seven years?
 7 reports, literally nothing?                                      7           MR. BARNES: Objection as to form.
 8      A. I went out and I covered news that was being             8     Q. (BY MR. BANKSTON) Is that what you’re saying,
 9 covered.                                                         9 you walked in here totally unprepared, just winging it
10      Q. How did you confirm the reports that you were           10 today?
11 given that paramedics weren’t allowed in the building?          11           MR. BARNES: Objection as to form.
12 How did you confirm --                                          12     A. I don’t know how to respond to that.
13      A. We generally go through the reports, and then           13     Q. (BY MR. BANKSTON) Do you have the respect
14 we look at what they link to. And I don’t have all the          14 enough for these parents in this lawsuit to actually go
15 dates, but one report took over five years; another,            15 back and try to find out what happened? Did you do
16 three years; another, a year. And so it’s all -- I              16 that?
17 mean, again, this has not been a large part of what I’ve        17           MR. BARNES: Objection as to form.
18 covered. Sandy Hook has been a very -- not even one-            18     A. I covered it when it first happened. And you
19 tenth of 1 percent of what we cover and I know that you         19 can look at six shows a week, three to four hours a day
20 think that that’s the case, but that’s not the case.            20 and find spots and edit them and things. It’s the
21            MR. BANKSTON: Objection to the                       21 media’s claim that my life is about Sandy Hook, and it’s
22 nonresponsive portion.                                          22 not even one of the major issues I’ve ever covered. And
23      Q. (BY MR. BANKSTON) Hearing that your murdered            23 so you’re asking me to do the impossible, to go back
24 child received no medical attention, that’s obviously           24 through a whole compendium and then give some
25 distressing?                                                    25 quantifiable statement to you off 3-second edited
                                                              55                                                                 57
 1            MR. BARNES: Objection as to the form.                 1 videos. It’s like -- it’s square pegs in round holes.
 2      Q. (BY MR. BANKSTON) Right, Mr. Jones?                      2           MR. BANKSTON: Objection to the
 3      A. (No audible response.)                                   3 nonresponsive portion.
 4      Q. Can you -- let’s do it this way --                       4     Q. (BY MR. BANKSTON) I want to talk to you about
 5            Withdraw the question.                                5 death certificates. I want to play you a clip of
 6            Can you imagine a universe where hearing              6 something you and Mr. Dew said February 12th, 2015 and
 7 that your murdered child received no medical attention           7 November 18, 2016.
 8 is not distressing?                                              8           MR. BANKSTON: Can you play School and
 9            MR. BARNES: Objection as to the form.                 9 Death Certificates for me?
10      A. I think there were even lawsuits by the                 10                 (Video playing.)
11 parents saying things weren’t done right sometimes, and         11     Q    (BY MR. BANKSTON) What did you do to confirm
12 that’s a terrible thing.                                        12 that?
13      Q. (BY MR. BANKSTON) That’s not my question,               13           MR. BARNES: Objection as to form.
14 though, is it, Mr. Jones?                                       14     A. Again, these are highly edited, spliced tapes.
15      A. Oh.                                                     15 The audio’s been altered. I don’t even know what
16      Q. Is it? That’s not my question.                          16 context this is in.
17            So my question is: If you heard your                 17     Q. (BY MR. BANKSTON) Sir, the context is Sandy
18 murdered child received no medical care, that’s                 18 Hook death certificates are sealed; and you said that.
19 distressing?                                                    19 What did you do to confirm it, Mr. Jones?
20            MR. BARNES: Objection as to form.                    20           MR. BARNES: Objection as to form. It
21      A. It is distressing. That’s why I was                     21 misstates the evidence.
22 distressed just in general hearing those reports.               22           MR. BANKSTON: You don’t have to do
23      Q. (BY MR. BANKSTON) Wait. When you say you                23 speaking objections, Mr. Barnes.
24 were distressed hearing those reports, what reports are         24           MR. BARNES: This is one of the worst
25 you talking about? What reports?                                25 depositions I’ve ever witnessed.

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 1           MR. BANKSTON: That’s fine. You can make              1     Q. (BY MR. BANKSTON) That’s consistent with what
 2 your objections. Go make all the objections you want,          2 we were just talking about, right --
 3 but make them in accordance with the Texas Rules which         3           MR. BARNES: Objection --
 4 you agreed to be bound with before you --                      4     Q. -- Port-A-Potties showing up an hour before a
 5           MR. BARNES: I am. Okay. Fine, fine.                  5 big media event?
 6     Q. (BY MR. BANKSTON) Mr. Jones, sealing the                6           MR. BARNES: Objection as to form.
 7 death certificates, the fact that they were sealed,            7     Q. (BY MR. BANKSTON) Correct, Mr. Jones?
 8 something you and Mr. Dew both said, how did you confirm       8     A. Yes. I mean, I did talk about that on some of
 9 that?                                                          9 your edited tape. I don’t know the context.
10           MR. BARNES: Objection as to form.                   10     Q. Sure.
11     A. I don’t want to answer these things                    11           (Exhibit 4 marked.)
12 incorrectly. So my memory is -- I remember that this          12     Q. (BY MR. BANKSTON) Mr. Jones, I’m going to
13 thing was the most sealed case ever and that it was in        13 hand you a copy of what I have marked as Exhibit 4.
14 the news, that there were all these lawsuits about            14 Have you ever seen that before?
15 unsealing things and that the records and the redacted        15     A. I don’t remember.
16 police reports -- like what you gave me is almost all         16     Q. You’re not sure if you’ve seen this before?
17 blacked out -- this is what people were talking about.        17     A. No.
18 And so I can’t accurately answer off of edited tapes.         18     Q. Okay. You’ll see at the top it has a time
19 I’ve never seen anything like that. So I’m trying to          19 stamp 12-14-12?
20 answer your questions.                                        20     A. Yes.
21     Q. You never -- have you ever tried to order a            21     Q. You know that’s the date of Sandy Hook, right?
22 death certificate? They’re $20. Anybody can get any           22     A. I don’t know.
23 one of them. Did you ever try?                                23     Q. You don’t know that?
24     A. As I told you, we went off news reports and            24     A. Was that the day?
25 other people that were investigating. We did not              25     Q. It is.
                                                            59                                                                 61
 1 ourselves investigate Sandy Hook.                              1     A. Okay.
 2     Q. Thank you, Mr. Jones.                                   2     Q. It is, Mr. Jones.
 3           I want to talk to you about something you            3           We had talked earlier about the dash cam
 4 said about Port-A-Potties. You know what I’m talking           4 videos and the official report and if there’s police
 5 about when I talk about Port-A-Potties, right?                 5 cars sitting out in front of Sandy Hook with their dash
 6 Port-A-Potties showed up to Sandy Hook?                        6 cams on, it would be a pretty simple matter of just
 7     A. Port-A-Potties?                                         7 going to video and scrolling through to see when various
 8     Q. Yeah. Do you know what I’m talking about when           8 stuff arrives. That’s something you can do, right?
 9 I say that allegation, when you talked about on your           9     A. I would imagine, yeah.
10 show Port-A-Potties showing up to Sandy Hook? Do you          10     Q. Yeah. InfoWars didn’t do that, did they?
11 remember talking about Port-A-Potties?                        11     A. I can’t say that. I don’t know what we did.
12     A. I do remember talking about them.                      12     Q. Okay. Well, if InfoWars did do that, they
13     Q. Okay. And you remember how your point was              13 would have come across this picture of Port-A-Potties
14 they showed up within an hour for a big media event,          14 showing up at 1:30 p.m., right? That’s what that time
15 showed that it was clearly -- something’s going on            15 is right there? Are you familiar with military time?
16 because they showed up way too quick?                         16     A. Uh-huh.
17           MR. BARNES: Objection as to form.                   17     Q. Okay. And that’s 1:30, right?
18     Q. (BY MR. BANKSTON) Correct?                             18     A. Uh-huh.
19     A. I was reporting on what other people had               19     Q. Right. So that’s not an hour after the
20 reported.                                                     20 shooting, is it, Mr. Jones? Correct?
21     Q. Okay. Let me play you a clip of something              21     A. It’s pretty darn soon after.
22 that you said on July 7th, 2015 and April 22nd, 2017.         22     Q. Is it? Is it maybe more like four hours
23           MR. BANKSTON: Could you play                        23 after?
24 Port-A-Potties for me?                                        24     A. Again, I was going off of what I believed to
25                 (Video playing.)                              25 be -- and he was -- an accreditated national school

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 1 safety person who’d been on national television programs         1 and you said to your audience that there was an e-mail
 2 as an expert. I was going off what Halbig was saying.            2 that came out in the lawsuit where Bloomberg told his
 3       Q. You did no confirmation whatsoever of                   3 people: Get ready in the next 24 hours to capitalize on
 4 Mr. Halbig’s statements about the Port-A-Potties, did            4 a mass shooting.
 5 you?                                                             5            That didn’t happen; that’s not a real
 6       A. I don’t believe these videos --                         6 e-mail, is it?
 7            MR. BARNES: Objection as to form.                     7            MR. BARNES: Objection as to form.
 8       A. -- were released for a long time.                       8     A. I mean, I don’t think it’s exactly that; but
 9       Q. (BY MR. BANKSTON) If they were, if those                9 there’s one similar to that.
10 videos were released in 2013, it certainly would have           10     Q    (BY MR. BANKSTON) Yeah. I mean, what you
11 been reckless to say the Port-A-Potties arrived in an           11 said is not real?
12 hour in 2017, wouldn’t it, Mr. Jones?                           12            MR. BARNES: Objection as to form.
13            MR. BARNES: Objection as to form.                    13     Q. (BY MR. BANKSTON) Bloomberg never told his
14       A. I just don’t know how to respond to the fact           14 people: Get ready in the next 24 hours to capitalize on
15 that -- that how do we know more weren’t arriving later         15 a mass shooting; that did not happen?
16 and that there’s other Port-A-Potties or whatever? I’m          16            MR. BARNES: Objection as to form.
17 not saying that’s what happened. You just showed me one         17     A. What does his gun organization do?
18 still off something and tell me to answer questions.            18            MR. BANKSTON: Okay, Mr. Jones.
19       Q. (BY MR. BANKSTON) Yeah. So one thing you               19            THE REPORTER: I’m sorry. Could you
20 could do is go back into the dash cam video and scroll          20 repeat the answer?
21 through and find out if something did arrive earlier?           21            THE WITNESS: I believe his anti-gun
22 That’s something you could do, right?                           22 organization said: Get ready. Get ready to move quick,
23            MR. BARNES: Objection as to form.                    23 you know. I don’t have it in front of me. It’s from
24       Q. (BY MR. BANKSTON) It’s not hidden                      24 years ago.
25 information, right?                                             25     Q    (BY MR. BANKSTON) Let’s -- I want to ask you
                                                              63                                                                 65
 1            MR. BARNES: Objection as to form.                     1 about photos of the children, so I’m going to play you a
 2       Q. (BY MR. BANKSTON) Correct?                              2 video clip of something you said about the photos of the
 3       A. I guess correct.                                        3 children. This is something you said on September 25th,
 4       Q. Okay. Thank you, Mr. Jones.                             4 2014.
 5            Mr. Jones, I’ve noticed on a lot of these             5            MR. BANKSTON: Can you play Photos of
 6 answers you’ve said, "Well, I’m just going off what              6 Children?
 7 Mr. Halbig said." So what I want to know is: When you            7              (Video playing.)
 8 talked earlier about you did deep research, what was             8     Q. (BY MR. BANKSTON) Mr. Jones, you can admit
 9 that? What deep research did you do?                             9 that that statement was absolutely nonsense; there are
10       A. Well, I mean, I did look at the news articles          10 not photos of children who died who are actually still
11 saying they were being very secretive about the case,           11 alive?
12 that a lot of things were sealed, which is unusual.             12     A. That is and out-of-context clip. I can’t even
13 There were lawsuits involved with that, and I did do            13 respond to something like that.
14 research on Bloomberg putting out an e-mail the day             14     Q. You said it, though, didn’t you?
15 before saying, "Get ready. There’s going to be a big            15     A. I don’t know what it’s in context with.
16 event," you know, just straight up, people waiting              16     Q. Is there a good context to that, Mr. Jones,
17 around for mass shootings or whatever. And just the way         17 that people’s children who are dead, there’s actually
18 the media made a spectacle out of it right away is what         18 photos of them still alive? Can you give me the good
19 really made me question. That scene like with the WMDs          19 context?
20 or babies in the incubators, I just saw the media so on         20     A. There is no way --
21 it, so ready; and I thought that added credibility to           21            MR. BARNES: Objection as to form.
22 it.                                                             22     A. There’s no way to respond to -- I mean, I
23       Q. Okay. I mean, I’m glad you brought up the              23 don’t know what it is.
24 Bloomberg thing. I remember there was a couple of               24     Q. (BY MR. BANKSTON) I know what it is. It’s a
25 episodes where you talked about this Bloomberg e-mail           25 video of you saying that there are photos of children

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 1 who died who are still alive. And I’m asking you:                1      A. And so I wore a lizard mask. They also tried
 2 That’s absolute nonsense, isn’t it, Mr. Jones?                   2 to introduce that. And we explained that, "No, your
 3            MR. BARNES: Objection as to form.                     3 Honor" -- the judge agreed, yes, we understand satire
 4      A. No, it’s -- no, it’s not. I don’t know the               4 versus reality.
 5 context of that video.                                           5            So, no, I was -- I believe what I say on
 6      Q. (BY MR. BANKSTON) Okay.                                  6 air. Now, when I cover what somebody else is covering
 7      A. Okay? There have been cases where the                    7 or I have a war game, I look on both sides of something,
 8 Associated Press major groups ran pictures of Sandy              8 that doesn’t mean that I believe in both sides of what
 9 Hook children in Pakistan after a mass bombing; and in           9 I’m covering. It means I’m looking at the different
10 the lineup of dead kids -- or parents about their dead          10 angles, and then that’s taken out of context.
11 kids -- because I believe a bombing happened in                 11      Q. Well, what I’m getting at is: This stuff
12 Pakistan -- bizarrely, they’ve got a Sandy Hook kid in          12 we’re looking at today, kids going in circles, the
13 there, admitted. And then we’ve seen other cases. It’s          13 school was closed, e-mails, EMTs not in the building,
14 very bizarre and that’s where people call in and ask and        14 Port-A-Potties, these aren’t comedy skits; this is
15 then I respond to it. And I don’t know if that’s even           15 journalism?
16 that clip because it’s a couple of seconds long.                16      A. Yes -- well, this is punditry because I wear a
17      Q. Yeah, well, clearly, it’s not the kid in                17 journalist hat, a punditry hat, satire hat, you know,
18 Pakistan because that’s not a kid who’s still alive,            18 just reading news. I mean, just being a news reader, I
19 right? When Noah Pozner’s picture appeared in Pakistan,         19 mean, I do that as well. So I do a lot of things; but
20 that’s not Noah Pozner’s still alive, right?                    20 when I was covering Sandy Hook, I was genuinely trying
21            MR. BARNES: Objection as to form.                    21 to get to the truth of it.
22      Q. (BY MR. BANKSTON) Correct?                              22      Q. Okay. At InfoWars it was known from the very
23      A. I wasn’t saying Noah Pozner’s still alive.              23 start that parents were being harassed by believers in
24      Q. Okay. It was widely reported during your                24 the Sandy Hook Conspiracy? You would agree to that,
25 divorce that your attorney said to the judge that you’re        25 right?
                                                              67                                                                 69
 1 playing a character, that you’re a performance artist.           1       A. No.
 2 So I want to ask you -- I want to know: When you were            2              MR. BARNES: Objection as to form.
 3 making these claims about Sandy Hook, were you being a           3       Q. (BY MR. BANKSTON) Well, you would also at
 4 journalist; or was this all performance art?                     4   least agree that -- because of the potential for that
 5            MR. BARNES: Objection as to form.                     5   harassment, you would agree with me that InfoWars needed
 6      A. When I say things on air, I believe it. I                6   to treat Sandy Hook allegations with extreme caution,
 7 had -- when I made a radio talk show host. That was my           7   given it was a traumatic event; you’d agree with that?
 8 ex-wife trying to enter into evidence, like ten years            8              MR. BARNES: Objection as to form.
 9 ago, me in a Joker outfit doing a satire piece about             9       A. I mean, I think it’s the American birthright
10 chemicals in the water; and she was trying to say that I        10   and it’s important when you have big events, whether
11 was crazy and was really the Joker.                             11   they’re wars or WMDs or mass shootings, that -- I mean,
12            And we said, "No. When Jack Nicholson                12   I think the right to question is an absolute right.
13 plays the Joker, your Honor, he’s not really the Joker.         13              Just like the Jussie Smollett situation,
14 He’s playing a part."                                           14   I took a risk saying I thought that was fake and I was
15            And then the media ran with it, saying               15   the first person to question it and I was proven right.
16 that I said that what I regularly do on air is                  16   So I just really -- I questioned Jussie Smollett from a
17 entertainment.                                                  17   position of looking at the facts; and if I had been
18            So it’s very clear when I’m being serious            18   proven wrong, then I would have, you know, apologized
19 on air; and it’s very clear if I’m wearing a Gorn mask,         19   for it. I mean, that’s what I do.
20 you know, and reenacting Star Trek as a joke, that I’m          20       Q. (BY MR. BANKSTON) Okay. But with Sandy Hook,
21 not literally believing that the Gorn’s a real lizard           21   not with Jussie Smollett, with Sandy Hook, you would
22 creature. I was making fun of the media in that case            22   agree with me you were under an obligation, InfoWars,
23 for saying that -- you know, saying that I believe the          23   you needed to treat this with extreme caution --
24 Government’s talking about lizards. That’s on me.               24              MR. BARNES: Objection --
25      Q. Sure.                                                   25       Q. (BY MR. BANKSTON) -- agreed or not agreed?

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 1            MR. BARNES: Objection as to form.                     1      A. It’s not in context. I can’t answer that.
 2      A. Well, I mean, we always covered things from              2      Q   (BY MR. BANKSTON) Okay. I want to play you
 3 the perspective of caution. We were covering other               3 some comments you made about Mr. Watson. I want to
 4 people’s reports and also questioning the historical             4 show you something you said about Mr. Watson on
 5 fact that, you know, things like Operation Northwoods,           5 February 12th, 2015 and on April 20th, 2018, the day
 6 the Government planned to stage mass shootings in the            6 after you were sued.
 7 U.S.; but Kennedy said no to the plan. But the Chairman          7            MR. BANKSTON: Can you play the clip for
 8 of the Joint Chiefs had green-lighted it. And so                 8 me Jones Comments on Mr. Watson?
 9 because of things like that, we are forced to then               9               (Video playing.)
10 question these events. And I think that’s -- you know,          10      Q   (BY MR. BANKSTON) So your chief reporter was
11 it’s just part of the process in this country.                  11 right when he was warning you not to say it was phony or
12      Q. (BY MR. BANKSTON) Okay. So that’s part of               12 there were crisis actors?
13 the process; and to be fair to you, InfoWars didn’t know        13            MR. BARNES: Objection as to form.
14 from the very start that Sandy Hook parents were being          14      A. He was not the chief reporter then.
15 harassed?                                                       15      Q. (BY MR. BANKSTON) When did he become chief
16      A. No, we didn’t know, not from the very start.            16 reporter?
17            MR. BANKSTON: Can you --                             17      A. About five years ago -- well, about six --
18      Q. (BY MR. BANKSTON) I want to play something --           18 well, about five years ago.
19 I want to play a clip from the InfoWars episode on              19      Q. Five years ago, 2014?
20 January 18, 2013. Okay?                                         20      A. I’d have to look it up.
21            MR. BANKSTON: Can you play the clip                  21      Q. Okay. So at the time you were saying that
22 Extreme Caution?                                                22 clip in 2015, when you said, "He’s my chief reporter,"
23              (Video playing.)                                   23 that’s when he became your chief reporter?
24      Q   (BY MR. BANKSTON) That clip is Mr. Paul                24      A. And I said his instincts are right. So you
25 Watson, who is your chief reporter at InfoWars, right?          25 played, finally, one clip where I’m saying it happened
                                                              71                                                                 73
 1      A. He is now.                                               1 instead of editing clips.
 2      Q. And he frequently warned you about what you              2      Q. Well, no, I was actually talking about the one
 3 were saying about Sandy Hook?                                    3 before, on February 12th, 2015, you called him your
 4      A. Well, I mean, we had discussions about it,               4 chief reporter.
 5 yes. We’re not running a cult. We have different                 5      A. I think I said by then he was.
 6 views.                                                           6      Q. Okay. Over the years there’s been some
 7      Q. Right. For instance, one of the gentlemen in             7 tension between you and the parents after they started
 8 the room with us right now, Rob Dew, Mr. Watson                  8 complaining about what you were doing, correct?
 9 disagreed with Mr. Dew and said, "Mr. Dew’s wrong, and           9            MR. BARNES: Objection as to form.
10 you need to stop this, Mr. Jones"? That’s what                  10            MR. BANKSTON: What’s your basis on that
11 Mr. Watson told you?                                            11 one?
12            MR. BARNES: Objection as to form.                    12            MR. BARNES: It’s --
13      Q. (BY MR. BANKSTON) Correct?                              13            MR. BANKSTON: A legal objection, not a
14      A. That there were external and internal debates,          14 speaking objection, a legal. What’s your legal basis
15 as you just saw. We’ve looked it up. It’s 90-something          15 for that one?
16 percent of my reporting saying that it happened, even           16            MR. BARNES: Okay. Well, explain the
17 going back with -- I don’t do this anymore because              17 legal -- it’s time, date, context, definitions.
18 people can edit stuff -- but we would go on air and say:        18            MR. BANKSTON: Those aren’t legal
19 Real shootings happen, you know, the black trench coat,         19 objections, Mr. Barnes.
20 on the drugs, all the regular things we see in mass             20            MR. BARNES: Yes, they are because if the
21 shootings. And then we would have the other side of             21 form of the objection [sic] is misleading or leading in
22 that because the Internet didn’t believe it happened.           22 the nature in which it --
23      Q. Let me put it this way: Mr. Watson was right;           23            MR. BANKSTON: I’m allowed to lead the
24 Mr. Dew was wrong, correct?                                     24 witness; he’s adverse to me.
25            MR. BARNES: Objection as to form.                    25            MR. BARNES: You are; but if I say -- if

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 1 I don’t give you context of time and date...                    1 from March 14th, 2014.
 2            MR. BANKSTON: No, that’s fine. It’s not              2            MR. BANKSTON: Can you play me the clip
 3 an objection. It’s baseless.                                    3 called Actors?
 4            MR. BARNES: Oh, yes, it is. It’s a                   4               (Video playing.)
 5 basic objection. It’s Lawyering 101 on how to ask               5      Q   (BY MR. BANKSTON) Who were the actors playing
 6 questions. I mean, come on.                                     6 the different -- what are the different people where the
 7            MR. BANKSTON: Okay.                                  7 same actor was playing different parts?
 8            MR. BARNES: It would be easier for you               8      A. I’d have to see the context.
 9 and for everybody if it was --                                  9      Q. But that was something you believed that was
10            MR. BANKSTON: Have you got a rule of                10 true?
11 evidence for me, maybe?                                        11      A. From an edited tape I don’t know what the
12            MR. BARNES: Oh, sure. It gives                      12 context is.
13 specificity as to both date and time so that the person        13      Q. Well, I mean, look, Mr. Jones, you can see
14 can answer the question meaningfully. When you say --          14 you say "actors" enough times that you and I can both
15            MR. BANKSTON: So is that 403?                       15 admit -- you can just admit right now there have been
16            MR. BARNES: That could be.                          16 multiple, repeated times where you have accused some of
17            MR. BANKSTON: That’s not to form.                   17 the parents of being actors?
18 That’s not -- you don’t have to object to that. It’s           18            MR. BARNES: Objection as to form.
19 preserved, Mr. Barnes.                                         19      Q. (BY MR. BANKSTON) Right?
20     Q    (BY MR. BANKSTON) Let’s talk about this               20      A. No, I never -- I covered the Internet, talking
21 question: Over the years there started to develop              21 about how people looked like actors. This is edited. I
22 tension between you and the Sandy Hook parents after           22 can’t comment on it.
23 they started complaining about what you were doing,            23      Q   Okay. So let me understand this, Mr. Jones:
24 correct?                                                       24 Unless we play you a full four-hour InfoWars clip, you
25     A. No.                                                     25 just can’t answer questions today, can you?
                                                             75                                                                 77
 1     Q. Okay. No tension.                                        1      A. It’s not a four-hour clip. It’s that these
 2            You will admit, I mean, you’ve done                  2 were maybe a-minute-long clips, not -- five seconds, two
 3 mocking imitations of Sandy Hook parents crying,                3 seconds.
 4 correct?                                                        4      Q. Well, you’re telling your audience there:
 5     A. No.                                                      5 We’ve clearly got people where it’s actors playing
 6     Q. I want to play you a video clip -- two, from             6 different parts of different people. So you were pretty
 7 September 24th, 2014 and November 11th, 2016.                   7 certain, weren’t you?
 8            MR. BANKSTON: Will you play the video                8      A. I have -- because of all the strange things
 9 clip called Crying?                                             9 we’ve seen, there have been points in my mind where I’ve
10              (Video playing.)                                  10 gone back and forth in the earlier years, you know,
11     Q    (BY MR. BANKSTON) You realize now you were            11 really thinking maybe the whole thing has been staged;
12 mocking the difficult emotional reactions of people who        12 and then later, I realized it was just mainly media
13 provably lost their children?                                  13 hyping it and then trying to choreograph, you know,
14     A. No, I was not mocking. I was showing what               14 turning it into a political situation after the case.
15 people were questioning. It was not to mock the                15      Q. Okay. Well, regardless of whatever that was,
16 parents. It was showing why people were questioning.           16 this thing we just saw you say about actors, the mocking
17 It’s you that is projecting mocking onto it. I was             17 imitations of crying, this is exactly the stuff that
18 showing what he did.                                           18 Paul Joseph Watson was warning you about, correct?
19     Q. When you did this stuff about the crying and            19      A. No. He was saying that some of the people
20 your imitations, this was all in service of an argument        20 that were out there putting stuff out, like Fetzer and
21 that some of these parents were actors, right?                 21 others in that, were not good.
22            MR. BARNES: Objection as to form.                   22      Q. Yeah. He was really opposed to the crisis
23     A. No.                                                     23 actor angle, correct?
24            MR. BANKSTON: Can you play me --                    24            MR. BARNES: Objection as to form.
25     Q    (BY MR. BANKSTON) I want to play you a clip           25      Q. (BY MR. BANKSTON) And If I get -- Mr. Jones,

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 1 if I get Paul Watson here to testify, he’s going to tell         1     Q. Correct, that Mr. Pozner was running, as an
 2 me he never believed in the crisis actor thing and               2 anonymous front, the HONR Network to help make
 3 thought it was a bad idea to talk about crisis actors.           3 complaints against various sites so that individual
 4 That’s what he’s going, isn’t he?                                4 parents wouldn’t be the subject of retribution. Yeah,
 5           MR. BARNES: Objection as to form.                      5 that’s what I’m asking you if you knew.
 6     A. Yeah, because, I mean, he legitimately is his             6     A. No, I was not aware of that. We were -- I
 7 own person; and we don’t tell people what to say or what         7 believe, from memory, Dew was covering a news article
 8 to do. I respect him, and we have different points of            8 about how the -- but then that’s been conflated by you
 9 view. We’ve had debates about Sandy Hook on air.                 9 guys, sneaking into people’s houses or putting out their
10     Q. (BY MR. BANKSTON) You have different views               10 addresses to go after them; and we never did that.
11 about journalistic ethics, too?                                 11     Q. So InfoWars -- well, if it happened that
12     A. Well, I mean, when there’s a big Internet                12 InfoWars went and searched and dug through records for
13 debate that’s going on and we cover that debate, I give         13 private business filings and used DMCA reports that it
14 my opinion on it. That’s what happens.                          14 had gotten to suss out that Mr. Pozner was the head of
15     Q. Okay. As time went on, starting into 2015,               15 HONR and then reported it to its audience, that wouldn’t
16 you learned that a Sandy Hook parent named Leonard              16 be a good thing if that happened, right?
17 Pozner was behind a group called HONR Network, correct,         17           MR. BARNES: Objection as to form.
18 that was fighting online abuse of Sandy Hook victims?           18     A. Well, I don’t have any knowledge of what
19     A. I did, I think.                                          19 you’re talking about there.
20     Q. And when you learned that and when HONR                  20     Q. (BY MR. BANKSTON) I’m just saying: If it
21 complained to YouTube in 2015, you told your viewers            21 happened hypothetically -- if, hypothetically, InfoWars
22 that HONR was run by Mr. Pozner. You showed addresses           22 went to some lengths to unmask a person who was running
23 being used by Mr. Pozner; and you said he needed to be          23 a charity that was trying to stop people from being
24 investigated, in Florida. Didn’t you say that?                  24 abused and then disclosed that to its audience with
25           MR. BARNES: Objection as to form.                     25 maps, that wouldn’t be a good thing?
                                                              79                                                                 81
 1     A. No.                                                       1     A. That’s, from my memory, not what happened. I
 2     Q. (BY MR. BANKSTON) Okay. Let’s play a clip                 2 can’t comment on hypotheticals.
 3 here. I’m going to show you something that you and               3     Q. So if I was to say to you if somebody was to
 4 Mr. Dew were talking about on February 12th, 2015.               4 come along and strike your hand with a hammer, would it
 5           MR. BANKSTON: Can you play Addresses for               5 hurt, you can’t answer that question?
 6 me?                                                              6           MR. BARNES: Objection as to --
 7               (Video playing.)                                   7     A. I’m not striking anybody with hammers.
 8     Q    (BY MR. BANKSTON) If a person were to stake             8     Q. (BY MR. BANKSTON) If I asked you: If I gave
 9 out those addresses, they could wait for Mr. Pozner to           9 you a big bowl of chili, might it affect your memory,
10 come pick up his mail, couldn’t they?                           10 you can’t answer that; that’s hypothetical? Correct?
11           MR. BARNES: Objection as to form.                     11 You’re just not going to answer those kind of questions?
12     Q. (BY MR. BANKSTON) True?                                  12     A. (No audible response.)
13     A. I mean, the guy’s running an anti-free speech            13     Q. I’ll take it that’s a no. Let’s move on.
14 foundation.                                                     14           MR. BARNES: I’ll take it that was a
15     Q. And you’re the one who outed him as doing                15 question? Is that a question? That’s a comment; that’s
16 that, right? There’s nothing on the HONR Network                16 not a question. This is becoming one of the most
17 website that said Mr. Pozner was running it; you outed          17 harassing -- this is for TV and for PR, not for a
18 him.                                                            18 legitimate suit. That’s what this is. That’s all this
19           MR. BARNES: Objection as to form.                     19 is. You want to put it on TV. That’s all -- and this
20     A. I believe he was public on that.                         20 is just a show, and it’s a bad show at that. It’s a
21     Q. (BY MR. BANKSTON) Do you? You don’t think                21 show of how-not-to-be-a-lawyer-in-deposition-of-a-case
22 that InfoWars was the first one to break that in an             22 show.
23 article? You don’t think that?                                  23           I mean, if you want to be fair and you
24     A. That he was running a site, trying to get                24 want to ask real questions, go ahead; but don’t make
25 people’s websites and things taken down?                        25 comments and then try to reinterpret those comments as a

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 1 question and then try to put words in the mouth of the           1     Q. Okay. That’s Mr. Bidondi?
 2 witness. I mean, a first year law student should know            2     A. Yes.
 3 that.                                                            3     Q. I want to play you a clip of Mr. Bidondi in
 4           MR. BANKSTON: What was your objection?                 4 Newtown. This is from June 8th, 2015.
 5           MR. BARNES: The objection was to your                  5             MR. BANKSTON: Can you play the clip of
 6 comment saying that there was an answer; and my point            6 Bidondi?
 7 was you didn’t ask a question so there couldn’t have             7               (Video playing.)
 8 been an answer. And I was objecting for the record               8     Q    (BY MR. BANKSTON) And, Mr. Jones, those are
 9 purposes that no answer had been given to a question             9 hardly the only people that Mr. Bidondi harassed on his
10 that had not been asked.                                        10 multiple trips to Newtown, correct?
11           MR. BANKSTON: Do you maybe want to take               11             MR. BARNES: Objection as to form.
12 a break so we can have a few breaths?                           12     Q. (BY MR. BANKSTON) Correct?
13           MR. BARNES: Yes.                                      13     A. I mean, almost everything you said is not
14           MR. BANKSTON: Yeah, you might need to do              14 true. So there’s no way to respond to it. No, not
15 that.                                                           15 correct.
16           MR. BARNES: Yeah, absolutely. And maybe               16     Q. Okay. That was Mr. Bidondi calling people who
17 you can go back and read how to ask people questions.           17 were involved in Sandy Hook crooked, corrupt, piece-
18           MR. BANKSTON: We’re off the record.                   18 of-shit motherfuckers, right? That’s what we just saw?
19           THE VIDEOGRAPHER: Off the record                      19             MR. BARNES: Objection as to form.
20 1:34 p.m.                                                       20     Q. (BY MR. BANKSTON) That’s what we saw on the
21           (Off the record from 1:34 to 1:48 p.m.)               21 video, Mr. Jones, correct?
22           THE VIDEOGRAPHER: We are back on the                  22     A. I didn’t quite hear all of it.
23 record at 1:48 p.m.                                             23     Q. Okay. I want to show you something you said
24     Q   (BY MR. BANKSTON) Mr. Jones, I want to talk a           24 after Mr. Bidondi went to Sandy Hook about the school
25 little bit more about that episode on February 12, 2015,        25 itself; and I’m going to show you a clip from July 7th,
                                                              83                                                                 85
 1 the one we had looked at with the maps; and I want to            1 2015.
 2 show you a clip of your message to the parents that were         2             MR. BANKSTON: Can you play Stocked the
 3 complaining and ask you some questions. This clip,               3 School?
 4 again, is from February 12th, 2015.                              4               (Video playing.)
 5           MR. BANKSTON: Can you play Hornets?                    5     Q    (BY MR. BANKSTON) First, Mr. Jones, you see
 6              (Video playing.)                                    6 the headline at the top of that screen, "The FBI says no
 7     Q   (BY MR. BANKSTON) So for complaining, you                7 one killed at Sandy Hook"?
 8 were going to bring InfoWars to their hometown?                  8     A. Yes.
 9           MR. BARNES: Objection as to form.                      9     Q. You’re familiar that’s an article that
10     A. I have no idea what that 3-second clip was.              10 InfoWars published at one time?
11     Q. (BY MR. BANKSTON) Well, forget the 3-second              11     A. Yes, the FBI said no deaths that year in Sandy
12 clip. For complaining, you were going to bring InfoWars         12 Hook on their website.
13 to their hometown?                                              13     Q. Is that what they say?
14     A. That is not what I said.                                 14     A. I’m going from memory. You can pull it up.
15     Q. Okay. Well, a couple months later -- hang on,            15     Q. So you say that headline’s true?
16 Mr. Jones. I’m going to hand you what I am now marking          16     A. The FBI later amended it and said that it was
17 as Exhibit 5.                                                   17 an error.
18           (Exhibit 5 marked.)                                   18     Q. Oh, they amended it? That happened?
19     Q. (BY MR. BANKSTON) A couple of months later,              19     A. Uh-huh.
20 in the spring of 2015, you sent this man, a cage                20     Q. Okay. Let’s move on to 2016. And in the 2016
21 fighter, to go badger and yell obscenities at Sandy Hook        21 election you found yourself having to discuss Sandy Hook
22 residents, right?                                               22 because Hillary Clinton actually brought you up
23     A. No.                                                      23 specifically in a campaign speech, didn’t she?
24     Q. No? You know who that is, right?                         24     A. Yes.
25     A. Yes.                                                     25     Q. And that she -- she wanted to put light on

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 1 you, in other words? That was part of her campaign               1 that from.
 2 strategy?                                                        2     A. All I’m saying it’s a -- Democrats use that.
 3      A. Yes.                                                     3     Q. Okay. Mr. Jones, we’ve talked a little bit
 4      Q. Now, after the campaign was over, in November            4 about the Sandy Hook investigators, one of them,
 5 2016, you directly addressed the parents in a video              5 Mr. Halbig and one of them, like, Mr. Fetzer. These are
 6 called your final statement and accused some of them             6 people who have been investigating Sandy Hook.
 7 being actors, right?                                             7 Mr. Halbig’s been a considerable source of information
 8      A. No.                                                      8 for you. You will admit that, correct?
 9      Q. Okay. I’m going to show you the very end of              9     A. Yes.
10 your clip, your message to the parents on November 11th,        10     Q. Now, these Sandy Hook investigators, these
11 2016 in the final statement on Sandy Hook.                      11 people were so crazy that you had to realize at some
12            MR. BANKSTON: Can you play the video                 12 point that what they’re saying isn’t true and that Sandy
13 clip titled Soap Opera?                                         13 Hook wasn’t a fake, right?
14               (Video playing.)                                  14           MR. BARNES: Objection as to form.
15      Q   (BY MR. BANKSTON) That was not the extreme             15     A. I found out some of what they were saying was
16 caution that your chief reporter, Mr. Watson, had been          16 not accurate.
17 urging, correct?                                                17     Q. (BY MR. BANKSTON) Okay. Let me play a clip
18            MR. BARNES: Objection as to form.                    18 for you that’s something you said just a little while
19      Q. (BY MR. BANKSTON) Correct?                              19 ago, on January 19th, 2019.
20      A. I mean, if people had been coached about                20           MR. BANKSTON: Can you play Kooky?
21 certain political anti-gun statements, I have a right to        21              (Video playing.)
22 say that they’re putting out political talking points.          22     Q    (BY MR. BANKSTON) When did you finally
23      Q. "I know when I’m watching a movie, and I know           23 realize that these crazy people were crazy?
24 when I’m watching something real. We have seen soap             24           MR. BARNES: Objection as to form.
25 operas before." I mean, this is an accusation about             25     A. I can’t answer exactly because it’s so many
                                                              87                                                                 89
 1 actors, correct?                                                 1 years; but about three years ago, I found that some of
 2      A. No, not specifically about that. I was saying            2 what they said was inaccurate.
 3 politically it turned into something synthetic to go             3     Q. (BY MR. BANKSTON) Okay. So, essentially,
 4 after guns, and I think that’s why you don’t play the            4 then, I think what you’re getting at is you haven’t been
 5 whole clip.                                                      5 saying Sandy Hook is fake for years?
 6      Q. And then at the end of the clip, you point               6     A. I have been more on the side, going back about
 7 into the camera and say, "Let’s look into Sandy Hook."           7 three or four years ago, that it did happen and then
 8 And then there’s a title card that says, "InfoWars you           8 started talking about some of the anomalies that were
 9 are the resistance." The "you" in the "You are the               9 not anomalies; and then that triggered more of the ire
10 resistance," that’s your audience, correct?                     10 of those folks as they got more, I think, extreme.
11      A. That’s a tagline on everything, so it wasn’t a          11 That’s what I’m saying: This is all cherry-picked here.
12 specific Sandy Hook message.                                    12     Q. Well, I’m just trying to understand,
13      Q. But I’m asking you the meaning of that                  13 Mr. Jones. At some point you learned that those people
14 tagline, "You are the resistance." "You" means your             14 were crazy; you couldn’t believe what they were saying.
15 audience?                                                       15 You couldn’t say it was synthetic or completely fake
16      A. It means -- yes, uh-huh, or it means -- it              16 anymore. When did you stop saying it was --
17 just means the American people.                                 17     A. I don’t know. It was probably four years ago
18      Q. Am I part of the resistance?                            18 I told Bidondi not to say he worked with the InfoWars,
19      A. Well, all the Democrats.                                19 because he didn’t. And he’s a professional wrestler,
20      Q. I’m sorry? Did I...                                     20 not a cage fighter. I mean, I remember that. That’s a
21      A. Well, that’s a Democratic tagline that they             21 date we could find when we sent him e-mails and said,
22 took from me: You are the resistance.                           22 "You don’t work here. Stop saying our name. Don’t do
23      Q. Okay.                                                   23 that in our name," because I saw that stuff; and I was
24      A. You’re not a Democrat?                                  24 like -- I remember seeing it in the paper. And I was
25      Q. I don’t know why you -- where you’re getting            25 like, "Bidondi doesn’t work here." I mean, he did stuff

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 1 for us years before that, you know.                              1 highway that, you know, Sandy Hook was staged. That’s a
 2             MR. BANKSTON: Objection, nonresponsive.              2 big thing on the Internet.
 3     A. I mean, I’m really answering your question.               3           And so the media made -- Hillary made it
 4     Q. (BY MR. BANKSTON) No, Mr. Jones. I’m asking               4 this huge thing on which she said Pepe the Frog was a
 5 you about Mr. Halbig, the sources that you had, not your         5 white supremacist; and made the frog a white
 6 employees.                                                       6 supremacist. She had a lot of power at that point in
 7     A. He’s not my employee.                                     7 the news.
 8     Q. I’m talking about these investigators, right?             8           And so I’ve been trying to say,
 9 These investigators, at some point -- we just saw a              9 particularly, you know, "Hey, it’s not my identity. And
10 clip -- you realized they were kooky, couldn’t say it           10 I believe it happened and I’m sorry for your -- you
11 was synthetic anymore. When do you think is the last            11 know, any pain you’ve had." But I’m not going to be
12 time you -- like, that ended? When did you stop calling         12 Sandy Hook man and then take what everybody else did as
13 it fake?                                                        13 if what people have said and done is all me and then I’m
14             MR. BARNES: Objection as to form.                   14 kind of like the sin eater and it’s all put on me when
15     A. I mean, I can’t accurately say that.                     15 that’s not my identity.
16     Q      (BY MR. BANKSTON) Okay. Let’s try to -- hold         16           I mean, this idea -- I know they have
17 on for a second. Let me take you back to April 20th,            17 shows, like Homeland, and things where there’s
18 2018. I want to play you a clip on April 20th, 2018. I          18 supposedly Alex Jones and he does all these things.
19 believe it was a day or two after you were first sued.          19 That’s not a real person. That’s an actor. And then
20             MR. BANKSTON: Can you play the clip Not             20 kind of the media fantasizes that they’re fighting, you
21 Doing It?                                                       21 know, this big boogyman that’s on Homeland; and that’s
22               (Video playing.)                                  22 not who I am.
23     Q      (BY MR. BANKSTON) When you say you’re not            23     Q. Do you remember what my question was? What
24 doing it, is this meaning that you haven’t been saying          24 was my question?
25 Sandy Hook was fake for several years?                          25     A. But I just answered your question. I mean,
                                                              91                                                                 93
 1     A. No. What it means is the media currently and              1 ask your question again. There’s no yes-or-no answer to
 2 then says, "Jones is saying it. Jones is sending                 2 something like that.
 3 people."                                                         3     Q. Well, I mean, you don’t even know what the
 4             And then never showing me saying, "Don’t             4 question was because you were just talking. You were
 5 go investigate it. I believe mass shootings have                 5 just ranting, like you do on your show, right?
 6 happened. And I’m sorry and some of the anomalies we             6     A. No, I was being honest with you about the
 7 were told were wrong." And I’ve said it -- I’ve                  7 situation.
 8 probably been saying that for four years.                        8     Q. All right. Well, let’s walk through it,
 9     Q. Okay.                                                     9 Mr. Jones. We know you started making videos calling it
10     A. And then the media, the corporate media, wants           10 fake in 2013, right? No doubt there?
11 to use it to, I guess, to bring back gun control or             11           MR. BARNES: Objection as to form.
12 anti-free speech stuff, whatever it is; and so it               12     Q. (BY MR. BANKSTON) Right?
13 continues to do that over and over again.                       13           MR. BARNES: Objection as to form.
14     Q. Right. You kind of -- you end up in the                  14     A. I can’t comment on edited videos you’ve got
15 crosshairs because they want to generate clips, right?          15 here.
16     A. Well, I’m not sure how all that works; but I             16     Q. (BY MR. BANKSTON) I’m not asking you about
17 can tell you: Sandy Hook is not my identity. I covered          17 edited video, Mr. Jones. I’m asking you: In 2013 you
18 it less than one-tenth of 1 percent until Hillary gave          18 made videos calling it fake, correct?
19 her All Right Speech; and then there were thousands of          19           MR. BARNES: Objection as to form.
20 articles, you know, saying, "Jones is doing this. Jones         20     A. I think I was asking if it was fake, yes.
21 is sending people there." And it kind of restarted. A           21     Q. (BY MR. BANKSTON) Admittedly, you weren’t
22 big resurgence happened on the street saying, "How dare         22 asking; you were saying it was fake, and the evidence is
23 you not -- you not say it happened; you don’t think it          23 overwhelming, right?
24 happened?" It’s a big thing. It was, like, spray                24     A. I mean, we have a right in this country to
25 painted on the walls here in Austin on the side of the          25 question things.

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 1      Q. I’m not saying what you did and didn’t have a           1 October 26th, 2017. That’s just a couple of months
 2 right to do. I’m just asking you what you did. You              2 before you were sued, wasn’t it?
 3 made videos in 2013 saying it was fake, right?                  3      A. I would guess if the date’s right.
 4      A. I think saying -- I remember making statements          4      Q. And that was almost five years after the
 5 that it looks fake to me, but we’re not a hundred               5 parents had told you how distressing what you were doing
 6 percent.                                                        6 was to them, right?
 7      Q. Okay. And then in 2014 and 2015 you were                7      A. I say right there I don’t know what happened
 8 making videos, calling it synthetic, completely fake,           8 at Sandy Hook.
 9 manufactured, phony as a three-dollar bill. That was            9      Q. It says it’s as phony as a 3-dollar bill.
10 happening all through 2014 and 2015, right?                    10            MR. BARNES: Objection as to form.
11            MR. BARNES: Objection as to form.                   11      A. Talking about Nancy Grace where she says she’s
12      Q. (BY MR. BANKSTON) And there’s transcripts of           12 on location and they’ve got trucks and you see the same
13 that, right?                                                   13 trucks driving behind her and the guest, that’s what I
14      A. I’m not denying that I’ve questioned Sandy             14 mean. It’s the media creating a synthetic thing around
15 Hook.                                                          15 it to script the outcome of what they want. You’re
16      Q. Okay. That’s all I’m asking.                           16 taking it out of context.
17            Then in 2016 we know it became an issue             17      Q. (BY MR. BANKSTON) Oh, really? That’s what
18 because of the campaign. We saw a video called your            18 "phony as a 3-dollar bill" means? That’s how you’ve
19 final statement. We’ve looked at that. And we’ve seen          19 used that term over the years?
20 you saying really false things about Sandy Hook all            20      A. Talking about Nancy. That clip is long enough
21 through 2017 in these videos, too, right?                      21 where I can tell what I’m talking about. I mean,
22            MR. BARNES: Objection as to form.                   22 Nancy’s sitting there, where she’s sitting there in a
23      A. Edited videos. I can’t respond to it.                  23 roundabout; and she says the other person is...
24      Q. (BY MR. BANKSTON) Okay. If you just say --             24      Q. I’m familiar, Mr. Jones. Ashleigh Banfield
25 for instance, if you say that there are Port-A-Potties         25 sitting in a chair. They’re both in the same parking
                                                             95                                                                 97
 1 showing up within an hour in 2017, that’s not true,             1 lot. As a result of the satellite feed, you see the
 2 right?                                                          2 same cars going behind them; and it shows they’re
 3      A. We don’t know that.                                     3 actually in the same location, even though they’re
 4      Q. Exactly, right? You don’t know that, but you            4 trying to do it like a satellite feed, right?
 5 said they did?                                                  5      A. Yeah.
 6      A. That’s what the reports were from people we             6      Q. Right. And then, obviously, they didn’t have
 7 believed were credible.                                         7 a guest to put on. They put those two people together.
 8      Q. Okay. But in 2017 you’re still calling it               8 To you, that’s an anomaly, right? That’s one of the
 9 fake?                                                           9 anomalies that caused you to have doubts?
10            MR. BARNES: Objection as to form.                   10      A. They lied and said they were on location.
11      A. No. I was -- the media would get me to                 11      Q. Yeah, sure, they lied. Yeah, they said, "Hey,
12 respond and say, "Well, what were the anomalies?" And          12 she’s over here; and I’m over here." And they’re
13 then I would -- like Megyn Kelly, I said, "I believe it        13 actually in the same place?
14 happened."                                                     14      A. Yeah.
15            She goes, "But what are the anomalies?"             15      Q. They were pulling a -- they pulled a trick?
16      Q. (BY MR. BANKSTON) Okay.                                16      A. She said she had just got a text from The
17      A. And then they edited it together to have me            17 Atlanta --
18 saying it didn’t happen. That’s just incredibly                18      Q. We’ll talk about that.
19 deceptive.                                                     19      A. -- rooftop.
20      Q. Okay. I want to show you something you said            20      Q. Put a pin in that, Mr. Jones. We’ll talk
21 on October 26th, 2017; and this is a video called $3           21 about that. I definitely want to get back and talk
22 Bill.                                                          22 about that; but in terms of what you were saying in that
23            MR. BANKSTON: Can you play that?                    23 video, you said, "We’ve looked at both sides. We’ve
24                (Video playing.)                                24 tried coming at it from all angles; but, folks, it’s as
25      Q   (BY MR. BANKSTON) That video, that was made           25 phony as a 3-dollar bill." That’s what you said?

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 1     A. Talking about the media coverage, yes, in                1 Sandy Hook was probably completely staged at different
 2 context.                                                        2 periods of my life. Like, I believed Jussie Smollett
 3     Q. Oh, in that you were talking about the media             3 was staged or the WMDs were staged. And I’m on record
 4 coverage?                                                       4 on hundreds of these events when I think they’re staged.
 5     A. Yeah, that’s what I’m talking about. That’s              5 I’ve learned sometimes I’m wrong.
 6 what I’m talking about, Nancy Grace.                            6            And so, no, I stand by the fact that I
 7     Q. And Anderson Cooper, right?                              7 genuinely believed that. And one of my best reporters,
 8     A. Yes.                                                     8 Paul, thought that was wrong; and so that shows that we
 9     Q. The blue screen, you said: It’s fake, wasn’t             9 have real debates, real discussions. And what people
10 there. It didn’t happen. They weren’t on location.             10 believe, as long as I think they really believe it, it’s
11             That’s what you said?                              11 what we debate and discuss. And that’s like most any
12             MR. BARNES: Objection as to form.                  12 talk radio show there is.
13     A. Now, generally when someone is on location, it          13      Q. Everything -- every last word of factual claim
14 doesn’t mean that the person being interviewed is even         14 in those statements are things that you repeated with no
15 part of it. It means that they’ll say, "Hey, you’re            15 confirmation from people you now admit are crazy, right?
16 going to be standing here, talking to Anderson Cooper."        16      A. Well, I don’t want to call people crazy and
17 And they’re not talking. At that level of television           17 get sued by somebody else. I have found that some of
18 they routinely do that.                                        18 what they said and then the reports they put out were
19             CNN is famous for it. They’ll even run             19 not accurate.
20 audio in the back of the video and, like, you’ll hear          20      Q. Well, you certainly have no problem calling
21 is -- another that happened a few months ago is CNN, you       21 them kooky, right? You’ve said it on the air to, like,
22 hear a bunch of crickets and the cars. All of sudden           22 millions of people?
23 the tape stops and they have to start it back up, and          23      A. Yeah. I mean, yeah, I mean, I think it’s --
24 they’re supposedly on location in Gaza.                        24      Q. These people are kooky, and everything you
25     Q. (BY MR. BANKSTON) I have no idea what you’re            25 said in that was based on what they told you and with no
                                                             99                                                                 101
 1 talking about, but it’s not important. What I’m asking          1 confirmation?
 2 you is --                                                       2      A. I wouldn’t say everything. There was a lot of
 3     A. Oh, okay. Okay.                                          3 different sources, a lot of different things; and then
 4     Q. -- in terms of Anderson Cooper, you said that            4 there was a cover-up on the files and the reports and
 5 Anderson Cooper wasn’t at Sandy Hook; he was not there?         5 Lanza and his background. And so you’ve got a cover-up,
 6             MR. BARNES: Objection as to form.                   6 and you’re not sure exactly what’s going on and the
 7     Q. (BY MR. BANKSTON) Right, you said that?                  7 extent of it.
 8             MR. BARNES: Objection as to form.                   8      Q. Let me make sure I have this really clear.
 9     A. I don’t know how to respond to that. Yes, I              9      A. Uh-huh.
10 believe that he used -- that he faked being on location        10      Q. You don’t believe the official story of Sandy
11 once. That doesn’t mean that the people involved aren’t        11 Hook. You think there was a cover-up. You think there
12 the parents or that it didn’t happen. It means CNN’s           12 was manipulation. You think there was some sinister
13 famous for faking locations.                                   13 thing going on.
14     Q    (BY MR. BANKSTON) Okay. I want to show you a          14      A. I still -- yes, I still think -- I think
15 clip of something you said in 2015, and this is a clip         15 children died. I believe mass shootings happen. They
16 that’s become kind of famous. And so I want to get your        16 just had one in Brazil, a tragedy. And I believe it’s a
17 input on something you said in 2015 on January 13th.           17 crisis. And I go back to the point of all gun owners
18 And let me show you a clip called Hoax.                        18 being collectively blamed. Then it’s traumatic and so
19               (Video playing.)                                 19 people go and they find anomalies. And then I’ve kind
20     Q    (BY MR. BANKSTON) Mr. Jones, can you now              20 of retrospectively gone back and seen how I did believe
21 admit that these statements were reckless?                     21 that stuff.
22     A. No. I think at that point in my life, in                22            And then I go back and I’m now, studying
23 whatever the context was that I was saying I think             23 more, actually, the real anomalies; and it’s just the
24 basically the whole thing was fake, I mean, that’s my          24 School System and Government trying to covering its rear
25 right to do that. I legitimately had believed that             25 end from liability. And so there definitely has been a

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 1 cover-up of the events.                                           1     Q. Now, by the same token, if the police didn’t
 2           And I think there’s a lot of evidence                   2 stand down but somebody was told -- a parent, a victim,
 3 showing there could have been a second shooter. There             3 was told that the police did stand down, falsely, that’s
 4 is the helicopter footage of the man in woods.                    4 also upsetting?
 5           I still have questions about Sandy Hook,                5     A. I believe there’s been lawsuits by the
 6 but I know people that know some of the Sandy Hook                6 families about a lack of response.
 7 families. They say, "No, it’s real," people I think are           7     Q. Was that my question? Is that in any way my
 8 credible. And so over the years, I’ve -- you know,                8 question, Mr. Jones?
 9 especially as it’s become a huge issue, had time to               9     A. Well, I don’t understand your question.
10 really retrospectively think about it. And as the whole          10     Q. My question is: If somebody was to lie to
11 thing matured, I’ve had a chance to believe that                 11 you -- your children were killed and then somebody came
12 children died and it’s a tragedy; but there are still            12 to you and lied to you and said the police stood down,
13 real anomalies in the attempt to basically keep it               13 that’d be distressing?
14 blacked out that generally, when you see that in                 14            MR. BARNES: Objection as to form.
15 government, something’s being covered up.                        15     A. I don’t know of anyone -- if people believed
16     Q. And after you were sued, you said there was a             16 there was a stand down, then it’s not a lie.
17 police stand down in Sandy Hook, right? You said that?           17     Q. (BY MR. BANKSTON) If somebody came to you
18     A. I said that about Parkland, too. I think                  18 about your murdered child and said, "Your murdered child
19 there was a very slow response on both.                          19 wasn’t actually murdered; he was stolen by aliens" and
20     Q. Now, you’re a parent. Just imagine with me                20 lied to you about that, that’s upsetting, right?
21 for a moment that you lost one of your children. One of          21     A. Yeah, uh-huh.
22 your children was murdered and you think you know who            22     Q. Can you now admit that you’ve done an
23 did it and there’s been a justice system that worked             23 outrageous wrong to these parents? Can you admit that?
24 that said this is who did it. And then someone who               24     A. You know, the mainstream media is who always
25 thinks that they have information comes to you and says,         25 takes it and makes it a huge issue and then says that
                                                              103                                                                 105
 1 "Mr. Jones, the person who killed your son, information           1 I’m saying it and gets me to respond. And it’s lawyers
 2 about him is being covered up. There’s a government               2 like you and people that glom onto this for fame that
 3 conspiracy. They’re manipulating. There’s a police                3 then try to get the fame and then say that I’m the
 4 stand down." Those things would be upsetting to you,              4 person that’s promoting it. And it’s obscene, in my
 5 wouldn’t they?                                                    5 view.
 6           MR. BARNES: Objection as to form.                       6     Q. So that’s "no"?
 7     A. I think the whole thing’s upsetting, and                   7     A. No. I genuinely questioned it. You know, I
 8 everybody’s upset by it. And people see anomalies, and            8 think the Government and the media that’s been caught
 9 citizens have rights to ask questions.                            9 lying so much has created an atmosphere where people
10     Q. (BY MR. BANKSTON) Right. So if there was a                10 don’t know what’s true.
11 police stand down, that’d be upsetting, right? I mean,           11     Q. So you do not believe that you’ve done an
12 come on, if the police chose not to react, that’s                12 outrageous wrong to these parents?
13 upsetting, isn’t it?                                             13     A. No, I’ve not done an outrageous wrong to the
14     A. Well, there was -- in Columbine, there was --             14 parents.
15 at Parkland that -- they’ve ruled in Florida there was a         15     Q. Okay. In that clip you said the state police
16 police stand down. I was the first to report that                16 have gone public. Have you ever argued anything about
17 because we had students call in.                                 17 the state police?
18     Q. I’m not asking --                                         18     A. Like I told you, most of this stuff I can’t
19     A. And CNN said they were actors.                            19 even remember.
20     Q. I’m not asking if there was a police stand                20     Q. Do you, sitting here today, remember anything
21 down in Parkland. I’m not asking if one happened at              21 about the state police going public? Is there anything
22 Sandy Hook. I’m saying that if children are being                22 that occurs to you today?
23 attacked and the police anywhere stand down, that’s              23     A. I can’t remember.
24 upsetting?                                                       24     Q. Okay. I want to talk to you about rescue
25     A. Yes.                                                      25 helicopters. You mentioned rescue helicopters a lot.

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 1 It was puzzling to you that rescue helicopters weren’t            1 him, "Stop doing it." Even the year before that I said,
 2 called, correct?                                                  2 "Don’t go in our capacity to any of these places." And
 3     A. Yes.                                                       3 I’m just going off memory about that because we told him
 4     Q. Okay. I take it you don’t know how long it                 4 we did not want him covering Sandy Hook, and the last
 5 takes for a LifeStar crew from Hartford Hospital to be            5 thing he covered for us was the Boston bombing.
 6 dispatched, travel to Sandy Hook, and for the engine to           6      Q. Who is "we" when you say, "We told him not to
 7 calm down to safely approach the vehicle? From                    7 cover Sandy Hook"?
 8 Hartford, you don’t know how long that takes?                     8      A. I mean, I told him.
 9     A. No, I don’t.                                               9      Q. Okay.
10     Q. And, by the same token, you don’t know how                10      A. He lives up there.
11 long it takes for an ambulance crew to be dispatched to          11      Q. How did you tell him?
12 loading of the patient from Danbury Hospital, 9 miles            12      A. Over the telephone, and I believe in e-mails.
13 down I-84? You don’t know that?                                  13      Q. Okay. You use e-mails to communicate with
14     A. No, I was going off Halbig’s and others, that             14 employees and people like Mr. Bidondi?
15 professor’s analysis of it.                                      15      A. I remember saying in a meeting around eight
16     Q. Okay. I think we’ve agreed before that Sandy              16 years ago -- I said, "Listen, it’s funny. He’s a
17 Hook was real. It was not staged. It was not phony.              17 professional wrestler. He likes to clown around. I
18 You were wrong about that and --                                 18 don’t want to be a bunch of clowns. We’re not the
19     A. Well, I want to be clear: I believe children              19 Howard Stern Show. So tell him to stop doing stuff in
20 died. I believe there was a mass shooting. I still               20 our name." And, basically, he just wouldn’t stop.
21 think that there was a man in the woods in camo. There           21      Q. You’ve repeatedly said the 9/11 Attacks were
22 were other reports. I saw the video. And I believe               22 orchestrated by the Government, right?
23 that, you know, normally after every person -- remember,         23      A. Well, I believe criminal elements of our
24 it’s happened before -- every person in a shooting died;         24 Government were involved in 9/11.
25 and just a lot of experts I’ve talked to, including              25      Q. Regarding Columbine, you said, "Columbine we
                                                              107                                                                 109
 1 retired FBI agents and other people and people high up            1 know was a false flag; I’d say 100 percent false flag, a
 2 in the Central Intelligence Agency, have told me that             2 globalist operation."
 3 there is a cover-up in Sandy Hook.                                3      A. By "false flag," they knew it was coming; and
 4     Q. Okay. Have there ever been any InfoWars                    4 they let it happen.
 5 employees who have been terminated or formally                    5      Q. Okay. The Oklahoma City bombing you said was
 6 disciplined for allowing false Sandy Hook information to          6 a false flag, "We’ve never had one so open and shut."
 7 reach the air?                                                    7      A. A hundred percent. I can name the names.
 8           MR. BARNES: Objection on two grounds:                   8      Q. And that Tim McVeigh was an innocent patsy?
 9 One is to form; and secondly, Mr. Jones is only here in           9      A. He was set up, yeah.
10 his personal capacity. He’s not here as a                        10      Q. Okay. Hours after James Holmes shot up the
11 representative of Free Speech.                                   11 Aurora movie theater, you said that was 100 percent a
12           MR. BANKSTON: I’m not asking to bind                   12 false flag, mind-control event?
13 him. If he has personal knowledge, he can tell me.               13      A. He told the jailers that he was in a mind
14     A. Bidondi was not working for us when he went to            14 control program, like Theodore Kaczynski, the Unabomber.
15 Sandy Hook. I told him not to. And then I told him to            15      Q. Okay. The shooting of Gabrielle Giffords you
16 stop using InfoWars, over and over, repeatedly, until I          16 called a staged mind-control operation?
17 had to tell him that I’m going to go public on air and           17      A. Say that again.
18 say that he’s a bad person if he didn’t stop using my            18      Q. The shooting of Gabrielle Giffords you called,
19 name.                                                            19 quote, "a staged mind-control operation"?
20     Q. (BY MR. BANKSTON) So you’re going to tell me              20      A. I believe we looked at those possibilities.
21 that after that episode in Newtown happened, Mr. Dew             21      Q. The Douglas High School shooting in Parkland,
22 didn’t communicate with Mr. Bidondi and ask him to cover         22 Florida, you told your audience you were nearly certain
23 Sandy Hook some more?                                            23 it was a false flag to start a civil war, right?
24     A. I haven’t reviewed all the things that went on            24      A. That’s out of context. What I said was I
25 with the other reporters and people. I know I said to            25 believe the shooting happened, but that the way it was

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 1 being hyped, that the police stood down. We talked to             1     Q. Okay. So it really wasn’t a surprise that you
 2 the students, and it was later confirmed.                         2 said the exact same thing about Sandy Hook that you’ve
 3            (Exhibit 6 marked.)                                    3 said about all of these other shootings, correct?
 4     Q. (BY MR. BANKSTON) I want to show you the                   4     A. Yeah, well, I talked to the FBI hostage rescue
 5 context so we can make sure we’re not taking it out of            5 team on the thing in Las Vegas.
 6 context. I’m going to hand you the Affidavit of Fred              6     Q. Okay. Let’s talk a little bit about
 7 Zipp. I would like you to turn the document onto its              7 Pizzagate. You told your audience -- first, let’s start
 8 back and flip one page to page 25. Do you see that                8 off, Pizzagate is the allegation that there was a
 9 tweet right there? There’s a tweet at the top of the              9 pedophile sex dungeon in a Washington D.C. pizzeria with
10 page, right?                                                     10 connections to Hillary Clinton and the DNC, right?
11     A. Uh-huh.                                                   11           MR. BARNES: Objection --
12     Q. A tweet is a message distributed to InfoWars’             12     Q. (BY MR. BANKSTON) That’s what Pizzagate is?
13 thousands -- hundreds of thousands of Twitter followers,         13           MR. BARNES: Objection as to form.
14 correct?                                                         14     A. Does that mean to ask it again?
15     A. Yes.                                                      15     Q. (BY MR. BANKSTON) No, you can answer,
16     Q. That tweet reads, "Probability Florida Attack             16 Mr. Jones.
17 False Flag For Civil War 90 percent," correct?                   17     A. Say it again.
18     A. Yes.                                                      18     Q. Pizzagate is the allegation that there was a
19     Q. The remainder of that tweet says, "Alex Jones             19 pedophile sex dungeon being operated out of the basement
20 calculates the probability of the Florida school                 20 of a pizzeria in Washington, D.C., with connection to
21 shooting being a false flag of the Deep State to create          21 Hillary Clinton and the DNC?
22 resentment towards conservatives, gun owners, and sew            22     A. No.
23 the seeds of civil war," correct?                                23     Q. Okay. Tell me what Pizzagate was.
24     A. That’s a tweet.                                           24     A. Pizzagate came out of the John Podesta
25     Q. That’s the context of that message, correct?              25 e-mails, head of Hillary’s campaign. I’m talking about
                                                              111                                                                 113
 1     A. I didn’t put this out, but they took a                     1 Aleister Crowley rituals. And then the media diverted
 2 derivative of what I said on air and put it out.                  2 onto 4chan and covered a pizza place that the DNC went
 3     Q. InfoWars published that?                                   3 to and that was going on and created the dis-info about
 4     A. Well, the video that it links to is in the                 4 these dungeons and basements and everything to then
 5 context.                                                          5 distract onto that away from the serious stuff in the
 6     Q. I’m asking you: That tweet --                              6 FBI manual that they use things, you know, things like
 7     A. Yes.                                                       7 cheese pizza means, you know, child pornography; and
 8     Q. -- InfoWars published that tweet?                          8 those are code words used for pedophilia. And so that
 9     A. I believe so.                                              9 was basically a diversion story, kind of a Karl Rove
10     Q. Thank you, Mr. Jones.                                     10 type trick, where we have a big story and they slip this
11            The November 2017 church shooting in                  11 info into it so that everybody then covers that.
12 Sutherland Springs, Texas, you put forth the theory that         12     Q. You told your audience, "Something’s going on
13 it was, quote, "Part of the Antifa Revolution against            13 in that pizzeria," right?
14 Christians and conservatives or an ISIS op," correct?            14           MR. BARNES: Objection as to form.
15     A. Well, I that’s out of -- I was giving, like,              15     A. I mean, I did point out there was a lot of
16 possible things; and then it turned out -- it turned out         16 really bizarre art and that Tony Podesta did not hide
17 that he -- you know.                                             17 the fact in the Washington Post 2007, a big write-up
18     Q. In November 2017, the same month, there was a             18 about his deviant art, that he likes art that most
19 horrific mass shooting at the Las Vegas music festival.          19 people would be arrested for, yeah.
20 You remember that, correct?                                      20     Q. (BY MR. BANKSTON) You said, "Something’s
21     A. Uh-huh.                                                   21 being covered up in that restaurant," right?
22     Q. And you said, quote, "Vegas is as phony as a              22     A. I don’t remember saying that specifically.
23 three-dollar bill or as Obama’s birth certificate,"              23     Q. You said, "You have to go investigate it for
24 correct?                                                         24 yourself." Didn’t you say that?
25     A. Yes.                                                      25     A. I don’t know if that’s the exact quote.

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 1       Q. So if Mr. Zipp reported that in that affidavit           1 right?
 2 in front of you, he would be wrong?                               2      A. I don’t know if I’ve made those allegations.
 3       A. I don’t know Zipp. I mean, I don’t know                  3      Q. You apologized for them, though, didn’t you?
 4 Mr. Zipp, so.                                                     4      A. I think a reporter went and pointed out the
 5       Q. Well, Mr. Zipp who’s sitting with us, who’s              5 same symbol or something.
 6 the former editor of the Austin-Statesman, he’s a UT              6      Q. Did you apologize?
 7 Journalism Professor. He prepared that affidavit. If              7      A. I don’t remember.
 8 he messed up and misquoted you, that’s a problem, isn’t           8           MR. BARNES: Objection as to form.
 9 it?                                                               9      Q. (BY MR. BANKSTON) You apologized to Chobani,
10       A. Where is it? I mean, I haven’t had a chance             10 though, right for publishing stories that they were
11 to read this.                                                    11 caught importing migrant rapists, right?
12       Q. Well, I’m just asking you --                            12      A. That was a technical thing versus there were
13       A. Well, let me read it. Let me read it then.              13 rapes in the town, but it wasn’t the company themselves
14            MR. BARNES: Which page are we supposed                14 that brought the rapists in. It was the policies of the
15 to be at, by the way?                                            15 Federal Reserve Board member who owns Chobani.
16            MR. BANKSTON: I’m not actually referring              16      Q. You apologized?
17 him to a specific page number, but I can. Let’s do               17      A. I did.
18 that.                                                            18      Q. You also just recently apologized for false
19            MR. BARNES: That would be helpful.                    19 reporting on the murder of DNC Staffer Seth Rich?
20       Q. (BY MR. BANKSTON) I believe that’s going to             20           MR. BARNES: Objection as to form.
21 be in the Heslin affidavit.                                      21      A. That was on reporting of another reporter.
22            Let’s talk about the Plaintiff’s Petition             22      Q. (BY MR. BANKSTON) And last year InfoWars had
23 then. Have you seen these statements in the Plaintiff’s          23 to apologize for misidentifying an innocent young man as
24 Petition about Pizzagate?                                        24 the Parkland High School shooter?
25       A. I’m confused.                                           25      A. I think we did.
                                                              115                                                                 117
 1       Q. I’m telling you right now that there’s a                 1            MR. BANKSTON: I’ll tell you what,
 2 different affidavit that I’m not going to ask you about,          2   Mr. Jones, let’s take a little break.
 3 about Pizzagate; but I am going to ask you about                  3            THE VIDEOGRAPHER: Off the record
 4 Plaintiff’s Petition, the lawsuit that was served on              4   2:28 p.m.
 5 you.                                                              5            (Off the record from 2:28 to 2:51 p.m.)
 6       A. Okay. Can I see it?                                      6            THE VIDEOGRAPHER: We are back on the
 7       Q. I’m not even interested in reading it right              7   record at 2:51 p.m.
 8 now. I’m just wanting to know: Do you remember                    8      Q (BY MR. BANKSTON) Mr. Jones, some of your
 9 Pizzagate being a subject that came up? Is that                   9   Sandy Hook reporting -- hold on. Excuse me, Mr. Jones.
10 something you’ve looked into in the past couple of               10   I need to grab a file.
11 months?                                                          11             Mr. Jones, some of your reporting on
12       A. I have been very clear the last two years that          12   Sandy Hook involved an anonymous website known as Zero
13 I believe that there was no illegal activity going on at         13   Hedge. Do you know what Zero Hedge is?
14 that pizza place, and I’ve told people that on record.           14       A. Yes.
15 So I don’t know if you’re looking for clips to put on            15       Q. Okay. You’ll remember that there was an
16 the news of me saying something about that, but...               16   affidavit submitted by one of the Plaintiff’s experts
17       Q. Well, what I’m really getting at, Mr. Jones,            17   that said InfoWars and Zero Hedge promoted and endorsed
18 is that after you told people to go and investigate it,          18   each other’s content. Do you remember that affidavit?
19 somebody did and then opened fire there, right? That             19       A. No.
20 happened?                                                        20       Q. Okay. You’ve taken issue with that statement,
21       A. No, there’s evidence that person did that from          21   though? You don’t believe -- that statements not true?
22 any directions I gave him.                                       22       A. I don’t know who runs Zero Hedge. I wouldn’t
23       Q. Okay. You made similar allegations on                   23   say we have a relationship with them.
24 InfoWars. There are videos about an Austin pizza place,          24       Q. Okay. I want to show you what I’m now marking
25 East Side Pies, similar allegations made on InfoWars,            25   as Exhibit 7.


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 1             (Exhibit 7 marked.)                                  1      A. That’s not an endorsement. I don’t know who
 2       Q. (BY MR. BANKSTON) If you want to take a                 2 they are.
 3   minute to read this, Mr. Jones, what I have handed you         3      Q. You’re going to tell us that that clip we just
 4   is the August 28th affidavit that you executed in the          4 saw was not you promoting and endorsing Zero Hedge’s
 5   Heslin case. Do you want a minute to read that?                5 content?
 6       A. Sure. Thank you.                                        6             MR. BARNES: Objection as to form.
 7             (Witness silently reading document.)                 7      A. I just told you I said I think they do good
 8             I’m finished.                                        8 reporting.
 9       Q. Okay. Mr. Jones, I’d like to direct your                9      Q. (BY MR. BANKSTON) You think that the
10   attention there at the end of page 1 and spilling onto        10 statements that you’ve made in that affidavit were
11   page 2. I’m going to read a sentence there for you            11 honest, forthright, and complete?
12   that’s highlighted. It states, "None of the defendants        12      A. Yes.
13   ever cooperated in any way with Zero Hedge nor have
                                                                   13      Q. Okay. Mr. Jones, you’ve said in testimony in
14   defendants and Zero Hedge ever promoted or endorsed each
                                                                   14 this case that you’ve used blue screens before, you have
15   other’s content." Did I read that correctly?
                                                                   15 experience with blue screens, and that there can be
16       A. Yes.
                                                                   16 anomalies if the blue screen is not properly aligned,
17       Q. Okay. Now, the next sentence there -- there’s
                                                                   17 correct?
18   been times where Zero Hedge has been cited?
                                                                   18      A. Yes.
19       A. Yes.
                                                                   19      Q. Tell me how to align a blue screen.
20       Q. And commented about?
                                                                   20      A. It depends if it’s an older Chromakey model or
21       A. Yes.
                                                                   21 it depends if it’s dozens and dozens of different
22       Q. Right. But to talk about you engage in the
                                                                   22 digital units; but if the lighting isn’t correctly
23   promotion or endorsement of Zero Hedge content, that was
                                                                   23 displayed against the green screen or blue screen --
24   wrong; that’s what this document states?
                                                                   24 it’s whatever color you really dial it to. TVs use blue
25       A. Yes, that’s wrong. I mean, I don’t know who
                                                                   25 screens; a lot of entertainment stuff, green. But it
                                                             119                                                                 121
 1 Zero Hedge is. I’ve reached out to them before and               1 doesn’t matter. It can be any color that’s not really
 2 said, "Hey, who are you? I would like you to come on."           2 common that’s not going to be on your shirt or on your
 3 And there’s been no response back.                               3 tie because it will make that disappear as well.
 4           I’ve said, "Wow, this is a good article                4             And, also, if there’s kind of a blue hue
 5 from Zero Hedge," like I’ve said The New York Times has          5 to your nose or in the event of a rising point, noses
 6 a good story; but I don’t have any relationship with             6 turning is generally the Number 1 thing that disappears;
 7 them.                                                            7 or any hairs that are amiss can create a blue shimmer
 8      Q. Right. Okay. Well, I want to show you a                  8 off of television lights and you’ll see areas that
 9 video of you talking about Zero Hedge that was taken on          9 disappear. And so that’s a telltale sign not of digital
10 June 13, 2017. This clip, unfortunately, is not                 10 breakup, but it’s squares.
11 available online anymore. What you’re about to see has          11      Q. How do you align it? What does that mean,
12 been downloaded from a website called                           12 aligning the blue screen?
13 sandyhookfacts.com. So I want to show you that video,           13      A. I mean, that’s not even really a technical
14 which is just a recording of yours.                             14 term. You have to turn the lights on, put people in a
15           MR. BANKSTON: Can you play the clip                   15 chair, and make sure the lights are properly set up to
16 called Zero Hedge?                                              16 then work in the blue screen system.
17              (Video playing.)                                   17      Q. Can you pull up Exhibit 1?
18      Q   (BY MR. BANKSTON) When you said in your                18      A. This is 7.
19 affidavit that InfoWars and you have never promoted or          19      Q. And can you look at Paragraph 3 of Exhibit 1?
20 endorsed Zero Hedge’s content, that was a false                 20 This not technical term, "aligned," that’s your term,
21 statement?                                                      21 right? You used it in this sworn affidavit, correct?
22           MR. BARNES: Objection as to form.                     22      A. Well, yeah. I mean, I would call -- when you
23      A. I just said before you played the clip that             23 dial just like two different dials, lights, and a thing
24 I’ve said they’ve done good reporting.                          24 to make them work together, I’d call that aligned. I
25      Q. (BY MR. BANKSTON) Sure. But, Mr. Jones --               25 mean, that’s a pretty good word. I guess you could call

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 1 it "sync" or --                                                   1      A. No, I said I have blue screens still. They’re
 2      Q. So the lights -- you’re talking about the                 2 on all your major video editing software now.
 3 lights need to be aligned, not a blue screen? You’ve              3      Q. Okay.
 4 got to dial something on a light?                                 4      A. And then we have -- somewhere we might
 5      A. Well, no, the lights and the computer program             5 actually have an old-fashioned tube-based one. And I
 6 have to be aligned. You have to look at a color scope.            6 say 50. Do we have 50 computers? I mean, we probably
 7 You have to make sure the colors are all lined up or it           7 have 50 computers, old and new.
 8 won’t work. You have to be perfectly aligned. And                 8      Q. Now, those blue screens -- in other words,
 9 that’s either on an old spectrum system or you align              9 what InfoWars uses to create blue screens, that still
10 them on a digital system. That’s called -- that’s                10 exists, is available for inspection, correct?
11 aligning on that. It’s on the scope. And now those               11      A. Well, it’s standard on Final Cut Pro. It’s
12 scopes are digital. So you align the scope,                      12 standard on all those editing systems. Just you can go
13 technically. After you align the scope, then you have            13 to the store and buy them.
14 to align the lights with the scope so that it hits the           14      Q. Okay. So whatever InfoWars has that it’s
15 settings of the Chromakey system.                                15 claiming gives it knowledge of how blue screens work,
16      Q. You would be able to, I think, through your              16 that still exists; you haven’t gotten rid of that stuff,
17 years of experience and exposure to these kinds of               17 right?
18 videos -- you’ve seen them before, the most common type          18      A. No. We’ve got a couple of green screens up on
19 of nose disappearing stuff -- you would be able to               19 the walls.
20 produce to us examples of blue screen videos with noses          20      Q. Perfect. Okay. One of the things that you
21 disappearing, just like Anderson Cooper’s, right?                21 talked about -- remember we said we were going to put a
22      A. I think I could probably find those.                     22 pin in it, about blue screens is one of the reasons that
23      Q. Yeah, that’s something that you could produce?           23 you were suspicious about this interview and blue
24      A. I can’t guarantee it, but that’s pretty --               24 screens is because CNN’s got caught using blue screens
25 like, have you ever seen, like, the weather person and           25 before, right?
                                                              123                                                                 125
 1 they’re, like, wearing the wrong colored tie and it does          1       A. Uh-huh.
 2 that? I mean...                                                   2       Q. And, in fact, one of the things you brought up
 3      Q. Absolutely. And so if they’re wearing a blue              3   was about CNN getting caught using blue screens in the
 4 shirt, all of a sudden it looks like their shirt’s                4   Gulf War?
 5 invisible, right, because it’s the same color as the              5       A. Uh-huh.
 6 blue screen, right?                                               6       Q. On the satellite feeds, right?
 7      A. Or it might be set to green and then somebody             7       A. Yes.
 8 sets it blue and, you know -- or somebody hits it; and            8       Q. Okay. I want to play you a video really quick
 9 it goes to brown and all of a sudden the rest of their            9   from something you said on May 13th, 2014 about these
10 clothes disappear.                                               10   blue screens.
11      Q. And the whole shirt disappears?                          11             MR. BANKSTON: Can you play CNN Blue
12      A. There is a dial. You can dial it to any color            12   Screen for me?
13 you want.                                                        13               (Video playing.)
14      Q. Okay.                                                    14       Q (BY MR. BANKSTON) Now, Mr. Jones, you’ve seen
15      A. At least on those units, older units.                    15   there was actually a satellite feed leak -- a leak of
16      Q. Okay. What kind do you have at InfoWars? You             16   this that you’ve seen, right?
17 said you have one in the back?                                   17       A. Uh-huh.
18      A. Oh, we have quite -- most of them that we                18       Q. Okay. Is that a "yes"?
19 have -- we probably have about ten of them.                      19       A. Yes.
20      Q. Okay.                                                    20       Q. Okay.
21      A. The average news computer system has them.               21             (Exhibit 8 marked.)
22      Q. You still have them, all ten of them?                    22       Q. (BY MR. BANKSTON) Mr. Jones, I’m going to
23      A. That’s not an accurate statement. We probably            23   hand to you what I’ve marked as Exhibit 8. You
24 have 50.                                                         24   recognize this leak from the Charles Jaco CNN broadcast
25      Q. You have 50 blue screen mechanical devices?              25   where he’s got the blue screen behind him? You

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 1 recognize that?                                                   1 what I’ve marked as Exhibit 9. You’ve never seen the
 2      A. Yes.                                                      2 International Hotel in Riyadh, Saudi Arabia, have you?
 3      Q. Okay. And this was something that some people             3      A. No. I know that’s where they said they were
 4 recorded off of a satellite leak?                                 4 broadcasting from.
 5      A. I believe so, a long time ago.                            5      Q. I’m going to show you what I’m marking as
 6      Q. Okay. And you’ve done some reporting about                6 Exhibit Number 11.
 7 this on InfoWars. You’ve shown this video and what                7            (Exhibit 11 marked.)
 8 happened that day?                                                8      Q. (BY MR. BANKSTON) You’ve never seen the
 9      A. Yes.                                                      9 photographs for the satellite setups for the major
10      Q. Okay. And as we see from here, you can see               10 networks at the International Hotel in Riyadh, Saudi
11 kind of on the left-hand side and on the right-hand of           11 Arabia, have you?
12 the screen, there’s this big blue screen up behind them,         12      A. Nope. I just know Jaco says that they staged
13 right?                                                           13 a chemical attack that didn’t happen.
14      A. Uh-huh.                                                  14      Q. You know that Jaco admits is what you’re
15      Q. Right? Because they left it on. I mean, they             15 saying? You’ve seen clips of Charles Jaco saying it
16 didn’t put anything on it because they were on a                 16 was --
17 satellite kind of practice feed, I think, right?                 17      A. Yeah, it came out later that there wasn’t
18      A. I don’t remember all the particulars, but they           18 nerve gas in the air and all that and that they staged
19 admitted they weren’t on location.                               19 some of the shots on blue screen.
20      Q. Okay.                                                    20      Q. So you’re maintaining that that thing behind
21      A. And then, again, it’s not like the background            21 them in that shot is a blue screen used for compositing
22 turns on. It’s that the computer overlays it.                    22 and not just the walls of the International Hotel in
23      Q. Right. It’s not like actually on the --                  23 Riyadh that was on every broadcast during that time?
24 there’s something up on the screen. The computer takes           24            MR. BARNES: Objection --
25 care of that in postproduction?                                  25      Q. (BY MR. BANKSTON) That’s what you’re saying?
                                                              127                                                                129
 1      A. Or does it live.                                          1            MR. BARNES: Objection as to form.
 2      Q. Or does it live, right. Okay.                             2      A. Well, no. They were saying they were there.
 3            But that CNN studio, that setup -- what                3 They weren’t saying they were projecting that behind
 4 I’m going to hand you now is what’s been marked as                4 them. I get your confusion about the blue thing or my
 5 Exhibit 10.                                                       5 confusion. This was a long time ago. It’s not debated
 6            (Exhibit 10 marked.)                                   6 that CNN staged location shots.
 7      Q. (BY MR. BANKSTON) Do you think ABC News and               7      Q. (BY MR. BANKSTON) They didn’t stage that
 8 Forrest Sawyer was given access to Ted Turner’s secret            8 shot, did they? That shot was in front of the
 9 studio?                                                           9 International Hotel in Riyadh. That was not a staged
10            MR. BARNES: Objection as to form.                     10 shot.
11      A. I don’t even know anything about this. I                 11      A. Yeah, they put the gas masks on through the
12 mean, I know they were...                                        12 whole thing and then they stopped during the breaks and
13      Q. (BY MR. BANKSTON) You’ve never seen that                 13 it’s all a big joke.
14 picture?                                                         14      Q. I’m not really concerned with what they did on
15      A. No. I believe that CNN and others, especially            15 the broadcast. You said that they were in a secret
16 CBS partners with other groups routinely; but that’s             16 broadcast center in Atlanta when they said they were in
17 conjecture. I don’t know.                                        17 Riyadh. You were wrong. That was false. They were
18      Q. Okay. So I take it you’ve never done any sort            18 actually in Riyadh. You can admit that?
19 of research as to where these interviews were allegedly          19      A. I can’t say that.
20 done or CNN says they were done?                                 20      Q. In fact, you don’t know. When you were saying
21      A. You know, this was so long ago. I remember               21 that they were not in Riyadh, you had no idea?
22 seeing PBS documentaries about this.                             22      A. I think you’re mixing things together.
23      Q. Let me show you an exhibit about that.                   23      Q. Okay, Mr. Jones.
24            (Exhibit 9 marked.)                                   24      A. You’re right. Colin Powell, the anthrax was
25      Q. (BY MR. BANKSTON) I’m going to hand you now              25 real. You’re right. Nothing sticks.

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 1      Q. There was a lot of reporting during the Gulf              1     A. I got contacted in the morning with -- I got
 2 War, a lot of people doing really hard work to uncover            2 contacted by an individuals assigned to the SERF Teams
 3 the fact that those aluminum tubes were total bunk.               3 CIA Assassination squads who had people inside the
 4 That wasn’t WMDs, right?                                          4 hostage rescue team in Vegas and they said that he was
 5      A. Were they wrong to question that.                         5 selling weapons to the Gihadies and that they had
 6      Q. Absolutely. There was a lot of people                     6 paraphernalia for the Gihadies in the Middle East, that
 7 questioning that. They did some really good reporting.            7 he was an arms dealer. I mean, the Saudis were having a
 8 They found out, for instance, that some of the                    8 civil war.
 9 allegations of torture in Kuwait were total bunk; it was          9              They were having an event with the Saudi
10 total propaganda. Some good journalists found that --            10 military, over 10,000 of them in Las Vegas that weekend
11      A. The babies in the incubators?                            11 as part of a larger event, and that as basically inside
12      Q. I think that’s some of it, isn’t it? Not just            12 the Saudi Arabia civil war that they used the arms deal
13 the babies in the incubators, though. There was a lot            13 to get weapons inside of the United States and that they
14 of false things being told to the American public to get         14 then killed the patsy and then carried out the operation
15 them to go to war, wasn’t there?                                 15 and that the whole thing was basically a Saudi civil
16      A. Yeah.                                                    16 war. And a lot of that later came out.
17      Q. And a lot of reporters did really good work              17     Q. Came out where?
18 doing it and finding out what those things were. There           18     A. It came out in the news that he went to the
19 were some really good reports, right, an incubator               19 Middle East. It came out that he had been involved in
20 report, for instance?                                            20 arms dealing. And I also had to sign nondisclosures
21      A. Yeah. Yeah. I was pretty young then, but                 21 that I can’t get into subsequently with other
22 yeah.                                                            22 information.
23      Q. So those good journalists did good work                  23     Q. You’ve signed nondisclosures?
24 uncovering those facts; but your work on the blue screen         24     A. Uh-huh.
25 allegation in the Gulf War, that wasn’t good journalism,         25     Q. With whom?
                                                              131                                                                 133
 1 was it, Mr. Jones?                                                1     A. I can’t talk about it.
 2      A. No. They admitted they did blue screen shots              2     Q. Okay. Well, what about: What’s the general
 3 from Atlanta and a whole bunch of places.                         3 topic that you can’t disclose?
 4      Q. That’s where you’re doubling down; you’re                 4     A. I can’t talk about it.
 5 saying that that’s a fact?                                        5     Q. Okay. So apparently there’s some
 6      A. I’m saying you’re mixing things together, so I            6 nondisclosure agreement that you’ve signed with some
 7 can’t say anything further.                                       7 unnamed person that is relevant to the allegations that
 8      Q. Okay. I want to talk a little bit --                      8 you were making about Las Vegas?
 9 actually, I want to go back to something you said                 9     A. Yes.
10 earlier, which is that you have CIA sources who told you         10     Q. Okay. And you can’t -- for reasons of that
11 that something’s up in Vegas --                                  11 nondisclosure, you can’t disclose anything about that
12      A. Yep.                                                     12 today?
13      Q. -- something funny’s going on in Vegas. Who?             13     A. No, I can’t.
14            MR. BARNES: Objection, and we’ll                      14     Q. Was that a government person that you did the
15 instruct the witness not to answer on journalistic               15 nondisclosure with?
16 privilege.                                                       16              MR. BARNES: Objection, and we’ll
17            MR. BANKSTON: Gotcha.                                 17 instruct the witness not to answer to the degree it
18      Q. (BY MR. BANKSTON) Well, what did you hear?               18 could disclose his identity, which that question
19 What did this person tell you?                                   19 basically would.
20            MR. BARNES: The same instruction not to               20     Q. (BY MR. BANKSTON) Was it a corporate entity?
21 answer if it in any way will disclose their identity.            21              MR. BARNES: The same instruction not to
22            MR. BANKSTON: Yeah, I’m not asking for                22 answer on the grounds of the journalistic privilege
23 their identity.                                                  23 shield as something that may identify or lead to the
24            THE WITNESS: Go ahead.                                24 identification of the individual person.
25      Q. (BY MR. BANKSTON) What did they tell you?                25     Q. (BY MR. BANKSTON) Was it a real person or an

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 1 imaginary person?                                                 1 CNN takes the angle on Pizzagate and makes it huge --
 2     A. Oh, it’s real.                                             2 Washington Post, New York Times, CNN -- they make
 3     Q. It’s a real person. So there is a contract.                3 whatever they’re reporting on the huge thing; and then
 4 If we needed it, we could get it? It exists? Do you --            4 we go report on this huge thing that the media, the
 5     A. I already told you it exists.                              5 corporate media, actually went, like, a honey pot and
 6     Q. Do you own a copy?                                         6 set up. So more and more I try to not even report on
 7           THE WITNESS: We have a copy of that,                    7 whatever the big thing on 4chan or, you know, any of
 8 don’t we?                                                         8 these sites are talking about. I directly stay away
 9           MR. BARNES: Well, he’s just asking                      9 from them now.
10 whether you --                                                   10     Q. Okay. 4chan, let’s just pick that one up
11     A. Yes, we have a copy.                                      11 first.
12     Q. (BY MR. BANKSTON) Okay. Thank you,                        12     A. Yes.
13 Mr. Jones.                                                       13     Q. That’s an anonymous image board, right?
14           Let’s talk a little bit about sources.                 14     A. Yes.
15 What is InfoWars’ policy on using unnamed sources?               15     Q. The posters there are assigned a random
16     A. If they’ve been credible in the past and have             16 number, right?
17 been good sources, then we report from an unnamed                17     A. Yes.
18 source.                                                          18     Q. InfoWars has frequently used 4chan as a
19     Q. Who is in charge or makes the decision on if              19 source?
20 the source is credible?                                          20     A. We’ve reported on things being reported at
21     A. Paul Watson, myself, Rob Dew.                             21 4chan.
22     Q. Okay. You talked a lot about covering                     22     Q. As a source, right? That’s what a source is,
23 Internet --                                                      23 isn’t it?
24     A. Let me be clear: Paul does his own thing. So              24     A. Yes.
25 he does his reporting and then helps us out with other           25     Q. Okay.
                                                              135                                                                 137
 1 stuff.                                                            1     A. I mean, if somebody was e-mailing you, you
 2     Q. Okay. So it’s you and Rob who assign                       2 could say technically it was a source --
 3 credibility to sources?                                           3     Q. Sure.
 4     A. Yes.                                                       4     A. -- even if you never even open it.
 5     Q. Okay. You talked a bit about covering the                  5     Q. Any piece of information that you’re going to
 6 Internet and what’s being said on the Internet. On when           6 report secondhand is a source, right?
 7 you cover the Internet and the stuff that’s being said            7     A. Yeah.
 8 there, are there particular places that you consider              8     Q. It was the source of that information?
 9 important places to look on the Internet for what’s               9     A. Yeah. Like, if somebody draws on a bathroom
10 really being said and what’s happening?                          10 wall, it could be a source.
11     A. Yes.                                                      11     Q. Now, for instance, one of the things we’ve
12     Q. What are some of your primary sources on the              12 talked about is misidentifying the Parkland shooter. We
13 Internet to get Internet chatter?                                13 talked earlier about misidentifying the Parkland shooter
14     A. I mean, everything from the Intercept to the              14 last year. InfoWars’ source was 4chan, right?
15 New York Times to Drudge Report to CNN -- I mean, we             15     A. I don’t remember that, but we corrected it
16 just look at everything -- to the Congressional Record.          16 within a day.
17     Q. Well, I mean, I understand you look at media,             17     Q. Well, I mean, I didn’t ask you anything about
18 mass media and government reports; but I’m talking about         18 correction, right? What I’m asking is: Do you or do
19 Internet chatter, what the people are talking about              19 you not know if 4chan was your source?
20 online. How do you get a pulse of that?                          20     A. I believe it was one of the places that put it
21     A. It’s not even getting a pulse. In the past we             21 up.
22 would cover whatever the big chatter was if I thought it         22     Q. Okay.
23 was interesting and the crew did. We basically try not           23     A. That’s why I told --
24 to even do that anymore because it always gets assigned          24     Q. So that’s what I was kind of asking when I
25 on us when we cover even big stories because if, like,           25 say: Where do you get your chatter? 4chan is one. Do

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 1 you have any others for us?                                       1 want to know a question to. Do you even know what
 2     A. Yeah, e-mail, what people are talking about on             2 Mr. Heslin sued you for?
 3 the street.                                                       3           MR. BARNES: Objection as to this being
 4     Q. Well, I mean, specifically we’re talking about             4 outside of the scope.
 5 honing in on this idea that there were people on the              5           MR. BANKSTON: He’s an individual.
 6 Internet chattering about Sandy Hook. The Internet was            6           THE WITNESS: This is Scarlett Lewis,
 7 talking about it. You know --                                     7 right?
 8     A. I would say YouTube. The videos within the                 8           MR. BANKSTON: Right. There’s no
 9 first two weeks with, like, 5 million, 10 million views,          9 30(b)(6) Notice here. He don’t have a scope.
10 plus; and they were showing a lot of things that when            10           MR. BARNES: Sure there is.
11 you looked at it, looked pretty compelling.                      11           MR. BANKSTON: If he has personal
12     Q. Okay. So there were people making videos on               12 knowledge, he can answer it. Are you instructing him
13 YouTube. You had some of those people on your show,              13 not to answer?
14 right?                                                           14           MR. BARNES: It’s an objection.
15     A. I’m not -- I can’t remember.                              15     Q. (BY MR. BANKSTON) Okay. Then you can go
16     Q. Okay. You know who Q.K. Ultra is? Have you                16 ahead and answer, Mr. --
17 heard that name?                                                 17           MR. ENOCH: Well, don’t tell him there’s
18     A. (No audible response.)                                    18 no scope, Mark.
19     Q. Do you know who the Independent Media                     19           MR. BANKSTON: I have no idea, Mr. Enoch,
20 Solidarity Group is? Have you ever heard that name?              20 what you mean. Is there something in the Order that you
21     A. No.                                                       21 think there’s a scope? I don’t see a scope.
22     Q. Do you know Peter Klein and his film, Let’s               22           MR. ENOCH: The Court said you were
23 Talk About Sandy Hook?                                           23 allowed to ask things consistent with your RFPs.
24     A. No.                                                       24           MR. BANKSTON: Yeah, whether Mr. Heslin
25     Q. Do you know the book Nobody Died at Sandy                 25 was defamed is relevant to my case. You know that. The
                                                              139                                                                 141
 1 Hook?                                                             1 document request was all about Mr. Heslin.
 2     A. I’ve not read it.                                          2           MR. ENOCH: I --
 3     Q. Okay. All of these things have been sources                3           MR. BANKSTON: Don’t even start this with
 4 for you, though, right?                                           4 me.
 5     A. No, I don’t think Fetzer, by the time he wrote             5           MR. ENOCH: Let me finish, please.
 6 that book, was a source.                                          6           MR. BANKSTON: I would rather you not
 7     Q. There was a broadcast with Mr. -- discussing               7 because you’re not defending this deposition, Mr. Enoch.
 8 Mr. Heslin in 2017 about his statements on the Megyn              8 I’ve had an extraordinary amount of patience with you
 9 Kelly show. Do you know what I’m talking about?                   9 speaking during this deposition, but we’re not going to
10     A. Can you give me specifics?                                10 do this to you when we defend depositions.
11     Q. Yeah, you were sued over it by Mr. Heslin. Do             11           MR. ENOCH: Do not misrepresent to this
12 you know what broadcast I’m talking about now?                   12 lawyer that the Judge did not restrict the scope to the
13     A. Well, I mean, what specifically?                          13 limit -- limited to the RFPs. Do you agree that he
14     Q. Mr. Jones, do you understand that Neil Heslin             14 limited it to that?
15 sued you? Do you understand that?                                15           MR. BANKSTON: No, I don’t think so --
16     A. Well, you’re asking me about a specific                   16           MR. ENOCH: Okay.
17 broadcast; and I’m saying: What broadcast?                       17           MR. BANKSTON: -- not to an RFP, no, I
18     Q. Right. First, I’m asking you: Do you                      18 don’t think so.
19 understand Neil Heslin sued you?                                 19           MR. ENOCH: You don’t think so?
20     A. Yes.                                                      20           MR. BANKSTON: No, Mr. Enoch, I don’t
21     Q. Okay. Are you telling me that you don’t know,             21 think the scope of written discovery on a Request For
22 sitting here right now, what broadcast he sued you for?          22 Production was identical to the scope of deposition.
23     A. I mean, I’m asking you to give me the                     23 And many, many times, Mr. Enoch, the Judge said, "No,
24 specifics, like, so you can get me to comment.                   24 you can’t ask that question for a Request For
25     Q. No, I’m asking you right now. That’s what I               25 Production; but you can just ask it in deposition." So,

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 1 no, I don’t agree with you at all; and I would                    1 Current did. They said that they’d never seen stuff
 2 appreciate it if kept quiet for the remainder of the              2 covered up like this.
 3 deposition. You are not defending this deposition.                3      Q. Right.
 4             MR. ENOCH: Mr. Bankston, I will speak if              4      A. I mean, I knew FBI agents and people that
 5 it’s appropriate for to speak.                                    5 said there was something weird going on with it.
 6             MR. BANKSTON: It is not appropriate for               6      Q. One of them was his uncle, right?
 7 you to speak.                                                     7      A. Yes, Rob Dew’s uncle, right.
 8             MR. ENOCH: Please don’t interrupt me,                 8      Q. Yeah. He was up there with Mr. Halbig and
 9 sir. That’s not courteous.                                        9 Mr. Bidondi and Mr. Reich.
10             MR. BANKSTON: Sir, I’m going to ask you              10      A. We didn’t even know he was going.
11 to leave my deposition.                                          11      Q. Right. I’m not saying you did. I’m saying he
12             Go off the record for a second.                      12 was up there?
13             MR. ENOCH: No, I do not agree to go off              13      A. Yep.
14 the record.                                                      14      Q. Yeah.
15             MR. BANKSTON: All right. Don’t go off                15      A. Career, retired FBI, yep.
16 the record.                                                      16      Q. Right. With Mr. Halbig and Mrs. Kay Wilson,
17             Mr. Enoch, I’m asking you to leave my                17 Mr. Bidondi --
18 deposition. You are being obstructive. You are                   18      A. There was a big City Council meeting there.
19 talking. You are not appearing at this deposition. You           19      Q. Yeah. Mr. Reich was there?
20 are not defending it. If you do not agree to be quiet,           20      A. I don’t know who those folks are.
21 I’m asking you to leave the deposition. Are you going            21      Q. Okay. Now, Mr. Dew, he has been frequently
22 to stay and be quiet, or am I going to have to ask you           22 sent as the news director of InfoWars -- hold on. Let
23 to leave?                                                        23 me back that up because I’m making an assumption.
24             MR. ENOCH: Mr. Bankston, I am not                    24            Mr. Dew’s the news director of InfoWars?
25 leaving the deposition.                                          25      A. For some of the programs. We don’t do the
                                                              143                                                               145
 1             MR. BANKSTON: Then you’re going to stay               1 nightly news anymore; but he was directing those shows,
 2 quiet.                                                            2 yes.
 3             MR. ENOCH: Would you like to continue                 3      Q. Okay. So Mr. Dew had been, over the years,
 4 your deposition?                                                  4 sent e-mails and communications and tweets from Sandy
 5             MR. BANKSTON: I am. And if you leave                  5 Hook debunkers. Do you know what I mean when I say
 6 again -- if you keep speaking, I guarantee you I will             6 that?
 7 seek sanctions against you, Mr. Enoch.                            7      A. Yes.
 8     Q    (BY MR. BANKSTON) Mr. Jones, does --                     8      Q. Okay. And Mr. Dew had been told by these
 9 interactions with readers and viewers, that tends to              9 people, "What you’re saying is wrong. You need to stop
10 help drive what you do on the show, right?                       10 saying it. Here’s the real truth"? You understand --
11     A. Somewhat.                                                 11      A. Oh, I thought you meant debunkers debunking
12     Q. I mean, if viewers want you to cover                      12 the official story.
13 something, that’s a motivator for you to cover it?               13      Q. No, I mean those who were debunking what you
14     A. Sometimes. Not so much.                                   14 were saying about Sandy Hook.
15     Q. And, in fact, you’ve said about Sandy Hook,               15      A. Yes, and then we would offer for them to come
16 "This is what our viewers wanted us to cover. That’s             16 on air and cover what they said.
17 why we were covering it."                                        17      Q. And, in fact, you had been given information
18     A. Yes, it was an Internet sen -- a big deal                 18 by them; they had given you information?
19 early on.                                                        19      A. And we put it on air.
20     Q. And, in fact, when you weren’t covering it so             20      Q. And you had a debate with a guy named Keith
21 much, whenever you stopped covering it for a little bit,         21 Johnson, right?
22 your viewers would get upset. And they’d be like, "Why           22      A. I don’t think I did.
23 aren’t you covering Sandy Hook; it’s a hoax"?                    23      Q. Well, okay. So there was a debate hosted on
24     A. Yes, people, the public -- the public in                  24 InfoWars between Keith Johnson and Mr. Halbig?
25 general had major questions. I mean, even the Hartford           25      A. Was that the -- I forget the name of the

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 1 newspaper guy. I can’t remember the name.                       1 know, these debates in this; and I’m trying to state --
 2      Q. Well, Keith Johnson, he’s a former InfoWars             2 what I’m saying is we invited everybody on. We had
 3 contributor, right?                                             3 debates. And if I remember that debate correctly, isn’t
 4      A. Well, there’s a lot of articles that people             4 that when Halbig really got mad was because we pretty
 5 contribute, whether a letter to the editor or --                5 much, you know, disagreed with him?
 6      Q. That’s not what I’m not talking about,                  6            MR. BANKSTON: Can you scroll up?
 7 Mr. Jones. Keith Johnson was a paid contributor to              7            (The reporter complies.)
 8 InfoWars?                                                       8            THE WITNESS: I mean, I’m really trying
 9      A. Not to my memory.                                       9 to be helpful.
10      Q. Okay. So there was this debate that Mr. Dew            10      Q. (BY MR. BANKSTON) Mr. Jones, I asked you: Do
11 hosted, and would you agree with me that was sometime          11 you know C.W. Wade?
12 around 2015?                                                   12      A. I don’t know him, no.
13      A. I don’t remember.                                      13      Q. Thank you, sir.
14      Q. Okay. Mr. Dew, in addition to those debates,           14            I want to talk a little bit about
15 has been provided written information from a lot of            15 InfoWars, LLC. Have you ever taken money from InfoWars,
16 these debunking people seeking to stop the allegation          16 LLC?
17 that it’s a hoax. You would agree with that?                   17            MR. BARNES: Objection. And my
18      A. Yes. There was a big Internet fight going on,          18 instruction is to privacy. Unless it’s Sandy Hook
19 and we were showing both sides.                                19 specific or relevant, I’ll instruct the witness not to
20      Q. Right. And so in terms of information about            20 answer consistent with the constitutional right to
21 these anomalies, some of the things that I’ve been             21 privacy protected under both the Texas Constitution and
22 showing you today were in Mr. Dew’s possession, correct?       22 the United States Constitution.
23            MR. BARNES: Objection as to form.                   23            MR. BANKSTON: Wow. Okay. We’ll take
24      A. I don’t understand. There’s been an ongoing            24 that up another day, I guess. Wow.
25 debate back and forth on these issues.                         25            MR. BARNES: I mean, I can go to other
                                                            147                                                                149
 1      Q. (BY MR. BANKSTON) Okay. Do you know who a               1 cases if you want me to.
 2 person named C.W. Wade is?                                      2            MR. BANKSTON: I mean, I don’t at all,
 3      A. No.                                                     3 Mr. Barnes.
 4      Q. Okay. You’ve never heard of that person’s               4      Q. (BY MR. BANKSTON) InfoWars, LLC, has it ever
 5 debunking efforts about what you’ve been saying?                5 had any money?
 6      A. I’ve told you, like, I don’t live, eat,                 6            MR. BARNES: Objection, same instruction
 7 breathe, sleep, this stuff.                                     7 to the witness not to answer on the grounds of privacy.
 8      Q. I get you. I’m just asking questions.                   8      Q. (BY MR. BANKSTON) What is InfoWars, LLC?
 9      A. I’m just really -- if I had it all over to do,          9      A. I don’t believe it’s even an operating
10 I’d do a better job; but I didn’t do it on purpose be          10 company.
11 malicious. And everybody wanted to have debates about          11      Q. So it’s your allegation it’s not an active
12 it; and I said years ago -- probably, like, five years         12 corporation by the Secretary of State?
13 ago I said, "No more of this. I’m sick of it. It’s a           13      A. You know, I’m not the expert on this. So I
14 tar baby. I think it probably happened."                       14 probably shouldn’t answer it because I don’t want to
15            But then we’d see stuff in the cover-up             15 state it wrong, but I...
16 and them never releasing documents and the Hartford            16      Q. Okay. You made InfoWars, LLC; you created it?
17 Current saying, "It looks like a cover-up’s going on.          17      A. You know, I’m not one of the lawyers. So I
18 We don’t think it’s a hoax; but, you know..."                  18 don’t want to answer it wrong.
19            And so it’s just a tar baby. I’m sick of            19      Q. Nobody else is involved. It’s nobody else’s
20 it. And so that’s why there’s so many apologies and            20 company, right?
21 statements that I’m sorry, you know, that I was even           21            MR. BARNES: Objection and instruct the
22 ever covering it because I don’t want it to be my              22 witness not to answer on the grounds of privacy that
23 identity. I’m tired of it.                                     23 could also invade the privacy of third parties.
24      Q. What question are you answering?                       24            MR. BANKSTON: Okay.
25      A. I mean, I’m answering your question about, you         25      Q. (BY MR. BANKSTON) InfoWars, LLC, what does it

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 1 do? What has it ever done as a business?                         1            THE WITNESS: Can I have a water, please?
 2      A. I don’t know.                                            2 Thanks.
 3      Q. Okay. Do you have any job duties at InfoWars,            3            MR. ENOCH: Sure. There’s not an extra
 4 LLC?                                                             4 cup.
 5      A. I mean, as you heard, I’m not going to get               5            THE WITNESS: It’s fine.
 6 into structure of things. Plus, I’m not a CPA or a               6            MR. ENOCH: I’ll just give you a coffee
 7 lawyer. I don’t want to say it wrong.                            7 cup.
 8      Q. Okay. Have you ever had job duties at                    8            THE WITNESS: Thank you.
 9 InfoWars, LLC in the past?                                       9            Is it okay to break for ten minutes and
10      A. I don’t want to say -- I mean, I think I’m the          10 eat?
11 only -- it’s -- I’m the sole person.                            11            MR. BANKSTON: Yeah. You know what, this
12      Q. Has InfoWars, LLC ever had an office?                   12 is not a bad spot. We’re at 3:30 right now.
13      A. I really don’t understand. I don’t know what            13            THE WITNESS: Thanks. All I need is ten
14 you’re getting at.                                              14 minutes.
15      Q. Do you know what an office is?                          15            MR. BANKSTON: Ten or fifteen is fine. I
16      A. No, I don’t understand. Like, you’re asking             16 mean, if we can come back here by 3:50, I can get us out
17 me whether a corporation has an office.                         17 of here before 5:00.
18      Q. Uh-huh.                                                 18            THE VIDEOGRAPHER: Off the record at
19      A. The company has offices at Free Speech                  19 3:29 p.m.
20 Systems.                                                        20            (Off the record from 3:29 to 3:42 p.m.)
21      Q. Well, so if I was to ask you: Does Free                 21            THE VIDEOGRAPHER: We’re back on the
22 Speech Systems have an office, the answer’s "yes"?              22 record at 3:42 p.m.
23      A. I think, yeah, it’s on the letterhead, yeah,            23      Q   (BY MR. BANKSTON) When was the last time you
24 that’s what...                                                  24 did anything for InfoWars, LLC?
25      Q. Okay. Let’s try InfoWars. Does InfoWars, LLC            25      A. I’m sorry. I can’t accurately answer that.
                                                             151                                                                153
 1 have an office?                                                  1      Q. Was InfoWars, LLC in the news business?
 2      A. You know, I don’t want to inaccurately answer            2      A. I don’t think I can accurately answer that.
 3 that, so I can’t.                                                3      Q. We’ve talked a lot about Free Speech Systems
 4      Q. Okay. Who would be the person at InfoWars,               4 employees today, like Mr. Dew. Did Mr. Dew ever do
 5 LLC who could answer that?                                       5 anything for InfoWars, LLC?
 6      A. You know, the corporation got set up a long              6      A. InfoWars, LLC’s a real corporation. It’s
 7 time ago; and I’m not sure who you’d ask those                   7 inactive. And it was set up to deal with something like
 8 questions.                                                       8 intellectual properties or something, like, ten years
 9      Q. Okay. Now, when it comes to Free Speech                  9 ago; and that was just kind of like a basic corporate
10 Systems, LLC, you’re the boss?                                  10 structure. It’s pretty standard, I’m told; but I’m not
11      A. Uh-huh.                                                 11 a lawyer. And so -- but, I mean, it’s filed with the
12      Q. There’s nobody with more power at Free Speech           12 State. It’s up to date. It’s just not -- I think the
13 Systems, LLC than you?                                          13 things we were going to do with it we never did fully.
14      A. I make all the major decisions. I’m the --              14 I think that’s -- but I’m not a lawyer, but that’s the
15 the buck stops with me.                                         15 best of my understanding of that.
16      Q. You make final call on anything that goes to            16            MR. BANKSTON: Object as nonresponsive.
17 air?                                                            17      Q. (BY MR. BANKSTON) I asked you if Mr. Dew had
18      A. I mean, I don’t sit there and watch over                18 ever done anything for InfoWars, LLC. Is that "yes" or
19 everything. I try to have good people that are smart            19 "no"?
20 and are trying to tell the truth.                               20      A. I don’t believe so.
21      Q. But, I mean, you have the authority. If                 21      Q. Okay. What about -- help me with this name --
22 something’s going to air and you find out and you don’t         22 Tim Fruge?
23 want it on air, you can stop it?                                23      A. "Fruge."
24      A. Yes. I told you: The buck stops with me.                24      Q. "Fruge." Did Tim Fruge do anything for
25      Q. Okay.                                                   25 InfoWars, LLC?

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 1     A. No.                                                        1 nondisclosure agreement. You were asking sources on
 2     Q. Does InfoWars, LLC have anything to do with                2 Vegas, and we have particularly good ones on that.
 3 the InfoWars, LLC website?                                        3     Q. Okay.
 4     A. I don’t want to state it wrong, but I think                4     A. And then...
 5 so. Yeah, I think that’s the whole point is that                  5     Q. But in terms of your legal obligations, that’s
 6 different things had a different company.                         6 also something you’re not prepared to talk about today?
 7     Q. Okay. Regarding sourcing, would you put                    7     A. Yes. I had to sign a nondisclosure agreement
 8 information on the air from a source if nobody at                 8 before I was allowed to see something.
 9 InfoWars knew their identity?                                     9     Q. Okay. I want to ask you a little bit more
10     A. No, not generally.                                        10 about Wolfgang Halbig. Now, Wolfgang Halbig was a
11     Q. Okay. And that’s because if you can’t verify              11 former security officer at a school, correct?
12 their identity of who’s telling you the information, you         12     A. Yes.
13 can’t assess its credibility, can you?                           13     Q. He has sold security plans and security
14     A. Well, if we got an anonymous call that there              14 consulting services across the nation, correct?
15 had been a gas explosion in South Austin, we’d go see if         15     A. Yes.
16 that was the case or if we looked up and saw smoke, not          16     Q. He was one of the -- you would agree with me
17 that I’d normally cover something like that; but we’ve           17 he was one of the most aggressive people in trying to
18 actually got calls like that before.                             18 publicize the idea that Sandy Hook was a fake?
19           Like, the morning of 9/11 I got a call,                19     A. Yes.
20 "Hey, have you seen that something flew into The World           20     Q. How did you meet?
21 Trade Center?"                                                   21     A. I never met him -- well, no. I don’t know if
22     Q. Sure.                                                     22 he’s ever been in the studio. I’ve never met him. It
23     A. I mean, it was just -- so it’s not -- I’m                 23 all blurs, with Skype or audio; but I don’t remember.
24 trying to answer the question simply. But if somebody            24     Q. So your conversations with him generally
25 calls up and say somebody’s a bank robber and there’s no         25 aren’t face to face?
                                                              155                                                                 157
 1 evidence of that, we don’t cover it. 99 percent of the            1     A. They were on air.
 2 time we report on what is already in the news or                  2     Q. On your radio or web show, you mean? Those
 3 something that’s said in Congress or something that is            3 are the places you would typically talk to Wolfgang?
 4 already out there and we just give our comment on it.             4     A. Yes, uh-huh.
 5     Q. Let me go back to your example. Say you got                5     Q. Did you ever communicate in any other ways?
 6 an anonymous call that in South Austin there’d been an            6     A. I vaguely remember talking to him on the phone
 7 explosion, right? You would take steps to confirm that            7 a couple of times.
 8 that explosion had occurred? Send somebody over there?            8     Q. Okay. Do you think you’ve ever e-mailed
 9     A. Yes.                                                       9 Wolfgang Halbig?
10     Q. And in corroborating, once you were -- felt               10     A. I think we’ve responded back to his e-mails,
11 confident that there was an explosion, then at that              11 yes.
12 point you should notify the public because that could            12     Q. Okay. And he’s e-mailed people on your staff?
13 save lives, couldn’t it?                                         13     A. A lot.
14     A. Sure, yes.                                                14     Q. A lot. What did you do to vet him? How did
15     Q. Okay. Now, if an anonymous person called you              15 you assess his credibility?
16 and told you that there was an explosion and you didn’t          16     A. We looked him up and he’d been on national
17 send anybody out to go confirm the explosion, reporting          17 television as an expert and he’d been with the state
18 the explosion on the air could cause problems, correct?          18 police and then he’d been a security -- head of security
19     A. Yes.                                                      19 at a school. And at first a lot of what he said
20     Q. Okay. Let me just ask you really quick going              20 sounded -- he was more credible, and I think he
21 back to this nondisclosure agreement that we discussed           21 genuinely believed what he was saying. And then he had
22 earlier that you can’t tell me about the identity or the         22 that professor coming out from Florida -- I forget his
23 subject matter. Okay? I do want to know: What did you            23 name -- and just a bunch of other people. It was just a
24 agree to do?                                                     24 big firestorm on the Internet and we covered that
25     A. I can’t get into the specifics of the                     25 firestorm and I gave my opinions on it.

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 1     Q. So what I think I’m hearing from you is he’s               1 Way with Mr. Halbig?
 2 been on TV? He was --                                             2     A. I don’t remember some things I talked about
 3     A. Well, no. I mean, he was a state police                    3 two weeks ago on my show.
 4 officer and then he was the head of school security at a          4     Q. Definitely you don’t remember him almost
 5 school and then he was a nationally recognized -- as              5 getting in a brawl with a fireman at a firehouse in
 6 least according to the big national shows I saw, I guess          6 Newtown?
 7 that were mainstream; they must have vetted it -- that            7     A. No.
 8 he was this really big credible guy.                              8     Q. You certainly knew he was harassing parents up
 9     Q. So are you saying that he had a resume of such             9 there?
10 that you did not feel the need to fact-check or                  10     A. No. I remember hearing that there were some
11 corroborate his allegations?                                     11 fracases going on; and that’s when I said, "I don’t want
12           MR. BARNES: Objection as to form.                      12 to have him on the show anymore."
13     A. We did try to fact-check it; but because there            13     Q. And then e-mailed about his associate,
14 was such a wall of secrecy up around it, around Sandy            14 Jonathan Reich, who was up there with Mr. Bidondi and
15 Hook, that the Hartford Current and others noted,                15 Mr. Halbig, getting arrested for harassing a Sandy Hook
16 unprecedented, that allowed that darkness for, you know,         16 parent? You knew about that?
17 things not to be checked out.                                    17     A. Vaguely aback at the time.
18     Q. (BY MR. BANKSTON) Well, let’s take them one               18     Q. Yeah, you know who Jonathan Reich is, don’t
19 by one. Mr. Halbig said the thing about the                      19 you? That’s been told to you plenty of times.
20 Port-A-Potties, right? Do you know what I’m talking              20 Mr. Halbig tried to get you to support his case, right?
21 about, the Port-A-Potties?                                       21     A. He sent thousands of e-mails. I haven’t read
22     A. Yes.                                                      22 any of them, really.
23     Q. Okay. That wasn’t hidden behind a cloak of                23     Q. You know who Lucy Richards is, don’t you?
24 secrecy. That’s in a video that’s been public for six,           24     A. No.
25 seven years, right?                                              25     Q. Even today, you don’t -- sitting here today,
                                                              159                                                                 161
 1     A. Well, I don’t think that that piece of                     1 you don’t know who Lucy Richards is?
 2 information has been proven one way or the other. I               2     A. I don’t.
 3 think they did deliver Port-A-Potties pretty quick.               3     Q. Okay. You don’t know that there was a woman,
 4     Q. EMTs were in the building, right? And that’s               4 an InfoWars follower, who went to Federal prison for
 5 been public for six or seven years.                               5 stalking and threatening to kill Sandy Hook parents and
 6     A. Most of those reports were blacked out.                    6 that she’s now barred from ever seeing InfoWars again by
 7     Q. You know EMTs were in the building? That’s                 7 court order?
 8 borne out in multiple reports.                                    8     A. I read about a woman and the media alleging
 9     A. In the report itself, the police officer said              9 that.
10 it didn’t look normal; things didn’t look right. That            10     Q. And you know that happened in central Florida
11 was the kind of thing we were reading.                           11 very shortly after you disclosed Mr. Pozner’s personal
12     Q. Okay, Mr. Jones. You know about what                      12 e-mail address and maps to where he picks up his mail;
13 Mr. Halbig did up in Newtown, right? You know about his          13 you know that, right?
14 activities there?                                                14     A. No, I do not.
15     A. Earlier you played the Bidondi tape. That was             15     Q. Okay. You didn’t know where that occurred?
16 Bidondi saying those things, you notice. So I’m not              16     A. No, I did not do what you said I did.
17 sure what you’re going to ascribe to me that I’m not             17     Q. Okay. One of the things that you told me,
18 involved in. I don’t know what Bidondi did in Newtown            18 Mr. Jones, is that Sandy Hook has been one-tenth of
19 after a certain -- after about a year or so.                     19 1 percent of what InfoWars covered, correct?
20     Q. You know he almost got arrested at the United             20     A. Yes.
21 Way. You know about that, right?                                 21     Q. How did you determine that?
22     A. No.                                                       22     A. It’s a dead reckoning. I mean, if you look at
23     Q. You’ve talked about that on your show.                    23 four hours on average a day, five days a week, a couple
24     A. I don’t remember.                                         24 of hours on the weekend or more, probably three or four
25     Q. You don’t remember what happened at the United            25 every weekend, you add -- I mean, I’ve sat there and

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 1 added it up and talked to everybody around the office,            1 to us.
 2 it’s like we covered it. You know, somewhere it                   2     A. Videos from where?
 3 happened and we’re into it and then it was just all over          3     Q. From you.
 4 the Internet with debates back and we looked it up and            4     A. No, from after -- after you and other law
 5 went over the videos and maybe there were part of maybe           5 firms lobbied to have us taken off the Internet, which
 6 20 shows or so. And then you look at some were, like,             6 had the index of it on YouTube and other platforms, like
 7 usually 30 minutes to an hour; some were a little                 7 Roku, "Oh, he’s doing it right now. Get it off right
 8 longer. And then you add that to just the 300 and                 8 now. He’s coming after the kids right now," knowing
 9 something days a year we’re on air -- 340 or so, I’d              9 full well that’s not going on.
10 say -- and you look at all that and you add it into all          10           You’re lobbying against the First
11 the shows and everything and it’s just, like, tiny.              11 Amendment and you are then at the same time trying to
12           And then once Hillary announces that it’s              12 take down all of what I really said and then edit things
13 my identity, then the media kind of just took who I was          13 together and that’s the only record. And we went and
14 at InfoWars and applied it to everybody else; and then           14 looked. There’s maybe 20 shows, maybe another probably
15 just the whole thing became this big tornado. And, I             15 50 times callers calling up. That’s what we know of.
16 mean, I -- so in this instance it’s been somewhat more           16 I’m sure there’s more we don’t know about. And we added
17 of me responding to it and things.                               17 all that together with a calculator and we looked at the
18           And then when the media was editing what               18 number and it’s literally not even one -- maybe
19 I was saying to make it look like I was, you know,               19 one-tenth of 1 percent of all the air time we’ve done is
20 making statements that they wanted to be hearing so it           20 Sandy Hook.
21 could be an ongoing thing.                                       21     Q. So you found some shows, 20 something shows
22           And I really woke up when Parkland                     22 with Sandy Hook in it?
23 happened and they said that I was saying nobody died and         23     A. That’s a dead reckoning, but yes.
24 they were all actors. I was like, "Whoa," because I was          24     Q. Why haven’t you given them to me, Mr. Jones?
25 dead clear on that when that happened. I just said they          25           MR. BARNES: Objection and, in fact --
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 1 picked the kids from the drama club that they                     1     A. We have given you everything we could find.
 2 interviewed, saying, "We’re in the drama club, and we’re          2     Q. (BY MR. BANKSTON) Because the truth is you
 3 anti-guns." And I said that they picked good-looking,             3 can’t even search by title, can you? You don’t have an
 4 well-spoken people out of 3,000 who wanted to be the              4 index. You have no idea, correct? You can’t search by
 5 spokespersons against guns. That didn’t mean that the             5 title?
 6 event didn’t happen.                                              6     A. No, but we have -- we -- well, actually, we do
 7           And I did -- we did break that the police               7 have it. It’s Prism planted on tv, and we can search.
 8 stood down, and that’s now come out. I don’t know why             8 And we searched all the names they had in the title, but
 9 they stood down. We did point that out.                           9 that doesn’t mean that a caller didn’t call in and it
10           So I really was like: Whoa. You’re not                 10 didn’t get said somewhere, but we’ve done the best we
11 going to say every mass shooting that happens that I’m           11 can to go through all that stuff.
12 saying it didn’t happen.                                         12     Q. Really? If you go to tvinfowars.com and you
13           MR. BANKSTON: Can you scroll back to my                13 search Sandy Hook Vampires Exposed, that’ll come up?
14 question?                                                        14     A. tv.infowars.com is a defunct URL that pointed
15           (Reporter complies.)                                   15 at Prism planted, not tv.
16           THE WITNESS: That was the scary point                  16     Q. Okay.
17 when every mainstream media was like -- I was like:              17     A. So -- and you know that. We’ve put -- there
18 Wow, these people really are crooks.                             18 was a big deal about that.
19           MR. BANKSTON: Thank you.                               19     Q. Yeah, I just got sent a link that said --
20     Q. (BY MR. BANKSTON) Here’s my question,                     20     A. Okay. Well, let me -- listen. We’ve never --
21 Mr. Jones: How in the world would you know how much              21 we don’t take our stuff down unless Twitter -- because
22 you’ve covered Sandy Hook, one-tenth of 1 per -- 10              22 the lawyers on your side complain and say, "He’s doing
23 percent [sic] when we, the Plaintiffs, have asked you to         23 this. Take it down." And then Twitter doesn’t take
24 produce us every video that has Sandy Hook in the title;         24 your stuff down; they order you to.
25 and you can’t even do that? You haven’t produced those           25     Q. Uh-huh.

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 1     A. Okay? But that’s the same thing as taking it               1     A. Yes, we did. It’s all -- I think that stuff’s
 2 down.                                                             2 saved on their site. The full service is to copy it.
 3     Q. And when that happened, Mr. Dew, when he tried             3 What you’re saying’s not true.
 4 to preserve that, when he deleted that stuff --                   4     Q. And Mr. Dew admits that in his affidavit, that
 5     A. No, we had it preserved when we did it.                    5 InfoWars didn’t save that in its local capture, it
 6     Q. Yeah, but he said in his affidavit he lost                 6 didn’t, right?
 7 user comments, didn’t he?                                         7            MR. BARNES: Objection, calls -- as to
 8     A. Those are us. Twitter’s us, not user                       8 form.
 9 comments.                                                         9     A. I’m not an IT person. I can’t accurately
10     Q. No, I know. There’s user comments on your                 10 answer all that.
11 Twitter threads, and they were lost when you deleted             11     Q. (BY MR. BANKSTON) Okay. So in terms of
12 them, weren’t they?                                              12 whether InfoWars failed to preserve evidence that might
13     A. You guys were the ones lobbying to have me                13 be relevant to this claim, you’re not the right person
14 taken off the Internet.                                          14 to ask?
15     Q. I’m not --- I don’t care about any of that.               15            MR. BARNES: Objection as to form.
16 I’m just asking you: Were those deleted?                         16     A. I mean, I think despite the -- according to
17     A. (No audible response.)                                    17 effort by the media and universally establishment to
18     Q. Those comments are lost and will never be                 18 take all our content offline, we’ve done a pretty good
19 recovered and Mr. Dew admits it.                                 19 job of saving almost all of it at infowars.com and at
20     A. Sandy Hook lobbied to have my Twitter taken               20 prismplay.com. So that’s really not an accurate
21 down. The whole thing was taken down.                            21 statement.
22     Q. I know. And you didn’t do anything to                     22     Q. (BY MR. BANKSTON) But you can’t even search
23 preserve it before that happened, did you?                       23 it by title? You have no idea how many videos have
24     A. Oh, so you get it taken down; and then it’s my            24 Sandy Hook in the title?
25 fault?                                                           25            MR. BARNES: Objection as to form.
                                                              167                                                                 169
 1     Q. No. I’m asking you: When did -- you                        1     Q. (BY MR. BANKSTON) We know there’s videos of
 2 reasonably anticipated litigation the moment you were             2 Sandy Hook in the title that don’t show up on these
 3 sued, right? When you were sued on April of 2018, you             3 planetinfowars searches, right? We know that.
 4 knew that all that information was relevant, right?               4            MR. BARNES: Objection as to form.
 5           MR. BARNES: Objection, calls -- as to                   5     A. There’s no planetinfowars.
 6 form. Also objection to the degree any of the questions           6     Q. (BY MR. BANKSTON) Whatever you want to call
 7 are asking about attorney-client communications, then             7 it, Mr. Jones, you have a video archive that’s up right
 8 you’re instructed not to answer to disclose any                   8 now, right? You have a video archive that’s searchable
 9 information that comes from attorney-client                       9 online. Do you agree or disagree?
10 communications.                                                  10            MR. BARNES: Objection as to form.
11     Q. (BY MR. BANKSTON) Let me ask it a different               11     A. Yes.
12 way, Mr. Jones --                                                12     Q. (BY MR. BANKSTON) Okay. On that archive
13     A. We sent letters to Twitter and to Google                  13 there are videos that have been produced in this lawsuit
14 requesting that they not take us down and that they save         14 with Sandy Hook in the title that are not in that
15 it. When they did, we said, "Please turn it back on or           15 archive?
16 give us the full records."                                       16     A. Well, that’s because you’re getting other
17     Q. Let me make it very clear. After you were                 17 people’s videos offline. Like, you get them from Media
18 sued, the information existed; it was available to you.          18 Matters and then you say that’s our video and then you
19 And then, later, it was deleted; and those comments are          19 want us to produce someone’s edited video.
20 gone. That’s true?                                               20     Q. Sorry, Mr. Jones. When you upload a video to
21           MR. BARNES: Objection as to form.                      21 YouTube, you choose the title, don’t you; or does
22     A. By Twitter. Twitter took the account down.                22 YouTube give you the title?
23     Q. (BY MR. BANKSTON) Right. I understand that.               23     A. I don’t think you understand.
24 So before Twitter took that account down, you took no            24     Q. No. So let’s take an example of a video.
25 efforts to preserve any of that information?                     25 Sandy Hook Narratives, False Narratives Versus the

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 1 Realty, a video that has that title should be showing up          1       Q. What being on the news?
 2 in your archives, right? That’s what you’re saying?               2       A. The helicopter and the man behind the school
 3     A. The vast majority of videos of us are not us.              3 and the report of the guy in the SWAT gear and the
 4 Other people get our videos and then put them together            4 police saying they arrested him, and later they said
 5 with other things. You understand that.                           5 they didn’t.
 6     Q. No, no, Mr. Jones, that’s not what I’m saying.             6       Q. Yeah, two reporters with cameras made reports
 7             Do you have Mr. Zipp’s affidavit in front             7 about that. There’s no man in SWAT gear in that video,
 8 of you? Hold on. No, in fact, Mr. Jones, I don’t need             8 is there? That’s just something you made up.
 9 to make you run back through that. Let’s not even worry           9       A. Nope, I didn’t make it up.
10 about it.                                                        10       Q. So you think you can produce to me a video of
11             I’ve just got a couple more questions for            11 a man in SWAT gear in the woods?
12 you, Mr. Jones. The year before you were sued, you said          12       A. I remember that’s what was being reported on
13 that, "Everything I’ve heard is that the parents weren’t         13 the news.
14 allowed to touch the children." Who did you hear it              14       Q. Okay. So now it’s not you saw it in a video.
15 from, and what did they say?                                     15 Now, it’s somebody else saying it?
16             MR. BARNES: Objection as to form.                    16       A. But I remember seeing a guy and it looked like
17     A. I don’t know the specifics of what you’re                 17 in the video that he was in camo and black.
18 talking about, so I don’t want to state something                18       Q. Okay. First of all, camo and black, what does
19 incorrectly.                                                     19 that mean? He had camo pants on?
20     Q. (BY MR. BANKSTON) Okay. So this statement,                20       A. I mean, I would tend to think that means kind
21 everything you’ve heard is that the parents weren’t              21 of a paramilitary outfit.
22 allowed to touch the children, you can’t comment on that         22       Q. Okay. So anybody you see who has camo pants
23 today?                                                           23 on when you’re walking down the street, you’re like:
24             MR. BARNES: Objection as to the form.                24 That guy’s paramilitary?
25     A. I don’t want to state it exactly -- I want it             25            MR. BARNES: Objection --
                                                              171                                                                173
 1 to be exactly right or I don’t want to state it. So               1       Q. (BY MR. BANKSTON) Is that your belief?
 2 that’s -- I mean, you say everything I’ve heard. I                2            MR. BARNES: Objection as to the form.
 3 don’t know the specifics, but I remember complaints and           3       A. I really -- I told you what my memory is.
 4 things that the parents couldn’t get to their kids until          4       Q. (BY MR. BANKSTON) Is it fair to describe any
 5 they’d been taken later to the morgue and things like             5 gentleman wearing camo pants as being dressed in SWAT
 6 that.                                                             6 gear? Do you think that’s an honest and accurate way to
 7     Q. (BY MR. BANKSTON) Can you show me any one                  7 describe that?
 8 human being in the world who told you the parents                 8            MR. BARNES: Objection as to the form.
 9 weren’t allowed to touch the children?                            9       A. Yeah, I think that’s a fair way to describe
10     A. I believe that was in the newspapers.                     10 it.
11     Q. Okay. What about, "They’re finding people in              11       Q. (BY MR. BANKSTON) Oh, so you -- what I’m
12 the back woods that are dressed up in SWAT gear"?                12 trying to get at, Mr. Jones, is: You don’t think saying
13 That’s not true, is it?                                          13 that a man who is dressed up in SWAT gear found behind
14     A. I saw it on the national news.                            14 the school when he’s not actually wearing any SWAT gear
15     Q. You saw somebody in SWAT gear in the woods?               15 is in any way alarmist or dangerous to say?
16     A. Yeah, black and camouflage. The police                    16            MR. BARNES: Objection as to the form.
17 arrested him and there was a SWAT drill in the area.             17       Q. (BY MR. BANKSTON) Oh, you can answer,
18     Q. No, Mr. Jones. I’m asking you: Did you see a              18 Mr. Jones.
19 video of a man in SWAT gear being arrested?                      19       A. I mean, this is like seven years ago, so I’m
20     A. I saw them -- the helicopter talking about                20 trying to remember. I mean, I remember seeing the guy
21 him, and they said they later arrested a man.                    21 in looked like what I’d call police gear, kind of
22     Q. So when you told your audience he was dressed             22 paramilitary gear. I remember, like, camo and black or
23 up in SWAT gear, that’s just something you made up,              23 something. I’m not -- again, I’m not living this every
24 isn’t it? There’s nobody dressed up in SWAT gear?                24 day. I’m not -- and I -- and I’m very sad for folks,
25     A. I do remember that being on the news.                     25 you know, who have had to go through it and I’m sorry

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 1 for tragedies. And I kind of feel sorry for you having            1 if you were wrong about them, that it would be
 2 to live through it all the time and knowing every detail          2 reasonable to understand that the parents would be very
 3 and every angle and everything else, but I just...                3 upset?
 4     Q. It’s hard.                                                 4            MR. BARNES: Objection as to the form.
 5           Mr. Jones, what we were just talking                    5      A. I am not the only person who questioned Sandy
 6 about, men being arrested in SWAT gear in the woods --            6 Hook, and I legitimately asked those questions because I
 7     A. I don’t think I said "men." If I said that, I              7 had concerns. And I resent the fact that the media and
 8 misspoke.                                                         8 the corporate lawyers and the establishment, the
 9     Q. Okay. Well, even if you said "man" in SWAT                 9 Democratic party, who are trying to make this my
10 gear in the woods, you said that just a year before you          10 identity, brought it up, constantly repeated it, tricked
11 were sued. That’s not seven years ago, is it?                    11 me into debating it with them so that they could say
12     A. I was going over why people had -- the                    12 that I was injuring people. And I see the parties that
13 anomalies -- some accurate, some not accurate -- why             13 continually bring this up and drag these families
14 people had questions.                                            14 through the mud as the real villains, the conscious
15     Q. Yeah, but it’s real recent, Mr. Jones. This               15 villains attempting to shore up the First Amendment in
16 thing about, "Oh, it was seven years ago, I can’t" --            16 the process. I do not consider myself to be that
17 that was just three --                                           17 villain.
18     A. I questioned Jussie Smollett just the day it              18            I could have done a better job, in
19 happened.                                                        19 hindsight, and I’ve apologized for that; but I’ve seen
20     Q. And now --                                                20 the very same corporate media and lawyers continue to
21     A. That was just like a month ago.                           21 say that I’m saying all these things and exaggerating
22     Q. Exactly. And you know about that. You have                22 and using it against the First Amendment and I think
23 no memory problems there.                                        23 that’s very dangerous and despicable.
24     A. I’m proud of it.                                          24      Q. Mr. Jones, do you think I’m a corporate
25     Q. You just have memory problems when it comes to            25 lawyer?
                                                              175                                                                 177
 1 Sandy Hook?                                                       1      A. Well, I know full well that when Hillary
 2     A. Well, seven years from now the specifics of,               2 Clinton lost the election is when all this started. And
 3 like, if I’ve done 20 broadcasts on it --                         3 I’m like, "Hey, I think Sandy Hook happened." And you
 4     Q. Mr. Jones, this isn’t seven years ago. I’m                 4 and others continually are in the news; and I remember
 5 asking you about 2017.                                            5 first in this lawsuit you were like, "All Jones needs to
 6     A. I know; but is it okay to question Jussie                  6 do is say he’s sorry to some parents." I’m like: I am
 7 Smollett, or was that act evil?                                   7 sorry that this has all been out of context and that
 8     Q. Mr. Jones, I’m asking you about 2017. Was                  8 your kids died, and that was all ignored. So I’ve seen
 9 2017 so long ago it’s hard for you to remember?                   9 the real disingenuousness and the fact that this is all
10           MR. BARNES: Objection as to the form.                  10 just a cold-blooded, you know, fit because Hillary lost
11     A. I have gone over the anomalies, and I remember            11 the election.
12 seeing that footage and I -- that’s why people                   12      Q. So do you think I work for Hillary Clinton or
13 questioned.                                                      13 something or George Soros gives me money or something
14     Q. (BY MR. BANKSTON) Who was involved in fact-               14 like that?
15 checking those anomalies? Tell me all the employees who          15      A. Well, I mean, I know this: When Hillary lost,
16 would be involved in that.                                       16 the light switch went on. I’d never been sued, and I
17     A. All right. I think myself and Rob Dew and a               17 got sued a bunch.
18 few others. Like I said, normally, we’re just reporting          18            And then you’ve got all the corporate
19 on news that’s already out there. I’d say 98, 99                 19 media --
20 percent, it’s just going: Hey, look this just happened.          20      Q. Wait, wait, wait.
21 Trump just said this. Hillary just said that. What do            21      A. -- working in tandem. And I know you’re
22 you think?                                                       22 working with a Connecticut case and doing all that and
23     Q. Okay, Mr. Jones. You will admit to me that of             23 triangulating all that stuff. So let’s not -- let’s
24 all these things that you have said, all the factual             24 not -- and there’s going to be some other things coming
25 claims you’ve made about Sandy Hook over the years, that         25 down the road where all that will come out.

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 1      Q. When were you sued?                                       1 vitality and fluoride-free toothpaste and everything
 2      A. I think it was early last year.                           2 else.
 3      Q. Yeah, like a year and a half after Hillary                3     A. Well, if we’re talking about WMDs --
 4 Clinton lost, right?                                              4     Q. Hold on, Mr. Jones. And then you put that
 5      A. But they hadn’t -- but they hadn’t ever put               5 back down and you pick up the news and you start talking
 6 the final report out. You needed the report because               6 about it in the same video, correct?
 7 they never would put the report out.                              7            MR. BARNES: Objection as to form.
 8      Q. What report?                                              8     A. Well, it’s like saying the Super Bowl goes
 9      A. The report came out a month before you sued               9 to -- and then the Super Bowl has Budweiser ads on the
10 me.                                                              10 walls.
11      Q. Okay, Mr. Jones. Wait. What report, who --               11     Q. (BY MR. BANKSTON) Yeah, NBC makes money off
12 what --                                                          12 of its broadcasting, doesn’t it?
13      A. The official Sandy Hook report.                          13     A. But, technically, that’s not how -- our
14      Q. What entity issued this report?                          14 advertising is separate from what is going on during the
15      A. It was put out by the local, state, and                  15 program. We don’t do product placement. And so, no,
16 federal government.                                              16 the answer is: Sandy Hook, before I was ever sued, lost
17      Q. So you are going to sit here today and deny              17 money.
18 that there has been an official Sandy Hook report, books         18            9/11 Truth lost me almost all my radio
19 of it, online since December of 2013?                            19 stations and lost money.
20      A. Oh, there have been some redacted reports put            20            Those type of really controversial
21 out; but it was a big deal in -- it went up to the               21 stands, people don’t like them; and they have crippled
22 Connecticut Supreme Court. It’s a hugely litigated               22 us before these lawsuits. And, I mean, in fact, we look
23 situation of this thing being so suppressed.                     23 back and you can see where we’re talking about Sandy
24      Q. Okay. So you and your attorney have appeared             24 Hook and the listeners and everything goes down.
25 on your show to talk about this entire lawsuit being a           25     Q. I mean, and really, if we look at this at the
                                                              179                                                                 181
 1 conspiracy against you to take you down?                          1 end of the day, I mean, really you’re the victim, aren’t
 2            MR. BARNES: Objection as to form.                      2 you?
 3      Q. (BY MR. BANKSTON) Correct?                                3     A. No, but I’ve certainly learned a lot in the
 4      A. It’s a conspiracy, as Clarence Thomas admits,             4 process.
 5 to get rid of New York Times versus Sullivan.                     5     Q. You’ve learned how not to be a reckless
 6      Q. And you’ve called me and members of my law                6 journalist, right?
 7 firm devil people, correct?                                       7            MR. BARNES: Objection as to form.
 8      A. Not specifically, no.                                     8     A. Well, I think certainly I have experienced
 9      Q. Okay. You’ve made money from every single one             9 real fake news, watching the corporate media lie in my
10 of these broadcasts we saw today, right?                         10 name and put things out that I never did, in a concerted
11      A. No. We actually lose money on really                     11 effort. So I’ve learned what I -- certainly the polar
12 controversial stuff. We can actually see it.                     12 opposite of what I want to be because I’ve never
13      Q. Oh, so you can produce that to me? You have              13 consciously tried to lie or hurt people.
14 data on that?                                                    14            And I did not make money off saying 9/11
15      A. Absolutely. We’d love to.                                15 was an event where we allowed Saudis to attack us.
16      Q. Okay. And you have supplements you sell, too,            16 That’s now come out. I lost 127 something stations. I
17 with these videos, correct?                                      17 went down to about 30.
18      A. No, no. The advertisement’s separate from the            18            A lot of stations dumped us when we were
19 news.                                                            19 talking about Sandy Hook. So if the statement is I say
20      Q. Well, I mean, in these news broadcasts, you              20 these things and do these things to make money, that is
21 advertise the sale of supplements, right?                        21 not what we are doing. Money coming in is to fund the
22      A. The two don’t go together.                               22 operation, to promote really questioning things, and to
23      Q. How do you mean they don’t go together?                  23 build an alternative system. And it doesn’t mean then
24 You’re talking about the news and you put the news down          24 when you’re being an alternative system that you’re
25 and all of a sudden you’re talking Bone Broth and male           25 perfect, but that’s basically where I stand on that.

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 1      Q. Okay. I just do want to make sure. It’s not               1 why has the mainstream media lied so much, why our
 2 a nonprofit situation; you’re not doing this for the              2 Government’s lied so much, the fact that the public
 3 charity of your own heart?                                        3 doesn’t believe what they’re told anymore, and are we
 4      A. No, I’m not like the nonprofits, the whole                4 going to criminalize questioning Jussie Smollett or WMDs
 5 conspiracy where they’re buying the college admissions            5 or babies in incubators. And it really is the fact that
 6 and they call that a charity or Hillary’s foundation,             6 we’ve allowed the Government and institutions to become
 7 no, I’m not running anything like that.                           7 so corrupt that people have lost any compass of what’s
 8      Q. I have no idea what you’re talking about,                 8 real.
 9 Mr. Jones.                                                        9            And I, myself, have almost had like a
10      A. Where these people make millions of dollars on           10 form of psychosis back in the past where I basically
11 their tax-free charities, I don’t do that.                       11 thought everything was staged, even though I’m now
12      Q. Okay. So --                                              12 learning a lot of times things aren’t staged. So I
13      A. You were asking me if I was running a                    13 think as a pundit, someone giving an opinion, that, you
14 nonprofit scam; and the answer is "no." What I do is I           14 know, my opinions have been wrong; but they were never
15 pay taxes.                                                       15 wrong consciously to hurt people.
16             MR. BANKSTON: Mr. Jones, I think we’re               16            And so I think it’s part of that process
17 about wrapped up today if you could give me just a small         17 of me growing up in Rockwall, Texas and watching the
18 break to make sure that we’re all wrapped up, I think            18 police deal drugs and then conduct anti-drug programs in
19 we’ve got about 45 minutes left in the day; but I’m not          19 the school, I think that shook my opinion of police in
20 going to use it for you. I’m going to let you get out            20 general. And I was very anti-law enforcement until I
21 of here.                                                         21 grew up and learned more things, and now I’m pretty much
22             THE WITNESS: I’m happy to.                           22 pro police. So it’s been a process.
23             MR. BANKSTON: I mean, hey, if you want               23      Q. (BY MR. BANKSTON) You said false things about
24 to stick around and talk, we can talk; but we might need         24 Sandy Hook because it was psychosis?
25 to do that off the record. We might not need to put              25      A. I --
                                                              183                                                                 185
 1 that on the testimony, but I’m happy to do that. But              1            MR. BARNES: Objection as to the form.
 2 let’s take just a quick break, and why don’t ya’ll give           2      Q. (BY MR. BANKSTON) Correct?
 3 us about five minutes?                                            3      A. Well, I’m just saying that the trauma of the
 4            MR. BARNES: Okay.                                      4 media and the corporations lying so much, then
 5            THE VIDEOGRAPHER: We’re off the record,
                                                                     5 everything begins -- you don’t trust anything anymore,
 6 4:14 p.m.
                                                                     6 kind of like a child whose parents lie to them over and
 7            (Off the record from 4:14 to 4:28 p.m.)
                                                                     7 over again, well, pretty soon they don’t know what
 8            THE VIDEOGRAPHER: We’re back on the
                                                                     8 reality is.
 9 record at 4:28 p.m.
10     Q    (BY MR. BANKSTON) There’s a couple of things
                                                                     9            So long before these lawsuits I said that
11 I was curious about, Mr. Jones. Do you think that                10 in the past I thought everything was a conspiracy and I
12 there’s a question that I should have asked you today in         11 would kind of get into that mass group think of the
13 deposition that I didn’t?                                        12 communities that were out there saying that. And so now
14     A. That’s a good question. What question you                 13 I see that it’s more in the middle. All right? So
15 should have asked me. I can’t think of any.                      14 that’s where I stand.
16     Q. Okay, Mr. Jones. You would agree with me that             15      Q. (BY MR. BANKSTON) And I’m little concerned
17 when some damage happens, when you break something, when         16 about something I heard in your answer, that it seemed
18 you cause something to be lost, when you hurt somebody,          17 to be you suggesting that you weren’t sure if these
19 whether it’s intentional or whether it’s a mistake,              18 parents have suffered pain from what you did.
20 there’s consequences for that, right? People should be
                                                                    19      A. Well, I was stating that I was reporting on
21 accountable for the people they hurt?
                                                                    20 the general questioning when others were questioning.
22            MR. BARNES: Objection as to form.
                                                                    21 And, you know, it’s painful that we have to question big
23     A. Well, sometimes people claim they’ve been hurt
                                                                    22 public events. I think that’s an essential part of the
24 when they haven’t been. So you have to look at the
25 agenda behind things. You have to balance things about           23 First Amendment in America. And I do not take
                                                                    24 responsibility for the entire train of things that
                                                                    25 lawyers and the media have said I’ve done. So I do not

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 1 take the responsibility. I do not take your indictment            1           THE VIDEOGRAPHER: We’re off the record
 2 or your presumed conviction of me as the villain or the           2 at 4:33 p.m.
 3 star of Homeland because that’s not who I am. And so I            3           (Exhibit 12 marked.)
 4 reject it.                                                        4           (Deposition adjourned at 4:33 p.m.)
 5     Q. Saying, "The school is closed and was closed               5
 6 for years," that’s not questioning. That’s a statement            6
 7 of fact, Mr. Jones, isn’t it?                                     7
 8              MR. BARNES: Objection as to the form.                8
 9     A. I was going off what other people were saying              9
10 and the fact that the records were not forthcoming and           10
11 the Hartford Current headlined: Why is There a                   11
12 Cover-up? Why Aren’t There Documents Being Released?             12
13 Why is it Taking so Long?                                        13
14     Q. (BY MR. BANKSTON) "The EMTs weren’t allowed               14
15 in the building," that’s not a question, Mr. Jones.              15
16 That’s a statement, correct?                                     16
17              MR. BARNES: Objection as to the form.               17
18     A. Again, that was my going off what someone else            18
19 who I believed to be a credible expert was saying.               19
20     Q. (BY MR. BANKSTON) Mr. Jones, are you finally              20
21 prepared to admit that you have, indeed, caused these            21
22 families a substantial amount of pain? Are you prepared          22
23 to admit that?                                                   23
24     A. I am not prepared to sign on to whatever you              24
25 and the mainstream media make up about me.                       25
                                                              187                                                             189
 1              MR. BANKSTON: All right, Mr. Jones.                  1            CHANGES AND SIGNATURE
 2 That will have to be it. I will see you next time.                2   WITNESS NAME:           DATE OF DEPOSITION:
                                                                     3   ALEX E. JONES           March 14, 2019
 3              MR. BARNES: One thing I was going to do
                                                                     4   PAGE/LINE CHANGE              REASON
 4 is just put this on record, just to make it -- the                5   ________________________________________________________
 5 confidentiality part. Is that okay?                               6   ________________________________________________________
 6              MR. BANKSTON: Oh, yeah, that’s stating               7   ________________________________________________________
 7 you’re designating on the trial court?                            8   ________________________________________________________
 8              MR. BARNES: Yes.                                     9   ________________________________________________________
                                                                    10   ________________________________________________________
 9              MR. BANKSTON: Please go ahead.
                                                                    11   ________________________________________________________
10              MR. BARNES: So what we have is a                    12   ________________________________________________________
11 Protective Order for the 30 days following any                   13   ________________________________________________________
12 deposition, that the parties must treat all of the               14   ________________________________________________________
13 deposition testimony and the exhibits and other                  15   ________________________________________________________
14 documents produced at any deposition as attorneys’ eyes          16   ________________________________________________________
                                                                    17   ________________________________________________________
15 only and so they’re marked confidential until that time.
                                                                    18   ________________________________________________________
16 Thank you.                                                       19   ________________________________________________________
17              MR. ENOCH: So no designation of                     20   ________________________________________________________
18 confidentiality is being made today. We’ll look at it.           21   ________________________________________________________
19              MR. BANKSTON: Absolutely. The whole                 22   ________________________________________________________
20 thing’s confidential right now.                                  23   ________________________________________________________
                                                                    24   ________________________________________________________
21              MR. ENOCH: That is the order, and we
                                                                    25   ________________________________________________________
22 have 30 days to designate confidential thereafter.
23              MR. BANKSTON: Absolutely.
24              MR. ENOCH: Very well.
25              MR. BANKSTON: Okay. I think we’re done.

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 1   ________________________________________________________          1         BY MR. BANKSTON:
                                                                       2         BY MR. ENOCH:
 2   ________________________________________________________
                                                                       3         BY MR. OGDEN:
 3            I, ALEX E. JONES, have read the foregoing                4         BY MR. BARNES:
 4   deposition and hereby affix my signature that same is             5           That pursuant to information given to the
 5   true and correct, except as noted herein.                         6 deposition officer at the time said testimony was taken,
                                                                       7 the following includes counsel for all parties of
 6
                                                                       8 record:
 7                   _______________________________                   9 COUNSEL FOR PLAINTIFF:
                     ALEX E. JONES                                    10         KASTER LYNCH FARRAR & BALL, LLP
 8                                                                               1010 Lamar, Suite 1600
                                                                      11         Houston, Texas
 9
                                                                                 (T) 713.221.8300
10   THE STATE OF __________ )                                        12           By: Mark D. Bankston, Esq.
11             BEFORE ME, _______________________, on                                 mark@fbtrial.com
12   this day personally appeared ALEX E. JONES, known to me          13                    AND
13   (or proved to me under oath or through ______________)                           William Ogden, Esq.
                                                                      14
14   (description of identity card or other document) to be
                                                                      15 COUNSEL FOR DEFENDANTS:
15   the person whose name is subscribed to the foregoing             16         GLAST, PHILLIPS & MURRAY, P.C.
16   instrument and acknowledged to me that they executed                        14801 Quorom Drive, Suite 500
17   same for the purposes and consideration therein                  17         Dallas, Texas
                                                                                 (T) 972.419.8300
18   expressed.
                                                                      18            By: Mark Enoch, Esq.
19             Given under my hand and seal of office on                               mkenoch@gpm-law.com
20   this, the ________ day of _________________, _________.          19
21                                                                                       AND
                                                                      20
22
                                                                                BARNES LAW, LLP                     (PRO HAC VICE)
23                   _______________________________                  21        601 South Figueroa St., Suite 4050
                     NOTARY PUBLIC IN AND FOR                                   Los Angeles, California
24                   THE STATE OF __________________                  22        (T) 213.294.3006
                                                                                    By: Robert E. Barnes, Esq.
                     My Commission Expires:_________
                                                                      23                barneslaw@barneslawllp
25                                                                    24            I further certify that I am neither
                                                                      25   counsel for, related to, nor employed by any of the

                                                                191                                                                  193
1              CAUSE NO. D-1-GN-18-006623                              1 parties or attorneys in the action in which this
2     SCARLETT LEWIS           * IN THE DISTRICT COURT OF              2 proceeding was taken, and further that I am not
        Plaintiff      *
                                                                       3 financially or otherwise interested in the outcome of
3                    *
                                                                       4 the action.
                     *
4     VS.              * TRAVIS COUNTY, TEXAS
                                                                       5              Further certification requirements
                     *                                                 6 pursuant to Rule 203 of TRCP will be certified to after
5     ALEX E. JONES, INFOWARS, *                                       7 they have occurred.
      LLC, AND FREE SPEECH        *                                    8              Certified to by me this day, March 25,
6     SYSTEMS, LLC,          *                                         9 2019.
        Defendants        * 53RD JUDICIAL DISTRICT                    10
7
                                                                      11
8
                                                                                          _________________________________
              REPORTER’S CERTIFICATION
9                                                                     12                  Debbie D. Cunningham, CSR
             ORAL/VIDEOTAPED DEPOSITION                                                   Texas CSR 2065
10                 OF                                                 13                  Expiration: June 30, 2021
               ALEX E. JONES,                                                             INTEGRITY LEGAL SUPPORT SOLUTIONS
11                                                                    14                  3100 West Slaughter Lane, Suite A-101
              Taken on March 14, 2019
                                                                                          Austin, Texas 78748
12
                                                                      15                  www.integrity-texas.com
13             I, Debbie D. Cunningham, Certified
14   Shorthand Reporter in and for the State of Texas, hereby
                                                                                          512-320-8690; FIRM # 528
15   certify to the following:                                        16
16             That the witness, ALEX E. JONES, was duly              17
17   sworn by me, and that the transcript of the oral                 18
18   deposition is a true record of the testimony given by            19
19   the witness;                                                     20
20             That the deposition transcript was
                                                                      21
21   submitted on __________________________ to the witness
                                                                      22
22   or to the attorney for the witness for examination,
23   signature, and return to me by ____________________;             23
24             That the amount of examination time used               24
25   by each party at the deposition is as follows:                   25


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 1       FURTHER CERTIFICATION UNDER RULE 203, TRCP
 2     The original deposition/errata sheet was / was not
 3 returned to the deposition officer on _________________;
 4     If returned, the attached Changes and Signature
 5 page contains any changes and the reasons therefor;
 6     If returned, the original deposition was delivered
 7 to MR. BANKSTON, Esq., Custodial Attorney;
 8     That $___________ is the deposition officer’s
 9 charges to the Plaintiff for preparing the original
10 deposition transcript and copies of exhibits, if any;
11     That the deposition was delivered in accordance
12 with Rule 203.3, and that a copy of this certificate was
13 served on all parties shown herein on __________________
14 and filed with the Clerk.
15     Certified to by me on _______________________.
16
17
18
                _________________________
19              Debbie D. Cunningham, CSR
                Texas CSR 2065
20              Expiration: June 30, 2021
                INTEGRITY LEGAL SUPPORT SOLUTIONS
21              3100 West Slaughter Lane, Suite A-101
                Austin, Texas 78748
22              www.integrity-texas.com
                512-320-8690; FIRM # 528
23
24
25




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   From: Paul Joseph Watson <watson-paul3@sky.com>
      To: Buckley <buckley@infowars.com>, "anthony@infowars.com" <anthony@infowars.com>
 Subject: Sandy Hook
    Date: 2015-12-17 21:15:38 +0000


Sent this to Alex.

This Sandy Hook stuff is killing us. It's promoted by the most batshit crazy people like Rense and Fetzer who all hate us anyway. Plus it
makes us look really bad to align with people who harass the parents of dead kids. It's gonna hurt us with Drudge and bringing bigger
names into the show. Plus the event happened 3 years ago, why even risk our reputation for it?

Sent from my iPhone




                                                                                                                            FSSTX-027752
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                          CAUSE NO. D-1-GN-18-006623

         SCARLETT LEWIS                    *   IN THE DISTRICT COURT OF
            Plaintiff                      *
                                           *
                                           *
         VS.                               *   TRAVIS COUNTY, TEXAS
                                           *
         ALEX E. JONES, INFOWARS,          *
         LLC, AND FREE SPEECH              *
         SYSTEMS, LLC,                     *
            Defendants                     *   53RD JUDICIAL DISTRICT


                        ORAL/VIDEOTAPED DEPOSITION

                                         OF

                                ROBERT JACOBSON

                           Wednesday, March 20, 2019



                   ORAL/VIDEOTAPED DEPOSITION OF ROBERT JACOBSON,

      produced as a witness at the instance of the Plaintiff,

      and duly sworn, was taken in the above-styled and

      numbered cause on Wednesday, March 20, 2019, from

      12:01 p.m. to 1:55 p.m., before Debbie D. Cunningham,

      CSR, reported via Machine Shorthand at the offices of

      Kirker Davis, LLP, 8310-1 N. Capital of Texas Highway,

      #350, Austin, Texas 78731, pursuant to the Texas Rules

      of Civil Procedure and/or any provisions stated on the

      record or attached hereto.
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                                                         2                                                               4
 1              APPEARANCES                                   1        (Wednesday, March 20, 2019, 12:01 p.m.)
 2
 3 COUNSEL FOR PLAINTIFF:
                                                              2              PROCEEDINGS
 4      KASTER LYNCH FARRAR & BALL, LLP                       3           THE VIDEOGRAPHER: We are on the record
        1010 Lamar, Suite 1600                                4 for the videotaped deposition of Robert Jacobson taken
 5      Houston, Texas
        (T) 713.221.8300
                                                              5 on Wednesday, March 20th, 2019. The time is
 6         By: Mark D. Bankston, Esq.                         6 approximately 12:01 p.m.
              mark@fbtrial.com                                7           Will the court reporter please swear in
 7                  AND
                                                              8 the witness?
              William Ogden, Esq. (VIA PHONE)
 8                                                            9                ROBERT JACOBSON,
 9 COUNSEL FOR DEFENDANTS:                                   10     having been duly sworn, testified as follows:
10      GLAST, PHILLIPS & MURRAY, P.C.
                                                             11                EXAMINATION
        14801 Quorom Drive, Suite 500
11      Dallas, Texas                                        12 BY MR. BANKSTON:
        (T) 972.419.8300                                     13     Q. Good afternoon, Mr. Jacobson. Can you
12         By: Mark Enoch, Esq.
                                                             14 introduce yourself for our record?
              mkenoch@gpm-law.com
13                                                           15     A. I am Robert Jacobson.
14                                                           16     Q. Okay.
15 VIDEOGRAPHER:
                                                             17           MR. ENOCH: Mark, I’d like to ask a
        Joe Bazan
16                                                           18 couple of questions and make a comment real quickly.
17                                                           19           MR. BANKSTON: I don’t think you’ve been
18
                                                             20 given any orders from the Court to do any discovery.
19
20                                                           21 So, no, Mr. Enoch, you’re not asking this witness any
21                                                           22 questions.
22
                                                             23           MR. ENOCH: Mr. Jacobson --
23
24                                                           24           MR. BANKSTON: Mr. Enoch --
25                                                           25           MR. ENOCH: -- were you served with a
                                                         3                                                               5
 1                INDEX                                       1 subpoena?
 2                                                            2           MR. BANKSTON: Mr. Enoch, please point me
 3 APPEARANCES                           2                    3 to the order in which you’ve been allowed to do any
 4                                                            4 discovery or take any questions of any witness. Point
 5 EXAMINATION OF ROBERT JACOBSON:
                                                              5 me to it, Mr. Enoch.
 6 BY MR. BANKSTON                         4
                                                              6           MR. ENOCH: Please do not --
 7
                                                              7           MR. BANKSTON: Right now, point me to it.
 8
                                                              8           MR. ENOCH: Please do not interrupt.
 9 REPORTER’S CERTIFICATE                     86
10                                                            9           MR. BANKSTON: Then you’re going to --
11                                                           10 Mr. Enoch, stop talking to the witness.
12                                                           11           MR. ENOCH: Mr. Jacobson --
13             EXHIBIT INDEX                                 12           MR. BANKSTON: Mr. Enoch, this deposition
14 Exhibit Number Description              Page              13 will be suspended; and I will seek sanctions if you
15 Exhibit 1 Non-Disclosure Agreement        10              14 speak one more time to this witness.
16 Exhibit 2 12/17/18 Mark Enoch letter to 23                15           MR. ENOCH: Mr. Jacobson, have you been
            Robert Jacobson                                  16 served with a deposition subpoena?
17
                                                             17           MR. BANKSTON: Mr. Enoch, we’re going off
   Exhibit 3 Video clip              55
                                                             18 the record. We’re done. The deposition’s done.
18
                                                             19           MR. ENOCH: We are not going off the
19
                                                             20 record.
20
21                                                           21           MR. BANKSTON: The deposition is
22                                                           22 suspended.
23                                                           23           MR. ENOCH: We are not going off the
24                                                           24 record.
25                                                           25           MR. BANKSTON: You have no ability to

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                                                        Robert      Exhibit B contd.
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 1 take any testimony, Mr. Enoch. None. Zero.                    1            MR. BANKSTON: You sent him a letter
 2           MR. ENOCH: Mr. Bankston, I suggest                  2 telling him what his confidentiality agreements are,
 3 instead of getting emotional about it, if you’d let me        3 telling him to observe them. You have already had these
 4 ask this question --                                          4 communications with this witness. You have no reason to
 5           MR. BANKSTON: No, we’re not going to                5 ask this witness any questions today. The Court has not
 6 allow you any questions, Mr. Enoch.                           6 granted your client any discovery whatsoever, and you
 7           MR. ENOCH: Please don’t interrupt me                7 will stop interfering with this deposition. You have no
 8 again.                                                        8 reason to be asking this client about confidentiality
 9           MR. BANKSTON: Mr. Enoch, you have no                9 when you have already informed him of his obligations.
10 right to ask your questions. Before you ask that             10            MR. ENOCH: Mr. Bankston, I’m going to
11 question -- a single question to that witness again,         11 ask the question; and if you instruct him not to
12 direct me to what authority you think you have to --         12 answer --
13           MR. ENOCH: Did you serve a subpoena on             13            MR. BANKSTON: I don’t represent this
14 this witness?                                                14 witness.
15           MR. BANKSTON: I don’t -- I served a                15            MR. ENOCH: Mr. Jacobson, did you receive
16 Notice of Deposition on this witness.                        16 a letter from me in December or so advising of my
17           MR. ENOCH: Sir, if you didn’t serve a              17 client’s insistence that you maintain confidentiality
18 subpoena, he’s under an NDA and a confidentiality            18 under your agreement which you reached with Alex Jones
19 agreement. He is not excused from that. You did not          19 and with Free Speech?
20 provide him with an order from this Court. He cannot         20            THE WITNESS: I don’t recall.
21 testify today. You should have served him with a             21            MR. ENOCH: Okay. Do you still have
22 subpoena, and you did not.                                   22 those confidentiality and non-disclosure agreements?
23           MR. BANKSTON: Do you want to take this             23            THE WITNESS: I don’t recall. I don’t --
24 up with the judge --                                         24 I have -- since traumatic -- since whatever happened to
25           MR. ENOCH: No, sir.                                25 me at work, my files have been scattered around. I’d
                                                            7                                                                9
 1           MR. BANKSTON: -- or are you going to let            1 also like to add that that non -- that NDA was forced
 2 him testify today?                                            2 upon me after employment with Alex for over eight
 3           MR. ENOCH: That’s what I want to talk               3 years --
 4 with this witness about.                                      4            MR. ENOCH: Sir --
 5           MR. BANKSTON: You’re not going to talk              5            THE WITNESS: -- on the record.
 6 to him about it.                                              6            MR. ENOCH: Sir, you can -- I’m not
 7           MR. ENOCH: Well --                                  7 arguing with you.
 8           MR. BANKSTON: You don’t have the ability            8            MR. BANKSTON: Mr. Enoch, you --
 9 to do discovery. I’m going to ask this witness                9 objection.
10 questions. If you --                                         10            You’ve already done what you said you
11           MR. ENOCH: Mr. Bankston --                         11 were going to do. Don’t start have conversations with
12           MR. BANKSTON: If you instruct him not to           12 the witness. Don’t do it. Don’t influence his
13 answer and try to prevent this deposition from               13 testimony, Mr. Enoch.
14 happening, I will take it up to the Court.                   14            MR. ENOCH: Mr. Bankston, please stop
15           MR. ENOCH: Mr. Bankston, you are the one           15 interrupting me.
16 preventing me from asking any questions.                     16            MR. BANKSTON: Well, then I will put --
17           MR. BANKSTON: I am.                                17 first, before you ask your question --
18           MR. ENOCH: Then do what you need to do,            18            MR. ENOCH: Rule 99 --
19 sir.                                                         19            MR. BANKSTON: I object to the record --
20           MR. BANKSTON: That’s what we’re gonna              20 I object; and my objection is to the form of your
21 do.                                                          21 question.
22           MR. ENOCH: I’m going to make sure this             22            MR. ENOCH: Very well.
23 witness knows of his obligations under the                   23            Mr. Jacobson, are you familiar with the
24 non-disclosure agreement and confidentiality agreement       24 requirements in the documents that you signed that you
25 that he signed. Are you going to --                          25 maintain confidentiality unless you are subpoenaed or

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 1 ordered by the Court?                                           1 started, sir? Sir, I don’t have any representation
 2           THE WITNESS: I’m familiar with the                    2 here. When was my employment started? When was the
 3 action that was forced upon me after being employed by          3 first day I started working?
 4 him, with language in that NDA which includes things            4           MR. BANKSTON: Mr. Jacobson, let’s stop
 5 like "the known universe" and stuff. It’s garbage, and          5 for a second.
 6 I --                                                            6           (Simultaneous speakers.)
 7           MR. ENOCH: So you’re not --                           7           MR. BANKSTON: Mr. Enoch, stop. We’re
 8           THE WITNESS: No, no, I am not aware                   8 going off the record right now. We’re calling the
 9 of -- I know that it was forced upon me. I was employed         9 Court.
10 by Alex for over eight years, and they forced it upon          10           MR. ENOCH: Very well.
11 me. I was a -- so I don’t know where it is. I don’t            11           THE VIDEOGRAPHER: Off the record at
12 know what the language is, and I don’t recall anything.        12 12:07 p.m.
13           MR. ENOCH: I’d like to mark as an                    13           (Off the record from 12:07´to 12:08´p.m.)
14 exhibit, please, madam --                                      14            (The following is only on the
15           (Exhibit 1 marked.)                                  15          stenographic record:
16           MR. BANKSTON: Object to any exhibits                 16           THE REPORTER: Do you want the telephone
17 being offered by you.                                          17 conversation on the record?
18           Mr. Enoch, what are you doing? Let’s                 18           MR. BANKSTON: No, ma’am, you can go off
19 just talk. What do you think you’re doing?                     19 the record.
20           MR. ENOCH: I want to make sure --                    20           MR. ENOCH: No, I do not agree to go off
21           MR. BANKSTON: You’re not questioning                 21 the record.
22 this witness anymore.                                          22           MR. BANKSTON: Apparently they’re
23           MR. ENOCH: Mr. Bankston --                           23 transcribing this phone call.
24           MR. BANKSTON: This is not your                       24           MR. OGDEN: The court administrator?
25 deposition. You have no ability to do discovery. I’ve          25           MR. BANKSTON: Excuse me. If that’s to
                                                             11                                                                 13
 1 had extraordinary patience with allowing you to ask             1 the court administrator, yeah, can you give me Elissa or
 2 questions of the witness to ascertain whether he knows          2 Tiffaney’s number?
 3 there’s a confidentiality agreement. I will also be             3           MR. OGDEN: Sure. Elissa is 512.854 --
 4 asking him about that same confidentiality agreement.           4           MR. BANKSTON: No, keep the video on and
 5           Now that that’s been done, you have no                5 put it on Mr. Enoch.
 6 reason to be questioning him. The only reason you’re            6           854 --
 7 doing it is to influence this witness. That’s literally         7           MR. OGDEN: 9366.
 8 the only reason you’re doing it. I consider what you’re         8           MR. BANKSTON: -- 66. Thank you.)
 9 doing highly improper; and I am asking you once again:          9           THE VIDEOGRAPHER: On the record at
10 Knock this off, Mr. Enoch. What are you do?                    10 12:08 p.m.
11           MR. ENOCH: Mr. Jacobson, do you                      11           (Phone ringing followed by a recording
12 recognize Exhibit Number 1?                                    12 stating: Please leave a message for Elissa Hogan.
13           THE WITNESS: I don’t have any recall of              13 After the tone, please record your message.)
14 this exhibit.                                                  14           MR. BANKSTON: Have you got a separate
15           MR. ENOCH: Would you look at your                    15 number for Tiffaney?
16 signature on the last page and please identify that?           16           MR. OGDEN: Yes. 512.854.7278.
17           MR. BANKSTON: We need to go off the                  17           (Phone ringing followed by a recording
18 record and call the Court right now, Mr. Enoch --              18 stating: Please leave a message for Tiffaney Gould.)
19           MR. ENOCH: Do you recognize your                     19           MR. BANKSTON: All right. For the
20 signature?                                                     20 record’s purposes, I have attempted to --
21           MR. BANKSTON: -- and Mr. Jacobson.                   21           MR. OGDEN: Mark -- sorry -- try the
22           THE WITNESS: I -- I want you to notice               22 court administration.
23 the date.                                                      23           MR. BANKSTON: All right. Well, no.
24           MR. ENOCH: Did you --                                24 That’s a totally different office, Bill. That’s Judge
25           THE WITNESS: When was my employment                  25 Livingston’s court administration office.

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 1           MR. OGDEN: Well, right now --                          1 about this document is to show his signature. Now that
 2           MR. BANKSTON: Okay. Go back on mute.                   2 I’ve shown it to him, you may go ahead and question him.
 3           For the record, I have attempted to call               3 Under Rule 199 I don’t know of anything that prevents me
 4 the Court on an emergency basis. I have been unable to           4 from asking questions out of order, sir. Are you aware
 5 get ahold of Staff Attorney Elissa Hogan or Court                5 of anything?
 6 Coordinator Tiffany Gould.                                       6            MR. BANKSTON: Yeah, I am, actually.
 7           I have properly Noticed this deposition.               7            MR. ENOCH: The parties may attend and
 8 I am entitled to question the witness first. I’m                 8 ask questions.
 9 entitled to question the witness about the topics that           9            MR. BANKSTON: I actually agreed -- I
10 the Court ordered that I am allowed to question him on.         10 actually am aware of it under Chapter 26 of the Remedy
11           Mr. Enoch did not Notice this deposition.             11 Code. You have no right to conduct the deposition; only
12 He is not entitled to question the witness first. While         12 I do.
13 I attempted to stop him from this highly improper               13            MR. ENOCH: I disagree with that; and
14 conduct, he completely ignored me and continued to              14 rather than talk about it now --
15   question the witness, agitating the witness, who is not       15            MR. BANKSTON: We’ll take it up with the
16   represented by counsel.                                       16 Court. I agree.
17             This witness has agreed to appear                   17            MR. ENOCH: I think that would be an
18   voluntarily with the understanding that Plaintiff was         18 appropriate --
19   conducting discovery today, has never made any agreement      19            MR. BANKSTON: I agree. So, Mr. Enoch --
20   to appear here unrepresented to be inquizited [sic] by        20            MR. ENOCH: Please continue your
21   his former employee’s [sic] counsel. He never made that       21 deposition.
22   agreement.                                                    22            MR. BANKSTON: Well, Mr. Enoch, before I
23             Mr. Enoch knows it is highly improper to            23 stopped my deposition and you said that you were going
24   interrupt my questioning, prevent me from questioning         24 to ask him one thing about one document and whether it
25   the witness first, and just start his own examination.        25 was his signature; and now you say you’re done, when I
                                                              15                                                                 17
 1 That would be true under even normal deposition                  1 asked --
 2 circumstances; but today we are here on expedited                2            MR. ENOCH: And he refused to answer the
 3 discovery under the Texas Civil Participation Act, which         3 question.
 4 grants my client the right to discovery, to respond to a         4            MR. BANKSTON: He sure did.
 5 Special Motion to Dismiss brought my Enoch’s client. It          5            And when I asked you, "Okay. You’ve
 6 gives him absolutely no right to conduct any discovery.          6 asked him. Are you done," you completely ignored me,
 7           This deposition has been highly improper,              7 continued to berate this client -- I mean, this person;
 8 and so this is the agreement I’m going to make: I have           8 and he expressed to you that he was very --
 9 not been able to contact the Court. I’ve not been able           9            MR. ENOCH: Mr. --
10 to do that. Mr. Enoch insists on questioning. He won’t          10            MR. BANKSTON: Hold on, Mr. Enoch. He
11 let me question and just ignores what I’m doing. Under          11 expressed to you that he was agitated. Are you now
12 those circumstances and given the level of agitation by         12 saying you have asked the totality of the questions you
13 Mr. Jacobson, who is here today without counsel, I am           13 intend to ask this witness?
14 suspending the deposition unless Mr. Enoch agrees to            14            MR. ENOCH: Of course not.
15 cease his improper efforts to question this witness and         15            MR. BANKSTON: Then we are suspending
16 continues to act appropriately in just defending the            16 this deposition.
17 deposition.                                                     17            MR. ENOCH: I don’t know what I’m going
18           Mr. Enoch, if you cannot agree to do                  18 to ask or if I’m going to ask anything until you’re done
19 that, this deposition is suspended; and it will be added        19 with your examination, Mr. Bankston.
20 to my Motion for Sanctions being filed with the Court           20            MR. BANKSTON: Well, apparently you did
21 today. What would you like to do?                               21 because you started asking questions before I even
22           MR. ENOCH: Well, I don’t agree with                   22 started my examination, Mr. Enoch; and you know that’s
23 anything you just said. It was all self-serving. It             23 highly improper.
24 doesn’t accurately reflect what was happening.                  24            I’m asking you right now: Do you intend
25           The only reason I asked him a question                25 to question this witness today?

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 1            MR. ENOCH: Mr. Bankston, I am alarmed                 1 obligated to do to obtain his testimony. Therefore, I
 2 that this witness is not represented by counsel. I am            2 wanted to make sure he was aware of Exhibit 1. It does
 3 concerned that he is not aware of his rights and                 3 not allow his voluntarily participation in your
 4 obligations under legally binding contracts with my              4 discovery without a court order or subpoena.
 5 client. I want to make sure he is aware of those to              5           Now, with respect to questions of this
 6 protect himself or to get counsel of his own choosing.           6 witness, I can’t answer that now because I haven’t heard
 7            MR. BANKSTON: You’ve been able to do                  7 your questions. I think I’m entitled to ask questions
 8 that --                                                          8 under the Rules; you think I’m not. So go ahead and ask
 9            MR. ENOCH: Excuse me. Do not interrupt                9 your questions. Let’s see if I have questions. If I
10 me, again. I did not interrupt you.                             10 do, the Rules allow me to make my record. You can
11            It appears that you have not counseled               11 object as you wish, and then we can take it up with the
12 him one bit about this. You’re interested in getting            12 judge. We’ve spent a lot of time haggling right now.
13 him to voluntarily disclose information that he’s               13 We’ve taken the witness’ time. Ask your questions.
14 obligated not to do without court order. You did not            14           MR. BANKSTON: You’ve taken the witness’
15 serve a subpoena. You did not tell him of the effect of         15 time.
16 that under his agreement. He now knows it. You may              16           MR. ENOCH: Ask your questions.
17 continue your deposition.                                       17           MR. BANKSTON: You’ve taken my time,
18            MR. BANKSTON: Mr. Enoch, let’s make this             18 Mr. Enoch. That’s what you’ve done.
19 clear for the record: I do not have his agreement.              19           MR. ENOCH: Ask your questions.
20 When you sent this letter that informed him of that             20           MR. BANKSTON: And I can tell you this:
21 agreement --                                                    21 I don’t represent this witness; and when I’m done asking
22            MR. ENOCH: You do now.                               22 my questions, if he wants to get up and walk out of this
23            MR. BANKSTON: -- I asked you at the                  23 room without saying another word to you, I’m not
24 time -- didn’t I, Mr. Enoch -- I sent you a letter and          24 stopping him.
25 said, "Your letter’s very unclear. It could, in fact,           25           MR. ENOCH: On what basis?
                                                              19                                                                 21
 1 cause this witness to think he’s not supposed to testify         1           MR. BANKSTON: I’m not stopping him. I
 2 today. Wouldn’t it be best if you disclosed to                   2 have no control over this man, Mr. Enoch. I have none.
 3 everybody what that agreement is?" You didn’t do that.           3 I don’t represent him.
 4 You waited until we walked into this room to put it down         4           MR. ENOCH: Well, you understand that
 5 on the table.                                                    5 your Notice says we’re here from day to day; and you
 6            You say you have every right to inform                6 understand cross-examination is allowed.
 7 this client -- or this person of his obligations and you         7           MR. BANKSTON: Yeah. And what do you
 8 were worried that he doesn’t understand what those were.         8 want me to do to stop him? What do you want me to do --
 9 I understand that, which is why you sent that letter,            9           MR. ENOCH: Why don’t you just ask your
10 which I think is a perfectly reasonable thing to do; and        10 questions?
11 if you wanted to call this witness, talk to him, or             11           MR. BANKSTON: Should I chain him to the
12 contact him, that’s perfectly appropriate. To ambush            12 chair, Mr. Enoch?
13 him at the moment of his testimony is not appropriate,          13           MR. ENOCH: Mark, please start asking
14 and it is not appropriate to start asking questions             14 your questions. Let’s get on with the deposition. Will
15 before I even ask questions.                                    15 you do that, please?
16            MR. ENOCH: Mr. --                                    16           MR. BANKSTON: Yeah, now we’ll do that,
17            MR. BANKSTON: If you intend to ask more              17 Mr. Enoch. We sure will.
18 questions today, let me know because we will suspend the        18           MR. ENOCH: Do.
19 deposition so that Mr. Jacobson can get counsel and so          19     Q. (BY MR. BANKSTON) Mr. Jacobson, I’m really
20 that we can take it up with the Court to see if your            20 sorry about all that.
21 actions today were proper. Do you want to ask questions         21     A. Yes, sir.
22 today or not, Mr. Enoch?                                        22     Q. I believe the only -- I’m not sure if we got
23            MR. ENOCH: Mr. Bankston, I did not know              23 this question out. Did you introduce yourself for the
24 until my first question of this witness that you had not        24 record?
25 served him with a subpoena, as I think you were                 25     A. Yes, sir. I am Robert Jacobson.

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 1     Q. Okay. Did you used to work at InfoWars?                   1     Q. Have you abided by those obligations?
 2     A. Yes, sir.                                                 2     A. Yes, sir. In fact, may I add something? My
 3     Q. When were you hired by InfoWars?                          3 understanding of the non-disclosure is not to reveal any
 4     A. I was hired in 2004 by Alex Jones.                        4 company secrets. I don’t think abuse or abusive
 5     Q. Do you know what corporate entity you were                5 behavior inside the company constitutes company secrets.
 6 hired by?                                                        6 I don’t think misbehavior inside the company by an adult
 7     A. At the time I felt I was hired by Alex Jones,             7 who runs the business constitutes company secrets. In
 8 and he was an independent proprietor.                            8 fact, I’m here to try to bring light to the truth of
 9              MR. ENOCH: Objection, nonresponsive.                9 abusive behavior inside the walls of InfoWars; and I
10     Q   (BY MR. BANKSTON) Do you know today what                10 don’t think anything I say today violates the NDA, which
11 entity your former employer claims you worked for?              11 would be constituting of company secrets, their formulas
12     A. Yes.                                                     12 in how they produce the news. Nothing like that is
13     Q. What entity is that?                                     13 going to be revealed today. What will be revealed is
14     A. Free Speech Systems, LLC.                                14 abusive behavior and the behavior of Mr. Jones and his
15     Q. Okay. When did your employment end?                      15 staff.
16     A. My employment ended on May 1st of 2017 -- or             16            MR. ENOCH: Objection, nonresponsive.
17 April 30th.                                                     17     Q    (BY MR. BANKSTON) Did you understand that
18     Q. So am I right that that’s over a decade that             18 there was a judge here in Travis County who issued an
19 you were at InfoWars?                                           19 order concerning this deposition today going forward?
20     A. I was there for around 13 years,                         20     A. No -- not sure, actually.
21 approximately.                                                  21     Q. Okay.
22     Q. As an employee, did you have a confidentiality           22     A. Fuzzy.
23 agreement of any kind?                                          23     Q. Sitting here today, do you recall seeing a
24     A. Not for the first six years or so.                       24 court order concerning your deposition?
25     Q. Okay. So does that mean around 2010 or so the            25     A. Yes.
                                                              23                                                                 25
 1 idea of confidentiality came up?                                 1     Q. Okay. Did you feel comfortable appearing for
 2     A. Confidentiality was passed around the office              2 deposition without a court order?
 3 but was never given to me until years after; and it was          3            MR. ENOCH: Objection to form. Assumes
 4 more of a -- you know, sort of an ultimatum, sort of             4 facts not in evidence. Leading.
 5 suggested, putting my livelihood at risk.                        5            You can go ahead and answer subject to
 6     Q. Apparently -- I wanted to show you something I            6 those objections.
 7 wanted to mark as Exhibit 1, but I believe Mr. Enoch has         7     A. Again, I’m not sure of that. I mean, with or
 8 already highjacked that exhibit. So I am going to mark           8 without a court order, I just feel it’s the right thing
 9 this as Exhibit 2.                                               9 to do.
10              MR. ENOCH: Object to the sidebar. Move             10     Q    (BY MR. BANKSTON) When you first joined
11 to strike.                                                      11 InfoWars, did you believe in its mission?
12              (Exhibit 2 marked.)                                12     A. For the most part, yes.
13     Q. (BY MR. BANKSTON) Mr. Jacobson, I’ve handed              13     Q. Tell me about the kinds of stories or things
14 you what’s been marked as Exhibit 2. Have you ever seen         14 that you wanted to be working on when you first came to
15 a copy of that before, or do you remember seeing that?          15 InfoWars.
16     A. Yes.                                                     16     A. When I first --
17     Q. I want to direct you to the second page. I’m             17            MR. ENOCH: Objection, form.
18 going to read the paragraph that appears on this page 2.        18     A. When I first arrived at InfoWars, my
19 "You are reminded that you have important continuing            19 understanding of InfoWars and Alex’s subject matter was
20 obligations under your confidentiality non-disclosure           20 the occult, esoteric politics, let’s say, what’s going
21 agreements with my client. You are expected to strictly         21 on behind the curtain, things that politicians don’t
22 observe those duties and obligations." Do you feel like         22 tell us in exposˆ', in that fashion. Fringe media, off
23 you understand what obligations are being referred to           23 the mainstream, but still honest was my impression.
24 here?                                                           24     Q. (BY MR. BANKSTON) Were you passionate about
25     A. I do.                                                    25 journalism at that time?

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 1            MR. ENOCH: Objection to form.                         1 ask you not to answer based on a privilege. That’s your
 2     A. I was passionate about filmmaking, and I                  2 choice. That’s my client trying to protect a privilege;
 3 wanted to be a documentary filmmaker. So in that                 3 but when I object, say "Objection, form or leading," you
 4 aspect, yes, that does, I believe, fall under a broader          4 can go ahead and answer.
 5 umbrella of journalism. So when it comes to documentary          5           THE WITNESS: Okay.
 6 films, I was on board.                                           6     Q. (BY MR. BANKSTON) Would you like me to ask
 7            MR. ENOCH: Objection, nonresponsive.                  7 that question again?
 8     Q. (BY MR. BANKSTON) Did you want to do good                 8     A. Yes, please.
 9 journalism?                                                      9     Q. In those first few years at InfoWars, were you
10     A. I did.                                                   10 comfortable with the style of journalism and the stories
11            MR. ENOCH: Objection, form.                          11 you were working on?
12            MR. BANKSTON: What’s the form?                       12           MR. ENOCH: Same objections.
13            MR. ENOCH: Well, under the Rules, I’m                13     A. I was comfortable with the films I was
14 not sure it’s -- I think you’re leading the witness; and        14 producing and helping Alex produce. I found them
15 I think -- I’m not sure if I’m supposed to say                  15 interesting; and I found that Alex did present enough
16 objection, leading or form. I think I’m supposed to say         16 expert testimony that it held water, in my mind.
17 both. So that’s my objection. You’re leading the                17     Q    (BY MR. BANKSTON) All right, Mr. Jacobson.
18 witness.                                                        18 You understand this lawsuit has to do with Sandy Hook?
19            MR. BANKSTON: Okay.                                  19     A. Yes, sir.
20            Can you scroll up to my last question?               20     Q. I want to direct your attention then to that
21            (Reporter complies.)                                 21 event, which is end of 2012, very beginning of 2013.
22     Q. (BY MR. BANKSTON) Mr. Jacobson, what does                22     A. Okay.
23 good journalism mean to you?                                    23     Q. For that time period, the start of 2013, by
24     A. Good journalism means an objective reporting             24 that time, had the company changed, in your mind?
25 of facts. Somebody who can -- or if the journalist can          25     A. Absolutely.
                                                              27                                                                 29
 1 remove his emotion and theory as much as possible from           1           MR. ENOCH: Objection, form. Leading.
 2 reporting what he sees or she sees with their own eyes           2     A. Absolutely.
 3 and ears, empirical evidence reported to the public with         3     Q. (BY MR. BANKSTON) Okay. Mr. Jacobson, I have
 4 very little bias.                                                4 a feeling that Mr. Enoch is going to object to just
 5     Q. In your mind, what is the relationship between            5 about every question I ask.
 6 good journalism and corroboration of facts?                      6     A. Okay.
 7     A. I think good journalism, if you’re going to               7     Q. So what I would like you to do to accommodate
 8 have a corroboration of facts, I believe the more                8 this, because otherwise it’s going to be super-
 9 witnesses and points of view of the same action or               9 disruptive on the deposition, take a couple-of-second
10 activity that is being reported on, the better. And,            10 pause before you answer my questions because he’s going
11 for example, just theoretically thinking, one person            11 to step on your answers. Okay?
12 can’t see both sides of the cup at once. So when two            12     A. Okay.
13 people are observing it at the same time, you get a             13     Q. If you can, just take a second pause. And
14 better description of the object in question. And so            14 what I’m going to do is ask you that question again
15 the more witnesses that have viewed it, the more                15 because it got kind of disrupted, and I think
16 impressions we can get after the fact of what has               16 Mr. Enoch’s going to object again.
17 actually happened with the object that we’re observing.         17     A. Okay.
18     Q. In your first few years at InfoWars were you             18     Q. And just for reminders, we may in typical
19 comfortable with the style of journalism and the stories        19 conversations tend to try to finish each other sentences
20 you were working on?                                            20 or talk over each other, not to interrupt each other,
21            MR. ENOCH: Objection, form and leading.              21 but to help us get to the point faster. It makes it
22            Anytime I make an objection like that,               22 very difficult on her.
23 sir, you can go ahead and answer.                               23     A. Right.
24            THE WITNESS: Okay.                                   24     Q. She has trouble writing down when two people
25            MR. ENOCH: Let me say one thing. I may               25 are speaking at the same time. So this is why, if you

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 1 can, if you can take a pause -- you might even want to           1 InfoWars’ consistency or process for corroborating
 2 check and look over to your former employer’s counsel to         2 facts, in your mind, had that changed between the start
 3 see if there is going to be an objection -- that way we          3 of your employment and the end of your employment?
 4 can keep the record clear.                                       4            MR. ENOCH: Objection to form and --
 5      A. (Witness nods head.)                                     5 object to form.
 6      Q. At the start of 2013, around that time period,           6      A. I feel that from the beginning, when I first
 7 in your mind, had the company changed?                           7 started working there, the fact collection was mostly
 8            MR. ENOCH: Objection to form, leading.                8 Alex and -- mostly himself was the researcher. By the
 9      A. Yes.                                                     9 end, Alex let a lot of others do research for him; and I
10      Q    (BY MR. BANKSTON) Tell me about that.                 10 don’t know if these people were specifically qualified
11      A. When I first started working for InfoWars, it           11 or experienced enough to do that kind of work.
12 was an operation with just a handful of employees as far        12      Q   (BY MR. BANKSTON) A few months back do you
13 as I know, possibly five or less; maybe a few more than         13 remember calling me about this case?
14 I’m aware of. But I was working out of my own private           14      A. Yes, sir.
15 office. Alex had a tiny office in the far south of              15      Q. Why’d you do that?
16 Austin. He had one employee that I knew of, Ryan                16      A. I was concerned. I wanted to make sure -- I
17 Schlickeisen; another employee who I’m not sure of her          17 felt I was part of something, just being in that
18 name. I can’t really recall. But she was a woman who            18 building, when all this was going down. I felt terrible
19 tended his warehouse, which was in the far south side of        19 what happened, even though I, myself, know I wasn’t
20 Austin. And I’m not even sure where Alex was                    20 directly involved in, you know, putting this out there
21 broadcasting out of.                                            21 directly, just being in the building, I feel complicit.
22            In 2010 he had a full-size facility. He              22 I feel I have to right a wrong that I was involved in.
23 had, as far as I know, over 60 people on his staff, if          23 Even though I was part of that wrong, I want to at least
24 not more; and he had a full-blown studio. So it wasn’t          24 stack a couple of correct decisions up with some of the
25 just different. It was dramatically different in every          25 mistakes that I have made in the past.
                                                              31                                                                 33
 1 way, shape, and form.                                            1       Q. When you say that you weren’t directly
 2      Q. One of the aspects I want to direct your                 2   involved in putting this out there, what is "this"?
 3 attention to is whether you, in your mind, felt that             3       A. "This" would be Sandy Hook. Anything that
 4 anything had changed in the company with regards to how          4   InfoWars put out concerning Sandy Hook, I had absolutely
 5 it performed journalism.                                         5   no involvement in.
 6      A. I do.                                                    6       Q. During your employment, were you exposed to
 7      Q. What are your thoughts about that?                       7   InfoWars’ coverage of Sandy Hook?
 8      A. I --                                                     8       A. During my employment, I had other assignments
 9            MR. ENOCH: Objection, form and -- yeah,               9   to do; and I wouldn’t much pay attention to the show.
10 objection, form.                                                10   However, when I did and I heard about Sandy Hook, it
11            Excuse me. Go ahead.                                 11   actually bothered me.
12      A. I feel that Alex’s formula definitely changed.          12       Q. Tell me what you mean by that. What did you
13 He changed his formula from a complement of the website         13   hear that bothered you?
14 and films to no films anymore and more or less the              14       A. I heard them making accusations based on
15 radio -- the website, radio show, and films was the             15   extremely narrow cross-sections of information, that I
16 original form. He took the film part out, which I               16   did my best to make the writers and the staff aware that
17 felt -- I felt the films were part of his kind of thing;        17   what they were doing was speculation based on not enough
18 and he went more radio show. And that’s it -- website,          18   information. It bothered me. That bothered me that I
19 as far as I know. So in that form of media, I kind of           19   felt they had no concept of journalist ethics.
20 just felt like he just ditched an important part of his         20       Q. Did you tell anyone at InfoWars your feelings
21 media. That’s all.                                              21   about the Sandy Hook coverage?
22            THE VIDEOGRAPHER: Would you mind                     22       A. I attempted to make it as clear as possible to
23 clipping it just a little bit higher?                           23   the writers that there is something called journalist
24            Thank you.                                           24   ethics and how what they were doing was in a direct
25      Q    (BY MR. BANKSTON) Mr. Jacobson, in terms of           25   violation of that anytime I caught wind of the Sandy

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 1 Hook story on InfoWars.                                          1     A. Yes.
 2            Now, mind you, I would like to add that               2            MR. ENOCH: Objection to form and
 3 it’s not something I was thinking about all the time,            3 leading.
 4 considering I had other things to do. I’d be working on          4     A. Yes, I do.
 5 other projects. But when it would come on the screen, I          5     Q. (BY MR. BANKSTON) Okay. Tell me who the
 6 would make it my business to go in to the writers and            6 employees are that you developed opinions about their
 7 explain to them as clearly as possible that there is             7 work on Sandy Hook.
 8 journalist ethics; and I tried to demonstrate what those         8     A. First and foremost would be Rob Dew.
 9 ethics are and why they are violating them and what the          9     Q. Okay. Let’s start with Mr. Dew. What is your
10 damage could possibly be. In fact, I remember -- I must         10 observations about Mr. Dew’s journalistic integrity as
11 have been in that room four to five times, at least, and        11 it respects Sandy Hook allegations?
12 only to be received with laughter and jokes.                    12            MR. ENOCH: Objection to form.
13            MR. ENOCH: Objection, nonresponsive.                 13     A. I feel that Mr. Dew was overzealous to receive
14     Q   (BY MR. BANKSTON) When you say "the room," is           14 any type of hint that perhaps this might have been a
15 there a specific room you’re talking about?                     15 phony act, a staged act. Any type of whisper that came
16     A. The room I’m talking about is the room in                16 through to him, he would celebrate.
17 which the writers worked.                                       17            MR. ENOCH: Objection, nonresponsive.
18     Q. About how many writers are we talking about              18     Q    (BY MR. BANKSTON) Do you know Adan Salazar?
19 involved in working on Sandy Hook?                              19     A. Yes, sir.
20            MR. ENOCH: Objection to form.                        20     Q. Have you seen or did you ever observe any work
21     A. I believe that there were two -- one primary             21 being done by Adan Salazar on Sandy Hook?
22 writer and perhaps one other that were definitely               22     A. Yes.
23 involved in Sandy Hook.                                         23     Q. Do you have an opinion as to whether that work
24            MR. BANKSTON: Just so I can possibly                 24 was done responsibly by Mr. Salazar?
25 clear up that objection, what is the objection to how           25            MR. ENOCH: Objection to form.
                                                              35                                                                 37
 1 many writers worked on Sandy Hook?                               1     A. I do have an opinion of that.
 2            MR. ENOCH: You haven’t established he                 2     Q. (BY MR. BANKSTON) Can you tell me what facts
 3 has personal knowledge, sir.                                     3 and observations you may have seen that would inform
 4            MR. BANKSTON: Okay.                                   4 that opinion of Mr. Salazar?
 5     Q   (BY MR. BANKSTON) Just to help clear up this             5            MR. ENOCH: Objection to form.
 6 issue -- and I believe this has been asked if; so you            6     A. Like I’ve stated already, whenever the subject
 7 have to answer it again, I’m sorry -- but you were               7 came up, I would immediately clarify to the writers that
 8 exposed to InfoWars’ coverage of Sandy Hook?                     8 there is a journalistic ethics that they’re violating;
 9     A. Yes.                                                      9 and what I’ve pointed out to Adan specifically is that
10     Q. You would know how many people are working on            10 you’re taking the word of one witness primarily and a
11 Sandy Hook --                                                   11 couple of speculative other facts and calling it the
12            MR. ENOCH: Objection --                              12 truth without actually going down and investigating it
13     Q. -- inside InfoWars?                                      13 ourselves or actually going with our own reporters and
14            MR. ENOCH: Objection to form and                     14 corroborating what these people are saying.
15 leading.                                                        15            I made it aware to Adan that Wolfgang
16     A. I’m aware of every staff member that worked at           16 Halbig could have a lot of issues that we’re not
17 InfoWars as of up to May of 2017.                               17 considering, that by taking the word of this one man so
18     Q. (BY MR. BANKSTON) When it came to coverage of            18 heavily with such a great accusation that he’s accusing
19 Sandy Hook and the work that was being done by the              19 people of is so irresponsible, so damaging. I asked him
20 writers, did you see things that you would consider             20 to consider the size of the audience.
21 reckless?                                                       21            And Adan Salazar responded with -- and
22     A. Yes.                                                     22 I’m going to quote him because he said it to me many
23     Q. Can you tell me, are there any individual                23 times -- "I want to print up a T-shirt that says,
24 employees that you believed engaged in reckless conduct         24 ’Halbig was right.’ I want bumper stickers that say,
25 regarding Sandy Hook?                                           25 ’Halbig was right,’" to a laughing room.

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 1           MR. ENOCH: Objection, nonresponsive.                   1        A. I don’t know. As far as I know, it’s the
 2     Q. (BY MR. BANKSTON) Do you feel that                        2 people handling who were handling the Sandy Hook story.
 3 Mr. Salazar ever mocked your concerns about Sandy Hook           3             MR. ENOCH: Objection, nonresponsive.
 4 coverage?                                                        4             MR. BANKSTON: What’s the form to asking
 5     A. Absolutely.                                               5 him who Halbig’s point of contact is?
 6           MR. ENOCH: Objection to form.                          6             MR. ENOCH: Speculation, sir.
 7     A. Absolutely.                                               7             Mr. Bankston, when I -- when you ask me a
 8     Q    (BY MR. BANKSTON) Let’s talk about -- you               8 question, the Rules require that I respond to you
 9 mentioned the name Mr. Halbig, correct?                          9 clearly. I did so.
10     A. Yes, sir.                                                10             MR. BANKSTON: You did.
11     Q. Can you briefly describe who Mr. Wolfgang                11             MR. ENOCH: No reason to chuckle, sir.
12 Halbig is?                                                      12             MR. BANKSTON: It’s funny, Mr. Enoch.
13     A. As far as I can recall, whenever Sandy Hook              13 I’m sorry if the things that happen in this deposition
14 was on the air or Alex or whoever was hosting was               14 are funny.
15 covering Sandy Hook, it was always accompanied by               15             MR. ENOCH: I think it’s unprofessional,
16 Mr. Halbig. And when I took a look at Mr. Halbig and            16 sir.
17 considering he was the one and only person and the              17             MR. BANKSTON: I think it’s
18 claims -- or as far as I know, he was the one and only          18 unprofessional for a witness to talk about having
19 person because whenever I would tune in, he was always          19 information from CIA kill teams about Las Vegas, and
20 on.                                                             20 that’s why I chuckle at it.
21           So based on that impression, I would say              21             I think it’s unprofessional for you to
22 he was the one and only person. And every time I saw            22 make constant objections even when they have no legal
23 him, I saw somebody that if he was amongst a group, a           23 basis. That’s why occasionally, yes, you will see the
24 large group of people, okay; but a one and only person,         24 corners of my mouth turn and smile.
25 I felt that this person may have mental problems. This          25             I’m obviously asking about his personal
                                                              39                                                                 41
 1 person may have a lot of emotional problems. He could            1 knowledge. That’s what I’m asking him about. So that
 2 be a lonely man. He could be somebody looking for                2 is why I smile.
 3 attention. There could be a lot of questions to be               3        Q. (BY MR. BANKSTON) Are you familiar with the
 4 asked before we present forward as a news organization           4 types of claims made by Mr. Halbig?
 5 such a heavy accusation as accusing the parents of               5        A. Some of them.
 6 slaughtered children of being liars.                             6        Q. I want to ask you about some claims and if you
 7           I think that perhaps we should have asked              7 know what they are. Have you ever heard the claim from
 8 the question "what is Wolfgang Halbig’s story" before we         8 Mr. Halbig or repeated from Mr. Halbig by somebody else
 9 put this story to the public. This story should never            9 that the school was actually closed before the shooting?
10 have been put forward to the public at all without --           10             MR. ENOCH: Objection to form.
11 and if they knew ethics in journalism, they would have          11        A. I have heard, yes.
12 known that immediately; but they have absolutely no             12        Q. (BY MR. BANKSTON) Did you see anything in
13 ethics experience, in my opinion. Therefore, the story          13 your time at InfoWars that would make you think that
14 went forward; and the damage was caused.                        14 people were acting irresponsibly as it concerns that
15           MR. ENOCH: Objection, nonresponsive.                  15 particular claim?
16     Q. (BY MR. BANKSTON) Mr. Jacobson, I think it’s             16             MR. ENOCH: Objection to form.
17 fair to say you have strong opinions about Mr. Halbig?          17             You may answer.
18     A. I do. I have strong opinions about his                   18        A. Yes.
19 validity as a sole witness.                                     19        Q. (BY MR. BANKSTON) What kinds of things did
20     Q. Okay.                                                    20 you see -- excuse me. Scratch that.
21           MR. ENOCH: Objection to form -- same                  21             Who did you see acting irresponsibly with
22 objection, nonresponsive.                                       22 respect to that claim?
23     Q. (BY MR. BANKSTON) Who is Halbig’s points of              23             MR. ENOCH: Objection to form.
24 contact at InfoWars? Who did he talk to?                        24        A. Mr. Robert Dew and Mr. Adan Salazar.
25           MR. ENOCH: Object to form.                            25        Q. (BY MR. BANKSTON) Are you familiar with the

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 1 claim that no paramedics were allowed inside of the               1 that kind of behavior.
 2 building?                                                         2      Q. Okay. Do you know who Dan Bidondi is?
 3      A. I mean, I’ve heard it.                                    3      A. Yes, sir.
 4      Q. Okay. It’s not something you had direct                   4      Q. Can you describe what Mr. Bidondi has ever
 5 exposure to?                                                      5 done for InfoWars?
 6      A. No, outside of me just briefly watching it on             6      A. Mr. Bidondi worked for InfoWars briefly, for
 7 a video as if I was audience.                                     7 about a year or so; and he served as an on-air reporter
 8      Q. Have you ever heard the allegation that there             8 and journalist.
 9 are photographs of children who are supposedly dead who           9      Q. Okay. Are you aware if Mr. Bidondi ever went
10 are actually alive?                                              10 to Newtown to cover Sandy Hook?
11      A. Yes, I’ve heard that allegation.                         11      A. I’m not sure. I don’t know.
12      Q. Do you -- from what you have seen inside of              12      Q. Have you ever met Mr. Bidondi?
13 InfoWars, have you seen anything that has caused you to          13      A. Yes, sir.
14 form an opinion about that allegation?                           14      Q. Okay. If you were going to pick someone to
15            MR. ENOCH: Objection to form.                         15 treat this story with respect and sensitivity, would you
16      A. I mean, you know, my opinion is it’s so                  16 pick Mr. Bidondi?
17 distasteful -- and it happened a while ago, that -- you          17      A. No, sir.
18 know, it happened a while ago. So it was just all these          18            MR. ENOCH: Objection to form and
19 things seem to -- all of the little allegations that             19 leading.
20 Halbig and all these other people set forward, I sort of         20      A. No, I wouldn’t.
21 see it as individual cross-sections of information that          21      Q. (BY MR. BANKSTON) Can you explain why not?
22 each one was improperly handled.                                 22            MR. ENOCH: Same objections.
23            MR. ENOCH: Objection, nonresponsive.                  23      A. Because Mr. Bidondi is very emotional and
24      Q. (BY MR. BANKSTON) Did you ever voice any                 24 when -- and he’s also very belief based and I always
25 criticism of Mr. Halbig specifically while you were at           25 viewed him as more of somebody who could be a character
                                                               43                                                                 45
 1 InfoWars?                                                         1 than more of a journalist. And to send somebody like
 2      A. Yes, I did.                                               2 that with such a serious accusation to cover that,
 3      Q. Who did you voice that criticism to?                      3 especially to talk and conversate with Mr. Halbig,
 4      A. Adan Salazar.                                             4 knowing Bidondi, how impassioned he gets over these
 5      Q. Are you familiar with the Sandy Hook parent               5 things and how impressionable he is with these kinds of
 6 Leonard Pozner? Have you heard that name?                         6 scenarios, especially with conspiracy kinds of
 7      A. I have heard the name.                                    7 situations -- Mr. Bidondi gloms onto conspiracy kind of
 8      Q. Okay. Have you ever seen written                          8 situations; he really magnates towards them -- no, I
 9 communications, like e-mails, from Mr. Halbig? Have you           9 wouldn’t because he would, I think, bias the situation
10 seen what his e-mails look like?                                 10 and not fairly report it and be over-emotional.
11      A. No, I haven’t.                                           11            MR. ENOCH: Objection, nonresponsive.
12      Q. Okay. Do you know if Mr. Halbig ever came to             12      Q. (BY MR. BANKSTON) When you say that
13 InfoWars? Did he ever came to the Austin location?               13 Mr. Bidondi tends to glom onto conspiracy scenarios, can
14      A. I’m not aware of that.                                   14 you tell me what you mean by that?
15      Q. Okay. Do you happen to know whether anybody              15            MR. ENOCH: Objection to form.
16 ever from InfoWars went to visit Mr. Halbig in Florida?          16      A. I mean that he really -- you know, a lot of
17      A. Again, I’m not sure.                                     17 his programming when he was working at InfoWars had to
18      Q. Okay. Do you know anything about InfoWars                18 do with the occult and all this stuff; but a lot of it
19 helping raise money for Mr. Halbig?                              19 also has to do with, for example, a big claim to fame
20            MR. ENOCH: Objection to form.                         20 for Dan Bidondi would be the Boston -- his appearance as
21      A. I’m unaware of anything like that.                       21 a reporter for the Boston bombing. He made a national
22      Q   (BY MR. BANKSTON) Okay. Are you aware of                22 spectacle of himself and in an unprofessional way,
23 Mr. Halbig ever engaging in any sort of harassing                23 which, of course, made him a celebrity at InfoWars.
24 behavior towards people involved in Sandy Hook?                  24            MR. ENOCH: Objection, nonresponsive.
25      A. I’ve never heard of Halbig himself engaging in           25      Q. (BY MR. BANKSTON) When you say that him

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 1 making a spectacle made him a celebrity at InfoWars, can         1 the spectrum, asking abrasive questions about Hillary
 2 you tell me what you mean by that?                               2 Clinton. Now, that’s not journalism. That’s agitation;
 3            MR. ENOCH: Objection to form, leading.                3 and that is a clear-cut case example of them swapping
 4      A. He basically accused -- instead of asking a              4 out the words "agitation" for "journalism" and vice
 5 question at the Boston bombing situation, he made an             5 versa.
 6 accusation in which case he was escorted out of the              6            MR. ENOCH: Objection, nonresponsive.
 7 building in typical, you know, journalist activist               7      Q. (BY MR. BANKSTON) Have you ever seen anyone
 8 style, which has been popularized by InfoWars; and               8 at InfoWars engaged in conduct that you believed was
 9 because he did that, he was much celebrated by the               9 designed to elicit a negative emotional reaction from
10 people at InfoWars. And for a moment there, you know,           10 the subject being interviewed?
11 he was on the top of his game, I suppose, inside that           11            MR. ENOCH: Objection to form and
12 office.                                                         12 leading.
13            MR. ENOCH: Objection, nonresponsive.                 13      A. I’ve never been involved in, let’s say, people
14      Q. (BY MR. BANKSTON) When you were at InfoWars,            14 planning such things. However, I’ve never worked with
15 in general, if a person did something in public that was        15 Millie Weaver closely or Owen Schroeder closely. These
16 agitating, was that good for their career at InfoWars or        16 guys show up -- both of them show up --
17 bad for their career at InfoWars?                               17            Owen, I don’t find to be -- I think he’s
18      A. It was --                                               18 very -- in my opinion, he’s a very smart guy. So he
19            MR. ENOCH: Objection to form.                        19 must know what he’s doing by showing up at these
20      A. It was excellent for their career. I can                20 political events wearing Trump hats and whatnot. He
21 point to several examples where it’s not reporting at           21 must know the difference between a journalist and an
22 all; it’s pure agitation by many members of the staff.          22 agitator, how a journalist has to appear neutral in his
23 And I have also been very critical of that. It’s been           23 stance and how an agitator appears politically motivated
24 pure -- in fact, some of it is so agitating it’s almost         24 on one side or the another at the moment, present in the
25 to the level of public disruption, so -- including --           25 spot. So I don’t know about Millie, but I do know that
                                                              47                                                                 49
 1 can I go on?                                                     1   Owen Schroeder should definitely know the difference.
 2      Q. (BY MR. BANKSTON) Please.                                2            So that being said, I mean, I’ve never
 3            MR. ENOCH: Objection, nonresponsive so                3   been involved in, let’s say, let’s go down there and
 4 far.                                                             4   cause a fight kind of discussion; but I do know that
 5      Q. (BY MR. BANKSTON) Let me ask you another                 5   they should know better, showing up at these places with
 6 question. Can you give me an example of some of the              6   these kinds of -- you know, this kind of gear that will
 7 things you’re talking about when you say "agitation"?            7   affect people’s emotions is pretty obvious.
 8      A. Yes. Ms. Millie Weaver last year or the year             8            MR. ENOCH: Object, nonresponsive.
 9 before that -- I’m not sure when; but it was in the              9       Q (BY MR. BANKSTON) While you were at InfoWars,
10 last, perhaps, twelve months, I believe, because it was         10   did you ever hear anybody inside the organization
11 after I left -- she showed up at a Hillary Clinton book         11 express negative feelings about the Sandy Hook parents?
12 signing event that was at BookPeople. These people were         12         MR. ENOCH: Objection to form.
13 not there to protest. These people were not there               13     A. No, except for what Alex said live on the air.
14 to...Hillary. This was far after the election. Nobody           14     Q. (BY MR. BANKSTON) Were you uncomfortable with
15 was campaigning. But Ms. Millie Weaver decided to show          15 the things that Mr. Jones said on the air?
16 up with a lot of Trump gear, which obviously is going to        16    A. Yes, I was.
17 be -- as we follow the news, we know it’s agitating             17          MR. ENOCH: Objection to form and
18 towards -- in a very political way, you know.                   18 leading.
19            And so, in my opinion, just by looking at            19            I’m sorry. Would you just hesitate,
20 that, I noticed that reporters don’t show up sponsoring         20 please, before you give your answer?
21 politicians. So for her to go there and say -- and, in          21          THE WITNESS: Yes, sir.
22 fact, the name of this video on YouTube is called               22          MR. ENOCH: Thank you.
23 Journalists Harassed or something. She identifies               23     Q    (BY MR. BANKSTON) Specifically as it regards
24 herself as a journalist while she shows up wearing              24 to comments about the Sandy Hook parents, were you ever
25 political gear directly aiming at the opposite end of           25 disturbed by anything you saw at the set on InfoWars?

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 1            MR. ENOCH: Objection to form.                         1      A. No.
 2      A. I was disturbed by the way they said                     2      Q   (BY MR. BANKSTON) What is your personal
 3 Mr. Pozner changed; he went from a laughing stance to a          3 feeling, sitting here today, about an allegation that
 4 serious stance when the camera was on him briefly before         4 there were crisis actors in use at Sandy Hook?
 5 he was asked to call. I wanted to -- you know, again,            5            MR. ENOCH: Objection to form.
 6 this is another thing I attempted to clarify with                6      A. I mean, my opinion is -- my personal feeling
 7 Mr. Salazar and others that when you go through an               7 is it was shocking to hear -- well, it wasn’t shocking
 8 extreme tragedy, your emotions are all over the place.           8 that they went down that line because they went down
 9 And this is a known fact.                                        9 that line of thought before; but the weight of the
10            Just because somebody laughs at a joke               10 accusation in this particular case, it was shocking that
11 somebody tries to -- you know, you’re not immune to             11 they didn’t do more research. They didn’t go further
12 humor even if you went through a massive tragedy. For a         12 into it. They didn’t -- I mean, what I constantly tried
13 brief moment somebody could say something; and it’s,            13 to clarify is a story of this level should not be
14 "Oh, ha, ha." You know, you don’t have any really               14 brought forward unless they are -- I tried to make it
15 control over if somebody makes you laugh. You don’t             15 clear that they need as much evidence in this story as
16 have that control. And I tried -- just because somebody         16 if they were going to court to prove their case; and if
17 went through a massive tragedy doesn’t mean that you            17 they didn’t have that, they didn’t have a story.
18 have to jump on the guy for smiling right before the            18            MR. ENOCH: Objection, nonresponsive.
19 camera was on him.                                              19      Q. (BY MR. BANKSTON) Can you tell us who Paul
20            In fact, a lot of people who experience              20 Watson is?
21 this level -- well, I don’t know about this level -- but        21      A. Paul Watson is sort of Alex’s alternate host.
22 tragedy in their life, they don’t begin to even mourn           22 He’s basically like Alex’s sidekick.
23 until days after. They go through shock. So I was               23      Q. Okay. Have you ever been aware of
24 disgusted and I did attempt to clarify to everybody that        24 Mr. Watson’s opinions about the Sandy Hook hoax
25 people go through a range of emotions after a traumatic         25 allegations?
                                                              51                                                                 53
 1 event.                                                           1      A. No.
 2            MR. ENOCH: Objection, nonresponsive.                  2      Q. Do you know of anyone else at InfoWars who
 3      Q. (BY MR. BANKSTON) Have you ever while working            3 ever voiced an objection regarding any element of the
 4 at InfoWars heard the term "crisis actors"?                      4 Sandy Hook coverage or the coverage as a whole?
 5      A. Yes.                                                     5      A. I don’t know if -- I mean, I did it
 6      Q. What do you understand that term to mean?                6 independently on my own; and then I would have talk to
 7      A. I believe it means that there are people from            7 others about it.
 8 Special Forces, let’s -- per se, or something like that.         8            MR. ENOCH: Objection, nonresponsive.
 9 They are people from a nefarious group run through the           9      Q   (BY MR. BANKSTON) Have you ever had any
10 government or outside for special -- special interest           10 private conversations with any of your coworkers at
11 money, let’s say, who will then attempt to cause a phony        11 InfoWars about negative reservations about the Sandy
12 event to -- like, for example, crisis actors faking             12 Hook coverage?
13 their death or things like that to change a shift in            13            MR. ENOCH: Objection to form.
14 policy or things like that. That’s what I understand a          14      A. Yes.
15 crisis actor to be.                                             15      Q. (BY MR. BANKSTON) And what coworkers would
16      Q. Have you ever heard while at InfoWars the term          16 that be?
17 crisis actors or a similar allegation being attached to         17      A. I spoke with Ashley Beckford. I spoke with...
18 the Sandy Hook event?                                           18 I spoke with Adan Salazar. I spoke with Kit Daniels. I
19            MR. ENOCH: Objection to form.                        19 spoke with... I must have spoken -- and others I don’t
20      A. Yes, I have.                                            20 recall. I have spoken quite a bit.
21      Q   (BY MR. BANKSTON) While you were at InfoWars           21      Q. Can you tell us: Who is Kit Daniels?
22 did you feel that you would ever see evidence which you         22      A. Kit Daniels is a writer at InfoWars.
23 would consider sufficient to responsibly make that              23      Q. Was Kit Daniels ever involved in any of the
24 allegation on the air?                                          24 Sandy Hook coverage?
25            MR. ENOCH: Objection to form.                        25      A. I’m unsure.

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 1     Q. Okay. Are you familiar with an allegation                 1 competent video experience think this was blue screen?
 2 concerning an alleged blue screen video interview with           2             MR. ENOCH: Objection to form.
 3 Anderson Cooper?                                                 3      A. Not at first view.
 4     A. I am.                                                     4      Q. (BY MR. BANKSTON) Would anybody with
 5     Q. When you were at InfoWars, did you ever work              5 competent video experience have serious doubts about
 6 in video technology?                                             6 saying this was blue screen?
 7     A. Yes, I did.                                               7             MR. ENOCH: Objection to form.
 8     Q. Okay. Can you explain to us kind of your                  8      A. I feel they would. They would be on the
 9 background and your training and experience in video             9 fence. If they saw this video, they would have
10 technology?                                                     10 questions.
11     A. My background began in New York City. I was              11      Q   (BY MR. BANKSTON) Okay.
12 working for several audio recording studios, including          12      A. Can I go further and explain that?
13 The Hit Factory in New York City, which is a legendary          13      Q. Actually, let me ask you a question on that.
14 studio. I moved to Austin shortly after that. I worked          14 Okay?
15 for the Austin Music Network -- before that I worked for        15      A. Okay.
16 a music studio here, in Austin, Texas. I then worked            16      Q. Your opinion about whether or not it could be
17 for the Austin Music Network for about three and a half         17 fairly asserted that this is clearly blue screen, in
18 years, where I got even better. Then I moved from there         18 forming your opinion on whether that could be asserted,
19 and I worked for Alex for 13 years producing roughly ten        19 can you tell me about any of the things you see in this
20 of his feature-length documentaries.                            20 video or any of your experience that would inform that
21           MR. ENOCH: Objection to form --                       21 opinion?
22 objection, nonresponsive.                                       22      A. There’s nothing --
23     Q. (BY MR. BANKSTON) Can you explain to us:                 23             MR. ENOCH: Objection -- I’m sorry.
24 What is blue screen compositing?                                24 Objection to form.
25     A. Blue screen compositing is when you can stand            25             Please continue.
                                                              55                                                                 57
 1 in front of a blue screen and you can add any background         1      A. There’s nothing in that video that will
 2 you’d like behind you, so.                                       2 clearly indicate to me that that was a blue screen
 3     Q. Okay. Mr. Jacobson, I am going to play you a              3 event.
 4 video clip that is going to be Exhibit 2 to this                 4      Q   (BY MR. BANKSTON) Okay. And so if a
 5 deposition.                                                      5 witness -- if anyone was to say, "I can look at that
 6           MR. ENOCH: I think it’s Exhibit 3.                     6 video. I work with blue screen. It’s got all the
 7           MR. BANKSTON: Oh, it will be, yeah.                    7 telltale signs. That’s clearly blue screen," in your
 8 Change that number.                                              8 opinion, is that person acting responsibly?
 9           (Exhibit 3 marked.)                                    9             MR. ENOCH: Objection to form.
10           MR. BANKSTON: Let me ask that question                10      A. No, I don’t. I think that, based on what we
11 again, Mr. Jacobson.                                            11 see on that screen, that could be -- that error in the
12     Q. (BY MR. BANKSTON) Mr. Jacobson, I’m going to             12 nose would have been caused by a number of different
13 show you a video clip that is going to be Exhibit 3 to          13 reasons; and none of them are clear from what we see
14 this deposition. That is a video clip from a part of an         14 there without knowing what happened behind the scenes
15 InfoWars episode. So I’d like you to watch it, and I’m          15 with the operating room controllers, so on and so forth.
16 going to ask you some questions about it. Okay?                 16 That could have been a natural glitch that happens all
17     A. Okay.                                                    17 the time on YouTube. We see it all the time where
18           (Video playing.)                                      18 pixels smudge. There is no secret about that. There
19     Q    (BY MR. BANKSTON) First, Mr. Jacobson, based           19 must be a million videos or more where pixels smudge all
20 on your training and experience in video technology, was        20 the time.
21 what we just saw clearly blue screen?                           21             In order for that -- should I continue?
22     A. It was --                                                22      Q. If you do have more facts that you are basing
23           MR. ENOCH: Objection to form.                         23 your opinion on.
24     A. It was not clearly blue screen.                          24      A. The only thing I can tell you about that is
25     Q. (BY MR. BANKSTON) Okay. Would anybody with               25 the only way that that is possibly green screen is if

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 1 Anderson Cooper is not standing next to that woman.              1 stepped outside the bounds of the green screen and his
 2            MR. ENOCH: Objection, nonresponsive to                2 nose got cut off.
 3 the entire answer, including after the continuation of           3            MR. ENOCH: Objection, nonresponsive.
 4 the question "if you have more facts."                           4      Q    (BY MR. BANKSTON) Now, if somebody is wearing
 5      Q   (BY MR. BANKSTON) When you say, "That means             5 glasses in a green screen shot --
 6 Anderson Cooper wasn’t standing next to that woman," are         6      A. Uh-huh.
 7 you making an opinion about whether the woman in the             7      Q. -- will the green screen background that’s
 8 video was actually on location?                                  8 being composited, will that show up in the reflection of
 9            MR. ENOCH: Objection to form, leading.                9 their glasses?
10      A. I’m not making opinion on anything. What I’m            10            MR. ENOCH: Objection to form.
11 saying is: If his nose was cutting off, that means he           11      A. Sometimes.
12 stepped out of the green screen or the blue screen              12      Q. (BY MR. BANKSTON) If there’s a projection
13 bounds; and his nose was cut off, which would suggest           13 being used?
14 she was somewhere else. He was standing in one room,            14            MR. ENOCH: Objection to form.
15 she’s standing somewhere else. That’s what it would             15      A. Depending how the lights are. If the lights
16 mean.                                                           16 are blasting against that green screen, yes. If the
17            If he stepped outside the -- and she’s               17 lighting guy takes that into accounts, they can -- you
18 not outside the green screen bounds, how could he have          18 know, depending on the lights. If the lights are bright
19 stepped outside the green screen bounds if she is -- she        19 and blasting at them, yes, you would see green screen.
20 would be disappeared. She wouldn’t even be on the               20 Also depending on his proximity to the screen.
21 screen. We would see -- if that was green screen, we            21      Q. (BY MR. BANKSTON) Okay. Maybe -- I think
22 would see -- she would either -- it would be a cut-out.         22 maybe I didn’t ask -- the question was a little inartful
23            See, what they’re suggesting is Anderson             23 there. Let’s come back up here. If there’s lights
24 Cooper, okay, would be in this screen. Everything else          24 being shined on the green screen --
25 would be green. He would be -- they would composite             25      A. Uh-huh.
                                                              59                                                                 61
 1 behind him the town hall scene that you see behind him.          1      Q. -- then it might be possible to see green in
 2 He would step outside, and his nose would get cut off.           2 some glasses?
 3 She would also be outside that box. If the box is only           3      A. Yes.
 4 this big and he steps outside, she would also be outside         4            MR. ENOCH: Objection to form.
 5 that box, part of the composite, which would mean that           5      Q. (BY MR. BANKSTON) My question is: If there’s
 6 she would have to be on location while he was somewhere          6 a background being put on that green screen, does it
 7 else.                                                            7 show up live there on the green screen; or is that just
 8            MR. ENOCH: Objection, nonresponsive.                  8 in the computer?
 9      Q   (BY MR. BANKSTON) Would it be accurate to say           9            MR. ENOCH: Objection to form.
10 if this theory of how -- if the setup that you’re               10      A. It’s just in the computer.
11 describing is true, would it be accurate to say then            11      Q. (BY MR. BANKSTON) If a person’s wearing
12 that the woman in the interview would not be actually           12 glasses and they’re being filmed against a green screen,
13 looking at Anderson Cooper?                                     13 will the projected image that’s in the computer of the
14      A. That’s what it would mean.                              14 town hall, or whatever, appear in their glasses?
15            MR. ENOCH: Objection to form and                     15            MR. ENOCH: Objection to form.
16 leading.                                                        16      A. Absolutely not.
17      A. It would mean that what you see in there is             17      Q    (BY MR. BANKSTON) Okay. Did you -- as a part
18 two people who are acting remarkably responsive to each         18 of your discussions with people at InfoWars about Sandy
19 other on a super-human level, in my opinion, because,           19 Hook, have you raised complaints about this video
20 you know, they wouldn’t be looking at each other. She           20 allegation?
21 would be in one location. He would potentially be,              21            MR. ENOCH: Objection to form, leading.
22 according to this theory, in a CNN studio around the            22      A. Not -- no. I mean, it was one of those
23 corner, down the block, miles away, if not on the other         23 things. I just kind of mixed it in with all the rest of
24 side of the globe. So they would not be in the same             24 it. It wasn’t -- it was just one of those points that
25 place at the same time to have that interaction if he           25 was just so silly. It’s just I can’t -- I couldn’t

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 1 believe that Alex was jumping all over that when he              1   personal knowledge inside the company, that InfoWars was
 2 knows perfectly well YouTube pixels smudge.                      2   responsive to those criticisms and began to act
 3            MR. ENOCH: Objection, nonresponsive.                  3   appropriately?
 4      Q. (BY MR. BANKSTON) Was any -- were you -- at              4             MR. ENOCH: Objection to form.
 5 any time during your time at InfoWars past 2013, were            5       A. No, I don’t.
 6 you aware that parents had been complaining about this           6       Q (BY MR. BANKSTON) Okay, Mr. Jacobson. We are
 7 coverage?                                                        7   about an hour in.
 8      A. No, not immediately. I really became aware of            8       A. Uh-huh.
 9 it sometime afterwards when I saw, actually, I think, a          9       Q. As you know, your deposition was ordered for,
10 PBS special on what was going on; and it really hit home        10   I believe it was two or two and a half hours today.
11 at that point. I was like, this is...                           11       A. Uh-huh.
12      Q. Well, you understand -- what is your                    12       Q. I’m not going to keep you that long, but I am
13 understanding -- scratch that.                                  13   going to take a short break.
14            Was the InfoWars staff aware of the                  14       A. Uh-huh.
15 public controversy they were causing with Sandy Hook            15       Q. And we do have some more to cover.
16 allegations?                                                    16       A. Okay.
17            MR. ENOCH: Object to form.                           17       Q. We might get near two hours -- I don’t know --
18      A. I believe they were.                                    18   but I’m going to try to get you out as soon as I can
19      Q    (BY MR. BANKSTON) Was the staff aware of the          19   today. But why don’t we for the moment -- we’ll take a
20 public opinion about their Sandy Hook coverage?                 20   15-minute break.
21            MR. ENOCH: Object to form.                           21       A. Uh-huh.
22      A. I believe they were. I believe that they were           22       Q. And then we’ll come back and resume after our
23 aware of a dual opinion at the same time, and they got a        23   break. Thank you.
24 rush out of it.                                                 24             MR. OGDEN: Hey, Mark. Will you call my
25            MR. ENOCH: Objection, nonresponsive.                 25   cell phone?
                                                              63                                                                 65
 1      Q    (BY MR. BANKSTON) Were you still employed at           1           MR. BANKSTON: Absolutely.
 2 InfoWars at the time that Mr. Jones was interviewed by           2           THE VIDEOGRAPHER: We are off the record
 3 Megyn Kelly?                                                     3 at 1:12 p.m.
 4      A. No.                                                      4           (Off the record from 1:12 to 1:30 p.m.)
 5      Q. Did you ever become aware that parents were              5           THE VIDEOGRAPHER: We’re back on the
 6 being harassed by believers in the Sandy Hook hoax               6 record at 1:30 p.m.
 7 conspiracy theory?                                               7     Q    (BY MR. BANKSTON) Mr. Jacobson, earlier we
 8      A. Yes, I became aware of that.                             8 had talked about a writing room; and I want to ask you
 9      Q. When do you think you became aware of that?              9 questions about that room itself. That room was the
10      A. Somewhere around 2014, 2015. Maybe 2015.                10 center of the writing process at InfoWars; is that
11 Like I said, when I saw that PBS documentary.                   11 right?
12      Q. So the PBS documentary you saw, that was when           12     A. Yes, up until the last three years that I
13 you were employed at InfoWars?                                  13 worked there.
14      A. I was still employed there.                             14     Q. Okay. From your personal knowledge and
15      Q. In light of the harassment that you became              15 observations of the writers, can you tell me, as it
16 aware of, did it cause you to form any opinions about           16 concerns the writing process for coverage of Sandy Hook,
17 the level of caution that would be required in covering         17 what, if anything, concerned you about that process?
18 Sandy Hook from then on out?                                    18           MR. ENOCH: Objection to form.
19            MR. ENOCH: Objection to form, leading.               19     A. The fact that they took Halbig’s word for it,
20      A. Absolutely. Like I’ve already stated, I                 20 and that was the article. The article was: Whatever
21 marched into the writers’ room several times and                21 came out of Halbig’s mouth was news.
22 attempted to point out that they have an ethical                22     Q    (BY MR. BANKSTON) When you were, as you
23 responsibility to abide by.                                     23 mentioned earlier, communicating your thoughts to people
24            MR. ENOCH: Objection, nonresponsive.                 24 at InfoWars about the Sandy Hook coverage, can you
25      Q. (BY MR. BANKSTON) Do you feel, based on your            25 describe to me on a scale of one, being not outrageous

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 1 at all and ten, being extremely outrageous, on that              1     A. I think he --
 2 one-to-ten scale, what is the level of outrageousness of         2           MR. ENOCH: Objection to form.
 3 this conduct that you were trying to impart?                     3     A. I think he knows right from wrong, and he can
 4           MR. ENOCH: Objection, leading and form.                4 definitely distinguish it. And, again, it’s not just my
 5     A. It was a ten.                                             5 opinion on this. He goes on the air and proselytizes
 6     Q. (BY MR. BANKSTON) Tell me why you thought                 6 morality all the time, which, clearly, he knows what’s
 7 that.                                                            7 going on; and he’s making a conscious decision. If he
 8           MR. ENOCH: Same objections.                            8 can proselytize it and verbalize it and actually
 9     A. I mean, it’s one thing to make a mistake.                 9 articulate it that well to everybody, then, he’s
10 It’s another thing to have somebody come in -- and I            10 definitely thinking about it; and he’s aware of what’s
11 don’t even -- I’m not aware if I was the only person or         11 going on.
12 not, but I know I was doing it -- to come in and say,           12           MR. ENOCH: Objection, nonresponsive.
13 "Hey, this is wrong. You’re making a mistake." It’s             13     Q    (BY MR. BANKSTON) With respect to your
14 one thing, you know, to actually have a mistake and             14 background, have you -- what is your level of experience
15 something else to have it pointed out to you, not just          15 and exposure to compositing live shots onto backgrounds?
16 once but over and over and over again, and to not only          16     A. I mean, in my experience, I’ve been asked to
17 hear the damage that you’re doing to people outside of          17 do it; and I’ve done it.
18 your zone but to actually laugh about it, I thought             18     Q. Okay.
19 that’s a ten.                                                   19     A. I’ve produced those videos.
20           MR. ENOCH: Objection, nonresponsive.                  20     Q. The films and things that you would make for
21     Q    (BY MR. BANKSTON) How long have you known              21 InfoWars, did you perform any graphics work or
22 Mr. Jones?                                                      22 compositing work while working on those videos?
23     A. I’ve known Mr. Jones since he employed me in             23     A. Mostly graphics works. I mean, aside from my
24 2004.                                                           24 video editing, I would do graphics much more than video
25     Q. In your 15 years of knowing Mr. Jones, have              25 compositing for the films.
                                                              67                                                                 69
 1   you arrived at any kind of opinion about whether               1     Q. Does InfoWars in it’s studio -- during the
 2   Mr. Jones is capable of rational action or whether he is       2 years you were there, did it perform any green screen or
 3   too mentally unwell to even be capable of rational             3 blue green compositing there at the facility?
 4   action?                                                        4     A. Yes.
 5             MR. ENOCH: Objection to form and                     5     Q. When it comes to video technology, does that
 6   leading.                                                       6 remain your profession today?
 7       A. In my 15 years of knowing Alex, I feel he is            7     A. Yes.
 8   very capable of rational actions, and I think the growth       8           MR. ENOCH: Objection to form.
 9   of his business is evidence of that. Like, while his           9     A. Yes.
10   opinions may be tasteless, he definitely made conscious       10           MR. BANKSTON: What’s the basis on that?
11   decisions to run a business. He flipped the switches          11           MR. ENOCH: I don’t know what you mean by
12   himself. In fact, he micromanages that place; and,            12 "video technology." It’s vague and ambiguous.
13   obviously, some of the decisions he made were                 13     Q. (BY MR. BANKSTON) Do you know what video
14   successful. He took a business from a few handful of          14 technology is?
15   people to what it is today. So based on that evidence,        15     A. Yes, sir.
16   I do feel that he’s more than rational in his decisions.      16     Q. When I ask you the question, you work in video
17             MR. ENOCH: Objection, nonresponsive.                17 technology, can you tell me what you mean by video
18       Q (BY MR. BANKSTON) Based on your conversations           18 technology?
19   and years with Mr. Jones, do you have an opinion on           19     A. I take technology designed to work on video as
20   whether or not Mr. Jones can understand right from            20 my tools and create a product for my clients.
21   wrong?                                                        21     Q. When it comes to video technology, are you
22             MR. ENOCH: Objection to form.                       22 someone who considers himself to have specialized
23       A. Yes.                                                   23 knowledge or skill in that technical field?
24       Q (BY MR. BANKSTON) Okay. What is your                    24           MR. ENOCH: Object to form. Speculating,
25   opinion?                                                      25 form, and leading.

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 1     A. Yes.                                                      1 not really sure.
 2     Q    (BY MR. BANKSTON) Okay. Can you tell me how             2     Q    (BY MR. BANKSTON) Okay. Do you today have
 3 many years experience you have in working with video             3 any sense of guilt about the coverage about Sandy Hook
 4 production and video technology?                                 4 that came out of InfoWars?
 5           MR. ENOCH: Objection to form.                          5           MR. ENOCH: Objection to form, leading.
 6     A. I have 17 years in video technology, and I                6     A. Yes. As I mentioned in my statements
 7 have over 20 years -- over 20 years in media technology          7 previously, the reason why I’m here is because of a
 8 in general.                                                      8 tremendous amount of guilt that I didn’t act faster.
 9     Q    (BY MR. BANKSTON) You understand the                    9 Maybe I should have quit. Maybe I could have caught the
10 difference between a layman and a technical person? Do          10 story faster or been better at explaining; but, yes, I
11 you understand those terms?                                     11 do.
12     A. Yes, sir.                                                12           MR. ENOCH: Objection, nonresponsive.
13           MR. ENOCH: Objection to form.                         13     Q. (BY MR. BANKSTON) Are you still on friendly
14     A. Yes, sir.                                                14 terms with InfoWars?
15     Q    (BY MR. BANKSTON) When it comes to video               15     A. No.
16 production and video technology, do you consider                16     Q. Were you terminated?
17 yourself a layman; or do you consider yourself as               17     A. Yes.
18 someone who has technical expertise?                            18     Q. Have you filed a complaint with the EEOC?
19           MR. ENOCH: Objection to form.                         19     A. Yes.
20     A. I consider myself as somebody who has                    20     Q. And just for the record, I want to make it
21 technical expertise.                                            21 clear because I’ve used an abbreviation. You filed a
22     Q    (BY MR. BANKSTON) Okay. Do you still have an           22 complaint with the Equal Opportunity Employment
23 opinion as to whether or not alternative media can be a         23 Commission?
24 force for good if done correctly?                               24     A. Yes, sir.
25           MR. ENOCH: Objection to form.                         25     Q. Tell me why you filed a complaint.
                                                              71                                                                73
 1     A. I feel that alternative media -- I think the              1     A. Alex’s abusive behavior and the unethical and
 2 subject is much bigger than that. I think that media in          2 racist behavior of his staff and the environment that’s
 3 itself or journalism is when you cross the ethical               3 racist and abusive in general at InfoWars.
 4 boundary, then it will be a force for good; but if               4           MR. ENOCH: Objection, nonresponsive.
 5 people are independent and refuse to abide by standards          5 Move to strike.
 6 that are journalist standards that have been established         6     A. There was evidence against me that I submitted
 7 for decades already and followed, or maybe even                  7 to the EEOC of myself being Photoshopped onto a Rabbi’s
 8 centuries by some standards, you know, if they refuse to         8 face and passed around the office. There was Owen
 9 do that, then no, it won’t be a force for good. It will          9 Schroeder sitting on the air calling me the resident
10 be a force for people to be confused and tear each other        10 Jew, as well as Rob Dew. There was a culture of
11 down. If they can figure out that, hey, who’s going to          11 anti-Semitism inside InfoWars. And so I went to the
12 be the standard of that. So I do think that there will          12 EEOC with that and a culture of abuse propagated mostly
13 always be a professional standard of journalism, and            13 by Alex Jones himself.
14 independent journalism should be put in its place.              14           MR. ENOCH: Objection, nonresponsive.
15           MR. ENOCH: Objection, nonresponsive.                  15     Q    (BY MR. BANKSTON) Do you know, sitting here
16     Q. (BY MR. BANKSTON) When it comes to                       16 today, if you’re the only person who’s brought such a
17 professionalism in journalism, do you have an opinion --        17 complaint or if there’s anybody else who’s brought
18 or let me scratch that.                                         18 similar complaints?
19           When it comes to professionalism in                   19           MR. ENOCH: Objection to form.
20 journalism, have you been exposed to events, perceived          20     A. I know of several people who have brought
21 things with your own eyes and ears, that gives you an           21 exactly the same complaint or similar, very similar
22 opinion on whether it went right or whether it went             22 complaints about Alex Jones and the office of InfoWars,
23 wrong as it regards Sandy Hook?                                 23 many of which are public.
24           MR. ENOCH: Objection, form.                           24     Q    (BY MR. BANKSTON) Do you feel that people
25     A. I don’t really have a comment on that. I’m               25 might look at your EEOC claim and think you’re biased?

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 1     A. I feel, yes, people will look at my EEOC                  1      A. I’m not doing any of this for compensation.
 2 complaint and claim that I’m biased. Should I continue?          2 I’m doing this because Alex is disgracing himself so
 3     Q. No. I have a question for you.                            3 badly in the way he has made the parents suffer, as well
 4     A. Okay.                                                     4 as myself. He’s still on the air to this day saying
 5     Q. If you’ve got an EEOC claim and you’ve got bad            5 things that are arguably true or arguably not true; we
 6 blood with InfoWars, why should people believe you?              6 don’t know. But we do know that he affects his audience
 7     A. Because people should understand just because             7 in a way that angers and mobilizes them; and it’s
 8 Alex -- I have a complaint with Alex doesn’t make Alex           8 unclear if anything he’s saying is fact or fiction,
 9 an angel. Myself and others have all witnessed it. I             9 opinion or speculation. But what he does do is mobilize
10 am doing my due diligence in bringing forth abuse that          10 a large amount of people in irrational thinking because
11 Alex had against me as others have brought forth Alex --        11 there’s no way to tell whether what Alex is saying on
12 abuse that Alex has against them as well as the fact            12 the air is news or not, true or false, speculation, or
13 that does not negate the fact that this stuff about             13 opinion, jokes or not; but he advertises it all as news.
14 Sandy Hook didn’t happen, either. What happened to me           14 He is the InfoWars.
15 is real. What Alex did to the Sandy Hook parents is             15            MR. ENOCH: Objection, nonresponsive.
16 also real at the same time. Just because one is true            16      Q    (BY MR. BANKSTON) Mr. Jacobson, have -- all
17 doesn’t make the other untrue. They’re both true at the         17 of your answers today, have they been based on your
18 same time.                                                      18 personal knowledge?
19             Alex is an abusive man. Alex -- and                 19            MR. ENOCH: Objection to form.
20 every testimony that you see in public, whether it is,          20      A. As far as I know.
21 you know, on the record -- you know, we have videos and         21      Q    (BY MR. BANKSTON) Okay. Mr. Jacobson, that’s
22 specials all over the place, news articles written about        22 all I believe I have for you at this time.
23 this. It’s no secret of Alex’s behavior. It’s no                23            MR. ENOCH: Go ahead. I’m sorry. I
24 secret.                                                         24 didn’t mean to interrupt you.
25             Therefore, you know, just because I                 25            MR. BANKSTON: Sure.
                                                              75                                                                 77
 1 mounted a complaint because of Alex’s bad behavior               1            That’s all I have for you in terms of
 2 doesn’t mean he behaved badly for Sandy Hook. People             2 questions. I have a few things I need to put on the
 3 should understand just because one is true, the other --         3 record.
 4 it doesn’t mean the other’s automatically untrue.                4            MR. OGDEN: Mark, can you check your
 5             MR. ENOCH: Objection --                              5 e-mail?
 6     A. Are they going to feel that I’m biased? Yes,              6            MR. BANKSTON: Yeah, sure.
 7 but that doesn’t mean -- you know, everything is true            7            They don’t need to concern you. If you
 8 that I am saying. And again...                                   8 would like to be excused while I put this on the record,
 9             MR. ENOCH: Objection, nonresponsive.                 9 I can do that.
10     Q     (BY MR. BANKSTON) If the Sandy Hook parents           10            MR. ENOCH: And I would like to ask
11 who brought these suits were awarded money from Alex            11 questions. Are you going to prevent me from doing that,
12 Jones, would it benefit you in any way?                         12 Mark?
13     A. No.                                                      13            MR. BANKSTON: We’re going to talk about
14     Q. If the Sandy Hook parents who brought these              14 that on the record in just a minute.
15 suits are awarded money from Mr. Jones, let’s say, a            15            MR. ENOCH: Well, that’s what I’m asking
16 significant amount of money, do you know of any way that        16 you.
17 could be a detriment to you?                                    17            MR. BANKSTON: Yeah, so we’re going to
18     A. The one way is if the EEOC rules in my favor,            18 let Mr. Jacobson go because we’re not going to have this
19 it might jeopardized a potential compensation for myself        19 discussion in front of a witness.
20 farther down the line.                                          20            MR. ENOCH: No, sir, we’re not gonna --
21     Q. So you -- do you feel that if the Sandy Hook             21            MR. BANKSTON: We’re not going to let
22 parents are ultimately compensated by Mr. Jones, do you         22 him leave the building, Mark. We’re going to let
23 have any opinion about whether that could potentially           23 Mr. Jacobson go to the bathroom, and then I’m going to
24 threaten your ability to get compensation for your              24 put something on the record. And if you have some
25 injuries?                                                       25 things to say about it, you can say whatever you want on

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 1 the record. And then Mr. Jacobson will be in the                 1   personal counsel and was suddenly ambushed by a barrage
 2 building.                                                        2   of questions from his former employer, questions he was
 3             MR. ENOCH: Are you going to permit me to             3   not expecting.
 4 ask questions, yes or no?                                        4              I need to put this on the record for we
 5             MR. BANKSTON: I don’t think I can stop               5   are now on our the third deposition of this case; and in
 6 you. I literally don’t think I can. I think I would              6   the first deposition of Mr. Jones, which Mr. Enoch was
 7 have to, like, go over there and physically restrain you         7   not defending but was merely an observer, his name
 8 because you won’t abide by rules; but Mr. Jacobson is            8   appeared in all caps where’s he’s speaking and
 9 just going to go to the bathroom.                                9   interjecting into the record 28 times during the
10             Now, he’s going to come back; and he’s              10   testimony of Mr. Jones; and that’s taking out the times
11 going to sit down in that chair. And whether he wants           11   that it appeared for housekeeping matters, like getting
12 to sit around and listen to anything you say is not my          12   the witness water or talking about the PO at the end of
13 choice, but I’m not releasing him from the building             13   the deposition.
14 right now.                                                      14              And I don’t want to be tag-teamed and it
15             Mr. Jacobson, would you like to step out            15   was ridiculous and improper but I normally wouldn’t
16 of the room, maybe, for a moment? You can use the               16   call it out on the record but I reviewed the
17 restroom if you need to; otherwise, just wait in the            17   transcript -- and I’ve done this to confirm this -- that
18 front room for us.                                              18   there were questions on the floor about what a certain
19             (Witness leaves the conference room.)               19   building was and whether it was the school or not. And
20             MR. ENOCH: What is it you would like to             20   as part of his interruption, Mr. Enoch blurted out to
21 say outside of his presence?                                    21   the witness that it’s the firehouse in the video, a word
22             MR. BANKSTON: Okay. I have a few things             22   that had not previously appeared in the deposition. So,
23 I need to put on the record.                                    23   of course, right after that, Mr. Jones says, quote, "And
24             First of all, just to read it really                24   I later corrected, you know, that was one of the things
25 quick, there is an order entered in this case concerning        25   that had been said that wasn’t true was that they were
                                                              79                                                                 81
 1 this deposition. In Paragraph 3 of the Judge’s                   1 at the firehouse. There was other footage from the
 2 Discovery Order, it allows that Plaintiff’s Motion is            2 school."
 3 granted and that Plaintiff may take the deposition of            3            At best, this was highly improper
 4 Robert Jacobson. It does not say that the parties may            4 conduct, and it’s exactly why we don’t allow speaking
 5 take the deposition of Robert Jacobson. It says the              5 objections in Texas. At worst, it was an attempt to
 6 Plaintiff may take the deposition of Robert Jacobson.            6 communicate an idea to the witness, conduct which is
 7             The Civil Remedies Code provides that                7 absolutely repellant to the idea of justice.
 8 limited discovery will be allowed if the party shows             8            Yet, on the following day, the problems
 9 good cause for that discovery and gets an order from the         9 continued. I only have a video, not a transcript; but,
10 Court on that limited discovery. Plaintiff has gotten           10 once again, Mr. Enoch repeatedly interrupted a
11 an order from the Court showing good cause. Defendants          11 deposition he was not defending, in which he was simply
12 have never attempted to show good cause and, in fact,           12 an observer. And, again, I’ve watched the video to
13 under the case law is extremely questionable and I see          13 confirm; and so has my cocounsel, to confirm both of our
14 no authority for an idea that a defendant would ever be         14 memories, that Mr. Dew, the corporate representative,
15 granted discovery on its own motion. The discovery is           15 visibly reacted to a gesture from Mr. Enoch during a
16 granted for the Plaintiff to meet the burdens, the              16 difficult question. And Mr. Ogden had to call him out
17 onerous burdens caused by the TCPA.                             17 on it; and you can see Mr. Dew’s reaction, how narrow
18             Nonetheless, Mr. Enoch has attempted                18 his eyes are in the deposition. During both depositions
19 right from the start to interrupt and hijack my                 19 Mr. Enoch was repeatedly asked to leave the deposition
20 deposition, which I have properly noticed, and start            20 if he refused to stay quiet. He stayed but continued to
21 asking the witness questions, questions which the               21 interrupt.
22 witness was visibly uncomfortable with. This witness            22            I am putting this all on the record right
23 agreed to appear voluntarily at this deposition with the        23 now because this deposition began rather contentiously;
24 understanding that he would be questioned by the                24 and my reaction to it was one of significant
25 Plaintiff’s counsel. He has appeared without his own            25 disturbance. I am now in a position where I have a

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                                                              82                                                                84
 1 witness who is not represented by counsel. I am facing           1            MR. ENOCH: Mr. Bankston, if I ask
 2 a counsel who at the very beginning of this deposition           2 questions, are you going to seek sanctions against --
 3 threw all sense of propriety out the window and began            3            (Indistinguishable simultaneous
 4 questioning the witness on multiple issues. Though he’s          4 speakers.)
 5 not the one who noticed this deposition, had no ability          5            MR. ENOCH: Mr. Jacobson, are you
 6 to question that witness first, and almost certainly had         6 leaving?
 7 no ability to question him at all. It has caused the             7            (Witness leaves the conference room.)
 8 witness to become very agitated.                                 8            MR. BANKSTON: He’s leaving, apparently.
 9             I do not feel I’m equipped to defend this            9 He doesn’t want to talk to you, I guess.
10 witness’ rights. I don’t represent him. What is                 10            MR. ENOCH: Okay. And my understanding
11 happening is totally inconsistent with the Court’s              11 is that you threatened me with sanctions earlier if I
12 order. We have attempted to contact the Court because I         12 asked questions. Is my understanding correct, sir?
13 believe the Court would be wanting to have some sort of         13            MR. BANKSTON: Yeah, if you were to go
14 input on, when an order like this only gives me the             14 ahead and ask him questions, I would probably bring a
15 right to question, whether Mr. Enoch should be allowed          15 motion against you. It would also be for your other
16 to question this witness who does not currently have            16 conduct in the previous two depositions; but, yeah, if
17 counsel. I’m very disturbed by this turn of events. I           17 you did that. And, again, let me just make that clear.
18 want this all on the record in case these matters need          18 You didn’t ask him any questions. I still, depending on
19 to be brought to the Court in any kind of connection            19 what we need to do, might be bringing sanctions against
20 with sanctions.                                                 20 you.
21             Right now I’m going to finish, and I’m              21            MR. ENOCH: I just -- you don’t need to
22 going to ask Mr. Jacobson to return to the room. I’m            22 give me a speech. My question was a simple one: Did
23 going to tell Mr. Jacobson that I’ve concluded with my          23 you say you would threaten me with sanctions if I asked
24 deposition, the deposition that was ordered in the              24 questions? Your answer was in the affirmative. That’s
25 Court’s order, and that I have no further need of him to        25 all I need. Thank you very much.
                                                              83                                                                85
 1 be here. I do not know what Mr. Enoch’s going to do at           1            MR. BANKSTON: Yeah, if you’re going to
 2 that point. I do not know if Mr. Enoch’s going to                2 engage in improper conduct, I will always put the
 3 attempt to try to keep the witness here. I don’t know            3 possibility of sanctions on the table.
 4 what’s going to happen.                                          4            MR. ENOCH: I disagree.
 5             I do know that I am extremely concerned              5            MR. BANKSTON: And I think you know that
 6 about a witness who -- I mean, about a lawyer who has            6 about me by now.
 7 already exhibited an incredible pattern of astonishing           7            MR. ENOCH: Mr. Bankston, we don’t have
 8 bad conduct in deposition to now take this very                  8 to have an argument over it. The question was a simple
 9 unorthodox turn.                                                 9 one. Thank you for answering.
10             That being said, those are my comments on           10            MR. BANKSTON: Are we off the record?
11 the record. I will allow Mr. Jacobson to return to the          11            THE VIDEOGRAPHER: We’re off the record
12 room and allow him to make the decision in his own best         12 at 1:55 p.m.
13 interest.                                                       13            (Deposition concluded at 1:55 p.m.)
14             MR. ENOCH: And I do not intend to                   14            (Signature of the witness was waived.)
15 respond tit for tat to what I think is self-serving             15
16 diatribe, and I will respond appropriately when                 16
17 appropriate.                                                    17
18             Let’s have the witness come back in.                18
19             (Mr. Bankston briefly left the room and             19
20 returned with the witness.)                                     20
21             MR. BANKSTON: All right, Joe. Let’s get             21
22 back on the record.                                             22
23             THE VIDEOGRAPHER: We’re still on.                   23
24             MR. BANKSTON: Mr. Jacobson, that’s all I            24
25 have for you today. Thank you for your time.                    25

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 1             CAUSE NO. D-1-GN-18-006623                                  1   and filed with the Clerk pursuant to Rule 203.3.
 2    SCARLETT LEWIS           * IN THE DISTRICT COURT OF                  2             I further certify that I am neither
        Plaintiff      *                                                   3   counsel for, related to, nor employed by any of the
 3                   *                                                     4   parties or attorneys in the action in which this
                     *
                                                                           5   proceeding was taken, and further that I am not
 4    VS.              * TRAVIS COUNTY, TEXAS
                                                                           6   financially or otherwise interested in the outcome of
                     *
                                                                           7   the action.
 5    ALEX E. JONES, INFOWARS, *
                                                                           8             Certified to by me this day, April 8,
      LLC, AND FREE SPEECH        *
                                                                           9   2019.
 6    SYSTEMS, LLC,          *
        Defendants        * 53RD JUDICIAL DISTRICT                        10
 7                                                                        11
 8              REPORTER’S CERTIFICATION                                  12
 9              ORAL/VIDEOTAPED DEPOSITION                                13               ____________________________________
                         OF                                                                Debbie D. Cunningham, CSR
10                 ROBERT JACOBSON,                                       14               CSR 2065
11               Taken on March 20, 2019                                                   Expiration: June 30, 2021
12             I, Debbie D. Cunningham, a Certified                       15               INTEGRITY LEGAL SUPPORT SOLUTIONS
13   Shorthand Reporter in and for the State of Texas, hereby                              3100 West Slaughter Lane, Suite A-101
14   certify to the following:                                            16               Austin, Texas 78748
15             That the witness, ROBERT JACOBSON, was
                                                                                           www.integrity-texas.com
16   duly sworn by me, and that the transcript of the oral
                                                                          17               512-320-8690; FIRM # 528
17   deposition is a true record of the testimony given by
                                                                          18
18   the witness;
                                                                          19
19             That examination and signature of the
20   witness to the deposition transcript was waived by the
                                                                          20
21   witness and agreement of the parties at the time of the              21
22   deposition;                                                          22
23             That the original deposition transcript                    23
24   was delivered to MR. BANKSTON, Esq.;                                 24
25             That the amount of examination time used                   25
                                                                     87
 1 by each party at the deposition is as follows:
 2         BY MR. BANKSTON:
 3         BY MR. ENOCH:
 4         BY MR. OGDEN:
 5            That $_________ is the deposition
 6 officer’s charges to the Plaintiff for preparing the
 7 original deposition transcript and copies of exhibits,
 8 if any;
 9            That pursuant to information given to the
10 deposition officer at the time said testimony was taken,
11 the following includes counsel for all parties of
12 record:
13 COUNSEL FOR PLAINTIFF:
14         KASTER LYNCH FARRAR & BALL, LLP
           1010 Lamar, Suite 1600
15         Houston, Texas
           (T) 713.221.8300
16            By: Mark D. Bankston, Esq.
                 mark@fbtrial.com
17                     AND
                 William Ogden, Esq. (VIA PHONE)
18
19 COUNSEL FOR DEFENDANTS:
20         GLAST, PHILLIPS & MURRAY, P.C.
           14801 Quorom Drive, Suite 500
21         Dallas, Texas
           (T) 972.419.8300
22            By: Mark Enoch, Esq.
                 mkenoch@gpm-law.com
23
24            That a copy of this certificate was served
25 on all parties shown herein on _____________________,


                                                                  Res Ipsa
                                                              www.res-ipsa.com
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    From: Adan S
    From: Adan S <adan@infowars.com>
                 <adan@infowars.com>
       To: "Louis
       To: "Louis S."
                  S." <louis@infowars.com>
                      <louis@infowars.com>
 Subject: Fwd:
 Subject:      Sandy Hook
          Fwd: Sandy Hook Lingerie
                          Lingerie Party
                                   Party Massacre 2000
                                         Massacre 2000
     Date:
     Date: 2012-12-21 19:30:32 +0000
           2012-12-21 19:30:32 +0000




----- Forwarded
-----  Forwarded Message
                   Message -----
From:    "luisito"
From: "luisito"
To: "Adan
To:   "Adan S"S"
Sent: Friday,
Sent:   Friday, December   21, 2012
                  December 21, 2012 11:24:08
                                     11:24:08 AM
                                              AM
Subject: Re:
Subject:         Sandy Hook
            Re: Sandy  Hook Lingerie
                            Lingerie Party
                                      Party Massacre 2000
                                            Massacre 2000

You are
You are seriously
        seriously ill to send
                  ill to send me something like
                              me something      that -- Don't
                                           like that          contact me
                                                        Don't contact    any more
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Dnia
Dnia 21
     21 grudnia 2012 19:30
        grudnia 2012 19:30 Adan
                           Adan S
                                S napisał(a):
                                  napisał(a):

> Hello
> Hello Mr.
         Mr. Gonzalez,
               Gonzalez,
>
>
> There
> There isis aa vicious
                vicious rumor   that the
                        rumor that   the date  you posted
                                         date you           your review
                                                    posted your  review ofof the
                                                                             the "Sandy
                                                                                 "Sandy Hook
                                                                                         Hook Lingerie
                                                                                               Lingerie Party
                                                                                                         Party Massacre"
                                                                                                                  Massacre" on     your site
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aslashabove.com shows
aslashabove.com       shows foreknowledge
                              foreknowledge or  or prior
                                                   prior planning, of the
                                                         planning, of the events   that have
                                                                           events that       taken place
                                                                                        have taken place as as of
                                                                                                                of late.
                                                                                                                   late.
>
>
> http://www.godlikeproductions.com/forum1/message2087015/pg1
> http://www.godlikeproductions.com/forum1/message2087015/pg1
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> http://aslashabove.com/2012/07/20/sandy-hook-lingerie-party-massacre-2000-review/
> http://aslashabove.com/2012/07/20/sandy-hook-lingerie-party-massacre-2000-review/
>
>
> At
> At first,
     first, we
             we thought
                thought this
                         this was
                              was surely
                                    surely ridiculous,
                                           ridiculous, however,   we're (Infowars.com)
                                                        however, we're                    going to
                                                                         (Infowars.com) going   to point
                                                                                                   point itit out
                                                                                                              out in an article
                                                                                                                  in an  article anyway
                                                                                                                                 anyway and
                                                                                                                                          and would
                                                                                                                                              would like to
                                                                                                                                                    like to
give you
give you thethe opportunity  to provide
                opportunity to           a comment.
                                 provide a comment.
>
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> Thank
> Thank you.
           you.
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                                 CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN                                      §                     IN DISTRICT COURT OF
   Plaintiff                                      §
                                                  §
 VS.                                              §                   TRAVIS COUNTY, TEXAS
                                                  §
 ALEX E. JONES, INFOWARS, LLC,                    §
 FREE SPEECH SYSTEMS, LLC, and                    §                        53rd DISTRICT COURT
 OWEN SHROYER,                                    §
   Defendants                                     §


                          DECLARATION OF MARK BANKSTON
STATE OF TEXAS §
               §
HARRIS COUNTY §

        I, Mark Bankston, declare under penalty of perjury that the statements herein are true and

correct:

   1.      My name is Mark Bankston. My date of birth is 10-10-1978. I am competent to make
           this declaration.

   2.      I am an attorney at the law firm Kaster Lynch Farrar & Ball, LLP, 1117 Herkimer,
           Houston, TX, 77008. I serve as lead counsel for the Plaintiff.

   3.      As a civil litigator, I have ten years of experience in complex tort lawsuits. I have tried
           over a dozen injury lawsuits to a jury, and I have represented scores of clients in over
           twenty different states in connection with various product liability, civil rights,
           employment, and negligence cases in state and federal court.

   4.      I currently serve on the Plaintiffs’ Steering Committee in Multi-District Litigation for
           MDL-2666, In re Bair Hugger Products Liability Litigation, pending in U.S. District
           Court for the District of Minnesota. I am also the Plaintiffs’ Briefing Chair for that
           consolidated proceeding. My billing in that lawsuit is submitted to the Plaintiffs’
           Steering Committee at a rate of $550 per hour.

   5.      While this lawsuit is not as complex as a medical device mass tort, it nonetheless
           presented complicated legal and evidentiary issues which required an attorney of a
           high level of competence. Given the work itemized and described in this affidavit, I
           would value my time for the purposes of this affidavit at a rate of $450 per hour.



                                                  1
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   6.    I am personally familiar with the rates charged by other attorneys of my experience
         and professional background in this locality, and my rates are reasonable for the
         locality.

   7.    In connection with the Defendants’ TCPA Motion, I rendered the following legal
         services in the trial court:

         Date            Task                                                 Time

         07-14-2018 – Drafting Plaintiff’s Mt for Expedited                    13.0
         07-15-2018   Discovery and proposed discovery requests
         07-14-2018   Consultation with expert re: discovery                     2.0

         07-15-2018 –    Drafting Plaintiff’s Mt for Spoliation                10.0
         07-17-2018      Sanctions
         07-20-2018 –    Review and notes on Defendants’ 686-page              26.0
         07-26-2018      TCPA motion to dismiss and exhibits
         07-18-2018 –    Legal research on authorities cited in TCPA           20.0
         07-21-2018      motion
         07-24-2018      Consultation with expert re: TCPA response              4.5

         07-27-2018      Consultation with client re: TCPA response              5.0

         07-30-2018   Research InfoWars, LLC website statements                  2.0
                      for affidavit
         08-01-2018 – Legal research on issues raised in TCPA                  28.0
         08-06-2018   Motion
         08-05-2018   Consultation with expert re: TCPA issue                    2.5

         08-07-2018 – Drafting Plaintiff’s response to TCPA motion             58.0
         08-26-2018
         08-30-2018   Oral hearing on TCPA motion and motion for                 2.5
                      expedited discovery
         09-15-2018 – Deposition preparation – Alex Jones                      18.0
         09-18-2018
         09-19-2018 – Deposition preparation – Owen Shroyer                      8.0
         09-22-2018
         09-25-2018 – Deposition preparation – Free Speech                     10.0
         09-26-2018   Systems, LLC and InfoWars, LLC
         10-01-2018   Drafting Plaintiff’s Motion for Contempt                   4.0


                                                                TOTAL         213.5




                                              2
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   8.    Accordingly, for 213.5 hours of services at $450/hour, I would place the reasonable
         value of attorney’s fees incurred in the trial court at $96,075.

   9.    All the work described was reasonable and necessary to respond to Defendants’ TCPA
         motion.

   10.   I have also rendered the following legal services in connection with InfoWars’
         erroneous appeal:

         Date            Task                                                 Time

         12-06-2018 –    Review and notes on Appellants’ brief and             18.0
         12-10-2018      appendix
         12-10-2018 –    Legal research on authorities in cited                20.0
         12-14-2018      Appellants’ brief
         12-16-2018 –    Research of the record on appeal re: issues in        12.0
         12-17-2018      Appellants’ brief
         12-18-2018 –    Drafting of Appellees’ brief                          50.0
         12-26-2018

                                                                TOTAL         100.0

   11.   Accordingly, for 100 hours of services at $450/hour, I would place the reasonable
         value of attorney’s fees for the appeal at $45,000.


         Executed in Harris County, State of Texas on September 29, 2019.




                                                  __________________________
                                                  Mark Bankston




                                              3
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                                                                                                                District Clerk
                                                                                                                Travis County
                                                                                                             D-1-GN-18-001835
                                                   NO. p-1-GN-18-001835                                           Kyla Crumley

        NEIL  HESLIN                                                S              IN THE DISTRICT COURT
            Ptaintiff                                               S


        vs.                                                         $
                                                                    s
                                                                    $               TRAVIS COUNTY, TEXAS
        ALEX E. JONES, INFOWARS, LLC,                               S
        FREE SPEECH SYSTEMS, LLC, and                               S
        owEN      SHROYER                                           S
           Defendants                                               S               261't JUDICIAL DISTRICT

                              DEFENDANTS' STIPULATION AND RESPONSE TO
                                 PLAINTIFF'S THIRD AMENDED PETITION

                 This Stipulation and Response to Plaintiff's Third Amended Petition is brought by Alex

        E. Jones, INnowtRs, LLC, Fnee SpErcu Systrvts, LLC, and Owen Shroyer (Defendants), and in

        support would respectfully show the Court the following:

                                                            I.   Stipulation

                 Defendants agree to narrow the issues argued in the Motion to Dismiss Under the Texas

        Citizens Participation Act by assuming for purposes of the motion only that the well-pleaded

        factual allegations in the Petition are true. As a result, discovery is unnecessary.

                                    II. Response to Plaintiff s Third Amended         Petition

                A.   Introduction

                 Plaintiff, Neil Heslin, alleged causes of action against each Defendant when the Motion

        to Dismiss was filed were as follows:

          Defendant         Defamation           Defamation        Respondeat     Conspiracv     Total Causes
                                                   Per Se           Sunerior                      of Action
                           (2) lune26          (2) June26                         (2) Jurre26
        Alex Jones         and July 20,        and July 20,                       and July 20,        6
                           20r7                2017                               2017
                           (2) lune26          (2) lune26          (2) lune26     (2) lune26
        INnoWaRs,
                           and July 20,        and July 20,        and July 20,   and July 20,        8
        LLC
                           2017                2017                2017           2017
        FRep Spepcn        (2) June26          (2) Iune26          (2) June26     (2) lune26
                                                                                                      8
        SYsreus,           and July 20,        and July 20,        and Julv 20.   and July 20,


        SrupuL.tnoN,ttto Rtspovss ro PUUNTrFF's Tano Auoyoeo PortruoN                                     Pecs 1 on 5
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                     (2) June 26          (2) Iune26                         (2) lune 26
                     and July 20,         and July 20,                       and July 20,
                     2017                 2017                               20t7
Total Causes
of Action
Against
Defendants


         On August 8, 2019, Plaintiff fied Plaintiff's Third Amended Petition, nonsuiting all

causes   of action against all Defendants for conspiracy and respondeat superior. In total, Plaintiff

nonsuited twelve causes of action. With the new amended pleading, only the following causes              of
action for defamation and defamation per se remain:

                                                                               Total Causes of

                              (2) June 26 and              (2) June 26 and
Alex Jones
                              lluJy 20,2017                luly 20,2017
                              (2) June 26 and              (2) June 26 and
INpoWans , LLC
                              July 20,2017                 luly 20,2017
                              (2) June 26 and              (2) June 26 and
                              July 20,2017                 Iuly 20,2017
                              (2) June 26 and              (2) June 26 and
                              Julv 20.2017                 Iulv 20.2017
Total Causes of
Action Against
Defendants


         Plaintiff nonsuited the twelve causes of action after the Defendants filed their Motion         tct


Dismiss. Therefore, Defendants pending claims for affirmative relief under the TCPA, including

dismissal with prejudice, attorney's fees, and sanctions against Plaintiff for these causes of

action, survive the nonsuit.




SNPULATION AND RESP2NSE To PLAINTIFF,S THIRD AMENDED PETIT|oN                                    PAGE 2 OF 5
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         B. Argument and Authorities

         Under Texas law, parties have an inherent right to nonsuit their claims for relief at any

time until they have introduced all evidence, other than rebuttal evidence, at tt',al. However,                 a

party's decision to nonsuit does not control the fate of a nonmoving party's independent claims

for affirmative relief. Tpx. R. Cry. P. 162. A motion to dismiss that may afford more relief than               a

nonsuit affords constitutes a claim for affirmative relief that survives a nonsuit. Rauhauser                  v.


McGibney,508 S.W.3d 377,381 (Tex. App.-Fort Worth 2014, no pet.) (citing to

CTL/Thompson Tex., LLC v. Starwood Homeowner's Ass'n, 1nc.,390 S.W.3d 299,300-01 (Tex.

2013)); Villafoni v. Trejo,25l S.W.3d 466, 468-69 (Tex.2008); Klein v. Dooley,949 S.W.2d

307,308 (Tex.1997). The TCPA mandates that if the court orders dismissal of a legal action, the

court shall award the moving party:                  (l)   court costs, reasonable attorney's fees, and other

expenses incurred in defending against the legal action as justice and equity may require; and (2)

sanctions against the party who brought the legal action as the court determines sufficient to

deter the party who brought the legal action from bringing similar actions described                    in   this

chapter.   Trx. Crv. Pnac. & REu. Coop $27.008(a)(1-2). Thus, a motion to dismiss under the

TCPA may afford more relief than a nonsuit provides and constitutes affirmative relief that can

be pursued and granted even after the claims have been withdrawn or nonsuited. See                           e.g.

Rauhauser v. McGibney, 508 S.W.3d 377; Walker v. Hartman, l9-76-00299-CY, 2017 WL

 1173827 (Tex. App.-Beaumont Mar. 30,2017, no. pet. h.); Souza v. Tessmer, No. 04-15-

00153-CV, 2015 Tex. App. LEXIS 8686, at x9 (Tex. App.-San Antonio 2075, no pet. h.);

James v. Calkins,446 S.W.3d 135,146 (Tex.                   App.-Houston [1st Dist.] 2014, pet. denied).

         In Rauhauser, the plaintiffs nonsuited all of their claims after the defendant filed a TCPA

motion to dismiss. Rauhauser, 508 S.W.3d at 382. The Rauhauser Court held the defendant was



STlPULATION AND RESPaNSE To PLAINTIFF,s THlRD AMENDED PETlT]oN                                        PAGE 3 OF 5
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still entitled to   a hearing on his motion          to dismiss, seeking dismissal with prejudice, attorney's

fees and sanctions. Id. The court further held that because the appellant met his burden to show

by a preponderance of the evidence that the legal action against him was based on, related to, or

in response to his exercise of free speech, and because the Plaintiffs nonsuited their claims and

thus did not attempt to establish by clear and specific evidence each essential element of their

claims, the motion to dismiss should have been granted. Id. The court remanded the case to the

trial court to decide defendant's request for dismissal with prejudice, attorney's fees, and

sanctions.1d.

         As the Rauhauser court noted, "fa]lthough a plaintiff decides which of its own claims to

pursue or to abandon, that decision does not control the fate of a nonmoving party's independent

claims for affirmative relief." Rauhauser,508 S.W.3d at382. Like in Rauhauser, Defendants

have met their burden to show by a preponderance of the evidence that the legal action against

them was based on, related to, or in response to their exercise of the right of free speech, right to

petition, and right of association. Plaintiff elected to nonsuit his causes of action pertaining to

conspiracy and respondeat superior, rather than attempt                  to   establish   by clear and specific
evidence     a prima facie case for each essential element of his claims against                   Defendants.

Therefore, this Court should grant Defendants' Motion to Dismiss as to the recently nonsuited

twelve causes of action.

                                                        PRAYER

         For the reasons set forth above, this Court should grant Defendants' Motion to Dismiss as

to the recently nonsuited twelve causes of action.




STIPULAT(ON AND RESPONSE TO PLAINTIFF'S THIRD AMENDED PETITlON                                         PAGE 4 OF 5
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                                                           Respectfu   lly submitted,

                                                           BUnNETTTURNER
                                                           6034 W. Courtyard Drive, Suite 140
                                                           Austin, Texas 78730
                                                           Tel: (512) 472-5060
                                                           Fax: (512) 472-5427




                                                           State Bar No. 00790399
                                                           mburnett@BurnettTurner. com
                                                           Scott Nyitray
                                                           State Bar No. 24094876
                                                           snlzitralz@ BurnettTurner. com



                                          CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that pursuant to Rule 2l of the TExes Rur-es
oF CIVL PRocpouRE, a true and correct copy of foregoing document was served on the
following attorney or party on October 1,2019, as follows:

          Via E -Se rvice : mark@lbtrial c om
          Mark D. Bankston
          Kasren LnvcH FaRneR & Ball, LLP
          I 17 Herkirner Street
          Houston, Texas 77008




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                                                                                                          District Clerk
                                                                                                          Travis County
                                                 NO. D-l-GN-18-001835                                  D-1-GN-18-001835
                                                                                                               Irene Silva
        NEIL HESLIN                                         s                 IN THE DISTRICT COURT
          Plaintiff                                         s
                                                            s
        vs.                                                 $
                                                            s                  TRAVIS COUNTY, TEXAS
        ALEX E. JONES, INFOWARS, LLC,                       s
        FR.EE SPEECH SYSTEMS, LLC, and                      s
        OWEN SHROYER                                        s
            Defendants                                       $                 261't JUDICIAL DISTRICT

                                  MOTION FOR SUBSTITUTION OF COUNSEL

                 This Motion   for   Substitution of Counsel is brought by Alex E. Jones, IttEowRRs, LLC,

        FREr SprpcH SysrEMS, LLC, and Owen Shroyer (Defendants), who request the Court to grant

        permission to substitute Michael Burnett, ButNerrTuRNER as attomey of record in this case.


                 Michael Burnett; BunNerrTuRNER; 6034 W. Courtyard Drive, Suite 140, Austin, Texas

        78730; Telephone: (512) 472-5060; Facsimile: (512) 472-5427;                                   Email:

        mburnett@BurnettTurner.com; and State Bar No. 00790399, has been employed to represent

        Defendants as evidenced by their signature on this motion. Defendants approve this substitution.

        This substitution is not sought for delay only.


                 Defendants prays       that the Court enter an order substituting Michael Burnett,
        BunNprrTuRNER and discharging Mark C. Enoch,             Mam   C. ENoctt, P.C. and Glast, Phillips and

        Murray, PC as attorney of record for Defendants.




         MorIoN Eon SunsururtoN oF couNSEL                                                           Pacp l op3
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                                         Respectfully submitted,

                                         BuRnerrTuRNER
                                         6034 W. Courtyard Drive, Suite 140
                                         Austin. Texas 78730
                                         (stz) 472-s060
                                         (512) 472-5427 Fax




                                         State Bar No. 00790399
                                         nr burnett @t BurnettTurne   r.   com
                                         Scott A. Nyitray
                                         State Bar No. 24094876
                                         sn],itray @BurnettTurner.com


                                         SUBSTITUTING ATTORNEY FOR
                                         DEFENDANTS




  AGREED TO AND APPROVED:




  FREc SpEecu    Sysrevs. LLC. and
  Orven S hroyer. Defendants




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                                     CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that pursuant to Rule 21 of the Texas Rurps
oF CIVIL PRoceouRE, a true and correct copy of foregoing document was served on each below-
named attorney of record or party on the 4th day of November 2019, as follows:

        Via E-S ervice : mark@,fbtrial com
        Mark D. Bankston
        Kyle W. Farrar
        William R. Ogden
        Kesrrn Lnvcu FannaR & BaLL, L.L.P
        1117 Herkimer Street
        Houston, Texas 77008
        ATTORNEYS FOR PLAINTIFF

        Via E -S ervic e : Ib!!@WfiW.
        Mark C. Enoch
        Mem C. ENocu, P.C.
        14801 Quorum Drive, Ste. 500
        Dallas, Texas 75254
        CURRENT ATTORNEY FOR DEFENDANTS




 MorroN ron SueslrutloN oF couNSEL                                                  Pecp 3 on   3
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                                                                                   Travis County
                                                                                D-1-GN-18-001835
                          CAUSE NO. D-1-GN-18-001835                              Selina Hamilton

NEIL HESLIN,                           §           IN THE DISTRICT COURT OF
     Plaintiff                         §
                                       §
VS.                                    §           TRAVIS COUNTY, TEXAS
                                       §
ALEX E. JONES, INFOWARS,               §
LLC, FREE SPEECH SYSTEMS,              §
LLC and OWEN SHROYER,                  §
     Defendants                        §            53rd DISTRICT COURT



           DEFENDANTS’ NOTICE OF INTERLOCUTORY APPEAL


To the Honorable Scott H. Jenkins:

         On October 18, 2019, the Court signed an order denying Defendants’ Motion

to Dismiss under the Texas Citizens’ Participation Act, which all Defendants in

this case hereby appeal. Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC

and Owen Shroyer give notice of an interlocutory appeal to the Third District

Court of Appeals pursuant to TEX. CIV. PRAC. & REM. CODE §51.014(a)(12).

The appeal shall be expedited as provided by TEX. CIV. PRAC. & REM. CODE

§27.008(b). All other proceedings in the trial court are stayed pending resolution of

the appeal. TEX. CIV. PRAC. & REM. CODE §51.014(b).

         Dated: November 7, 2019.




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                                     Respectfully submitted,

                                     The Law Firm of T. Wade Jefferies
                                     401 Congress Ave., Suite 1540
                                     Austin, TX 78701

                                     /s/ T. Wade Jefferies
                                     T. Wade Jefferies
                                     Attorney for: Alex E. Jones, INFOWARS,
                                     LLC, FREE SPEECH SYSTEMS, LLC and
                                     Owen Shroyer
                                     Bar no: 00790962
                                     Phone: (512) 201-2727
                                     Fax: (512) 687-3499
                                     Email: twadejefferies@twj-law.com


                        CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that pursuant to Rule 21 of the
Texas Rules of Civil Procedure, a true and correct copy of the foregoing document
was served on the following attorney via E-Service on November 7, 2019:

Mark D. Bankston
KASTER LYNCH FARRAR & BALL, LLP
1010 Lamar, Suite 1600
Houston, TX 77002
mark@fbtrial.com
Attorney for: Neil Heslin

                                     /s/ T. Wade Jefferies
                                     T. Wade Jefferies




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                                CAUSE NO. D-1-GN-18-001835                                  D-1-GN-18-001835
                                                                                              Selina Hamilton

NEIL HESLIN,                                 §                IN THE DISTRICT COURT OF
      Plaintiff                              §
                                             §
VS.                                          §                TRAVIS COUNTY, TEXAS
                                             §
ALEX E. JONES, INFOWARS,                     §
LLC, FREE SPEECH SYSTEMS,                    §
LLC and OWEN SHROYER,                        §
      Defendants                             §                 53rd DISTRICT COURT



                   DESIGNATION OF COURT REPORTER’S RECORD


TO THE CLERK OF THE COURT:

       Alex E. Jones, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC and Owen Shroyer,

Defendants, filed a Notice of Appeal in this case on November 7, 2019. Defendants Alex E.

Jones, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC and Owen Shroyer request the

court reporter to prepare a transcript with exhibits of the October 3, 2019 hearing conducted

before Judge Jenkins for inclusion in the appellate record.

       Dated: November 7, 2019.

                                             Respectfully submitted,

                                             The Law Firm of T. Wade Jefferies
                                             401 Congress Ave., Suite 1540
                                             Austin, TX 78701

                                             /s/ T. Wade Jefferies
                                             T. Wade Jefferies
                                             Attorney for: Defendants
                                             Bar no: 00790962
                                             Phone: (512) 201-2727
                                             Fax: (512) 687-3499
                                             Email: twadejefferies@twj-law.com
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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that pursuant to Rule 21 of the Texas Rules of
Civil Procedure, a true and correct copy of the foregoing document was served via electronic
filing manager on all attorneys of record on November 7, 2019:

                                             /s/ T. Wade Jefferies
                                             T. Wade Jefferies
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                                  CAUSE NO. D-1-GN-18-001835                                   D-1-GN-18-001835
                                                                                                 Selina Hamilton

NEIL HESLIN,                                   §             IN THE DISTRICT COURT OF
      Plaintiff                                §
                                               §
VS.                                            §             TRAVIS COUNTY, TEXAS
                                               §
ALEX E. JONES, INFOWARS,                       §
LLC, FREE SPEECH SYSTEMS,                      §
LLC and OWEN SHROYER,                          §
      Defendants                               §              53rd DISTRICT COURT



                   DESIGNATION OF FILINGS FOR CLERK’S RECORD


TO THE CLERK OF THE COURT:

       Alex E. Jones, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC and Owen Shroyer,

Defendants, filed a Notice of Appeal in this case on November 7, 2019. In accordance with

APPELLATE RULE 34.5(a) and (b), Alex E. Jones, INFOWARS, LLC, FREE SPEECH

SYSTEMS, LLC and Owen Shroyer, Defendants, request the clerk to prepare a clerk’s record of

the proceeding in this case for inclusion in the appellate record. This list includes those items

required by Texas Rules of Appellate Procedure Rule 34.5(a).

       Dated: November 7, 2019.

       1.        The Clerk’s Docket Sheet for this case.

       2.        Plaintiff’s Original Petition and Request for Disclosure (filed April 16, 2018)

       3.        Defendants’ Original Answer (filed June 18, 2018)

       4.        Defendants’ First Amended Answer (filed July 13, 2018)

       5.        Defendants’ Motion to Dismiss Under the Texas Citizens Participation Act (filed

July 13, 2018)

       6.        Defendants’ Notice of Hearing on Motion to Dismiss (filed July 19, 2018)
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        7.    Defendants’ Letter to Clerk with thumb drive containing video exhibits (filed July

23, 2018) Thumb drive to be included in Clerk’s Record.

        8.    Plaintiff’s Motion for Sanctions for Intentional Destruction of Evidence (filed

August 17, 2018)

        9.    Plaintiff’s Motion for Expedited Discovery in Aid of Plaintiff’s Response to

Defendants’ TCPA Motion (filed August 17, 2018)

        10.   Defendants’ Response to Plaintiff’s Motion for Sanctions and Motion for

Expedited Discovery (filed August 23, 2018)

        11.   Plaintiff’s Response to Defendants’ Motion to Dismiss Under the Texas Citizens

Participation Act (filed August 27, 2018)

        12.   Supplemental Affidavit in Support of Defendants’ Motion to Dismiss Under the

Texas Citizens Participation Act (filed August 27, 2018)

        13.   Defendants’ First Amended Response to Plaintiff’s Motion for Sanctions and

Motion for Expedited Discovery and Defendants Motion for Sanctions (filed August 27, 2018)

        14.   Supplemental Affidavits in Support of Defendants’ Motion to Dismiss Under the

Texas Citizens Participation Act (filed August 28, 2018)

        15.   Supplemental Affidavit in Support of Defendants’ First Amended Response to

Plaintiff’s Motion for Expedited Discovery and Motion for Sanctions (filed August 28, 2018)

        16.   Defendants’ Objections to Plaintiff’s Evidence Submitted in Response to

Defendants’ Motion to Dismiss Under the Texas Citizens Participation Act (filed August 29,

2018)

        17.   Defendants’ First Supplemental Motion to Dismiss Under the Texas Citizens

Participation Act (filed August 29, 2018)
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       18.    Supplemental Affidavit in Support of Defendants’ First Amended Response to

Plaintiff’s Motion for Expedited Discovery and Motion for Sanctions (filed August 29, 2018)

       19.    Defendants’ Second Amended Answer (filed August 29, 2018)

       20.    Defendants’ Second Supplemental Motion to Dismiss Under the Texas Citizens

Participation Act (filed August 30, 2018)

       21.    Supplemental Affidavit in Support of Defendants’ First Amended Response to

Plaintiff’s Motion for Expedited Discovery and Motion for Sanctions (filed August 30, 2018)

       22.    Letter to Clerk including a thumb drive containing Exhibit 3 to Defendants’

Second Supplemental Motion to Dismiss Under the Texas Citizens Participation Act (filed

August 30, 2018) Thumb drive to be included in Clerk’s Record.

       23.    Letter to Clerk including a flash drive containing Exhibits B1 and B2 to Plaintiff’s

Response to Defendants’ Motion to Dismiss (filed August 30, 2018) Flash drive to be included in

Clerk’s Record.

       24.    Order on Plaintiffs’ Motion for Expedited Discovery and in Aid of Plaintiff’s

Response to Defendants’ TCPA Motion (filed August 31, 2018)

       25.    Defendants’ Request for Rulings on Timely Filed Objections to Plaintiff’s

Evidence (filed September 11, 2018)

       26.    Defendants’ Second Request for Rulings on Timely Filed Objections to Plaintiff’s

Evidence (filed September 25, 2018)

       27.    Plaintiff’s Motion for Contempt Under Rule 215 (filed October 1, 2018)

       28.    Alex E. Jones, INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC, and Owen

Shroyer’s Notice of Interlocutory Appeal (filed October 2, 2018)

       29.    Plaintiff’s First Amended Petition (filed on June 26, 2019)
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       30.     Plaintiff’s Third Amended Petition (filed on August 8, 2019)

       31.     Plaintiff’s Supplemental Response to Defendants’ Motion to Dismiss Under the

Texas Citizens Participation Act (filed September 30, 2019)

       32.     Defendants’ Stipulation and Response to Plaintiff’s Third Amended Petition (filed

October 1, 2019)

       33.     Order on Plaintiff’s Motion for Contempt Under Rule 215 and Defendants’

Motion to Dismiss Under the TCPA (filed October 18, 2019)

       34.     Defendants’ Notice of Interlocutory Appeal (filed November 7, 2019)

       35.     Designation of Court Reporter’s Record (filed November 7, 2019)

       36.     Designation of Filings for Clerk’s Record (filed November 7, 2019)

                                             Respectfully submitted,

                                             The Law Firm of T. Wade Jefferies
                                             401 Congress Ave., Suite 1540
                                             Austin, TX 78701

                                             /s/ T. Wade Jefferies
                                             T. Wade Jefferies
                                             Attorney for: Defendants
                                             Bar no: 00790962
                                             Phone: (512) 201-2727
                                             Fax: (512) 687-3499
                                             Email: twadejefferies@twj-law.com


                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that pursuant to Rule 21 of the Texas Rules of
Civil Procedure, a true and correct copy of the foregoing document was served via electronic
filing manager on all attorneys of record on November 7, 2019:

                                             /s/ T. Wade Jefferies
                                             T. Wade Jefferies
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                                 NO. D-1-GN-18-001835

NEIL HESLIN,                                §            IN THE DISTRICT COURT OF
                                            §
      Plaintiff,                            §
                                            §
v.                                          §            TRAVIS COUNTY, TEXAS
                                            §
ALEX E. JONES, INFOWARS, LLC,               §
FREE SPEECH SYSTEMS, LLC, and               §
OWEN SHROYER,                               §
                                            §
      Defendants                            §            261st JUDICIAL DISTRICT


           ORDER ON MOTION FOR SUBSTITUTION OF COUNSEL

      On this date came on for consideration the Motion for Substitution of Counsel for

Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and Owen

Shroyer. Noting that defendants consent to this motion and substitution of counsel, the

Court finds that it should be GRANTED.

      Therefore it is ORDERED that Michael Burnett of Burnett Turner (6034 W.

Courtyard Drive, Suite 140, Austin, Texas 78730) shall be substituted as counsel for

Defendants and Defendants’ counsel, Mark C. Enoch of Glast, Phillips & Murray, P.C.,

be permitted to withdraw as their counsel of record.

      SIGNED this _________ day of _______________________, 2019.




                                         JUDGE PRESIDING
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                                                                                               D-1-GN-18-001835
                                                                                                  Sandra Santos
                                            LORA J. LIVINGSTON
                                             Local Administrative Judge
Travis County Courthouse                                                                            (512) 854-9309
     P. O. Box 1748                            DISTRICT COURTS                                 FAX (512) 854-9332
   Austin, TX 78767

                                               March 9, 2021



        Mark C. Enoch                                        Mark D. Bankston
        Mark C. Enoch. PC                                    Kyle W. Farrar
        14801 Quorum Drive, Suite 500                        Kaster Lynch Farrar & Ball, LLP
        Dallas, Texas 75254-1449                             1117 Herkimer Street
        Via email: fly63rc@verizon.net                       Houston, Texas 77008
                                                             Via email: mark@fbtrial.com
        Robert E. Barnes                                     Via email: kyle@fbtrial.com
        Barnes Law
        601 S. Figueroa Street, Suite 4050                   T. Wade Jeffries
        Los Angeles, CA 90017                                The Law Office of T. Wade Jefferies
        Via email: robertbarnes@barneslawllp.com             401 Congress Avenue, Suite 1540
                                                             Austin, Texas 78701
        Michael Burnett                                      Via email: twadejefferies@twj-law.com
        Scott Nyitray
        Burnett Turner                                       Eric J. Taube
        6034 W. Courtyard Drive, Suite 140                   Kevin W. Brown
        Austin, Texas 78730                                  Waller Lansden Dortch & Davis LLP
        Via email: mburnertt@burnettturner.com               100 Congress Avenue, Suite 1800
        Via email: snyitray@burnettturner.com                Austin, Texas 78701
                                                             Via email: eric.taube@wallerlaw.com
                                                             Via email: kevin.brown@wallerlaw.com


                 Re: Cause No. D-1-GN-18-001605; Marcel Fontaine vs. Alex E. Jones,
                 INFOWARS, LLC, et al; in the 459th Judicial District, Travis County, Texas

                 Re: Cause No. D-1-GN-18-001835; Neil Heslin vs. Alex E. Jones, INFORWARS,
                 LLC, et al; in the 261st Judicial District, Travis County, Texas

                 Re: Cause No. D-1-GN-18-001842; Leonard Pozner and Veronique De La Rosa
                 vs. Alex E. Jones, INFORWARS, LLC, et al; in the 345th Judicial District, Travis
                 County, Texas
                 Re: Cause No. D-1-GN-18-006623; Scarlett Lewis vs. Alex E. Jones, InfoWars,
                 LLC, and Free Speech Systems, LLC; in the 98th Judicial District, Travis County,
                 Texas
                 Re: Cause No. D-1-GN-19-004651; Neil Heslin vs. Alex E. Jones, InfoWars, LLC
                 and Free Speech Systems, LLC; in the 261st Judicial District, Travis County, Texas
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D-1-GN-18-001842, D-1-GN-18-006623
& D-1-GN-19-004651
Page 2 of 2



Dear Counsel:

        In accordance with Chapter 2.6, the above cases have been reassigned from
JUDGE SCOTT JENKINS to JUDGE MAYA GUERRA GAMBLE for the handling of
all pre-trial, trial and post-judgment proceedings.

       Thank you.

                                            Sincerely,



                                            LORA J. LIVINGSTON
                                            Local Administrative Judge
                                            Travis County, Texas




LJL/lme/arb
xc: Velva L. Price, District Clerk
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 51310287
Status as of 3/10/2021 2:17 PM CST

Associated Case Party: NeilHeslin

Name                BarNumber   Email              TimestampSubmitted    Status

Mark D.Bankston                 mark@fbtrial.com   3/9/2021 4:15:17 PM   SENT



Associated Case Party: AlexE.Jones

Name                BarNumber   Email                         TimestampSubmitted    Status

Mark C.Enoch                    fly63rc@verizon.net           3/9/2021 4:15:17 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com    3/9/2021 4:15:17 PM   SENT

Scott Nyitray                   snyitray@BurnettTurner.com    3/9/2021 4:15:17 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com    3/9/2021 4:15:17 PM   SENT



Associated Case Party: InfoWars, LLC

Name                BarNumber   Email                         TimestampSubmitted    Status

Mark C.Enoch                    fly63rc@verizon.net           3/9/2021 4:15:17 PM   SENT

Scott Nyitray                   snyitray@BurnettTurner.com    3/9/2021 4:15:17 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com    3/9/2021 4:15:17 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com    3/9/2021 4:15:17 PM   SENT



Associated Case Party: Free Speech, LLC

Name                BarNumber   Email                         TimestampSubmitted    Status

Mark C.Enoch                    fly63rc@verizon.net           3/9/2021 4:15:17 PM   SENT

Scott Nyitray                   snyitray@BurnettTurner.com    3/9/2021 4:15:17 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com    3/9/2021 4:15:17 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com    3/9/2021 4:15:17 PM   SENT
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                      235 of 285
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Envelope ID: 51310287
Status as of 3/10/2021 2:17 PM CST

Associated Case Party: Owen Shroyer

Name                BarNumber    Email                         TimestampSubmitted     Status

Mark C.Enoch                     fly63rc@verizon.net           3/9/2021 4:15:17 PM    SENT

Scott Nyitray                    snyitray@BurnettTurner.com    3/9/2021 4:15:17 PM    SENT

Michael Burnett                  mburnett@BurnettTurner.com    3/9/2021 4:15:17 PM    SENT

T. Wade Jefferies                twadejefferies@twj-law.com    3/9/2021 4:15:17 PM    SENT



Case Contacts

Name              BarNumber   Email                           TimestampSubmitted     Status

William Ogden                 bill@fbtrial.com                3/9/2021 4:15:17 PM    SENT

Jill Bauerlein                jbauerlein@BurnettTurner.com    3/9/2021 4:15:17 PM    SENT
       22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                          236 of 285                  3/10/2021 11:40 AM
                                                                                                   Velva L. Price
                                                                                                  District Clerk
                                                                                                  Travis County
                                                                                               D-1-GN-18-001835
                                                                                                    Gilberto Rios
                                            LORA J. LIVINGSTON
                                             Local Administrative Judge
Travis County Courthouse                                                                            (512) 854-9309
     P. O. Box 1748                            DISTRICT COURTS                                 FAX (512) 854-9332
   Austin, TX 78767

                                               March 9, 2021



        Mark C. Enoch                                        Mark D. Bankston
        Mark C. Enoch. PC                                    Kyle W. Farrar
        14801 Quorum Drive, Suite 500                        Kaster Lynch Farrar & Ball, LLP
        Dallas, Texas 75254-1449                             1117 Herkimer Street
        Via email: fly63rc@verizon.net                       Houston, Texas 77008
                                                             Via email: mark@fbtrial.com
        Robert E. Barnes                                     Via email: kyle@fbtrial.com
        Barnes Law
        601 S. Figueroa Street, Suite 4050                   T. Wade Jeffries
        Los Angeles, CA 90017                                The Law Office of T. Wade Jefferies
        Via email: robertbarnes@barneslawllp.com             401 Congress Avenue, Suite 1540
                                                             Austin, Texas 78701
        Michael Burnett                                      Via email: twadejefferies@twj-law.com
        Scott Nyitray
        Burnett Turner                                       Eric J. Taube
        6034 W. Courtyard Drive, Suite 140                   Kevin W. Brown
        Austin, Texas 78730                                  Waller Lansden Dortch & Davis LLP
        Via email: mburnertt@burnettturner.com               100 Congress Avenue, Suite 1800
        Via email: snyitray@burnettturner.com                Austin, Texas 78701
                                                             Via email: eric.taube@wallerlaw.com
                                                             Via email: kevin.brown@wallerlaw.com


                 Re: Cause No. D-1-GN-18-001605; Marcel Fontaine vs. Alex E. Jones,
                 INFOWARS, LLC, et al; in the 459th Judicial District, Travis County, Texas

                 Re: Cause No. D-1-GN-18-001835; Neil Heslin vs. Alex E. Jones, INFORWARS,
                 LLC, et al; in the 261st Judicial District, Travis County, Texas

                 Re: Cause No. D-1-GN-18-001842; Leonard Pozner and Veronique De La Rosa
                 vs. Alex E. Jones, INFORWARS, LLC, et al; in the 345th Judicial District, Travis
                 County, Texas
                 Re: Cause No. D-1-GN-18-006623; Scarlett Lewis vs. Alex E. Jones, InfoWars,
                 LLC, and Free Speech Systems, LLC; in the 98th Judicial District, Travis County,
                 Texas
                 Re: Cause No. D-1-GN-19-004651; Neil Heslin vs. Alex E. Jones, InfoWars, LLC
                 and Free Speech Systems, LLC; in the 261st Judicial District, Travis County, Texas
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
D-1-GN-18-001605, D-1-GN-18-001835,237 of 285
D-1-GN-18-001842, D-1-GN-18-006623
& D-1-GN-19-004651
Page 2 of 2



Dear Counsel:

        In accordance with Chapter 2.6, the above cases have been reassigned from
JUDGE SCOTT JENKINS to JUDGE MAYA GUERRA GAMBLE for the handling of
all pre-trial, trial and post-judgment proceedings.

       Thank you.

                                            Sincerely,



                                            LORA J. LIVINGSTON
                                            Local Administrative Judge
                                            Travis County, Texas




LJL/lme/arb
xc: Velva L. Price, District Clerk
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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Envelope ID: 51335071
Status as of 3/10/2021 3:02 PM CST

Associated Case Party: AlexE.Jones

Name                BarNumber    Email                           TimestampSubmitted      Status

Mark C.Enoch                     fly63rc@verizon.net             3/10/2021 11:40:29 AM   SENT

Michael Burnett                  mburnett@BurnettTurner.com      3/10/2021 11:40:29 AM   SENT

Scott Nyitray                    snyitray@BurnettTurner.com      3/10/2021 11:40:29 AM   SENT

T. Wade Jefferies                twadejefferies@twj-law.com      3/10/2021 11:40:29 AM   SENT



Case Contacts

Name             BarNumber   Email                            TimestampSubmitted      Status

Jill Bauerlein               jbauerlein@BurnettTurner.com     3/10/2021 11:40:29 AM   SENT



Associated Case Party: NeilHeslin

Name                BarNumber    Email              TimestampSubmitted       Status

Mark D.Bankston                  mark@fbtrial.com   3/10/2021 11:40:29 AM    SENT
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                   240 of 285                   3/11/2021 5:21 PM
                                                                                        Velva L. Price
                                                                                       District Clerk
                                                                                       Travis County
                                                                                    D-1-GN-18-001835
                                                                                       Chloe Jimenez


                            MAYA GUERRA GAMBLE
                             Judge, 459th District Court
                     Heman Marion Sweatt Travis County Courthouse
                                   P.O. Box 1748
                                 Austin, Texas 78767
                                    512-854-9384

March 11, 2021

Mark C. Enoch                                   Mark D. Bankston
Mark C. Enoch. PC                               Kyle W. Farrar
14801 Quorum Drive, Suite 500                   Kaster Lynch Farrar & Ball, LLP
Dallas, Texas 75254-1449                        1117 Herkimer Street
Via email: fly63rc@verizon.net                  Houston, Texas 77008
                                                Via email: mark@fbtrial.com
Robert E. Barnes                                Via email: kyle@fbtrial.com
Barnes Law
601 S. Figueroa Street, Suite 4050              T. Wade Jeffries
Los Angeles, CA 90017                           The Law Office of T. Wade Jefferies
Via email: robertbarnes@barneslawllp.com        401 Congress Avenue, Suite 1540
                                                Austin, Texas 78701
Michael Burnett                                 Via email: twadejefferies@twj-law.com
Scott Nyitray
Burnett Turner                                  Eric J. Taube
6034 W. Courtyard Drive, Suite 140              Kevin W. Brown
Austin, Texas 78730                             Waller Lansden Dortch & Davis LLP
Via email: mburnertt@burnettturner.com          100 Congress Avenue, Suite 1800
Via email: snyitray@burnettturner.com           Austin, Texas 78701
                                                Via email: eric.taube@wallerlaw.com
                                                Via email: kevin.brown@wallerlaw.com



      Re: Cause No. D-1- GN-18-001605; Marcel Fontaine vs. Alex E. Jones, INFOWARS,
      LLC, et al; in the 459th Judicial District, Travis County, Texas

      Re: Cause No. D-1-GN-18-001835; Neil Heslin vs. Alex E. Jones, INFOWARS, LLC, et
      al; in the 261st Judicial District, Travis County, Texas

      Re: Cause No. D-1-GN-18-001842; Leonard Pozner and Veronique De La Rosa vs. Alex
      E. Jones, INFOWARS, LLC, et al; in the 345th Judicial District, Travis County, Texas
22-01023-tmd  Doc#1-10
D-1- GN-18-001605,      Filed 04/18/22
                   D-1-GN-18-001835,   Entered 04/18/22D-1-GN-18-006623,
                                     D-1-GN-18-001842,  14:16:53 Exhibit B contd. Pg
D-1-GN-19-004651                     241 of 285

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       Re: Cause No. D-1-GN-18-006623; Scarlett Lewis vs. Alex E. Jones, INFOWARS, LLC,
       and Free Speech Systems, LLC; in the 98th Judicial District, Travis County, Texas

       Re: Cause No. D-1-GN-19-004651; Neil Heslin vs. Alex E. Jones, INFOWARS, LLC and
       Free Speech Systems, LLC; in the 261st Judicial District, Travis County, Texas

Dear Counsel:

        These cases have been assigned to the 459th District Court pursuant to Travis County Local
Rule 2.6. You must present all motions and orders, including agreed motions and orders, to this
court only. Please note that simply filing a motion with the District Clerk does not bring it to the
court’s attention as I do not receive these documents automatically. You must file pleadings with
the District Clerk and then deliver them directly to the 459th District Court. You may deliver
documents to the 459th District Court by emailing them to 459.submission@traviscountytx.gov.
We will also create a Box drive folder for you to upload relevant documents in advance of any
virtual hearings. However, any documents which exceed 20 pages in length must be provided in
paper form.

        My Judicial Executive Assistant is the primary point of contact for this Court. You may
call her at (512) 854-9384 or you may email the Court at 459.submission@traviscountytx.gov.
Specifically, please coordinate with my Judicial Executive Assistant for dates and times of any
hearings that you may need to set.

       For any setting, you must announce in compliance with Chapter 3 of the Local Rules of
the District Courts of Travis County and the most recent Travis County Civil and Family Courts
Emergency Order. I look forward to working with you on this case.


                                              Very Truly Yours,




                                              Maya Guerra Gamble
                                              Judge, 459th District Court

cc:    Ms. Velva L. Price, Travis County District Clerk
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                                      242 of 285
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certificate of service that complies with all applicable rules.

Larissa Walton on behalf of Samuel Denton
Bar No. 24064378
larissa.walton@traviscountytx.gov
Envelope ID: 51404358
Status as of 3/14/2021 2:03 PM CST

Associated Case Party: NeilHeslin

Name                BarNumber   Email              TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com   3/11/2021 5:21:25 PM    SENT



Associated Case Party: AlexE.Jones

Name                BarNumber    Email                         TimestampSubmitted      Status

Michael Burnett                  mburnett@BurnettTurner.com    3/11/2021 5:21:25 PM    SENT

Scott Nyitray                    snyitray@BurnettTurner.com    3/11/2021 5:21:25 PM    SENT

T. Wade Jefferies                twadejefferies@twj-law.com    3/11/2021 5:21:25 PM    SENT



Associated Case Party: InfoWars, LLC

Name                BarNumber    Email                         TimestampSubmitted      Status

Scott Nyitray                    snyitray@BurnettTurner.com    3/11/2021 5:21:25 PM    SENT

Michael Burnett                  mburnett@BurnettTurner.com    3/11/2021 5:21:25 PM    SENT

T. Wade Jefferies                twadejefferies@twj-law.com    3/11/2021 5:21:25 PM    SENT



Case Contacts

Name              BarNumber   Email                           TimestampSubmitted      Status

William Ogden                 bill@fbtrial.com                3/11/2021 5:21:25 PM    SENT

Jill Bauerlein                jbauerlein@BurnettTurner.com    3/11/2021 5:21:25 PM    SENT



Associated Case Party: Free Speech, LLC

Name
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                      243 of 285
                         Automated Certificate of eService
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Larissa Walton on behalf of Samuel Denton
Bar No. 24064378
larissa.walton@traviscountytx.gov
Envelope ID: 51404358
Status as of 3/14/2021 2:03 PM CST

Associated Case Party: Free Speech, LLC

Scott Nyitray                   snyitray@BurnettTurner.com   3/11/2021 5:21:25 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   3/11/2021 5:21:25 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   3/11/2021 5:21:25 PM   SENT



Associated Case Party: Owen Shroyer

Name                BarNumber   Email                        TimestampSubmitted     Status

Scott Nyitray                   snyitray@BurnettTurner.com   3/11/2021 5:21:25 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   3/11/2021 5:21:25 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   3/11/2021 5:21:25 PM   SENT
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                                                                                                         Velva L. Price
                                                                                                        District Clerk
                                                                                                        Travis County
                                                                                                     D-1-GN-18-001835
                                                                                                        Chloe Jimenez

                                    MAYA GUERRA GAMBLE
                                     Judge, 459th District Court
                      Heman Marion Sweatt Travis County Courthouse P.O. Box 1748
                                         Austin, Texas 78767
                                            512-854-9384

4/20/2021

 Marguerite Guadin
 Amos Pictures
 9 Perseverance Works
 Kingsland Road
 London, GB
 Via email: marguerite@amospictures.co.uk

       Re: Media Coverage Request for Alex Jones-Related Cases

       Cause No. D-1- GN-18-001605; Marcel Fontaine vs. Alex E. Jones, InfoWars, LLC, et al; in the 459th
       Judicial District, Travis County, Texas

       Re: Cause No. D-1-GN-18-001835; Neil Heslin vs. Alex E. Jones, InfoWars, LLC, et al; in the 261st
       Judicial District, Travis County, Texas

       Re: Cause No. D-1-GN-18-001842; Leonard Pozner and Veronique De La Rosa vs. Alex E. Jones,
       INFORWARS, LLC, et al; in the 345th Judicial District, Travis County, Texas

       Re: Cause No. D-1-GN-18-006623; Scarlett Lewis vs. Alex E. Jones, InfoWars, LLC, and Free Speech
       Systems, LLC; in the 98th Judicial District, Travis County, Texas

       Re: Cause No. D-1-GN-19-004651; Neil Heslin vs. Alex E. Jones, InfoWars, LLC and Free Speech
       Systems, LLC; in the 261st Judicial District, Travis County, Texas



Ms. Guadin:

       I understand that you are interested in providing media coverage of upcoming trials that will take place in
my Courtroom. For guidance on media request procedures and required conduct during hearings, please review
Texas Rule of Civil Procedure 18c and Travis County Local Rules of Civil Procedure and Rules of Decorum
(Local Rules) Chapter16.

        In Travis County, media coverage is permitted only on written order of the Court. A person wishing to
broadcast, televise, record or photograph a court proceeding must file a request to cover the proceeding with the
District Clerk and deliver copies of the request to the Court, Court Administrator, all counsel of record and all
parties not represented by attorneys. This must occur well in advance of the hearing or trial in order to allow the
parties time to object and the Court to hear and consider argument. Again, details on the process and
      22-01023-tmd
D-1-GN-18-001605,   Doc#1-10 Filed 04/18/22
                  D-1-GN-18-001835,         Entered 04/18/22
                                    D-1-GN-18-001842,        14:16:53 Exhibit
                                                      D-1-GN-18-006623,       B contd. Pg
                                                                        D-1-GN-19-004651
Page 2 of 2                               246 of 285


requirements are located in Chapter 16 of the Local Rules. The link to the Local Rules can be found at:
https://www.traviscountytx.gov/courts/files/civil-district.

       Please direct all communications with this Court to 459.submission@traviscountytx.gov. Thank you.


                                                    Very Truly Yours,




                                                    Maya Guerra Gamble
                                                    Judge, 459th District Court


cc:    Ms. Velva L. Price, Travis County District Clerk
       Mark C. Enoch, fly63rc@verizon.net
       Mark D. Bankston, mark@fbtrial.com
       Kyle W. Farrar, kyle@fbtrial.com
       Robert E. Barnes, robertbarnes@barneslawllp.com
       T. Wade Jeffries, twadejefferies@twj-law.com
       Michael Burnett, mburnertt@burnettturner.com
       Scott Nyitray, snyitray@burnettturner.com
       Eric J. Taube, eric.taube@wallerlaw.com
       Kevin W. Brown, kevin.brown@wallerlaw.com
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Larissa Walton on behalf of Samuel Denton
Bar No. 24064378
larissa.walton@traviscountytx.gov
Envelope ID: 52652938
Status as of 4/23/2021 12:25 PM CST

Associated Case Party: NeilHeslin

Name                BarNumber   Email              TimestampSubmitted      Status

Mark D.Bankston                 mark@fbtrial.com   4/20/2021 4:11:44 PM    SENT



Associated Case Party: AlexE.Jones

Name                BarNumber    Email                         TimestampSubmitted      Status

Michael Burnett                  mburnett@BurnettTurner.com    4/20/2021 4:11:44 PM    SENT

Scott Nyitray                    snyitray@BurnettTurner.com    4/20/2021 4:11:44 PM    SENT

T. Wade Jefferies                twadejefferies@twj-law.com    4/20/2021 4:11:44 PM    SENT



Associated Case Party: InfoWars, LLC

Name                BarNumber    Email                         TimestampSubmitted      Status

Scott Nyitray                    snyitray@BurnettTurner.com    4/20/2021 4:11:44 PM    SENT

Michael Burnett                  mburnett@BurnettTurner.com    4/20/2021 4:11:44 PM    SENT

T. Wade Jefferies                twadejefferies@twj-law.com    4/20/2021 4:11:44 PM    SENT



Case Contacts

Name              BarNumber   Email                           TimestampSubmitted      Status

William Ogden                 bill@fbtrial.com                4/20/2021 4:11:44 PM    SENT

Jill Bauerlein                jbauerlein@BurnettTurner.com    4/20/2021 4:11:44 PM    SENT



Associated Case Party: Free Speech, LLC

Name
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certificate of service that complies with all applicable rules.

Larissa Walton on behalf of Samuel Denton
Bar No. 24064378
larissa.walton@traviscountytx.gov
Envelope ID: 52652938
Status as of 4/23/2021 12:25 PM CST

Associated Case Party: Free Speech, LLC

Scott Nyitray                   snyitray@BurnettTurner.com   4/20/2021 4:11:44 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   4/20/2021 4:11:44 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   4/20/2021 4:11:44 PM   SENT



Associated Case Party: Owen Shroyer

Name                BarNumber   Email                        TimestampSubmitted     Status

Scott Nyitray                   snyitray@BurnettTurner.com   4/20/2021 4:11:44 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   4/20/2021 4:11:44 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   4/20/2021 4:11:44 PM   SENT
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                                   249 of 285                   4/27/2021 3:43 PM
                                                                                                Velva L. Price
                                                                                               District Clerk
                                                                                               Travis County
                                CAUSE NO. D-1-GN-18-001835                                  D-1-GN-18-001835
                                                                                               Chloe Jimenez
 NEIL HESLIN,                                     §              IN THE DISTRICT COURT OF
                                                  §
                 Plaintiff,                       §
                                                  §
                                                  §
 v.                                               §                   TRAVIS COUNTY, TEXAS
                                                  §
                                                  §
 ALEX E. JONES, INFOWARS, LLC, FREE               §
 SPEECH SYSTEMS, LLC, AND OWEN                    §
 SHROYER                                          §
                                                  §                  261st JUDICIAL DISTRICT
                 Defendants,


               NOTICE OF APPEARANCE ON BEHALF OF DEFENDANTS

       COME NOW, Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and Owen Shroyer

(collectively “Defendants”), and file this Notice of Appearance of Counsel, hereby providing notice

to the Court and to Plaintiff, Neil Heslin, that the following attorney and law firm is now counsel

of record for Defendants, and thus copies of all pleadings and notices should be served upon the

following attorney:

               Bradley J. Reeves
               REEVES LAW, P.C.
               702 Rio Grande St., Suite 203
               Austin, TX 78701
               brad@brtx.law
               Telephone: (512) 827-2246
               Facsimile: (512) 318-2484

Dated: April 27, 2021.
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                   250 of 285




                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves     _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                    ATTORNEY FOR DEFENDANTS, ALEX E. JONES,
                                                    INFOWARS, LLC, FREE SPEECH SYSTEMS, LLC,
                                                    AND OWEN SHROYER

                                 CERTIFICATE OF SERVICE

       I certify that a true copy of the above was served on each attorney of record or party in
accordance with the Texas Rules of Civil Procedure on April 27, 2021.

T. Wade Jefferies                                      via email
The Law Firm of T. Wade Jefferies
401 Congress Avenue, Suite 1540
Austin, Texas 78701

Robert Barnes                                          via email
BARNES LAW, LLP
601 South Figueroa St., Suite 4050
Los Angeles, CA 90017

Mark Bankston                                          via email
William Ogden
Farrar & Ball, LLP
1117 Herkimer Street
Houston, TX 77008

                                                /s/ Bradley J. Reeves                _
                                              Bradley J. Reeves




                                                 2
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                      251 of 285
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certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 52876899
Status as of 4/28/2021 11:59 AM CST

Associated Case Party: NeilHeslin

Name                 BarNumber    Email              TimestampSubmitted     Status

Mark D.Bankston                   mark@fbtrial.com   4/27/2021 3:43:37 PM   SENT



Associated Case Party: AlexE.Jones

Name                 BarNumber    Email                         TimestampSubmitted     Status

Michael Burnett                   mburnett@BurnettTurner.com    4/27/2021 3:43:37 PM   SENT

Scott Nyitray                     snyitray@BurnettTurner.com    4/27/2021 3:43:37 PM   SENT

T. Wade Jefferies                 twadejefferies@twj-law.com    4/27/2021 3:43:37 PM   SENT



Associated Case Party: InfoWars, LLC

Name                 BarNumber    Email                         TimestampSubmitted     Status

Scott Nyitray                     snyitray@BurnettTurner.com    4/27/2021 3:43:37 PM   SENT

Michael Burnett                   mburnett@BurnettTurner.com    4/27/2021 3:43:37 PM   SENT

T. Wade Jefferies                 twadejefferies@twj-law.com    4/27/2021 3:43:37 PM   SENT



Case Contacts

Name                BarNumber    Email                          TimestampSubmitted     Status

William Ogden                    bill@fbtrial.com               4/27/2021 3:43:37 PM   SENT

Jill Bauerlein                   jbauerlein@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

Bradley Reeves                   brad@brtx.law                  4/27/2021 3:43:37 PM   SENT



Associated Case Party: Free Speech, LLC
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                      252 of 285
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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 52876899
Status as of 4/28/2021 11:59 AM CST

Associated Case Party: Free Speech, LLC

Name                BarNumber   Email                        TimestampSubmitted     Status

Scott Nyitray                   snyitray@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   4/27/2021 3:43:37 PM   SENT



Associated Case Party: Owen Shroyer

Name                BarNumber   Email                        TimestampSubmitted     Status

Scott Nyitray                   snyitray@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   4/27/2021 3:43:37 PM   SENT
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                   253 of 285                   4/27/2021 3:43 PM
                                                                                              Velva L. Price
                                                                                             District Clerk
                                                                                             Travis County
                               CAUSE NO. D-1-GN-18-001835                                 D-1-GN-18-001835
                                                                                             Chloe Jimenez
 NEIL HESLIN,                                   §              IN THE DISTRICT COURT OF
                                                §
                 Plaintiff,                     §
                                                §
                                                §
 v.                                             §                   TRAVIS COUNTY, TEXAS
                                                §
                                                §
 ALEX E. JONES, INFOWARS, LLC, FREE             §
 SPEECH SYSTEMS, LLC, AND OWEN                  §
 SHROYER                                        §
                                                §                  261st JUDICIAL DISTRICT
                Defendants,


      DEFENDANTS’ UNOPPOSED MOTION FOR SUBSTITUTION OF COUNSEL
                    AND WITHDRAWAL OF COUNSEL

       Defendants, Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and Owen Shroyer

(collectively “Defendants”) file this Unopposed Motion for Substitution of Counsel and

Withdrawal of Counsel and would show unto the Court as follows:

       Defendants desire to substitute the following as counsel of record in place of T. Wade

Jefferies and the Law Firm of T. Wade Jefferies and Michael Burnett and Scott Nyitray of the law

firm of BurnettTurner:

                                      Bradley J. Reeves
                                Texas State Bar No. 24068266
                                    REEVES LAW, PLLC
                               702 Rio Grande Street, Suite 203
                                     Austin, Texas 78701
                                     Tel: (512) 827-2246
                                    Fax: (512) 318-2484
                                    Email: brad@brtx.law

       Defendants desire that T. Wade Jefferies of the Law Firm of T. Wade Jefferies and Michael

Burnett and Scott Nyitray of the law firm of BurnettTurner be permitted to withdraw as attorneys

of record for Defendants.
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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        This motion is made with the approval and desire of Defendants.

        Pursuant to Local Rule 6.2(a), counsel for Plaintiff consents to the withdrawal as indicated

by his electronic signature below.

        The motion is not made for any purpose of delay in this case.

        WHEREFORE, Defendants, Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and

Owen Shroyer request that Bradley J. Reeves of REEVES LAW, PLLC be substituted as their attorney

of record in place of T. Wade Jefferies of the Law Firm of T. Wade Jefferies and Michael Burnett

and Scott Nyitray of the law firm of BurnettTurner; that T. Wade Jefferies of the Law Firm of T.

Wade Jefferies and Michael Burnett and Scott Nitray of the law firm of BurnettTurner be

permitted to withdraw as attorneys of record for the aforementioned Defendants; and for such

other and further relief, both general and special, at law or in equity, to which Defendants may be

justly entitled.



Dated: April 27, 2021.


                                              Respectfully submitted,

                                              By:      /s/ Bradley J. Reeves     _
                                                    Bradley J. Reeves
                                                    Texas Bar No. 24068266
                                                    brad@brtx.law
                                                    REEVES LAW, PLLC
                                                    702 Rio Grande St., Suite 203
                                                    Austin, TX 78701
                                                    Telephone: (512) 827-2246
                                                    Facsimile: (512) 318-2484

                                                     SUBSTITUTED ATTORNEYS FOR DEFENDANTS,
                                                     ALEX E. JONES, INFOWARS, LLC, FREE
                                                     SPEECH SYSTEMS, LLC, AND OWEN SHROYER




                                                 2
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                   255 of 285



                                             By: /s/ T. Wade Jefferies       _
                                             T. Wade Jefferies
                                             Texas Bar No. 00790962
                                             The Law Firm of T. Wade Jefferies
                                             401 Congress Ave., Ste. 1540
                                             Austin, TX 78701
                                             twadejefferies@twj-law.com
                                             Telephone: (512) 201-2727
                                             Facsimile: (512) 687-3499

                                       By:     /s/ Michael Burnett      _
                                             Michael Burnett
                                             Texas Bar No. 00790399
                                             mburnett@burnettturner.com
                                             Scott Nyitray
                                             Texas Bar No. 24094876
                                             snyitray@burnettturner.com
                                             BURNETTTURNER
                                             6034 W. Courtyard Dr., Suite 140
                                             Austin, TX 78730
                                             Telephone: (512) 472-5060
                                             Facsimile: (512) 472-5427

                                             WITHDRAWING ATTORNEYS FOR DEFENDANTS

CONSENT TO WITHDRAWAL:

FARRAR & BALL, LLP

By:____/s/ William R. Ogden_____
Mark D. Bankston
Texas Bar No. 24071066
mark@fbtrial.com
William R. Ogden
Texas Bar No. 24073531
bill@fbtrial.com
1117 Herkimer Street
Houston, TX 77008
Tel: (713) 221-7008
Fax: (713) 221-8301

ATTORNEYS FOR PLAINTIFF, NEIL HESLIN




                                         3
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                 CERTIFICATE OF SERVICE

       I certify that a true copy of the above was served on each attorney of record or party in
accordance with the Texas Rules of Civil Procedure on April 27, 2021.

T. Wade Jefferies                                    via email
The Law Firm of T. Wade Jefferies
401 Congress Avenue, Suite 1540
Austin, Texas 78701

Michael Burnett                                      via email
Scott Nyitray
BURNETTTURNER
6034 W. Courtyard Dr., Suite 140
Austin, TX 78730

Mark Bankston                                        via email
William Ogden
Farrar & Ball, LLP
1117 Herkimer Street
Houston, TX 77008

                                                /s/ Bradley J. Reeves                _
                                              Bradley J. Reeves




                                                 4
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                         Automated Certificate of eService
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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 52876899
Status as of 4/28/2021 11:59 AM CST

Associated Case Party: AlexE.Jones

Name                 BarNumber    Email                         TimestampSubmitted     Status

Michael Burnett                   mburnett@BurnettTurner.com    4/27/2021 3:43:37 PM   SENT

Scott Nyitray                     snyitray@BurnettTurner.com    4/27/2021 3:43:37 PM   SENT

T. Wade Jefferies                 twadejefferies@twj-law.com    4/27/2021 3:43:37 PM   SENT



Associated Case Party: NeilHeslin

Name                 BarNumber    Email              TimestampSubmitted     Status

Mark D.Bankston                   mark@fbtrial.com   4/27/2021 3:43:37 PM   SENT



Associated Case Party: InfoWars, LLC

Name                 BarNumber    Email                         TimestampSubmitted     Status

Scott Nyitray                     snyitray@BurnettTurner.com    4/27/2021 3:43:37 PM   SENT

Michael Burnett                   mburnett@BurnettTurner.com    4/27/2021 3:43:37 PM   SENT

T. Wade Jefferies                 twadejefferies@twj-law.com    4/27/2021 3:43:37 PM   SENT



Case Contacts

Name                BarNumber    Email                          TimestampSubmitted     Status

William Ogden                    bill@fbtrial.com               4/27/2021 3:43:37 PM   SENT

Jill Bauerlein                   jbauerlein@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

Bradley Reeves                   brad@brtx.law                  4/27/2021 3:43:37 PM   SENT



Associated Case Party: Free Speech, LLC
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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certificate of service that complies with all applicable rules.

Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 52876899
Status as of 4/28/2021 11:59 AM CST

Associated Case Party: Free Speech, LLC

Name                BarNumber   Email                        TimestampSubmitted     Status

Scott Nyitray                   snyitray@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   4/27/2021 3:43:37 PM   SENT



Associated Case Party: Owen Shroyer

Name                BarNumber   Email                        TimestampSubmitted     Status

Scott Nyitray                   snyitray@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   4/27/2021 3:43:37 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   4/27/2021 3:43:37 PM   SENT
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                                CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                                     §               IN THE DISTRICT COURT OF
                                                  §
                  Plaintiff,                      §
                                                  §
                                                  §
 v.                                               §                   TRAVIS COUNTY, TEXAS
                                                  §
                                                  §
 ALEX E. JONES, INFOWARS, LLC, FREE               §
 SPEECH SYSTEMS, LLC, AND OWEN                    §
 SHROYER                                          §
                                                  §                  261st JUDICIAL DISTRICT
                 Defendants,


ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION FOR SUBSTITUTION OF
             COUNSEL AND WITHDRAWAL OF COUNSEL

       CAME ON for consideration the Motion for Substitution of Counsel and Withdrawal of

Counsel filed by Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and Owen Shroyer

(collectively “Defendants”), and the Court, after considering the motion, is of the opinion that the

motion should be GRANTED. It is therefore,

       ORDERED that Bradley J. Reeves and the law firm of REEVES LAW, PLLC is substituted as

attorney of record for Defendants, Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC, and

Owen Shroyer in place of T. Wade Jefferies and the Law Firm of T. Wade Jefferies and Michael

Burnett and Scott Nyitray of the law firm of BurnettTurner. It is further

       ORDERED that that T. Wade Jefferies and the Law Firm of T. Wade and Michael Burnett

and Scott Nyitray of the law firm of BurnettTurner are permitted to withdraw as attorneys of

record for Defendants.
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                   260 of 285



      SIGNED ON _______________________, 2021.


                                     __________________________________
                                     HONORABLE JUDGE PRESIDING




                                        2
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                   261 of 285



APPROVED AS TO FORM
AND ENTRY REQUESTED:

By: /s/ Bradley J. Reeves           _
Bradley J. Reeves
Texas Bar No. 24068266
brad@brtx.law
REEVES LAW, PLLC
702 Rio Grande St., Suite 203
Austin, TX 78701
Telephone: (512) 827-2246
Facsimile: (512) 318-2484

SUBSTITUTED ATTORNEY FOR DEFENDANTS


By: /s/ T. Wade Jefferies       _
T. Wade Jefferies
Texas Bar No. 00790962
The Law Firm of T. Wade Jefferies
401 Congress Ave., Ste. 1540
Austin, TX 78701
twadejefferies@twj-law.com
Telephone: (512) 201-2727
Facsimile: (512) 687-3499

By: /s/ Michael Burnett        _
Michael Burnett
Texas Bar No. 00790399
mburnett@burnettturner.com
Scott Nyitray
Texas Bar No. 24094876
snyitray@burnettturner.com
BURNETTTURNER
6034 W. Courtyard Dr., Suite 140
Austin, TX 78730
Telephone: (512) 472-5060
Facsimile: (512) 472-5427

WITHDRAWING ATTORNEYS FOR DEFENDANTS




                                        3
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                   262 of 285



By:____/s/ William R. Ogden_____
Mark D. Bankston
Texas Bar No. 24071066
mark@fbtrial.com
William R. Ogden
Texas Bar No. 24073531
bill@fbtrial.com
1117 Herkimer Street
Houston, TX 77008
Tel: (713) 221-7008
Fax: (713) 221-8301

ATTORNEYS FOR PLAINTIFF,
NEIL HESLIN




                                        4
            22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                               263 of 285                 5/14/2021 12:29 PM
                                                                                                                              Velva L. Price
    AMOS Pictures                                                                                                            District Clerk
                                                                                                                             Travis County
                                                                                                                          D-1-GN-18-001835
                                                                                                                               Daniel Smith




MAYA GUERRA GAMBLE
Judge, 459th District Court
Heman Marion Sweatt Travis County Courthouse P.O. Box 1748
Austin, Texas 78767
512-854-9384




            Your Honor,

            Please consider giving Amos Pictures, an independent television documentary production company based in London,
            England, permission to film court proceedings, for an HBO television documentary, in the following cases:

            Cause No. D-1-GN-18-001835; Neil Heslin vs. Alex E. Jones,InfoWars, LLC, et al;
            Cause No. D-1-GN-18-001842; Leonard Pozner and Veronique De La Rosa vs. Alex E. Jones, INFOWARS, LLC, et al;
            Cause No. D-1-GN-18-006623; Scarlett Lewis vs. Alex E. Jones, InfoWars, LLC, and Free SpeechSystems, LLC;
            Cause No. D-1-GN-19-004651; Neil Heslin vs. Alex E. Jones, InfoWars, LLC and Free SpeechSystems, LLC;

            We note that no hearings are currently scheduled, however we seek permission to film all court proceedings from this
            date forward.

            In view of the immense public interest and cultural significance of these cases Amos Pictures has been commissioned by
            HBO Documentaries to create a 90-minute documentary following the legal battle between Alex Jones et al and several
            parents whose children perished in the Sandy Hook school shooting. The program will be broadcast worldwide after the
            conclusion of legal proceedings in Texas.

            The program, which will be strictly non-political and non-partisan, will seek to closely involve its audience in the
            complexities and the dramatic unfolding of the judicial process.

            For the avoidance of doubt, no material filmed in court will be released or shared in any way before legal proceedings in
            each case listed above have come to an end.

            We have reviewed the Texas Rule of Civil Procedure 18c and Travis County Local Rules of Civil Procedure and Rules of
            Decorum (Local Rules) Chapter 16.

            We will operate at all times with great care and in close consultation with the court and its officers and will submit to the
            authority of the Court in all matters pertaining to the enforcement of the rules around filming..




    10 Orange Street, London, WC2H 7DQ                            www.amospictures.co.uk              marguerite@amospictures.co.uk

Company Registration No. 3511357
Registered Address: 9 Perseverance Works, London, E2 8DD
            22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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    AMOS Pictures




                    Amos Pictures has significant prior experience of filming court proceedings in the United States and will
                    ensure that the business of the court is not impeded and that the judge’s instructions are scrupulously complied
                    with.

                   We would like to be able to film the speech of participants in the courtroom so that audiences can see and
                   engage with the person/s speaking. Equipment will be unobtrusive and consist of one digital cinema camera on
                   a tripod, which can be operated from a seated position; and a number of remotely-operated wireless
                   microphones.

                   Amos Pictures is a multi-award-winning production house whose recent successes have included the
                   Primetime Emmy-winning documentary “Leaving Neverland” (2019) which became HBO’s most-watched
                   ever documentary.

                   Dan Reed the director of this documentary has three decades of experience in the documentary field and is one
                   of its leading practitioners, with dozens of awards and nominations for his exacting, diligent journalism and
                   cinematic storytelling.

                   This request is copied to all counsel of record in the case as instructed.

                   We look forward to providing further details if the Court should require these.




                    Best regards,

                   Dan Reed




    10 Orange Street, London, WC2H 7DQ                              www.amospictures.co.uk             marguerite@amospictures.co.uk

Company Registration No. 3511357
Registered Address: 9 Perseverance Works, London, E2 8DD
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
                                      265 of 285
                         Automated Certificate of eService
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Envelope ID: 53453830
Status as of 5/14/2021 1:11 PM CST

Associated Case Party: NeilHeslin

Name                BarNumber   Email              TimestampSubmitted       Status

Mark D.Bankston                 mark@fbtrial.com   5/14/2021 12:29:00 PM    SENT



Associated Case Party: AlexE.Jones

Name                BarNumber   Email                         TimestampSubmitted      Status

Michael Burnett                 mburnett@BurnettTurner.com    5/14/2021 12:29:00 PM   SENT

Scott Nyitray                   snyitray@BurnettTurner.com    5/14/2021 12:29:00 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com    5/14/2021 12:29:00 PM   SENT



Associated Case Party: InfoWars, LLC

Name                BarNumber   Email                         TimestampSubmitted      Status

Scott Nyitray                   snyitray@BurnettTurner.com    5/14/2021 12:29:00 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com    5/14/2021 12:29:00 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com    5/14/2021 12:29:00 PM   SENT



Case Contacts

Name                        BarNumber     Email                                TimestampSubmitted      Status

Warren Lloyd Vavra          786307        warren.vavra@traviscountytx.gov      5/14/2021 12:29:00 PM   SENT

Velva Lasha Price           16315950      velva.price@traviscountytx.gov       5/14/2021 12:29:00 PM   SENT

Bradley Reeves                            brad@brtx.law                        5/14/2021 12:29:00 PM   SENT

Judge Maya Guerra Gamble                  459.submission@traviscountytx.gov    5/14/2021 12:29:00 PM   SENT



Associated Case Party: Free Speech, LLC
   22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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Envelope ID: 53453830
Status as of 5/14/2021 1:11 PM CST

Associated Case Party: Free Speech, LLC

Name                BarNumber   Email                        TimestampSubmitted      Status

Scott Nyitray                   snyitray@BurnettTurner.com   5/14/2021 12:29:00 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   5/14/2021 12:29:00 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   5/14/2021 12:29:00 PM   SENT



Associated Case Party: Owen Shroyer

Name                BarNumber   Email                        TimestampSubmitted      Status

Scott Nyitray                   snyitray@BurnettTurner.com   5/14/2021 12:29:00 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com   5/14/2021 12:29:00 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com   5/14/2021 12:29:00 PM   SENT
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22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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                                   274 of 285                   6/15/2021 6:07 PM
                                                                                               Velva L. Price
                                                                                              District Clerk
                                                                                              Travis County
                                CAUSE NO. D-1-GN-18-001835                                 D-1-GN-18-001835
                                                                                                Gilberto Rios
 NEIL HESLIN,                                    §              IN THE DISTRICT COURT OF
                                                 §
                 Plaintiff,                      §
                                                 §
                                                 §
 v.                                              §                   TRAVIS COUNTY, TEXAS
                                                 §
                                                 §
 ALEX E. JONES, INFOWARS, LLC, FREE              §
 SPEECH SYSTEMS, LLC, AND OWEN                   §
 SHROYER                                         §
                                                 §                  261st JUDICIAL DISTRICT
                 Defendants,


      DEFENDANTS’ AMENDED UNOPPOSED MOTION FOR SUBSTITUTION OF
                COUNSEL AND WITHDRAWAL OF COUNSEL

       Defendants, Alex E. Jones; Infowars, LLC; Free Speech Systems, LLC; and Owen Shroyer

(collectively “Defendants”) file this Amended Unopposed Motion for Substitution of Counsel and

Withdrawal of Counsel and would show unto the Court as follows:

       Defendants desire to substitute the following as counsel of record in place of T. Wade

Jefferies and the Law Firm of T. Wade Jefferies; Michael Burnett and Scott Nyitray of the law firm

of BurnettTurner; and Mark Enoch of Glast, Phillips, & Murray, P.C.:

                                       Bradley J. Reeves
                                 Texas State Bar No. 24068266
                                     REEVES LAW, PLLC
                                702 Rio Grande Street, Suite 203
                                      Austin, Texas 78701
                                      Tel: (512) 827-2246
                                     Fax: (512) 318-2484
                                     Email: brad@brtx.law

       Defendants desire that T. Wade Jefferies of the Law Firm of T. Wade Jefferies; Michael

Burnett and Scott Nyitray of the law firm of BurnettTurner; and Mark Enoch of Glast, Phillips, &

Murray, P.C. be permitted to withdraw as attorneys of record for Defendants.
22-01023-tmd Doc#1-10 Filed 04/18/22 Entered 04/18/22 14:16:53 Exhibit B contd. Pg
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       This motion is made with the approval and desire of Defendants.

       Pursuant to Local Rule 6.2(a), counsel for Plaintiff consents to the withdrawal as indicated

by his electronic signature below.

       The motion is not made for any purpose of delay in this case.

       WHEREFORE, Defendants, Alex E. Jones; Infowars, LLC; Free Speech Systems, LLC; and

Owen Shroyer request that Bradley J. Reeves of REEVES LAW, PLLC be substituted as their attorney

of record in place of T. Wade Jefferies of the Law Firm of T. Wade Jefferies; Michael Burnett and

Scott Nyitray of the law firm of BurnettTurner; and Mark Enoch of Glast, Phillips, & Murray, P.C.;

that T. Wade Jefferies of the Law Firm of T. Wade Jefferies; Michael Burnett and Scott Nitray of

the law firm of BurnettTurner; and Mark Enoch of Glast, Phillips, & Murray, P.C. be permitted to

withdraw as attorneys of record for the aforementioned Defendants; and for such other and

further relief, both general and special, at law or in equity, to which Defendants may be justly

entitled.

       Dated: June 15, 2021.


                                             Respectfully submitted,

                                             By:      /s/ Bradley J. Reeves     _
                                                   Bradley J. Reeves
                                                   Texas Bar No. 24068266
                                                   brad@brtx.law
                                                   REEVES LAW, PLLC
                                                   702 Rio Grande St., Suite 203
                                                   Austin, TX 78701
                                                   Telephone: (512) 827-2246
                                                   Facsimile: (512) 318-2484

                                             SUBSTITUTED ATTORNEY FOR DEFENDANTS,
                                             ALEX E. JONES; INFOWARS, LLC; FREE SPEECH
                                             SYSTEMS, LLC; AND OWEN SHROYER




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                                     By:      /s/ T. Wade Jefferies     _
                                           T. Wade Jefferies
                                           Texas Bar No. 00790962
                                           The Law Firm of T. Wade Jefferies
                                           401 Congress Ave., Ste. 1540
                                           Austin, TX 78701
                                           twadejefferies@twj-law.com
                                           Telephone: (512) 201-2727
                                           Facsimile: (512) 687-3499

                                     By:     /s/ Michael Burnett      _
                                           Michael Burnett
                                           Texas Bar No. 00790399
                                           mburnett@burnettturner.com
                                           Scott Nyitray
                                           Texas Bar No. 24094876
                                           snyitray@burnettturner.com
                                           BURNETTTURNER
                                           6034 W. Courtyard Dr., Suite 140
                                           Austin, TX 78730
                                           Telephone: (512) 472-5060
                                           Facsimile: (512) 472-5427

                                     By:      /s/ Mark C. Enoch      _
                                           Mark C. Enoch
                                           Texas Bar No. 06630360
                                           fly63rc@verizon.net
                                           GLAST, PHILLIPS, & MURRAY, P.C.
                                           14801 Quorum Drive, Suite 500
                                           Dallas, TX 75254
                                           Telephone: (972) 419-8366
                                           Facsimile: (972) 419-8329

                                     WITHDRAWING ATTORNEYS FOR DEFENDANTS,
                                     ALEX E. JONES; INFOWARS, LLC; FREE SPEECH
                                     SYSTEMS, LLC; AND OWEN SHROYER




                                        3
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CONSENT TO WITHDRAWAL:

FARRAR & BALL, LLP

By:____/s/ William R. Ogden_____
Mark D. Bankston
Texas Bar No. 24071066
mark@fbtrial.com
William R. Ogden
Texas Bar No. 24073531
bill@fbtrial.com
1117 Herkimer Street
Houston, TX 77008
Tel: (713) 221-7008
Fax: (713) 221-8301

ATTORNEYS FOR PLAINTIFF, NEIL HESLIN




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                                 CERTIFICATE OF SERVICE

       I certify that a true copy of the above was served on each attorney of record or party in
accordance with the Texas Rules of Civil Procedure on June 15, 2021.

T. Wade Jefferies                                    via email
The Law Firm of T. Wade Jefferies
401 Congress Avenue, Suite 1540
Austin, Texas 78701

Michael Burnett                                      via email
Scott Nyitray
BURNETTTURNER
6034 W. Courtyard Dr., Suite 140
Austin, TX 78730

Mark Enoch                                           via email
GLAST, PHILLIPS, & MURRAY, P.C.
14801 Quorum Driive, Suite 500
Dallas, TX 75254

Mark Bankston                                        via email
William Ogden
Farrar & Ball, LLP
1117 Herkimer Street
Houston, TX 77008

                                                /s/ Bradley J. Reeves                _
                                              Bradley J. Reeves




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 54451681
Status as of 6/16/2021 2:27 PM CST

Associated Case Party: NeilHeslin

Name                BarNumber   Email              TimestampSubmitted     Status

Mark D.Bankston                 mark@fbtrial.com   6/15/2021 6:07:03 PM   SENT



Associated Case Party: AlexE.Jones

Name                BarNumber   Email                         TimestampSubmitted     Status

Michael Burnett                 mburnett@BurnettTurner.com    6/15/2021 6:07:03 PM   SENT

Scott Nyitray                   snyitray@BurnettTurner.com    6/15/2021 6:07:03 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com    6/15/2021 6:07:03 PM   SENT



Associated Case Party: InfoWars, LLC

Name                BarNumber   Email                         TimestampSubmitted     Status

Scott Nyitray                   snyitray@BurnettTurner.com    6/15/2021 6:07:03 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com    6/15/2021 6:07:03 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com    6/15/2021 6:07:03 PM   SENT



Case Contacts

Name

Warren Lloyd Vavra

Velva Lasha Price

William Ogden

Jill Bauerlein

Bradley Reeves

Judge Maya Guerra Gamble
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Status as of 6/16/2021 2:27 PM CST

Case Contacts

Mark Charles Enoch         6630360        fly63rc@verizon.net                  6/15/2021 6:07:03 PM   SENT



Associated Case Party: Free Speech, LLC

Name                BarNumber   Email                           TimestampSubmitted     Status

Scott Nyitray                   snyitray@BurnettTurner.com      6/15/2021 6:07:03 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com      6/15/2021 6:07:03 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com      6/15/2021 6:07:03 PM   SENT



Associated Case Party: Owen Shroyer

Name                BarNumber   Email                           TimestampSubmitted     Status

Scott Nyitray                   snyitray@BurnettTurner.com      6/15/2021 6:07:03 PM   SENT

Michael Burnett                 mburnett@BurnettTurner.com      6/15/2021 6:07:03 PM   SENT

T. Wade Jefferies               twadejefferies@twj-law.com      6/15/2021 6:07:03 PM   SENT
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                                 CAUSE NO. D-1-GN-18-001835

 NEIL HESLIN,                                     §            IN THE DISTRICT COURT OF
                                                  §
                  Plaintiff,                      §
                                                  §
                                                  §
 v.                                               §                 TRAVIS COUNTY, TEXAS
                                                  §
                                                  §
 ALEX E. JONES, INFOWARS, LLC, FREE               §
 SPEECH SYSTEMS, LLC, AND OWEN                    §
 SHROYER,                                         §
                                                  §                261st JUDICIAL DISTRICT
                 Defendants,                      §

      ORDER GRANTING DEFENDANTS’ AMENDED UNOPPOSED MOTION FOR
         SUBSTITUTION OF COUNSEL AND WITHDRAWAL OF COUNSEL

       CAME ON for consideration the Amended Unopposed Motion for Substitution of Counsel

and Withdrawal of Counsel filed by Defendants, Alex E. Jones; Infowars, LLC; Free Speech

Systems, LLC; and Owen Shroyer (collectively “Defendants”), and the Court, after considering the

motion, is of the opinion that the motion should be GRANTED. It is therefore,

       ORDERED that Bradley J. Reeves and the law firm of REEVES LAW, PLLC is substituted as

attorney of record for Defendants in place of T. Wade Jefferies and the Law Firm of T. Wade

Jefferies; Michael Burnett and Scott Nyitray of the law firm of BurnettTurner; and Mark Enoch of

Glast, Phillips, & Murray, P.C. It is further

       ORDERED that that T. Wade Jefferies and the Law Firm of T. Wade Jefferies; Michael

Burnett and Scott Nyitray of the law firm of BurnettTurner; and Mark Enoch of Glast, Phillips, &

Murray, P.C. are permitted to withdraw as attorneys of record for Defendants.



       SIGNED ON _______________________, 2021.


                                                __________________________________
                                                HONORABLE JUDGE MAYA GUERRA GAMBLE
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                                   282 of 285



APPROVED AS TO FORM
AND ENTRY REQUESTED:

By: /s/ Bradley J. Reeves           _
Bradley J. Reeves
Texas Bar No. 24068266
brad@brtx.law
REEVES LAW, PLLC
702 Rio Grande St., Suite 203
Austin, TX 78701
Telephone: (512) 827-2246
Facsimile: (512) 318-2484

SUBSTITUTED ATTORNEY FOR DEFENDANTS


By: /s/ T. Wade Jefferies       _
T. Wade Jefferies
Texas Bar No. 00790962
The Law Firm of T. Wade Jefferies
401 Congress Ave., Ste. 1540
Austin, TX 78701
twadejefferies@twj-law.com
Telephone: (512) 201-2727
Facsimile: (512) 687-3499

By: /s/ Michael Burnett        _
Michael Burnett
Texas Bar No. 00790399
mburnett@burnettturner.com
Scott Nyitray
Texas Bar No. 24094876
snyitray@burnettturner.com
BURNETTTURNER
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Austin, TX 78730
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Facsimile: (512) 472-5427




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                                   283 of 285



By: /s/ Mark C. Enoch        _
Mark C. Enoch
Texas Bar No. 06630360
fly63rc@verizon.net
GLAST, PHILLIPS, & MURRAY, P.C.
14801 Quorum Drive, Suite 500
Dallas, TX 75254
Telephone: (972) 419-8366
Facsimile: (972) 419-8329

WITHDRAWING ATTORNEYS FOR DEFENDANTS


By:____/s/ William R. Ogden_____
Mark D. Bankston
Texas Bar No. 24071066
mark@fbtrial.com
William R. Ogden
Texas Bar No. 24073531
bill@fbtrial.com
1117 Herkimer Street
Houston, TX 77008
Tel: (713) 221-7008
Fax: (713) 221-8301

ATTORNEYS FOR PLAINTIFF, NEIL HESLIN




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Bradley Reeves on behalf of Bradley Reeves
Bar No. 24068266
brad@brtx.law
Envelope ID: 54451681
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Associated Case Party: AlexE.Jones

Name                BarNumber   Email                         TimestampSubmitted     Status

Michael Burnett                 mburnett@BurnettTurner.com    6/15/2021 6:07:03 PM   SENT

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Associated Case Party: NeilHeslin

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Associated Case Party: InfoWars, LLC

Name                BarNumber   Email                         TimestampSubmitted     Status

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Case Contacts

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Velva Lasha Price

William Ogden

Jill Bauerlein

Bradley Reeves

Judge Maya Guerra Gamble
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Associated Case Party: Free Speech, LLC

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Associated Case Party: Owen Shroyer

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